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                     Objection Deadline: May 31, 2023 at 12:00 p.m. (Prevailing Eastern Time)


CLEARY GOTTLIEB STEEN & HAMILTON LLP
Sean A. O’Neal
Luke A. Barefoot
Jane VanLare
One Liberty Plaza
New York, New York 10006
Telephone: 212-225-2000
Facsimile: 212-225-3999


Counsel to the Debtors
and Debtors-in-Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:                                                          Chapter 11

    Genesis Global Holdco, LLC, et al.,1                            Case No.: 23-10063 (SHL)

                                     Debtors.                       Jointly Administered


                NOTICE OF SECOND MONTHLY STATEMENT OF
               CLEARY GOTTLIEB STEEN & HAMILTON LLP FOR
        COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT
            OF EXPENSES INCURRED AS COUNSEL TO THE DEBTORS
      FOR THE PERIOD FROM FEBRUARY 1, 2023 THROUGH FEBRUARY 28, 2023




1
         The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s tax identification
number (as applicable), are: Genesis Global Holdco, LLC (8219); Genesis Global Capital, LLC (8564); Genesis Asia
Pacific Pte. Ltd. (2164R). For the purpose of these Chapter 11 Cases, the service address for the Debtors is 250 Park
Avenue South, 5th Floor, New York, NY 10003.
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 Name of applicant:                        Cleary Gottlieb Steen and Hamilton LLP
 Authorized to provide services to:        Genesis Global Holdco, LLC, et al.
 Date of retention:                        Order entered on February 24, 2023
                                           authorizing the employment and retention of
                                           Cleary Gottlieb Steen and Hamilton LLP as
                                           counsel to the Debtors and Debtors-in-
                                           Possession nunc pro tunc to the Petition Date
                                           (ECF No. 103)
 Period of which compensation and expenses February 1, 2023 through February 28, 2023
 are sought:
 Amount of compensation requested:         $ 4,273,975.00
 Less 20% holdback:                        $ 3,419,180.00
 Amount of expenses requested:             $ 42,414.96
 Total compensation (net of holdback):     $ 3,461,594.96


       In accordance with the Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses of Professionals dated February 24, 2023 (ECF No. 101) (the “Interim

Compensation Order”), Cleary Gottlieb Steen & Hamilton LLP (the “Firm”) hereby submits this

second monthly statement (the “Second Monthly Statement”) seeking compensation for services

rendered as counsel to the Debtors for the period February 1, 2023 through February 28, 2023 (the

“Second Monthly Period”). By this Second Monthly Statement, and after accounting for certain

voluntary reductions, the Firm seeks payment in the amount of $3,461,594.96 which comprises (i)

80% of the total amount of compensation sought for actual and necessary services rendered during

the Second Monthly Period and (ii) reimbursement of actual and necessary expenses incurred

during the Second Monthly Period in accordance with such services.

                                      SERVICES RENDERED

       1.      Attached hereto as Exhibit A is a summary of the Firm professionals by individual,

setting forth the (a) name and title of each individual who provided services during the Second

Monthly Period, (b) aggregate hours spent by each individual, (c) hourly billing rate for each such

individual in the Firm current billing rates, (d) amount of fees earned by each Firm professional,
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and (e) year of earliest admission for each attorney. The blended hourly billing rate of the Firm

timekeepers during the Second Monthly Period is approximately $1086 .

       2.      Attached hereto as Exhibit B is a summary of the services rendered and

compensation sought by project category for the Second Monthly Period.

       3.      Attached hereto as Exhibit C is a summary of expenses incurred and reimbursement

of expenses sought, by expense type, for the Second Monthly Period.

       4.      Attached hereto as Exhibit D is itemized time records of the Firm professionals that

provided services during the Second Monthly Period.

       5.      Attached hereto as Exhibit E is an itemized record of all expenses for the Second

Monthly Period.

                         NOTICE OF OBJECTION PROCEDURES

       6.      Notice of this Second Monthly Statement shall be given by hand or overnight

delivery upon the following parties (the “Notice Parties”): (i) the Debtors c/o Genesis Global

Holdco, LLC, Attn: Arianna Pretto-Sankman (email: arianna@genesistrading.com); (ii) counsel

to the Debtors, Cleary Gottlieb Steen & Hamilton, One Liberty Plaza, New York, New York

10006, Attn: Sean A. O’Neal, Jane VanLare (email: soneal@cgsh.com and jvanlare@cgsh.com);

(iii) the United States Trustee for the Southern District of New York, Alexander Hamilton Custom

House, One Bowling Green, Suite 515, New York, New York 10004, Attn: Greg Zipes (email:

greg.zipes@usdoj.gov); and (iv) counsel to the official committee of unsecured creditors, White

& Case LLP, 1221 Avenue of the Americas, 49th Floor, New York, New York 10020, Attn: Philip

Abelson     and      Michele      Meises      (email:     philip.abelson@whitecase.com         and

michele.meises@whitecase.com) and 111 South Wacker Street, Suite 5100, Chicago, Illinois

60606, Attn: Gregory F. Pesce (email: gregory.pesce@whitecase.com).
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       7.      Objections to this Second Monthly Statement, if any, must be served upon the

Notice Parties and by e-mail, hand, or overnight delivery upon the Firm, One Liberty Plaza, New

York, New York 10006, Attn: Sean A. O’Neal, Esq. and Jane VanLare, Esq. (email:

soneal@cgsh.com and jvanlare@cgsh.com) no later than, May 31, 2023 at 12:00 PM (Prevailing

Eastern Time) (the “Objection Deadline”), setting forth the nature of the objection and the specific

amount of fees or expenses at issue.

       8.      If no objections to the Second Monthly Statement are received by the Objection

Deadline, the Debtors shall pay the Firm 80% of the fees identified in this Second Monthly

Statement and the expenses identified in this Second Monthly Statement.

       9.      To the extent an objection to this Second Monthly Statement is received on or

before the Objection Deadline, the Debtors shall withhold payment of that portion of the Second

Monthly Statement to which the Objection is directed and promptly pay the remainder of the fees

in the percentage set forth above pursuant to the terms of the Interim Compensation Order. To the

extent such objection is not resolved, it shall be preserved and scheduled for consideration at the

next interim fee application hearing.



  Dated:     May 31, 2023                    /s/ Sean A. O’Neal
             New York, New York              Sean A. O‘Neal
                                             Luke A. Barefoot
                                             Jane VanLare
                                             CLEARY GOTTLIEB STEEN & HAMILTON LLP
                                             One Liberty Plaza
                                             New York, New York 10006
                                             Telephone: (212) 225-2000
                                             Facsimile: (212) 225-3999


                                             Counsel to the Debtors and Debtors-in-Possession
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                                             EXHIBIT A

                                Cleary Gottlieb Steen & Hamilton
                         Counsel for the Debtors and Debtors in Possession

                     Fee Summary for February 1, 2023 to February 28, 2023

                                                       Year
   Timekeeper           Position      Department    Admitted        Rate      Hours        Fee
                                                    to the Bar
                       Litigation
                                       Litigation
     Abelev,          Technology                      N/A
                                      Technology
    Aleksandr          Specialist                                $ 370.00      0.80     $ 296.00
   Adubofour,          Litigation
                                       Paralegals     N/A
     Akosua            Paralegal                                  $ 430.00    19.60     $ 8,428.00
 Alegre, Nathalie      Associate       Litigation     2020       $ 1,045.00   66.20    $ 69,179.00
    Amorim,
                       Associate       Litigation     2018
 Eduardo D. S. C.                                                $ 1,105.00   109.90   $ 121,439.50
 Banks, BriTonya       Contract
                                       Litigation     2012
        D.             Attorney                                   $ 300.00    160.00   $ 48,000.00
                        Project
                                       Litigation     2006
 Barreto, Brenda       Attorney                                   $ 505.00    76.60    $ 38,683.00
                       Managing
 Bohner, Michael       Discovery       Antitrust      2006
      W.               Attorney                                   $ 860.00     2.50     $ 2,150.00
                       Managing
                                         MAO          N/A
  Boiko, Peter           Clerk                                    $ 430.00     0.30     $ 129.00
 Bremer, Sabrina       Associate      Bankruptcy      2022        $ 845.00    105.70   $ 89,316.50
                       Contract
                                      Bankruptcy      1999
 Cavanagh, Justin      Attorney                                   $ 300.00    193.30   $ 57,990.00
                       Managing
                                         MAO          N/A
  Cheung, Su Y.          Clerk                                    $ 430.00     2.50     $ 1,075.00
   Chiu, Victor        Associate      Bankruptcy      2022       $ 1,400.00    2.80     $ 3,920.00
 Christian, Denise     Discovery
                                       Litigation     1999
        M.             Attorney                                   $ 505.00    86.50    $ 43,682.50
  Christophorou,                        Capital
                        Counsel                       1990
     Penelope                           Markets                  $ 1,485.00    7.10    $ 10,543.50
   Cinnamon,
                       Associate       Litigation     2018
     Michael                                                     $ 1,155.00   42.10    $ 48,625.50
                       Managing
                                         MAO          2006
 Cyr, Brendan J.       Attorney                                  $ 1,180.00    1.40     $ 1,652.00
  Dassin, Lev L.        Partner        Litigation     1991       $ 1,930.00   113.40   $ 218,862.00

 Dawley, William       Associate       Litigation     2021
       S.                                                         $ 965.00     1.40     $ 1,351.00
                      Legal Project
                                        Practice
                      Management                      N/A
                                      Development
   Ferro, Julia         Analyst                                   $ 250.00     0.90     $ 225.00
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                      Assistant
     Franzreb,        Managing        MAO          N/A
     Margaret           Clerk                             $ 370.00       0.80     $ 296.00
    Gallagher,        Litigation
                                    Paralegals     N/A
      Ashlyn          Paralegal                           $ 370.00      44.50    $ 16,465.00
 Gariboldi, Adrian    Law Clerk     Litigation     N/A    $ 710.00     103.90    $ 73,769.00
                      Litigation
                                    Paralegals     N/A
 Gayadin, Umadai      Paralegal                           $ 370.00       1.80     $ 666.00
                       Contract
                                   Private Funds   1998
 Gayle, Karalenne      Attorney                            $ 300.00    157.00    $ 47,100.00
 Gerber, Jared M.      Partner      Litigation     2009   $ 1,730.00    0.30      $ 519.00
 Gifford, Jonathan
                       Counsel         Tax         2009
        D.                                                $ 1,485.00     1.60     $ 2,376.00
                                     Capital
                      Law Clerk                    N/A
 Gong, Richard B.                    Markets              $ 710.00       7.10     $ 5,041.00
                      Project
                                    Litigation     2012
 Guiha, Alexander     Attorney                            $ 505.00       95.30   $ 48,126.50
                                     Financial
    Hammer,            Counsel      Institution    2014
   Brandon M.                       Regulatory            $ 1,280.00     11.10   $ 14,208.00
                       Contract
                                   Private Funds   2016
 Han, Sakyung          Attorney                            $ 300.00    101.50     $ 30,450.00
 Hatch, Miranda       Law Clerk     Bankruptcy     N/A     $ 710.00    141.20    $ 100,252.00
  Heiland, Karl       Associate        Tax         2019   $ 1,105.00    39.30     $ 43,426.50
                       Contract
                                    Bankruptcy     1998
  Hong, Hee Son        Attorney                           $ 300.00     199.30    $ 59,790.00
                       Project
                                    Litigation     2001
  Hurley, Rodger       Attorney                           $ 505.00       96.40   $ 48,682.00
   Janghorbani,
                       Counsel      Litigation     2004
    Alexander                                             $ 1,485.00     39.50   $ 58,657.50
                       Practice
  Kane-Weiss,        Development    Litigation     2001
   Sheilah M.          Lawyer                             $ 1,180.00     0.60     $ 708.00
 Kessler, Thomas
                       Partner      Bankruptcy
        S.                                                $ 1,305.00      0.80    $ 1,044.00
  Kim, Hoo Ri         Associate     Bankruptcy     2019   $ 1,105.00     43.30   $ 47,846.50
    Kolodner,
                       Counsel      Litigation
   Jonathan S.                                            $ 1,765.00     0.60     $ 1,059.00
 Kowiak, Michael
                      Law Clerk     Litigation     N/A
        J.                                                $ 710.00     108.50    $ 77,035.00
                      Litigation
                     Technology     Litigation
                                                   N/A
                       Project     Technology
 Lang, Patrick W.     Specialist                          $ 370.00      4.30      $ 1,591.00
   Larner, Sean       Associate     Litigation     2022   $ 965.00     102.90    $ 99,298.50
   Lashay, Vini       Litigation
                     Technology     Litigation
                                                   N/A
                       Project     Technology
                      Manager                             $ 550.00       0.90     $ 495.00
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 Leibold, Meghan
                        Associate     Litigation   2014
        A.                                                 $ 1,155.00      41.60   $ 48,048.00
    Levander,
                        Associate     Litigation   2015
    Samuel L.                                              $ 1,180.00      87.70   $ 103,486.00
                         Senior
                        Discovery     Litigation   2005
 Levy, Jennifer R.      Attorney                            $ 710.00       80.00   $ 56,800.00
                        Assistant
                        Managing        MAO        N/A
 Libberton, Sara I.       Clerk                             $ 370.00       2.70     $ 999.00
  Linch, Maureen
                         Partner        Tax        2009
         E.                                                $ 1,735.00      26.00   $ 45,110.00
                                       Capital
                         Partner                   1990
 Lopez, David C.                       Markets             $ 1,930.00    4.40       $ 8,492.00
 Lotty, Alexandra       Associate     Litigation   2021     $ 965.00    144.80     $ 139,732.00
   MacAdam,
                        Associate     Litigation   2022
    Katherine                                               $ 845.00    100.70     $ 85,091.50
 Massey, Jack A.        Associate     Litigation   2018    $ 1,105.00    3.10       $ 3,425.50
 Mauser, Jeremy         Litigation
                                      Paralegal    N/A
        A.              Paralegal                           $ 370.00       1.00     $ 370.00
    Mazzuchi,                         Capital
                         Partner                   1992
   Michael A.                         Markets              $ 1,930.00      5.00     $ 9,650.00
 McRae, William
                         Partner        Tax        1998
        L.                                                 $ 2,135.00      7.60    $ 16,226.00
                        Litigation
                                      Litigation
                       Technology                  N/A
                                     Technology
 Milano, Lisa M.        Specialist                          $ 370.00     1.90        $ 703.00
 Minott, Richard        Associate    Bankruptcy    2021     $ 965.00    124.10     $ 119,756.50
                                      Financial
                        Associate    Institution   2022
 Mitchell, Alec F.                   Regulatory             $ 845.00       14.60   $ 12,337.00
                                      Financial
                         Counsel     Institution   2010
  Morris, Brian J.                   Regulatory            $ 1,485.00      3.10     $ 4,603.50
  Morrow, Emily
                        Associate     Litigation   2021
        S.                                                  $ 965.00       75.10   $ 72,471.50
  Mustefa, Hyatt        Associate     Litigation   2020    $ 1,045.00       0.60    $ 627.00
                        Litigation
 O'Keefe, Peter         Resources     Litigation   N/A
       M.               Manager                             $ 780.00     0.90        $ 702.00
 O'Neal, Sean A.         Partner     Bankruptcy    2001    $ 1,820.00   123.40     $ 224,588.00
                        Discovery
                                      Litigation   2015
  Orteza, Audrey        Attorney                            $ 505.00       92.50   $ 46,712.50
                        Uniform
                       Commercial     Corporate
                                                   N/A
                          Code        Resources
  Piazza, Nicole        Specialist                          $ 780.00     0.30        $ 234.00
   Rathi, Mohit         Associate     Litigation   2022     $ 845.00    148.00     $ 125,060.00
 Ribeiro, Christian     Associate    Bankruptcy    2020    $ 1,045.00   134.30     $ 140,343.50
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   Richey, Brett       Associate      Litigation    2022   $ 845.00       67.10   $ 56,699.50
  Rivas-Marrero,       Contract
                                      Litigation    2005
      David            Attorney                            $ 300.00     203.60    $ 61,080.00
                        Counsel
                                     Bankruptcy     1981
 Rocks, Sandra M.      Emeritus                            $ 1,485.00     0.50     $ 742.50
                      Direction of
 Rodriguez, Maria      Litigation     Litigation    N/A
         B.            Resources                           $ 780.00       1.30     $ 1,014.00
 Rohlfs, Stephanie                     Capital
                       Associate                    2014
        M.                             Markets             $ 1,180.00     13.60   $ 16,048.00
   Rosenblum,
                       Associate      Litigation    2020
    Benjamin                                               $ 1,045.00     0.50     $ 522.50
                       Assistant
  Royce, Mary          Managing         MAO         N/A
    Elizabeth            Clerk                              $ 370.00     10.10     $ 3,737.00
  Saba, Andrew         Associate      Litigation    2020   $ 1,045.00   134.10    $ 140,134.50
                        Senior
                                      Litigation    2015
 Saenz, Andres F.      Attorney                            $ 1,190.00   166.30    $ 197,897.00
                       Litigation
                                      Paralegals    N/A
  Saran, Samira        Paralegal                            $ 430.00      37.70   $ 16,211.00
 Schaefer, Drew        Associate         Tax        2021   $ 1,045.00     26.60   $ 27,797.00
 Schwartz, David                     Bankruptcy /
                       Associate                    2017
        Z.                            Litigation           $ 1,180.00     1.70     $ 2,006.00
    Simmons,                           Capital
                        Partner                     2014
    Clayton I.                         Markets             $ 1,505.00     4.90     $ 7,374.50
     Spoerri,
                        Partner        M&A          2009
   Kimberly R.                                             $ 1,700.00     0.20     $ 340.00
 Taylor, William       Contract
                                      Litigation    2018
       B.              Attorney                             $ 300.00    159.80     $ 47,940.00
  VanLare, Jane         Partner      Bankruptcy     2008   $ 1,730.00   136.90    $ 236,837.00
 Vaughan Vines,        Discovery
                                      Litigation    2010
     Janel A           Attorney                            $ 505.00       60.50   $ 30,552.50
                        Project
                                      Litigation    2009
  Wang, Brenda         Attorney                            $ 505.00       93.60   $ 47,268.00
                                      Financial
                       Associate     Institution    2020
 Wang, Wankun                        Regulatory            $ 1,045.00      0.10    $ 104.50
 Weaver, Andrew         Counsel      Litigation     2003   $ 1,485.00     43.50   $ 64,597.50
   Weinberg,
                       Associate     Bankruptcy     2019
    Michael                                                $ 1,105.00   154.80    $ 171,054.00
 Wilford, Rachel       Contract
                                      Litigation    2007
       N.              Attorney                            $ 300.00     159.80    $ 47,940.00
                                      Financial
    Witchger,          Associate     Institution    2019
    Kathryn                          Regulatory            $ 1,105.00     6.90     $ 7,624.50
                       Contract
                                      Litigation    2006
  Woll, Laura          Attorney                             $ 375.00     93.40     $ 35,025.00
 Zutshi, Rishi N.      Partner        Litigation    2009   $ 1,730.00   140.70    $ 243,411.00
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                                                                         $ 4,273,975.
 Totals                                                                           00
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                                         EXHIBIT B

      Fee Summary by Project Category for February 1, 2023 to February 28, 2023

      Matter     Matter Description                                          Total

      24872.005 General                                                     $14,019.50

      24872.006 Case Administration                                        $231,871.50

      24872.007 Business Operations                                                  $0

      24872.008 Cash Management                                             $37,182.50

      24872.009 Employee Matters                                             $9,276.00

      24872.010 Lender Communications                                       $14,100.50

      24872.011 Supplier/Vendor Issues                                      $13,064.50

      24872.012 Creditors Committee Matters                                $133,694.00

      24872.013 Claims Administration and Objections                        $40,833.00

      24872.014 Plan of Reorganization and Disclosure Statement            $280,601.50

      24872.015 Tax                                                        $154,375.50

      24872.016 Regulatory                                                 $615,059.50

      24872.017 Investigation                                             $2,103,560.00

      24872.018 Singapore proceeding                                        $30,068.50

      24872.019 Post-Petition Governance                                    $34,154.00

      24872.020 Litigation                                                  $67,249.50

      24872.021 Non Debtor Subsidiaries                                              $0

      24872.022 Asset Analysis & Recovery                                   $22,689.50

      24872.023 Fee and Employment Application (Retention applications)    $114,847.50

      24872.024 GAP Specific Matters                                       $213,919.00
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      24872.025 GGH Specific Matters                                       $0

      24872.026 Cash Cloud                                          $52,539.00

      24872.027 Merger & Acquisition                                $90,870.00

                                TOTAL                          $4,273,975.00
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                                        EXHIBIT C

                Summary of Expenses for February 1, 2023 to February 28, 2023



  Expense Category                                                   Total Expenses

  Computer Research – Lexis                                             $2,196.97

  Computer Research – Westlaw                                          $34,935.62

  Delivery Services / Courier                                            $459.03

  Meals                                                                 $1,192.26

  Professional Services                                                  $872.39

  Transcripts                                                           $1,083.45

  Transportation                                                        $1,675.24

                                                                       $42,414.96
  Grand Total Expenses
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                                     EXHIBIT D

               Billing Reports for February 1, 2023 to February 28, 2023
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Genesis Global Holdco, LLC                                                May 16, 2023
250 Park Ave S                                                        Invoice 10089287
5th Floor
New York, NY 10003

Attn:          Arianna Pretto-Sakmann
GENERAL (005)
                                                                      $      14,019.50

CASE ADMINISTRATION (006)
                                                                            231,871.50

Cash Management (008)
                                                                             37,182.50

Employee Matters (009)
                                                                              9,276.00

Lender Communications (010)
                                                                             14,100.50

Supplier/Vendor Issues (011)
                                                                             13,064.50

Creditors Committee Matters (012)
                                                                            133,694.00

Claims Administration and Objections (013)
                                                                             40,833.00
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Plan of Reorganization and Disclosure Statement (014)
                                                                          280,601.50

Tax (015)
                                                                          154,375.50

Regulatory (016)
                                                                          615,059.50

Investigation (017)
                                                                         2,103,560.00

Singapore Proceeding (018)
                                                                           30,068.50

Post-Petition Governance (019)
                                                                           34,154.00

Litigation (020)
                                                                           67,249.50

Asset Analysis & Recovery (022)
                                                                           22,689.50

Fee and Employment Application (Retention applications) (023)
                                                                          114,847.50

GAP-Specific Matters (024)
                                                                          213,919.00

Cash Cloud (026)
                                                                           52,539.00

M&A (027)
                                                                           90,870.00
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                             Ancillary Charges

      Car Service                                $       155.67
      Computer Research                               37,132.59
      Conference Expenses                                 72.26
      Delivery Charges                                    67.91
      Document Production                                861.50
      Staff Late Work                                  2,722.09
      Travel Expenses                                    308.60
      Bureau of National Affairs, INC                     10.89
      Veritext New York Reporting Co                   1,083.45
Total Ancillary Charges:                                                     42,414.96
Total Amount Due:                                                     $    4,316,389.96
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                                                           Privileged and Confidential
CLIENT: Genesis Global Holdco, LLC
MATTER: 24872.005 GENERAL


                               Timekeeper Summary
Name                                  Hours                 Rate            Amount

Partner
O'Neal, S.A.                           .6.00            .1,820.00   $      10,920.00
VanLare, J.                            .1.10            .1,730.00   $       1,903.00
Zutshi, R.N.                           .0.50            .1,730.00   $         865.00
Associate
Amorim, E.D.                           .0.30            .1,105.00   $        331.50

Total:                                 7.90                         $      14,019.50




                                          4
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                                                           Privileged and Confidential
CLIENT: Genesis Global Holdco, LLC
MATTER: 24872.005 GENERAL



NAME                  DATE      DESCRIPTION                                    HOURS
O'Neal, S.A.          02/01/23 Calls with B. Rosen (Prosuaer), J. Sazant         0.20
                               (Proskauer) re Term Sheet
O'Neal, S.A.          02/02/23 Attend senior management team meeting.            0.50
O'Neal, S.A.          02/07/23 Genesis Senior Management call                    0.50
VanLare, J.           02/07/23 Working group meeting with B. Klein               0.50
                               (Moelis), J. Sciametta (A&M), M. Leto
                               (A&M), B. Bolthus (Genesis), A. Chan
                               (Genesis), A. Pretto-Sakmann (Genesis), T.
                               Conheeney (Genesis), D. Islim (Genesis), S.
                               O’Neal (partial) (.5)
O'Neal, S.A.          02/09/23 Genesis Senior Management call                    0.30
Zutshi, R.N.          02/12/23 Communications with client regarding matter       0.50
                               developments.
O'Neal, S.A.          02/14/23 Senior leadership call and follow up (.5)         0.50
O'Neal, S.A.          02/14/23 Conference with D. Islim (Genesis) re various     0.50
                               developments and next steps (.5)
O'Neal, S.A.          02/14/23 On-site meetings with M. Leto (A&M), P.           0.50
                               Kinealy (A&M) re various issues (.5)
O'Neal, S.A.          02/15/23 Call with Islim Derar (Genesis) re update on      0.30
                               various work streams (.3)
O'Neal, S.A.          02/17/23 Update call with Derar Islim (Genesis)            0.10
O'Neal, S.A.          02/23/23 Corresp with A. Pretto-Sakmann (Genesis) re       0.10
                               GBTC issues (.1)
O'Neal, S.A.          02/24/23 Corresponded with A. Pretto-Sakmann, B.           0.40
                               Hammer and M. Leto re GBTC (.4)
O'Neal, S.A.          02/26/23 Corresponded with V. D'Amico re                   0.10
                               workstreams and next steps (.1)
Amorim, E.D.          02/27/23 Call with A. Saenz regarding Morrison Cohen       0.30
                               UCC debrief on Gemini EARN documents.
O'Neal, S.A.          02/28/23 Call with D. Islim (Genesis) (.5)                 0.50
O'Neal, S.A.          02/28/23 Conference with Derar Islim re various            0.50
                               matters and updates (.5)
O'Neal, S.A.          02/28/23 orking group call with D. Islim (Genesis), T.     0.60
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NAME                  DATE      DESCRIPTION                                     HOURS
                                Conheeney (Genesis), J. Sciametta (A&M),
                                M. Leto (A&M), J. VanLare, A. Pretto-
                                Sakmann (Genesis), B. Bolthius (Genesis) (.6)
O'Neal, S.A.          02/28/23 Working group meeting with B. Klein                0.40
                               (Moelis), J. Sciametta (A&M), M. Leto
                               (A&M), B. Bolthus (Genesis), A. Chan
                               (Genesis), A. Pretto-Sakmann (Genesis), T.
                               Conheeney (Genesis), D. Islim (Genesis), J.
                               VanLare (.4) (partial attendance)
VanLare, J.           02/28/23 Working group call with D. Islim (Genesis),        0.60
                               T. Conheeney (Genesis), J. Sciametta (A&M),
                               M. Leto (A&M), S. O’Neal, A. Pretto-
                               Sakmann (Genesis), B. Bolthius (Genesis) (.6)
                                MATTER TOTAL:                                     7.90




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                                  Timekeeper Summary
Name                                     Hours                 Rate            Amount

Partner
O'Neal, S.A.                              .5.90            .1,820.00   $      10,738.00
VanLare, J.                             .37.30             .1,730.00   $      64,529.00
Zutshi, R.N.                              .0.80            .1,730.00   $       1,384.00
Counsel
Hammer, B.M.                              .0.30            .1,280.00   $        384.00
Associate
Bremer, S.                                .8.20              .845.00   $       6,929.00
Kim, H.R.                               .15.00             .1,105.00   $      16,575.00
Lotty, A.                                 .0.30              .965.00   $         289.50
Minott, R.                              .27.80               .965.00   $      26,827.00
Ribeiro, C.                             .31.80             .1,045.00   $      33,231.00
Weinberg, M.                            .10.20             .1,105.00   $      11,271.00
Associate Not Admitted
Hatch, M.                               .56.20              .710.00    $      39,902.00
Paralegal
Adubofour, A.                             .7.20             .430.00    $       3,096.00
Gallagher, A.                           .12.00              .370.00    $       4,440.00
Mauser, J.A.                              .1.00             .370.00    $         370.00
Saran, S.                               .11.40              .430.00    $       4,902.00
Non-Legal
Boiko, P.                                 .0.30              .430.00   $         129.00
Cheung, S.Y.                              .2.50              .430.00   $       1,075.00
Cyr, B.J.                                 .1.10            .1,180.00   $       1,298.00
Franzreb, M.                              .0.80              .370.00   $         296.00
Libberton, S.I.                           .2.40              .370.00   $         888.00
Royce, M.E.                               .8.90              .370.00   $       3,293.00
Non-Legal
Ferro, J.                                 .0.10             .250.00    $         25.00

Total:                                  241.50                         $    231,871.50




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NAME                  DATE       DESCRIPTION                                     HOURS
O'Neal, S.A.          02/01/23 Call with J. VanLare re general case status         0.40
VanLare, J.           02/01/23 Call with S. O’Neal re general case status (.4)     0.40
VanLare, J.           02/01/23 Reviewed materials for IDI (.4); drafted email      0.50
                               to G. Zipes (US Trustee) re same (.1)
Ribeiro, C.           02/01/23 Review UST request re repayment of loans            0.20
Weinberg, M.          02/01/23 Correspondence with S. Larner regarding             0.40
                               treatment of indemnification obligations in
                               bankruptcy.
Hatch, M.             02/01/23 Email Correspondence with C. Ribeiro                0.50
                               discussing tasks to be completed (0.5)
Hatch, M.             02/01/23 Correspond with A. Gallagher, S. Saran, A.          0.50
                               Adubofour re pulling documents from
                               dataroom (0.5)
Gallagher, A.         02/01/23 Updated Venue Data Room per M. Hatch                0.90
O'Neal, S.A.          02/02/23 Call with J. VanLare re various case                0.50
                               management issues (.4); prep for same (.1)
VanLare, J.           02/02/23 Working group meeting with B. Klein                 0.50
                               (Moelis), J. Sciametta (A&M), M. Leto
                               (A&M), B. Bolthus (Genesis), A. Chan
                               (Genesis), A. Pretto-Sakmann (Genesis), T.
                               Conheeney (Genesis), D. Islim (Genesis), S.
                               O’Neal (.5)
VanLare, J.           02/02/23 Reviewed top creditor list (.5)                     0.50
VanLare, J.           02/02/23 Call with S. O’Neal re various case                 0.40
                               management issues
VanLare, J.           02/02/23 Prepared for IDI with US Trustee (.6)               0.60
Minott, R.            02/02/23 Attention to corresp. from H. Kim, C. Ribeiro,      0.60
                               M. Hatch, S. Bremer, S. O'Neal, J. VanLare re
                               case status
Ribeiro, C.           02/02/23 Revise interim compensation motion                  0.60
Gallagher, A.         02/02/23 Updated Venue Dataroom per M. Hatch                 0.50
O'Neal, S.A.          02/03/23 Catch up with A. Pretto-Sakmann (Genesis) re        0.50
                               various workstreams

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NAME                 DATE       DESCRIPTION                                     HOURS
O'Neal, S.A.         02/03/23 Call with Jane VanLare re next steps                0.30
VanLare, J.          02/03/23 Call with H. Kim re update (.1); Participated       1.10
                              in initial debtor interview with the US Trustee
                              (.8); Drafted correspondence to G. Zipes
                              (UST) (.2)
VanLare, J.          02/03/23 Call with G. Zipes (UST), V. Vlasova (UST),         0.70
                              H. Kim, C. Ribeiro and M. Hatch (partial)
                              regarding redaction issues, scheduling, and
                              potential 345 issues (0.7)
VanLare, J.          02/03/23 Call with P. Kinealy (A&M), P. Wirtz                0.50
                              (A&M), D. Petty (A&M), M. Weinberg, H.
                              Kim, C. Ribeiro, R. Minott, S. Bremer, and
                              M. Hatch regarding filing of Schedules,
                              vendor list, and bar date motion (.5)
VanLare, J.          02/03/23 Call with S. O’Neal re next steps                   0.30
VanLare, J.          02/03/23 Drafted email to A. Pretto- Sakmann                 0.50
                              (Genesis) re workstreams (.5)
VanLare, J.          02/03/23 Prepared for second day hearing (.6)                0.60
Bremer, S.           02/03/23 Call with P. Kinealy (A&M), P. Wirtz                0.50
                              (A&M), D. Petty (A&M), J. VanLare, M.
                              Weinberg, H. Kim, C. Ribeiro, R. Minott, and
                              M. Hatch regarding filing of Schedules,
                              vendor list, and bar date motion
Bremer, S.           02/03/23 Call with H. Kim re status of various               0.20
                              workstreams.
Kim, H.R.            02/03/23 Reviewing motion to redact creditor names           0.40
                              (.3); Call with J. VanLare re update (.1)
Kim, H.R.            02/03/23 Call with C. Ribeiro re status of current           0.60
                              workstreams (0.6)
Kim, H.R.            02/03/23 Attending Initial Debtor Interview with US          0.50
                              Trustee's office, P. Kinley (A&M) and D.
                              Petty (A&M)
Kim, H.R.            02/03/23 Compiling UST certifications                        0.50
Kim, H.R.            02/03/23 Call with M. Weinberg re: workstreams               0.20
Kim, H.R.            02/03/23 Call with M. Hatch re: ongoing workstreams          0.30
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Kim, H.R.            02/03/23 Call with G. Zipes (UST), V. Vlasova (UST),        0.70
                              J. VanLare, M. Hatch (partial), and C. Ribeiro
                              regarding redaction issues, scheduling, and
                              potential 345 issues (.7)
Kim, H.R.            02/03/23 Call with P. Kinealy (A&M), P. Wirtz               0.50
                              (A&M), D. Petty (A&M), J. VanLare, M.
                              Weinberg, M. Hatch, C. Ribeiro, R. Minott,
                              and S. Bremer regarding filing of Schedules,
                              vendor list, and bar date motion (0.5)
Kim, H.R.            02/03/23 Call with S. Bremer re status of various           0.20
                              workstreams.
Minott, R.           02/03/23 Call with P. Kinealy (A&M), P. Wirtz               0.50
                              (A&M), D. Petty (A&M), J. VanLare, M.
                              Weinberg, H. Kim, C. Ribeiro, M. Hatch, and
                              S. Bremer regarding filing of Schedules,
                              vendor list, and bar date motion (0.5)
Ribeiro, C.          02/03/23 Call with P. Kinealy (A&M), P. Wirtz               0.50
                              (A&M), D. Petty (A&M), J. VanLare, M.
                              Weinberg, H. Kim, R. Minott, S. Bremer, and
                              M. Hatch regarding filing of Schedules,
                              vendor list, and bar date motion
Ribeiro, C.          02/03/23 Review 341 meeting notice requirements             0.10
Ribeiro, C.          02/03/23 Call with G. Zipes (UST), V. Vaslova (UST,         0.70
                              and J. VanLare, H. Kim and M. Hatch
                              (partial) re redaction issues, scheduling and
                              potential 345 issues
Ribeiro, C.          02/03/23 Correspond with M. Hatch, H. Kim, J.               0.40
                              VanLare re UST redaction issues
Ribeiro, C.          02/03/23 Call with M. Hatch re status of current            0.80
                              workstreams
Ribeiro, C.          02/03/23 Call with H. Kim re status of current              0.60
                              workstreams
Weinberg, M.         02/03/23 Call with P. Kinealy (A&M), P. Wirtz               0.50
                              (A&M), D. Petty (A&M), J. VanLare, H.
                              Kim, C. Ribeiro, R. Minott, S. Bremer, and
                              M. Hatch regarding filing of Schedules,

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NAME                 DATE       DESCRIPTION                                     HOURS
                                vendor list, and bar date motion.
Weinberg, M.         02/03/23 Call with H. Kim re: workstreams                    0.20
Hatch, M.            02/03/23 Call with C. Ribeiro re status of current           0.90
                              workstreams (.8); prep for same (.1)
Hatch, M.            02/03/23 Call with H. Kim re: ongoing workstreams            0.30
Hatch, M.            02/03/23 Communicating with A. Gallagher, S. Saran,          0.30
                              A. Adoubafour re Hearing on 2/6
Hatch, M.            02/03/23 Email summary of call with UST (0.5)                0.50
Hatch, M.            02/03/23 Call with P. Kinealy (A&M), P. Wirtz                0.50
                              (A&M), D. Petty (A&M), J. VanLare, M.
                              Weinberg, H. Kim, C. Ribeiro, R. Minott, and
                              S. Bremer regarding filing of Schedules,
                              vendor list, and bar date motion (0.5)
Hatch, M.            02/03/23 Call with G. Zipes (UST), V. Vlasova (UST),         0.60
                              J. VanLare, H. Kim, and C. Ribeiro regarding
                              redaction issues, scheduling, and potential 345
                              issues (partial attendance)
VanLare, J.          02/04/23 Reviewed presentation re GCL (.1)                   0.10
Hammer, B.M.         02/04/23 Comment on summary of Cleary                        0.30
                              workstreams.
Ribeiro, C.          02/04/23 Revise background section of motions                0.10
Ribeiro, C.          02/04/23 Review list of pleading/applications in             0.40
                              preparation for Wednesday filing
O'Neal, S.A.         02/05/23 Call with D. Islim (Genesis) re various             0.50
                              developments
O'Neal, S.A.         02/05/23 Calls and Corresp with M. Leto (A&M ) re            0.30
                              GGC issues
VanLare, J.          02/05/23 Call with C. Ribeiro, and S. Bremer (partial)       0.30
                              re case administration (.3).
VanLare, J.          02/05/23 Reviewed GCL presentation and email to              0.40
                              regulators (.3); reviewed correspondence re
                              stay (.1)
VanLare, J.          02/05/23 Drafted email to A. Pretto-Sakmann (Genesis)        0.60
                              re case status (.6)
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Bremer, S.           02/05/23 Call with J. VanLare, C. Ribeiro re case              0.10
                              administration (partial attendance).
Ribeiro, C.          02/05/23 Correspond with J. Berman (Kroll) re                  0.10
                              noticing/courtesy copies
Ribeiro, C.          02/05/23 Correspond with B. Cyr re Wednesday filings           0.10
Ribeiro, C.          02/05/23 Revise mediation motion (0.6); correspond             0.80
                              with S. O'Neal re same (0.2)
Ribeiro, C.          02/05/23 Call with J. VanLare and M. Bremer (partial)          0.30
                              re case administration.
Ribeiro, C.          02/05/23 Review court procedures for filing                    0.40
                              stipulations
Hatch, M.            02/05/23 Drafted Budget for client using postpetition          0.30
                              billed numbers to date
Hatch, M.            02/05/23 Reviewed precedents to determine when                 1.90
                              revised proposed orders need to be filed
O'Neal, S.A.         02/06/23 Comment on weekly update email to Arianna             0.10
                              Pretto-Sakmann
O'Neal, S.A.         02/06/23 Call with J. VanLare, M. Hatch, C. Ribeiro,           0.30
                              and S. Bremer regarding plan updates and
                              status of filings for 2/22 Hearing (partial
                              attendance)
VanLare, J.          02/06/23 Call with S. O’Neal (Partial), C. Ribeiro, S.         0.70
                              Bremer and M. Hatch regarding plan updates
                              and status of filings for 2/22 Hearing (0.7)
VanLare, J.          02/06/23 Prepared for court status conference (.6);            2.40
                              participated in court hearing (1.1); call with S.
                              O’Neal re court hearing (.2); drafted email to
                              A. Pretto-Sakmann re workstreams (.4);
                              drafted email to G. Zipes (US Trustee) (.1)
Bremer, S.           02/06/23 Call with J. VanLare, S. O'Neal (Partial), C.         0.70
                              Ribeiro, and M. Hatch regarding plan updates
                              and status of filings for 2/22 Hearing.
Ribeiro, C.          02/06/23 Call with J. VanLare, S. ONeal (Partial), M.          0.70
                              Hatch, and S. Bremer regarding plan updates
                              and status of filings for 2/22 Hearing (0.7)
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Ribeiro, C.             02/06/23 Call with L. Ebanks (Chambers) re status           0.10
                                 conference and sealing procedures
Ribeiro, C.             02/06/23 Correspond with S. Saran re notices of filing      0.10
Hatch, M.               02/06/23 Ensured that Zoom and Telephonic Line were         0.70
                                 set up for Status Conference (0.7)
Hatch, M.               02/06/23 Drafted Budget for Client using Postpetition       0.70
                                 Billed Numbers
Hatch, M.               02/06/23 Call with J. VanLare, S. ONeal (Partial), C.       0.70
                                 Ribeiro, and S. Bremer regarding plan
                                 updates and status of filings for 2/22 Hearing
                                 (0.7)
Adubofour, A.           02/06/23 Update documents with team deadlines per M.        0.30
                                 Hatch
Cyr, B.J.               02/06/23 Coordinate filing and service of notice of         0.10
                                 adjournment of status conference; confer with
                                 M. Weinberger and S. LIbberton re: same.
Libberton, S.I.         02/06/23 File Notice of Adjournment of Hearing,             0.20
                                 correspond w/ B. Cyr re: same.
VanLare, J.             02/07/23 Call with G. Zipes (UST), V. Vlasova (UST),        0.50
                                 B. Teich (UST), C. Ribeiro and M. Hatch
                                 regarding redaction and potential 345 issues
                                 (partial attendance)
VanLare, J.             02/07/23 Call with C. Ribeiro, and M. Hatch regarding       1.00
                                 second day motion filings
VanLare, J.             02/07/23 Call with P Wirtz (A&M), H. Bixler (A&M),          0.70
                                 P. Kinealy (A&M), M. Fitts (A&M), J.
                                 Sciametta (A&M), D. Petty (A&M), C.
                                 Ribeiro, S. Bremer, M. Hatch regarding PII
                                 lists, second day motions, and liquidation
                                 analysis (partial) (.7)
Bremer, S.              02/07/23 Call with P Wirtz (A&M), H. Bixler (A&M),          0.70
                                 P. Kinealy (A&M), M. Fitts (A&M), J.
                                 Sciametta (A&M), D. Petty (A&M), J.
                                 VanLare, C. Ribeiro and M. Hatch regarding
                                 PII lists, second day motions, and liquidation
                                 analysis.
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Bremer, S.            02/07/23 Draft notice of creditor meeting.                  0.10
Bremer, S.            02/07/23 Call with C. Ribeiro re status of current          0.30
                               workstreams.
Ribeiro, C.           02/07/23 Call with G. Zipes (UST), V. Vlasova (UST),        0.60
                               B. Teich (UST), J. VanLare (partial), and M.
                               Hatch regarding redaction and potential 345
                               issues
Ribeiro, C.           02/07/23 Call with S. Bremer re status of current           0.30
                               workstreams
Ribeiro, C.           02/07/23 Call with P Wirtz (A&M), H. Bixler (A&M),          0.80
                               P. Kinealy (A&M), M. Fitts (A&M), J.
                               Sciametta (A&M), D. Petty (A&M), J.
                               VanLare,M. Hatch, and S. Bremer regarding
                               PII lists, second day motions, and liquidation
                               analysis (0.7); prep for same (.1)
Ribeiro, C.           02/07/23 Correspond with A. Adubofour re notices of         0.10
                               filing
Ribeiro, C.           02/07/23 Call with J. VanLare and M. Hatch regarding        1.00
                               second day motion filings
Hatch, M.             02/07/23 Call with J. VanLare and C. Ribeiro regarding      1.00
                               second day motion filings (1.0)
Hatch, M.             02/07/23 Call with P Wirtz (A&M), H. Bixler (A&M),          0.80
                               P. Kinealy (A&M), M. Fitts (A&M), J.
                               Sciametta (A&M), D. Petty (A&M), J.
                               VanLare, C. Ribeiro, and S. Bremer
                               regarding PII lists, second day motions, and
                               liquidation analysis (0.7); prep for same (.1)
Hatch, M.             02/07/23 Incorporated edits from J. VanLare on slides       1.20
                               for Special Committee (1.2)
Hatch, M.             02/07/23 Call with G. Zipes (UST), V. Vlasova (UST),        0.60
                               B. Teich (UST), J. VanLare (partial), and C.
                               Ribeiro regarding redaction and potential 345
                               issues (0.6)
Adubofour, A.         02/07/23 Revise Notices of Filing per C. Ribeiro            1.00
Gallagher, A.         02/07/23 Update Venue Data Room per M. Hatch                0.30

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Gallagher, A.         02/07/23 Proofread Notice of Filings per C. Ribeiro           1.80
Saran, S.             02/07/23 Created and circulated news updates per A.           0.50
                               Saenz
Saran, S.             02/07/23 Revised formatting of Notice of Filings per C.       2.00
                               Ribeiro
VanLare, J.           02/08/23 Reviewed redaction motion (1.3); filing              3.60
                               second day pleadings and applications (2.3)
Bremer, S.            02/08/23 Draft notice of appearance for J. Massey.            0.30
Bremer, S.            02/08/23 Draft notice of hearing (.5); research               2.00
                               precedent on notice of hearing (.5); revise
                               notice of hearing per M. Weinberg comments
                               (.5); revise notice of hearing per J. VanLare
                               comments (.2); coordinate filing of notice of
                               hearing (.3).
Ribeiro, C.           02/08/23 Correspond with P. Boiko re filings                  0.10
Ribeiro, C.           02/08/23 Review sealing procedures (0.2); correspond          0.40
                               with G. Brunswick (Kroll), J. Berman (Kroll)
                               re service of filings (0.2)
Ribeiro, C.           02/08/23 Prepare finalized draft of filings with external     6.20
                               comments of retention applications for Cleary
                               (0.8); Kroll (0.6); Morrison Cohen (0.7); Kim
                               & Kobre (0.3); A&M (0.7); Moelis (0.7);
                               prepare finalized drafts of interim
                               compensation motion (0.4); ordinary course
                               professionals motion (0.3); correspond with
                               M. Hatch, S. Bremer re filings (0.8);
                               correspondence with J. VanLare re filings
                               (0.7); correspond with S. Saran, A. Adubofour
                               re filings (0.2)
Ribeiro, C.           02/08/23 Correspond with A. Pretto-Sakmann re                 0.20
                               Wednesday motions to be filed
Hatch, M.             02/08/23 Worked on Parties in Interest List and               4.00
                               Redacted Versions of Second Day Filings
Adubofour, A.         02/08/23 Redact various motions and assist team with          5.10
                               finalization of motions for filing
Gallagher, A.         02/08/23 Prepared Notice of Appearance per S. Bremer          0.50
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Gallagher, A.         02/08/23 Revised Motion to Redact Individual                0.30
                               Creditors Names per C. Ribeiro
Gallagher, A.         02/08/23 Updated Venue Data Room per M. Hatch               0.30
Saran, S.             02/08/23 Assisted with preparing and finalizing Notices     8.80
                               for filing per M. Hatch
Cheung, S.Y.          02/08/23 Supervise e-filing of Notice of Hearing;           0.10
                               Confer with M.Royce re the same.
Cheung, S.Y.          02/08/23 Supervise e-filing of Retention applications.      1.00
Cheung, S.Y.          02/08/23 Confer with M.Royce re the Supervision of e-       1.00
                               filing of Retention applications.
Cyr, B.J.             02/08/23 Coordinate filing and service of emergency         0.60
                               motion for priming lien and motion to shorten
                               notice period for same; confer with S. Bremer
                               and M. Royce re: same.
Franzreb, M.          02/08/23 File notice of appearance for J. Massey.           0.10
Royce, M.E.           02/08/23 File two motions in USBC/SDNY: Genesis             0.20
                               Global Holdco, LLC, confer B. Cyr.
Royce, M.E.           02/08/23 Refile motions in USBC/SDNY: Genesis               0.40
                               Global Holdco, LLC, confer B. Cyr.
Royce, M.E.           02/08/23 Circulate and manually docket 2/6/23 hearing       0.10
                               to team.
Royce, M.E.           02/08/23 File Motions and Applications in                   4.00
                               USBC/SDNY: Genesis Global Holdco, confer
                               S. Cheung. (OT)
O'Neal, S.A.          02/09/23 Working group meeting with B. Klein                0.20
                               (Moelis), J. Sciametta (A&M), M. Leto
                               (A&M), B. Bolthus (Genesis), A. Chan
                               (Genesis), A. Pretto-Sakmann (Genesis), T.
                               Conheeney (Genesis), D. Islim (Genesis), J.
                               VanLare (.2)
VanLare, J.           02/09/23 Working group meeting with B. Klein                0.20
                               (Moelis), J. Sciametta (A&M), M. Leto
                               (A&M), B. Bolthus (Genesis), A. Chan
                               (Genesis), A. Pretto-Sakmann (Genesis), T.
                               Conheeney (Genesis), D. Islim (Genesis), S.
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                                 O’Neal (.2)
Ribeiro, C.           02/09/23 Correspond with C. Rivera (Kroll) re service       0.10
                               of unredacted filings
Ribeiro, C.           02/09/23 Correspond with M. Hatch re service of             0.10
                               unredacted filings to Chambers
Ribeiro, C.           02/09/23 Review proposed interim compensation               0.30
                               procedures (0.2); correspond with J. Marsella,
                               J. VanLare re same (0.1)
Ribeiro, C.           02/09/23 Review final first day orders                      0.50
Ribeiro, C.           02/09/23 Correspond with J. VanLare re final orders re      0.10
                               first day motions
Ribeiro, C.           02/09/23 Call with Arthur (WP Clerk's Office) re            0.10
                               delivery of unredacted pleadings
Ribeiro, C.           02/09/23 Call with C. Azzaro (Chambers) re delivery of      0.10
                               unredacted pleadings
Ribeiro, C.           02/09/23 Call with M. Hatch re delivery of unredacted       0.30
                               pleadings to Chambers
Hatch, M.             02/09/23 Call with C. Ribeiro re delivery of unredacted     0.30
                               pleadings to Chambers (0.3)
Hatch, M.             02/09/23 Compiled Orders for second Day Hearing and         2.50
                               sent to J. VanLare (2.4); Call with C. Ribeiro
                               re critical vendor final order (.1)
Hatch, M.             02/09/23 Prepared binders of unredacted filings to be       1.50
                               sent to the Court and UST (1.5)
Gallagher, A.         02/09/23 Reviewed updates to venue data room per M.         0.30
                               Hatch
Gallagher, A.         02/09/23 Organized litpath per M. Hatch                     0.30
Cheung, S.Y.          02/09/23 Supervise e-filing of Notice of Agenda;            0.10
                               Confer with S.Libberton re the same.
Royce, M.E.           02/09/23 Deliver binders to US. Trustee at One              0.40
                               Bowling Green to be filed under pending
                               motion to seal.
VanLare, J.           02/10/23 Call with S. O’Neal re stay issues (.1)            0.10

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VanLare, J.          02/10/23 Call with G. Zipes (UST), B. Teich (UST), C.       0.50
                              Ribeiro and M. Hatch regarding 2/22 Hearing
                              deadlines
VanLare, J.          02/10/23 Call with P Wirtz (A&M), M. Fitts (A&M),           0.40
                              D. Petty (A&M), P. Cascante (A&M), R.
                              Smith (A&M), C. Ribeiro, S. Bremer, M.
                              Hatch regarding 345 issues and critical vendor
                              updates (partial attendance)
Bremer, S.           02/10/23 Call with P Wirtz (A&M), M. Fitts (A&M),           0.50
                              D. Petty (A&M), P. Cascante (A&M), R.
                              Smith (A&M), J. VanLare (partial), C.
                              Ribeiro and M. Hatch regarding 345 issues
                              and critical vendor updates.
Ribeiro, C.          02/10/23 Call with P Wirtz (A&M), M. Fitts (A&M),           0.50
                              D. Petty (A&M), P. Cascante (A&M), R.
                              Smith (A&M), J. VanLare (partial), S.
                              Bremer, M. Hatch regarding 345 issues and
                              critical vendor updates
Ribeiro, C.          02/10/23 Call with G. Zipes (UST), B. Teich (UST), J.       0.50
                              VanLare and M. Hatch regarding 2/22
                              Hearing deadlines
Hatch, M.            02/10/23 Call with P Wirtz (A&M), M. Fitts (A&M),           0.50
                              D. Petty (A&M), P. Cascante (A&M), R.
                              Smith (A&M), J. VanLare (partial), C.
                              Ribeiro, and S. Bremer, regarding 345 issues
                              and critical vendor updates (0.5)
Hatch, M.            02/10/23 Call with G. Zipes (UST), B. Teich (UST), J.       0.50
                              VanLare, and C. Ribeiro regarding 2/22
                              Hearing deadlines (0.5)
Cheung, S.Y.         02/10/23 Supervise e-filing of Term Sheet; Confer with      0.10
                              M.Franzreb re the same.
Franzreb, M.         02/10/23 File term sheet, confer with S. Cheung re:         0.10
                              same.
VanLare, J.          02/11/23 Prepared for second day hearing (1.5)              1.50
VanLare, J.          02/11/23 Drafted correspondence to US Trustee (.2)          0.20
Hatch, M.            02/11/23 Coordinated with J. Massey on his addition to      0.40

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NAME                 DATE       DESCRIPTION                                    HOURS
                                the Genesis Team (0.4)
VanLare, J.          02/12/23 Drafted email to client re current workstreams     1.00
                              (.5); reviewed draft second day orders (.5)
O'Neal, S.A.         02/13/23 Call with J. VanLare, S. Bremer, M.                0.50
                              Weinberg, C. Ribeiro, R. Minott. and M.
                              Hatch regarding workstream updates and task
                              allocation (partial attendance).
VanLare, J.          02/13/23 Reviewed correspondence from M. Hatch to           0.80
                              Chambers (.2); Call with S. ONeal (partial),
                              M. Weinberg, C. Ribeiro, R. Minott, S.
                              Bremer, and M. Hatch regarding workstream
                              updates and task allocation (0.6)
VanLare, J.          02/13/23 Drafted correspondence to the US Trustee re        0.40
                              second day hearing (.1); revised second day
                              orders (.3)
Bremer, S.           02/13/23 Call with J. VanLare, S. ONeal (partial), M.       0.60
                              Weinberg, C. Ribeiro, R. Minott. and M.
                              Hatch regarding workstream updates and task
                              allocation.
Lotty, A.            02/13/23 Call with R. Minott re case status update          0.30
Minott, R.           02/13/23 Call with A. Lotty re case status update           0.30
Minott, R.           02/13/23 Prepare final orders for UST                       0.50
Minott, R.           02/13/23 Team correspondence on case status and             1.70
                              ongoing workstreams
Minott, R.           02/13/23 Correspondence with M. Hatch re CNOs               0.20
Minott, R.           02/13/23 Call with J. VanLare, S. ONeal (partial), M.       0.60
                              Weinberg, C. Ribeiro, S. Bremer and M.
                              Hatch regarding workstream updates and task
                              allocation.
Minott, R.           02/13/23 Catch-up on Genesis team emails re ongoing         0.90
                              workstreams
Ribeiro, C.          02/13/23 Correspond with J. VanLare, M. Hatch re            0.40
                              hearing and objection deadline adjournment
                              requests
Ribeiro, C.          02/13/23 Correspond with S. O'Neal, S. Levander re          0.10
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NAME                  DATE       DESCRIPTION                                   HOURS
                                 D&O policies
Ribeiro, C.           02/13/23 Call with J. VanLare, S. ONeal (partial), M.       0.60
                               Weinberg, S. Bremer, R. Minott. and M.
                               Hatch regarding workstream updates and task
                               allocation.
Weinberg, M.          02/13/23 Reviewed issues related to proposed orders         0.70
                               for second day hearing (0.3); correspondence
                               with M. Leto (A&M) regarding US Trustee
                               requests (0.4).
Weinberg, M.          02/13/23 Call with J. VanLare, S. O'Neal (partial), C.      0.60
                               Ribeiro, R. Minott., S. Bremer, and M. Hatch
                               regarding workstream updates and task
                               allocation.
Hatch, M.             02/13/23 Communicated with Litigation Team                  0.50
                               Regarding Confidentiality Issues (0.5)
Hatch, M.             02/13/23 Call with J. VanLare, S. ONeal (partial), M.       0.60
                               Weinberg, C. Ribeiro, R. Minott., and S.
                               Bremer regarding workstream updates and
                               task allocation (0.6)
Hatch, M.             02/13/23 Organized All Proposed Orders for Second           1.40
                               Day Hearing (1.4)
Hatch, M.             02/13/23 Drafted Agenda for Second Day Hearing (1.5)        1.50
Hatch, M.             02/13/23 Finalizing Interim and Final Orders                1.80
Hatch, M.             02/13/23 Drafted email to chambers re adjournment of        1.00
                               certain hearing matters and telephonic line
                               (1.0)
Gallagher, A.         02/13/23 Updated Kroll Docket per M. Hatch                  1.50
Gallagher, A.         02/13/23 Updated Working Party List per M. Hatch            0.50
Royce, M.E.           02/13/23 Circulate and manually docket 2/9/23 hearing       0.10
                               transcript to Genesis listserv.
O'Neal, S.A.          02/14/23 Working group meeting with B. Klein                0.20
                               (Moelis), J. Sciametta (A&M), M. Leto
                               (A&M), B. Bolthus (Genesis), A. Chan
                               (Genesis), A. Pretto-Sakmann (Genesis), T.
                               Conheeney (Genesis), D. Islim (Genesis), J.

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NAME                  DATE       DESCRIPTION                                   HOURS
                                 VanLare (partial attendance) (.2)
VanLare, J.           02/14/23 Working group meeting with B. Klein                0.30
                               (Moelis), J. Sciametta (A&M), M. Leto
                               (A&M), B. Bolthus (Genesis), A. Chan
                               (Genesis), A. Pretto-Sakmann (Genesis), T.
                               Conheeney (Genesis), D. Islim (Genesis), S.
                               O’Neal (partial) (.3)
Minott, R.            02/14/23 Call with M. Fitts (A&M), D. Petty (A&M),          0.30
                               R. Smith (A&M), P. Kinealy (A&M), H.
                               Bixler (A&M), C. Ribeiro (partial), and M.
                               Hatch regarding critical vendor and Schedules
                               and Statements updates
Ribeiro, C.           02/14/23 Correspond with J. Berman re service and           0.20
                               noticing of pleadings
Ribeiro, C.           02/14/23 Call with M. Fitts (A&M), D. Petty (A&M),          0.20
                               R. Smith (A&M), P. Kinealy (A&M), H.
                               Bixler (A&M), M. Hatch, and R. Minott
                               regarding critical vendor and Schedules and
                               Statements updates (.2)
Ribeiro, C.           02/14/23 Correspond with J. VanLare, M. Hatch re            0.10
                               second day agenda of matters
Ribeiro, C.           02/14/23 Correspond with J. VanLare re March hearing        0.20
                               date
Hatch, M.             02/14/23 Drafted Certificate of No Objection for            0.50
                               Second Day Hearing
Hatch, M.             02/14/23 Drafted Agenda for Second Day Hearing (2.6)        2.60
Hatch, M.             02/14/23 Circulated Default Notice Tracker to Team          0.40
                               (0.4)
Hatch, M.             02/14/23 Call with M. Fitts (A&M), D. Petty (A&M),          0.30
                               R. Smith (A&M), P. Kinealy (A&M), H.
                               Bixler (A&M), C. Ribeiro (partial), and R.
                               Minott regarding critical vendor and
                               Schedules and Statements updates
Hatch, M.             02/14/23 Coordinated with team and scheduled March          0.50
                               hearing (0.5)
Gallagher, A.         02/14/23 Prepared Certificate of No Objection per M.        1.80
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                                 Hatch
O'Neal, S.A.          02/15/23 Catch up with J. VanLare re various                0.10
                               workstreams
VanLare, J.           02/15/23 Correspondence with US Trustee (.3)                0.30
Minott, R.            02/15/23 Correspondence with H. Kim, C. Ribeiro, S.         1.50
                               Bremer, M. Hatch, J. VanLare re ongoing
                               workstreams
Ribeiro, C.           02/15/23 Review precedent coin reports                      0.60
Hatch, M.             02/15/23 Drafted Omnibus Certificate of No Objection        1.30
                               (1.3)
Adubofour, A.         02/15/23 Identify and prepare key hearing documents         0.50
                               for S. O'Neal per S. Bremer
Adubofour, A.         02/15/23 Manage notarizing of petition per M.               0.30
                               Weinberg
Gallagher, A.         02/15/23 Staged Second Day Hearing Binder per M.            0.50
                               Hatch
Ferro, J.             02/15/23 Docket in CourtAlert.                              0.10
O'Neal, S.A.          02/16/23 Call with J. VanLare re timeline and next          0.30
                               steps
O'Neal, S.A.          02/16/23 Call with J. VanLare re timeline and next          0.30
                               steps
Minott, R.            02/16/23 Genesis restructuring team correspondence re       1.40
                               ongoing workstreams
Hatch, M.             02/16/23 Organized first day orders to send to UST and      0.40
                               UCC (0.4)
Hatch, M.             02/16/23 Drafted Notice of Hearing (1.3)                    1.30
Hatch, M.             02/16/23 Created Webinar for Dial-in Option for Court       0.60
                               Hearings (0.6)
Hatch, M.             02/16/23 Discussion with R. Minnot re time entries          0.30
                               (0.3)
Gallagher, A.         02/16/23 Staged Binder and Prepared Index per M.            1.50
                               Hatch
Gallagher, A.         02/16/23 Coordinated Notarization per M. Weinberg           0.40
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Gallagher, A.           02/16/23 Coordinated case file access for S. Centola        0.10
Mauser, J.A.            02/16/23 Prepared notarized Pro Hac Vice form for S.        1.00
                                 O'Neal for filing per M. Weinberg.
Saran, S.               02/16/23 Coordinated document notarization per S.           0.10
                                 O'Neal
O'Neal, S.A.            02/17/23 Corresp with J. VanLare, H. Kim, M.                0.50
                                 Weinberg, R. Minott, C. Ribeiro re various
                                 work streams and next steps (.5)
VanLare, J.             02/17/23 Reviewed comments from W&C on second               2.60
                                 day orders (2.4); call with M. Weinberg re
                                 same (.2)
Bremer, S.              02/17/23 Compile precedent of final orders on wages.        0.10
Minott, R.              02/17/23 Review UCC comments to proposed orders             0.90
Minott, R.              02/17/23 Call with M. Leto (A&M), P. Kinealy                0.40
                                 (A&M), D. Petty (A&M), S. Cascante (A&M)
                                 re case updates
Weinberg, M.            02/17/23 Call with J. VanLare re comments from W&C          0.20
                                 on second day orders (.2)
Hatch, M.               02/17/23 Filed Agenda for Second Day Hearing (1.0)          1.00
Hatch, M.               02/17/23 Drafted Agenda for Second Day Hearing (0.8)        0.80
Hatch, M.               02/17/23 Compiled Second Day Orders for UCC and             1.50
                                 UST
Cheung, S.Y.            02/17/23 Supervise e-filing of Notice of Agenda for         0.10
                                 Second Day Hearing; Confer with M.Franzreb
                                 re the same.
Franzreb, M.            02/17/23 File Notice of Agenda for Second Day               0.20
                                 Hearing, confer with S. Cheung re: same
Libberton, S.I.         02/17/23 Docketing in CourtAlert.                           0.40
VanLare, J.             02/18/23 Reviewed correspondence re redaction of            0.20
                                 counterparty names (.2)
Minott, R.              02/18/23 Revise proposed final orders                       1.70
Hatch, M.               02/18/23 Coordinated with Managing Attorney's Office        1.00
                                 and Team re sending of Second Day Binders
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                                (1.0)
VanLare, J.          02/20/23 Reviewed revisions to first and second day          0.60
                              orders (.6)
VanLare, J.          02/20/23 Drafted correspondence to A. Pretto-Sakmann         0.30
                              (Genesis) re Cleary workstreams (.3)
Zutshi, R.N.         02/20/23 Revise client updates                               0.80
Minott, R.           02/20/23 Correspondence with H. Kim, M. Weinberg,            1.80
                              C. Ribeiro, M. Hatch, S. Bremer re ongoing
                              workstreams
Ribeiro, C.          02/20/23 Review status of final orders (0.7); correspond     1.00
                              with M. Hatch re binders to be sent to
                              chambers (0.3)
Ribeiro, C.          02/20/23 Call with M. Hatch re submission of proposed        0.30
                              orders and preparation of binders to Chambers
Ribeiro, C.          02/20/23 Review index for second day hearing binders         0.40
Ribeiro, C.          02/20/23 Call with M. Hatch re certificate of no             0.20
                              objection
Ribeiro, C.          02/20/23 Correspond with L. Lundy (W&C) re                   0.10
                              comments to proposed order
Ribeiro, C.          02/20/23 Correspond with G. Zipes (U.S. Trustee) re          0.40
                              revised final orders
Hatch, M.            02/20/23 Prepped Binders for Second Day Hearing              3.20
Hatch, M.            02/20/23 Call with C. Ribeiro re submission of               0.30
                              proposed orders and preparation of binders to
                              chambers.
Hatch, M.            02/20/23 Call with C. Ribeiro re certificate of no           0.20
                              objection.
VanLare, J.          02/21/23 Drafted email to A. Pretto-Sakmann (Genesis)        0.20
                              outlining current priorities (.2)
VanLare, J.          02/21/23 Call with H. Kim, M. Weinberg, R. Minott, C.        0.20
                              Ribeiro, S. Bremer, M. Hatch, P. Wirtz
                              (A&M), D. Petty (A&M), P. Kinealy,
                              (A&M), R. Smith (A&M), M. Fitts (A&M)
                              and S. Cascante (partial) (A&M) re case

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                                updates. (.2)
VanLare, J.          02/21/23 Reviewed draft certificate of no objections          1.30
                              (.7); reviewed draft agenda for the hearing
                              (.2); prepared for second day hearing (.2); call
                              with S. O’Neal re same (.2)
VanLare, J.          02/21/23 Working group call with D. Islim (Genesis),          0.60
                              T. Conheeney (Genesis), J. Sciametta (A&M),
                              A. Pretto-Sakmann (Genesis) (.6)
VanLare, J.          02/21/23 Call with S. O'Neal re preparing for second          0.20
                              day hearing
Bremer, S.           02/21/23 Call with H. Kim to discuss second day               0.10
                              orders.
Bremer, S.           02/21/23 Call with J. VanLare, H. Kim, M. Weinberg,           0.20
                              R. Minott, C. Ribeiro, M. Hatch, P. Wirtz
                              (A&M), D. Petty (A&M), P. Kinealy,
                              (A&M), R. Smith (A&M), M. Fitts (A&M),
                              S. Cascante (partial) (A&M) re case updates.
Kim, H.R.            02/21/23 Call with M. Weinberg to discuss second day          0.30
                              orders
Kim, H.R.            02/21/23 Call with S. Bremer to discuss second day            0.10
                              orders
Kim, H.R.            02/21/23 Reviewing amended agenda for second day              0.50
                              hearing
Kim, H.R.            02/21/23 Call with M. Hatch regarding workstream              0.30
                              updates
Kim, H.R.            02/21/23 Preparing for second day hearing                     2.50
Kim, H.R.            02/21/23 Call with J. VanLare, M. Weinberg, R.                0.20
                              Minott, C. Ribeiro, S. Bremer, M. Hatch, P.
                              Wirtz (A&M), D. Petty (A&M), P. Kinealy,
                              (A&M), R. Smith (A&M), M. Fitts (A&M)
                              and S. Cascante (partial) (A&M) re case
                              updates.
Kim, H.R.            02/21/23 Reviewing certificate of no objection for final      0.40
                              orders for first day motions
Kim, H.R.            02/21/23 Call with R. Minott re ongoing restructuring         0.40

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NAME                 DATE       DESCRIPTION                                    HOURS
                                workstreams
Minott, R.           02/21/23 Call with H. Kim re ongoing restructuring          0.40
                              workstreams
Minott, R.           02/21/23 Call with J. VanLare, H. Kim, M. Weinberg,         0.20
                              C. Ribeiro, S. Bremer, M. Hatch, P. Wirtz
                              (A&M), D. Petty (A&M), P. Kinealy,
                              (A&M), R. Smith (A&M), M. Fitts (A&M)
                              and S. Cascante (partial) (A&M) re case
                              updates
Minott, R.           02/21/23 Hearing prep                                       1.20
Minott, R.           02/21/23 Finalize orders for Court submission               0.30
Minott, R.           02/21/23 Genesis team correspondence re ongoing             0.80
                              workstreams
Ribeiro, C.          02/21/23 Review certificate of no objection (0.2);          0.30
                              correspond with M. Hatch re same (0.1)
Ribeiro, C.          02/21/23 Call with J. VanLare, H. Kim, M. Weinberg,         0.20
                              R. Minott, S. Bremer, M. Hatch, P. Wirtz
                              (A&M), D. Petty (A&M), P. Kinealy,
                              (A&M), R. Smith (A&M), M. Fitts (A&M)
                              and S. Cascante (partial) (A&M) re case
                              updates
Ribeiro, C.          02/21/23 Prepare incremental and cumulative                 0.60
                              blacklines of final orders for UCC (0.4);
                              Correspond with L. Lundy (W&C) re final
                              orders (0.2)
Ribeiro, C.          02/21/23 Correspond with G. Zipes (UST) re final            0.20
                              orders
Weinberg, M.         02/21/23 Call with J. VanLare, H. Kim, R. Minott, C.        0.20
                              Ribeiro, S. Bremer, M. Hatch, P. Wirtz
                              (A&M), D. Petty (A&M), P. Kinealy,
                              (A&M), R. Smith (A&M), M. Fitts (A&M)
                              and S. Cascante (partial) (A&M) re case
                              updates.
Weinberg, M.         02/21/23 Prepared for second day hearing (1.0);             2.90
                              commented on draft notice of hearing (0.3);
                              commented on draft certificate of no objection

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NAME                 DATE       DESCRIPTION                                    HOURS
                                (0.4); correspondence with M. Hatch re draft
                                revised agenda (0.2); reviewed markups of
                                cash management order (0.5); correspondence
                                re same (0.5).
Weinberg, M.         02/21/23 Call with H. Kim to discuss second day             0.30
                              orders.
Hatch, M.            02/21/23 Finalized CNO with regard to comments from         3.50
                              H. Kim and M. Weinberg
Hatch, M.            02/21/23 Created folder of all orders for J. VanLare        0.40
                              review
Hatch, M.            02/21/23 Compiling CNO and notice of filings                3.00
Hatch, M.            02/21/23 Call with H. Kim regarding workstream              0.30
                              updates (0.3)
Boiko, P.            02/21/23 E-file Notice of Filing of Revised Proposed        0.30
                              Second Interim Order.
Cyr, B.J.            02/21/23 Coordinate filing of amended agenda notice         0.10
                              for hearing; confer with M. Hatch and M.
                              Franzreb re: same.
Franzreb, M.         02/21/23 File Amended Notice of Agenda for Second           0.30
                              Day Hearing, confer with B. Cyr re: same
Royce, M.E.          02/21/23 File CNO in USBC/SDNY: Genesis Global              0.20
                              Holdco, LLC.
Royce, M.E.          02/21/23 Hand deliver copies of the CNO in                  2.70
                              USBC/SDNY White Plains Courthouse via
                              car.
O'Neal, S.A.         02/22/23 Call with J. VanLare re team staffing (.2);        0.50
                              correspondence re the same (0.3)
VanLare, J.          02/22/23 Prepared for second day hearing (.4);              2.00
                              participated in second day hearing (1.6)
VanLare, J.          02/22/23 Call with S. O’Neal re team staffing (.2);         1.00
                              reviewed work plan and priorities (.6);
                              correspondence with S. O’Neal re corporate
                              staffing (.2)
Kim, H.R.            02/22/23 Reviewing draft email to chambers re:              0.10
                              proposed orders
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NAME                    DATE       DESCRIPTION                                  HOURS

Kim, H.R.               02/22/23 Further preparation for second day hearing         1.50
Kim, H.R.               02/22/23 Attending second day hearing                       1.40
Kim, H.R.               02/22/23 Call with C. Ribeiro re: ongoing workstreams       0.50
Minott, R.              02/22/23 Hearing prep                                       1.70
Minott, R.              02/22/23 Coordinate submitting final orders with the        1.60
                                 court
Minott, R.              02/22/23 Attend second day hearing                          1.40
Minott, R.              02/22/23 Correspondence with H. Kim, M. Weinberg,           1.40
                                 C. Ribeiro, S. Bremer and M. Haatch re
                                 ongong workstreams
Ribeiro, C.             02/22/23 Preparation of presentation of interim             0.70
                                 compensation motion, kroll retention
                                 application and A&M retention application
                                 for second day hearing
Ribeiro, C.             02/22/23 Attend Second Day Hearing; present interim         1.40
                                 compensation motion, Kroll retention
                                 application and A&M retention application
Ribeiro, C.             02/22/23 Call with H. Kim re: ongoing workstreams           0.50
Ribeiro, C.             02/22/23 Review case management procedures                  0.20
Weinberg, M.            02/22/23 Attended second day hearing.                       1.40
Weinberg, M.            02/22/23 Prepared for second day hearing.                   1.80
Hatch, M.               02/22/23 Organized Dial in Line for Second Day              1.00
                                 Hearing
Cyr, B.J.               02/22/23 Coordinate filing of stipulated order re:          0.30
                                 adequate protection for Three Arrows; confer
                                 with C. Ribeiro re: same.
Libberton, S.I.         02/22/23 File BVI AP Stip (1.6), correspond w/ B. Cyr       1.80
                                 re: same. (0.2)
VanLare, J.             02/23/23 Correspondence re scheduling calls (3)             3.00
VanLare, J.             02/23/23 Call with H. Kim re: case management (.2);         0.40
                                 Working group call with A. Pretto-Sakmann
                                 (Genesis), M. Leto (A&M), J. Sciametta
                                 (A&M), B. Klein (Moelis), Z. Jamal (Moelis),
                                           28
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NAME                  DATE       DESCRIPTION                                     HOURS
                                 A. Swift (Moelis) (.2)
Kim, H.R.             02/23/23 Call with J. VanLare re: case management            0.20
Kim, H.R.             02/23/23 Reviewing creditor letter on docket                 0.10
Ribeiro, C.           02/23/23 Correspond with A. Pretto-Sakmann                   0.10
                               (Genesis) re parties in-interest list
O'Neal, S.A.          02/24/23 Call with J. Saferstein (Weil) re diligence         0.10
                               requests and related matters (.1)
VanLare, J.           02/24/23 Reviewed correspondence re upcoming                 0.20
                               creditor meetings (.2)
Minott, R.            02/24/23 Genesis team correspondences re                     1.50
                               workstreams
Minott, R.            02/24/23 Draft Moelis CNO for retention application.         0.60
Ribeiro, C.           02/24/23 Correspond with R. Minott, S. Bremer, E.            0.10
                               Morrow re nondisclosure agreement with BVI
                               liquidators
Hatch, M.             02/24/23 Compiled entered orders for client records.         1.20
Gallagher, A.         02/24/23 Update case files with recent filings per M.        0.50
                               Hatch
Royce, M.E.           02/24/23 Manually docket in CourtAlert.                      0.30
VanLare, J.           02/26/23 Drafted correspondence to A. Pretto-Sakmann         0.40
                               (Genesis) re workstreams (.4)
VanLare, J.           02/27/23 Reviewed and sent Cleary workstreams email          0.20
                               to A. Pretto-Sakmann (.2)
VanLare, J.           02/27/23 Call with M. Weinberg, H. Kim, C. Ribeiro,          0.90
                               R. Minott, S. Bremer (partial), and M. Hatch
                               regarding workstream updates (partial) (.9)
Bremer, S.            02/27/23 Research rules on the notice of                     0.60
                               commencement.
Bremer, S.            02/27/23 Call with J. VanLare (partial), M. Weinberg,        0.80
                               H. Kim, C. Ribeiro, R. Minott, and M. Hatch
                               regarding workstream updates (partial).
Kim, H.R.             02/27/23 Call with J. VanLare (partial), M. Weinberg,        1.00
                               C. Ribeiro, R. Minott, S. Bremer (partial), and
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NAME                 DATE       DESCRIPTION                                  HOURS
                                M. Hatch regarding workstream updates
Kim, H.R.            02/27/23 Reviewing precedents re: redactions                1.00
Minott, R.           02/27/23 Correspond with J. VanLare, H. Kim, M.             0.90
                              Weinberg re on ongoing workstreams
Minott, R.           02/27/23 Call with J. VanLare (partial), M. Weinberg,       1.00
                              H. Kim, C. Ribeiro, S. Bremer, and M. Hatch
                              regarding workstream updates
Ribeiro, C.          02/27/23 Conference with J. VanLare, M. Weinberg, H.        1.00
                              Kim, R. Minott, S. Bremer (partial) and M.
                              Hatch re status of current workstreams
Ribeiro, C.          02/27/23 Correspondence to J. Sciametta (A&M), D.           1.80
                              Petty (A&M), M. Leto (A&M), P. Kinealy
                              (A&M), P. Wirtz (A&M), S. Cascante
                              (A&M) re documents for singapore
                              proceeding and UCC diligence requests (0.4);
                              review documents required for Singapore
                              proceeding (0.6); correspond with A&M
                              group re cash management requests (0.2);
                              review ucc cash management diligence
                              requests (0.6)
Ribeiro, C.          02/27/23 Correspond with C. Rivera (Kroll) re service       0.10
                              of BVI stipulation
Weinberg, M.         02/27/23 Call with J. VanLare (partial), H. Kim, C.         1.00
                              Ribeiro, R. Minott, S. Bremer (partial), and
                              M. Hatch regarding workstream updates
Hatch, M.            02/27/23 Compile First Day orders.                          0.40
Hatch, M.            02/27/23 Assisted C. Ribeiro in looking up Delaware         0.30
                              entity formation
Hatch, M.            02/27/23 Call with J. VanLare (partial), M. Weinberg,       1.00
                              H. Kim, C. Ribeiro, R. Minott, and S. Bremer
                              (partial) regarding workstream updates (1.0)
Cheung, S.Y.         02/27/23 Supervise e-filing of Certificate of No            0.10
                              Objection; confer with M.Royce re the same.
Royce, M.E.          02/27/23 Circulate February 22 Hearing Transcript to        0.10
                              Genesis team.

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Royce, M.E.          02/27/23 File CNO in USBC/SDNY: Genesis Global              0.20
                              Holdco, confer S. Cheung.
O'Neal, S.A.         02/28/23 Call with J. VanLare re stay issues (.1)           0.10
O'Neal, S.A.         02/28/23 Call with J. VanLare re court hearing (.2)         0.20
VanLare, J.          02/28/23 Call with M. Leto (A&M), M. Fitts (A&M), J.        0.40
                              Sciametta (A&M), D. Petty (A&M), R. Smith
                              (A&M), P. Kinealy (A&M), S. Cascante
                              (A&M), P. Wirtz (A&M), H. Kim, R. Minott,
                              S. Bremer and M. Hatch regarding
                              workstream updates (0.4)
Bremer, S.           02/28/23 Call with M. Leto (A&M), M. Fitts (A&M), J.        0.40
                              Sciametta (A&M), D. Petty (A&M), R. Smith
                              (A&M), P. Kinealy (A&M), S. Cascante
                              (A&M), P. Wirtz (A&M), J. VanLare, H.
                              Kim, R. Minott, and M. Hatch regarding
                              workstream updates
Kim, H.R.            02/28/23 Call with M. Leto (A&M), M. Fitts (A&M), J.        0.40
                              Sciametta (A&M), D. Petty (A&M), R. Smith
                              (A&M), P. Kinealy (A&M), S. Cascante
                              (A&M), P. Wirtz (A&M), J. VanLare, R.
                              Minott, S. Bremer and M. Hatch regarding
                              workstream updates
Kim, H.R.            02/28/23 Call with R. Minott re first day.                  0.20
Minott, R.           02/28/23 Genesis team correspondence on ongoing             1.10
                              workstreams
Minott, R.           02/28/23 Call with M. Leto (A&M), M. Fitts (A&M), J.        0.40
                              Sciametta (A&M), D. Petty (A&M), R. Smith
                              (A&M), P. Kinealy (A&M), S. Cascante
                              (A&M), P. Wirtz (A&M), J. VanLare, H.
                              Kim, S. Bremer and M. Hatch regarding
                              workstream updates
Ribeiro, C.          02/28/23 Call with M. Hatch re filings required for         0.50
                              adversary proceeding
Hatch, M.            02/28/23 Call with M. Leto (A&M), M. Fitts (A&M), J.        0.40
                              Sciametta (A&M), D. Petty (A&M), R. Smith
                              (A&M), P. Kinealy (A&M), S. Cascante
                              (A&M), P. Wirtz (A&M), J. VanLare, H.
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NAME                 DATE       DESCRIPTION                                  HOURS
                                Kim, R. Minott, and S. Bremer regarding
                                workstream updates (0.4)
Franzreb, M.         02/28/23 Docket in CourtAlert.                              0.10
Royce, M.E.          02/28/23 Manually docket in CourtAlert.                     0.20
                                MATTER TOTAL:                                  241.50




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                               Timekeeper Summary
Name                                  Hours                 Rate            Amount

Partner
O'Neal, S.A.                           .1.70            .1,820.00   $       3,094.00
VanLare, J.                          .10.60             .1,730.00   $      18,338.00
Counsel
Hammer, B.M.                           .0.70            .1,280.00   $        896.00
Associate
Ribeiro, C.                          .12.10             .1,045.00   $      12,644.50
Weinberg, M.                           .2.00            .1,105.00   $       2,210.00

Total:                                27.10                         $      37,182.50




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NAME                 DATE       DESCRIPTION                                   HOURS
Ribeiro, C.          02/07/23 Correspond with J. VanLare re cash                 0.10
                              management
Ribeiro, C.          02/09/23 Draft second interim cash management order         0.50
VanLare, J.          02/10/23 Drafted notes from US Trustee re accounts          0.20
                              and cash management (.2)
Ribeiro, C.          02/11/23 Correspond with J. VanLare re cash                 0.10
                              management order and opening of new bank
                              accounts
VanLare, J.          02/13/23 Reviewed proposed final cash management            0.60
                              order (.3); drafted correspondence to US
                              Trustee responding to questions (.3)
Ribeiro, C.          02/13/23 Review cash management order and record on         0.30
                              inter-debtor payments
VanLare, J.          02/14/23 Reviewed proposed second interim cash              0.50
                              management order (.5)
Ribeiro, C.          02/14/23 Review materials to be provided to UST re          0.30
                              initial debtor interview
Ribeiro, C.          02/14/23 Revise cash management order (0.3);                0.40
                              correspond with J. VanLare, M. Leto re same
                              (0.1)
Ribeiro, C.          02/14/23 Correspond with M. Meises (W&C), C. Shore          0.10
                              (W&C) re second interim cash management
                              order
Ribeiro, C.          02/14/23 Correspond with G. Zipes (UST), B. Teich           0.10
                              (UST) re second interim cash management
                              order
VanLare, J.          02/15/23 Reviewed cash management order (.1)                0.10
O'Neal, S.A.         02/16/23 Corresp re moving cash out of signature bank       0.30
                              to another bank that does crypto business
Hammer, B.M.         02/16/23 Addressed question from J. Sciametta (A&M)         0.30
                              regarding credit risk associated with various
                              cash management arrangements.
O'Neal, S.A.         02/17/23 Corresp re 13 week budget with A&M (.1)            0.10
VanLare, J.          02/17/23 Call with M. Weinberg, M. Leto (A&M) and           0.60

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NAME                 DATE       DESCRIPTION                                  HOURS
                                J. Sciametta (A&M) to discuss UCC
                                comments to the cash management order.
VanLare, J.          02/17/23 Drafted email to M. Weinberg re cash               0.10
                              management order (.1)
Weinberg, M.         02/17/23 Call with J. VanLare, M. Leto (A&M) and J.         0.80
                              Sciametta (A&M) to discuss UCC comments
                              to the cash management order.
O'Neal, S.A.         02/18/23 Emails with Jane VanLare re cash                   0.10
                              management (.1)
VanLare, J.          02/18/23 Drafted correspondence to UST re cash              0.80
                              management (.8)
O'Neal, S.A.         02/19/23 Call re cashflow budget with M. Leto (A&M),        0.50
                              S. Cascante (A&M), J. VanLare (partial
                              attendance)
VanLare, J.          02/19/23 Revised markup of the cash management              0.80
                              order (.6); call with M. Weinberg re cash
                              management order (.2)
VanLare, J.          02/19/23 Call with A. Pretto-Sakmann (Genesis), M.          0.40
                              Leto (A&M), D. Petty (A&M), S. Cascante
                              (A&M), C. Ribeiro re UCC comments on
                              second interim cash management order (0.4)
VanLare, J.          02/19/23 Call re cashflow budget with M. Leto (A&M),        1.00
                              S. Cascante (A&M), S. O’Neal (partial) (1)
Ribeiro, C.          02/19/23 Review UCC comments to second interim              0.70
                              cash management order
Ribeiro, C.          02/19/23 Call with M. Weinberg re second interim cash       0.40
                              management order
Ribeiro, C.          02/19/23 Review changes to UCC version of second            0.40
                              interim cash management order
Ribeiro, C.          02/19/23 Correspond with M. Weinberg, J. VanLare re         0.30
                              second interim cash management order
Ribeiro, C.          02/19/23 Revise second interim cash management order        0.90
                              (0.8); correspond with A. Pretto-Sakmann re
                              same (0.2)
Ribeiro, C.          02/19/23 Call with A. Pretto-Sakmann (Genesis), M.          0.40
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                                Leto (A&M), D. Petty (A&M), S. Cascante
                                (A&M), J. VanLare re UCC comments on
                                second interim cash management order.
Weinberg, M.         02/19/23 Call with C. Ribeiro re second interim cash        0.40
                              management order.
Weinberg, M.         02/19/23 Call with J. VanLare re cash management            0.80
                              order
O'Neal, S.A.         02/20/23 Correspondence with M. Leto (A&M) and J.           0.10
                              Sciametta (A&M) re balance sheet issues in
                              light of settlement (.1)
VanLare, J.          02/20/23 Reviewed revised cash management order             1.80
                              (1.3); reviewed presentation re cashflow
                              projections (.1); Call with J. Sciametta
                              (A&M), T. Conheeney (Genesis), B.
                              Hammer, A. Chan (Genesis), D. petty (A&M)
                              re bank credit risk issues (.4)
Hammer, B.M.         02/20/23 Conference with T. Conheeney (Genesis), J.         0.40
                              Sciametta (A&M), and J. VanLare re bank
                              credit risk issues.
Ribeiro, C.          02/20/23 Review UCC limited objection to cash               0.50
                              management motion (0.3); correspond with J.
                              VanLare, M. Weinberg, D. Petty (A&M), M.
                              Leto (A&M) re same (0.2)
Ribeiro, C.          02/20/23 Review second interim cash management              0.60
                              order (0.3); review UCC comments to order
                              (0.3)
Ribeiro, C.          02/20/23 Correspond with J. VanLare, M. Weinberg re         0.30
                              UCC comments to second interim cash
                              management order
O'Neal, S.A.         02/21/23 Correspondence with Jane VanLare re cash           0.50
                              management, creditor report and creditor
                              discussions (.5)
VanLare, J.          02/21/23 Reviewed revisions to cash management order        2.50
                              (2.3); Call with G. Pesce (W&C) re cash (.1);
                              Call with J. Sciametta (A&M) re cash
                              management (.1)

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Ribeiro, C.          02/21/23 Correspond with L. Lundy (W&C) re                  0.20
                              intercompany transaction threshold cap
Ribeiro, C.          02/21/23 Draft notice of revised proposed order (0.6);      0.80
                              correspond with J. VanLare, M. Weinberg re
                              same (0.3)
Ribeiro, C.          02/21/23 Correspond with G. Zipes (UST) re second           0.10
                              interim cash management order
Ribeiro, C.          02/21/23 Correspond with L. Ebanks (Chambers) re            0.30
                              second interim cash management order
Ribeiro, C.          02/21/23 Prepare filing version of notice of revised        0.60
                              proposed second interim cash management
                              order (0.3); correspond with J. VanLare, P.
                              Boiko re same (0.3)
Ribeiro, C.          02/21/23 Revise second interim cash management order        1.00
Ribeiro, C.          02/21/23 Correspond with J. VanLare re UCC                  0.10
                              comments to second interim cash
                              management order
Ribeiro, C.          02/21/23 Further revisions to cash management order to      0.60
                              incorporate comments from J. VanLare and J.
                              Sciametta (A&M) (0.4); correspond with J.
                              VanLare, J. Sciametta (A&M) re same (0.2)
Ribeiro, C.          02/21/23 Correspond with L. Lundy (W&C), G. Pesce           0.30
                              (W&C) re second interim cash management
                              order
Ribeiro, C.          02/21/23 Revise second interim cash management order        0.80
                              to Incorporate G. Pesce (W&C) comments re
                              coin report (0.6); correspond with J. VanLare
                              re same (0.1); correspond with G. Pesce
                              (W&C) re same (0.1)
Ribeiro, C.          02/21/23 Correspond with A. Chan (Genesis), J.              0.50
                              Sciametta (A&M), J. VanLare re second
                              interm cash management order
Ribeiro, C.          02/22/23 Prepare second interim cash management             0.10
                              order for submission to Chambers
O'Neal, S.A.         02/23/23 Corresp with J. Sciametta (A&M) D. Petty           0.10
                              (A&M) re cash transfer to Western Alliance
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CLIENT: Genesis Global Holdco, LLC
MATTER: 24872.008 Cash Management



NAME                 DATE       DESCRIPTION                                    HOURS
                                (.1)
VanLare, J.          02/24/23 Drafted correspondence to UST relating to          1.10
                              section 345 waiver (1); call with S. Rohlfs re
                              same (.1)
Ribeiro, C.          02/27/23 Review second interim cash management              0.30
                              order (0.2); correspond with J. VanLare, M.
                              Hatch re restrictions on company activity
                              (0.1)
VanLare, J.          02/28/23 Drafted correspondence to UST re brokerage         0.10
                              accounts (.1)
                                MATTER TOTAL:                                   27.10




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CLIENT: Genesis Global Holdco, LLC
MATTER: 24872.009 Employee Matters


                               Timekeeper Summary
Name                                  Hours                 Rate            Amount

Partner
VanLare, J.                            .2.10            .1,730.00   $       3,633.00
Associate
Kim, H.R.                              .4.40            .1,105.00   $       4,862.00
Associate Not Admitted
Hatch, M.                              .1.10             .710.00    $        781.00

Total:                                 7.60                         $       9,276.00




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CLIENT: Genesis Global Holdco, LLC
MATTER: 24872.009 Employee Matters



NAME                 DATE       DESCRIPTION                                  HOURS
VanLare, J.          02/12/23 Reviewed A&M correspondence re retention           0.10
                              plan (.1)
VanLare, J.          02/13/23 Call with J. Sciametta (A&M), A. Hoenning          0.70
                              (A&M), D. Islim (Genesis), A. Chan
                              (Genesis) re retention plan (.7)
VanLare, J.          02/13/23 Reviewed proposed wages order (.5)                 0.50
Hatch, M.            02/13/23 Research re definition of "insider" in             1.10
                              cryptocurrency cases(1.1)
VanLare, J.          02/14/23 Reviewed proposed wages order (.2)                 0.20
VanLare, J.          02/16/23 Call with D. Islim (genesis), A. Chan              0.40
                              (Genesis), J. Sciametta (A&M), A.
                              Hoeinghaus (A&M) (.4)
Kim, H.R.            02/22/23 Revising final wages order                         2.00
Kim, H.R.            02/22/23 Reviewing question from A&M re: wages              0.40
VanLare, J.          02/23/23 Call with H. Kim re: final wages order (.2)        0.20
Kim, H.R.            02/23/23 Analyzing question about final wages order         0.90

Kim, H.R.            02/23/23 Call with J. VanLare re: final wages order         0.20
                              (009)
Kim, H.R.            02/23/23 Reviewing revised proposed final wages order       0.20
Kim, H.R.            02/27/23 Reviewing update re: second day orders             0.70
                                MATTER TOTAL:                                    7.60




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CLIENT: Genesis Global Holdco, LLC
MATTER: 24872.010 Lender Communications


                               Timekeeper Summary
Name                                  Hours                 Rate            Amount

Partner
O'Neal, S.A.                           .4.60            .1,820.00   $       8,372.00
VanLare, J.                            .0.80            .1,730.00   $       1,384.00
Associate
Bremer, S.                             .0.50              .845.00   $         422.50
Minott, R.                             .0.40              .965.00   $         386.00
Weinberg, M.                           .3.20            .1,105.00   $       3,536.00

Total:                                 9.50                         $      14,100.50




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NAME                 DATE       DESCRIPTION                                    HOURS
O'Neal, S.A.         02/01/23 Calls with B. Rosen (Prosuaer), J. Sazant          0.20
                              (Proskauer) re Term Sheet
O'Neal, S.A.         02/05/23 Respond to Moelis questions re diligence and       0.10
                              dataroom
O'Neal, S.A.         02/05/23 Call with M. Weinberg, J. Sazant (Proskauer)       1.10
                              and B. Greer, S. Burian (HL)
Weinberg, M.         02/05/23 Call with S. O'Neal, J. Sazant (Proskauer) and     1.10
                              B. Greer, S. Burian (HL)
O'Neal, S.A.         02/06/23 Call with J. VanLare (partial), M. Weinberg,       2.20
                              S. Rohlfs, S. Bremer (partial), and Proskauer,
                              Weil, Moelis, Houlihan, Ducera, Hughes
                              Hubbard and Kirkland & Ellis teams re term
                              sheet (1.1), calls and corresp with Hughes
                              Hubbard re Term Sheet (.5), corresp with
                              Special Committee re same (.6)
VanLare, J.          02/06/23 Call with S. O'Neal, S. Rohlfs, M. Weinberg,       0.80
                              and Moelis, Weil, Proskauer and Hughes
                              Hubbard teams to discuss restructuring term
                              sheet (.3) (partial attendance); Call with S.
                              O'Neal, S. Bremer, S. Rohlf, M. Weinberg,
                              Proskauer, Weil, Moelis, Houlihan, Ducera,
                              Hughes Hubbard and Kirkland & Ellis teams
                              re term sheet (partial attendance) (.5)
Bremer, S.           02/06/23 Call with S. O'Neal, J. VanLare (partial), S.      0.50
                              Rohlf, M. Weinberg, Proskauer, Weil,
                              Moelis, Houlihan, Ducera, Hughes Hubbard
                              and Kirkland & Ellis teams re term sheet
                              (partial attendance).
Weinberg, M.         02/06/23 Call with S. O'Neal, J. VanLare (partial), S.      0.40
                              Rohlfs, and Moelis, Weil, Proskauer and
                              Hughes Hubbard teams to discuss
                              restructuring term sheet.
Weinberg, M.         02/06/23 Call with S. O'Neal, J. VanLare, S. Rohlfs, S.     1.10
                              Bremer (partial), and Proskauer, Weil,
                              Moelis, Houlihan, Ducera, Hughes Hubbard
                              and Kirkland & Ellis teams re term sheet.
O'Neal, S.A.         02/10/23 Call with M. Weinberg, B. Klein (Moelis), A.       0.40

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MATTER: 24872.010 Lender Communications



NAME                 DATE       DESCRIPTION                                      HOURS
                                Swift (Moelis) and J. Sazant (Proskauer)
                                (partial) to discuss restructuring term sheet.
Weinberg, M.         02/10/23 Call with S. O'Neal, B. Rosen (Proskauer) and        0.20
                              J. Sazant (Proskauer) to discuss restructuring
                              term sheet.
Weinberg, M.         02/10/23 Call with S. O'Neal, B. Klein (Moelis), A.           0.40
                              Swift (Moelis) and J. Sazant (Proskauer)
                              (partial) to discuss restructuring term sheet.
O'Neal, S.A.         02/14/23 Calls and corresp with B. Rosen (Proskauer)          0.30
                              re Plan Support Agreement and related
                              matters (.3)
Minott, R.           02/15/23 Circulate orders to Proskauer                        0.40
O'Neal, S.A.         02/24/23 Call with B. Rosen (Proskauer) re PSA and            0.30
                              creditor meeting (.3)
                                MATTER TOTAL:                                      9.50




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CLIENT: Genesis Global Holdco, LLC
MATTER: 24872.011 Supplier/Vendor Issues


                                 Timekeeper Summary
Name                                    Hours                 Rate            Amount

Partner
Linch, M.E.                              .0.50            .1,735.00   $        867.50
O'Neal, S.A.                             .0.30            .1,820.00   $        546.00
VanLare, J.                              .0.50            .1,730.00   $        865.00
Associate
Bremer, S.                               .2.00              .845.00   $       1,690.00
Minott, R.                               .6.00              .965.00   $       5,790.00
Ribeiro, C.                              .1.00            .1,045.00   $       1,045.00
Staff Attorney
Bohner, M.W.                             .2.50             .860.00    $       2,150.00
Paralegal
Gallagher, A.                            .0.30             .370.00    $        111.00

Total:                                  13.10                         $      13,064.50




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NAME                  DATE       DESCRIPTION                                   HOURS
Bohner, M.W.          02/01/23 Attention to questions surrounding database        0.20
                               costs and access.
Bohner, M.W.          02/02/23 Correspond with vendor regarding invoice           0.20
                               apportionment.
Minott, R.            02/03/23 Correspondence with D. Petty (A&M), S.             2.10
                               O'Neal, J. VanLare re OCP
Minott, R.            02/03/23 Call with D. Petty (A&M) on OCPs                   0.30
Minott, R.            02/03/23 OCP cap research                                   0.70
Gallagher, A.         02/03/23 Updated Venue Dataroom per M. Hatch                0.30
Bremer, S.            02/05/23 Revise OCP retention application.                  0.90
Minott, R.            02/05/23 Correspondence with D. Petty (A&M) and S.          0.50
                               Cascante (A&M) re OCP
Minott, R.            02/05/23 Revise OCP motion                                  0.70
Bremer, S.            02/06/23 Review precedent for ordinary course               0.30
                               professional motions.
Bohner, M.W.          02/06/23 Correspond with CDS team regarding                 0.20
                               invoicing and asks.
VanLare, J.           02/07/23 Reviewed ordinary course professional              0.10
                               motion (.1)
Bremer, S.            02/07/23 Revise ordinary course professional retention      0.80
                               motion.
Bohner, M.W.          02/07/23 Correspond with vendor and internal                0.30
                               stakeholders regarding ongoing database
                               access and invoice payments.
VanLare, J.           02/08/23 Reviewed ordinary course motion (.2)               0.20
Ribeiro, C.           02/08/23 Provide input on ordinary course                   0.30
                               professionals motion
Ribeiro, C.           02/08/23 Correspondence with S. Levander, J. Levy, J.       0.10
                               VanLare re retention of CDS and ordinary
                               course motion
Bohner, M.W.          02/08/23 Correspond with and teleconference with            0.70
                               discovery and associate teams regarding
                               vendor payments and direct engagement in
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MATTER: 24872.011 Supplier/Vendor Issues



NAME                  DATE      DESCRIPTION                                   HOURS
                                light of bankruptcy.
Ribeiro, C.           02/09/23 Call with M. Hatch re critical vendor final       0.10
                               order
Ribeiro, C.           02/09/23 Correspondence to R. Minott re critical           0.10
                               vendor order
Ribeiro, C.           02/09/23 Correspond with S. Levander re CDS                0.20
O'Neal, S.A.          02/12/23 Call with C. Marcus (Kirkland) re UCC             0.30
                               strategy
VanLare, J.           02/13/23 Reviewed proposed final vendor order (.2)         0.20
Minott, R.            02/15/23 Correspondence re treament of CDS                 0.50
Ribeiro, C.           02/20/23 OCP motion (0.2)                                  0.20
Linch, M.E.           02/22/23 Correspond with W. McRae, K. Heiland and          0.50
                               D. Schaefer regarding questions about NOLs
                               and structure of debtor.
Minott, R.            02/22/23 Revise vendor order                               0.50
Bohner, M.W.          02/22/23 Correspond with Cleary team and CDS               0.30
                               regarding engagement, invoicing and payment
                               items.
Bohner, M.W.          02/22/23 Correspond with R. Minott, S. Levander, J.        0.10
                               Levy regarding entered orders and timing for
                               CDS responses.
Bohner, M.W.          02/24/23 Coordinate final agreements with CDS on           0.40
                               payment (.2); correspond with stakeholders
                               regarding same (.2).
Bohner, M.W.          02/27/23 Correspond with CDS regarding entered             0.10
                               order.
Minott, R.            02/28/23 Correspondence re OCPs declarations               0.70
                                MATTER TOTAL:                                   13.10




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MATTER: 24872.012 Creditors Committee Matters


                                Timekeeper Summary
Name                                   Hours                 Rate            Amount

Partner
Dassin, L.L.                            .1.80            .1,930.00   $       3,474.00
O'Neal, S.A.                          .18.00             .1,820.00   $      32,760.00
VanLare, J.                           .19.70             .1,730.00   $      34,081.00
Zutshi, R.N.                            .3.00            .1,730.00   $       5,190.00
Associate
Bremer, S.                              .2.50              .845.00   $       2,112.50
Kim, H.R.                               .6.00            .1,105.00   $       6,630.00
Leibold, M.A.                           .2.40            .1,155.00   $       2,772.00
Minott, R.                            .26.40               .965.00   $      25,476.00
Ribeiro, C.                             .0.80            .1,045.00   $         836.00
Weinberg, M.                          .16.50             .1,105.00   $      18,232.50
Associate Not Admitted
Hatch, M.                               .3.00             .710.00    $       2,130.00

Total:                                100.10                         $    133,694.00




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NAME                  DATE       DESCRIPTION                                  HOURS
O'Neal, S.A.          02/10/23 Corresp with White and Case re next steps         0.30
                               and introduction
O'Neal, S.A.          02/11/23 Prepare for call with UCC, including review       0.50
                               of A&M information
O'Neal, S.A.          02/11/23 Call with C. Shore (W&C), G. Pesce                1.20
                               (W&C)and P. Abelson (W&C) re introduction
                               to case
O'Neal, S.A.          02/11/23 Corresp with K&E and CGSH team re                 0.10
                               information flow to UCC
VanLare, J.           02/11/23 Call with UCC (1.3); reviewed UCC NDA             1.80
                               (.5)
VanLare, J.           02/12/23 Sent conflict list to counsel to UCC (.2)         0.20
O'Neal, S.A.          02/13/23 Opening communications with White and             0.50
                               Case (.5)
O'Neal, S.A.          02/13/23 Call with B. Greer (HL) re various matters        0.20
                               (.2)
O'Neal, S.A.          02/13/23 Corresp with J. VanLare and R. Minott re          0.30
                               committee NDA issues (.3)
VanLare, J.           02/13/23 Revised NDA with the Committee (.9)               0.90
Minott, R.            02/13/23 Provide comments to UCC NDA                       2.90
O'Neal, S.A.          02/14/23 Corresp with G. Pesce (W&C), C. Shore             0.50
                               (W&C) re NDA and organizational issues (.5)
O'Neal, S.A.          02/14/23 Correps with White and Case re dataroom (.1)      0.10
VanLare, J.           02/14/23 Reviewed markup of the NDA agreement              0.60
                               with UCC (.4); Call with R. Minott re UCC
                               NDA (.2)
Minott, R.            02/14/23 Provide comments to UCC NDA                       2.20
Minott, R.            02/14/23 Call with G. Pesce (W&C) re NDA                   0.20
Minott, R.            02/14/23 Call with J. VanLare re UCC NDA                   0.20
O'Neal, S.A.          02/15/23 Calls and corresp with White and Case and         4.00
                               BRG re various matters
VanLare, J.           02/15/23 Reviewed markup of the NDA (.3)                   0.30

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NAME                  DATE      DESCRIPTION                                   HOURS
Minott, R.            02/15/23 Coordinate dataroom access for UCC                0.80
Minott, R.            02/15/23 Provide comments to UCC NDA                       2.60
VanLare, J.           02/16/23 Call with R. Minott, A. Cieply (W&C) and J.       0.60
                               Ma (W&C) re UCC NDA (.6)
VanLare, J.           02/16/23 Reviewed markup of second day orders from         1.50
                               W&C (1.5)
Minott, R.            02/16/23 Review UCC NDA comments                           0.90
Minott, R.            02/16/23 Call with J. VanLare, A. Cieply (W&C) and J.      0.60
                               Ma (W&C) re UCC NDA
Minott, R.            02/16/23 Provide comments to UCC NDA                       1.10
Minott, R.            02/16/23 Review UCC comments to proposed orders            2.20
Weinberg, M.          02/16/23 Coordinated review of UCC comments to             3.90
                               second day orders and retention application
                               orders (3.2); correspondence with J. VanLare
                               re same (0.5); correspondence with A. Parra-
                               Criste (W&C) re same (0.2).
Hatch, M.             02/16/23 Communicated with W&C re proposed orders          0.40
                               (0.4)
O'Neal, S.A.          02/17/23 Corresp with W&C re Second Days, etc. (.1)        0.10
VanLare, J.           02/17/23 Call with M. Weinberg, R. Minott, S. Bremer,      0.40
                               and M. Hatch (partial) regarding UCC
                               comments to second-day orders (partial
                               attendance) (0.2); reviewed correspondence
                               from W&C re diligence (.2)
VanLare, J.           02/17/23 Call with A. Parra Criste (W&C), B. Lingle        0.80
                               (W&C), L. Lundy (W&C), P. Abelson
                               (W&C), T. Smith (W&C), M. Meises (W&C),
                               R. Beil (W&C), M. Weinberg, R. Minott, S.
                               Bremer, and M. Hatch regarding the UCC’s
                               comments to second-day orders (0.8)
Bremer, S.            02/17/23 Call with A. Parra Criste (W&C), B. Lingle        0.80
                               (W&C), L. Lundy (W&C), P. Abelson
                               (W&C), T. Smith (W&C), M. Meises (W&C),
                               R. Beil (W&C), J. VanLare, M. Weinberg, R.
                               Minott, and M. Hatch regarding the UCC’s

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NAME                  DATE      DESCRIPTION                                     HOURS
                                comments to second-day orders
Bremer, S.            02/17/23 Call with J. VanLare (partial), M. Weinberg,       0.60
                               R. Minott,, and M. Hatch (partial) regarding
                               UCC comments to second-day orders.
Bremer, S.            02/17/23 Call with A. Parra Criste (W&C), B. Lingle         0.80
                               (W&C), L. Lundy (W&C), P. Abelson
                               (W&C), T. Smith (W&C), M. Meises (W&C),
                               R. Beil (W&C), J. VanLare, M. Weinberg, R.
                               Minott, and M. Hatch regarding the UCC’s
                               comments to second-day orders
Minott, R.            02/17/23 Call with A. Parra Criste (W&C), B. Lingle         0.80
                               (W&C), L. Lundy (W&C), P. Abelson
                               (W&C), T. Smith (W&C), M. Meises (W&C),
                               R. Beil (W&C), J. VanLare, M. Weinberg, S.
                               Bremer, and M. Hatch regarding the UCC’s
                               comments to second-day orders
Minott, R.            02/17/23 Revise proposed orders per UCC counsel             2.50
                               comments
Minott, R.            02/17/23 Call with J. VanLare (partial), M. Weinberg,       0.60
                               S. Bremer, and M. Hatch (partial) regarding
                               UCC comments to second-day orders
Weinberg, M.          02/17/23 Coordinated review of incremental UCC              5.80
                               comments to second day orders (0.5);
                               reviewed UCC comments to second interim
                               cash management order (2.0); correspondence
                               with J. VanLare, J. Sciametta (A&M) and M.
                               Leto (A&M) re same (0.7); revised draft cash
                               management order (0.5); correspondence with
                               chambers regarding extension of UCC
                               objection deadline (0.3); correspondence with
                               R. Minott and J. VanLare regarding revisions
                               to critical vendor order (0.7); correspondence
                               with P. Kinealy (A&M) regarding revisions to
                               draft wages order (0.6); revised wages order
                               to reflect same (0.3); correspondence with L.
                               Lundy (W&C) regarding draft second day
                               orders (0.2).
Weinberg, M.          02/17/23 Call with A. Parra Criste (W&C), B. Lingle         0.80

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NAME                  DATE       DESCRIPTION                                    HOURS
                                 (W&C), L. Lundy (W&C), P. Abelson
                                 (W&C), T. Smith (W&C), M. Meises (W&C),
                                 R. Beil (W&C), J. VanLare, R. Minott, S.
                                 Bremer, and M. Hatch regarding the UCC’s
                                 comments to second-day orders.
Weinberg, M.          02/17/23 Call with J. VanLare (partial), R. Minott, S.      0.60
                               Bremer, and M. Hatch (partial) regarding
                               UCC comments to second-day orders.
Hatch, M.             02/17/23 Call with A. Parra Criste (W&C), B. Lingle         0.80
                               (W&C), L. Lundy (W&C), P. Abelson
                               (W&C), T. Smith (W&C), M. Meises (W&C),
                               R. Beil (W&C), J. VanLare, M. Weinberg, R.
                               Minott, and S. Bremer regarding the UCC’s
                               comments to second-day orders (0.8)
Hatch, M.             02/17/23 Call with J. VanLare (partial), M. Weinberg,       0.50
                               R. Minott, and S. Bremer regarding UCC
                               comments to second-day orders (partial
                               attendance)
VanLare, J.           02/18/23 Reviewed markup of the NDA (.6)                    0.60
Weinberg, M.          02/18/23 Reviewed UCC comments to draft cash                2.90
                               management order (0.5); revised draft cash
                               management order (1.2); correspondence with
                               J. VanLare re same (0.4); correspondence
                               with J. VanLare and R. Minott regarding draft
                               vendor order (0.3); reviewed issues related to
                               draft wages order (0.5).
O'Neal, S.A.          02/19/23 Corresp with G. Pesce (W&C) re various             0.10
                               issues (.1)
VanLare, J.           02/19/23 Reviewed markup of the NDA (.5)                    0.50
Ribeiro, C.           02/19/23 Review correspondence with J. VanLare,, S.         0.80
                               Bremer, R. Minott, M. Weinberg re UCC
                               comments to retention and proposed final first
                               day orders
Weinberg, M.          02/19/23 Revised draft cash management order (1.0);         1.90
                               correspondence with J. VanLare, C. Ribeiro,
                               M. Leto (A&M) and J. Sciametta (A&M) re
                               same (0.9).

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Dassin, L.L.          02/20/23 Call with S. O'Neal, R. Zutshi, and J.            0.70
                               VanLare, J. Cohen (UCC), W. West (UCC) re
                               UCC requests
O'Neal, S.A.          02/20/23 Call with J. VanLare, R. Minott, E. Smith         1.10
                               (WC), C. West (WC), P. Abelson (WC), C.
                               Shore (WC) re UCC info request
O'Neal, S.A.          02/20/23 Call with R. Zutshi, L .Dassin, J. VanLare, J     1.40
                               Cohen (UCC), C West (UCC) re UCC
                               requests (0.7), correspondence re the same
                               (0.3), mark-up taking points re regulatory
                               matters (.3), corresp with W&C re same (.1)
VanLare, J.           02/20/23 Reviewed document requests from counsel to        0.20
                               the Committee (.2)
VanLare, J.           02/20/23 Call with S. O'Neal, R. Minott, E. Smith          1.10
                               (WC), C. West (WC), P. Abelson (WC), C.
                               Shore (WC) re UCC infor request
VanLare, J.           02/20/23 Call with Z. O'Neal, R. Zutshi, L. Dassin, J.     0.70
                               Cohen (UCC), and C. West (UCC) re UCC
                               requests
Zutshi, R.N.          02/20/23 Teleconference with S Oneal, L Dassin, J          0.70
                               VanLare, J Cohen (UCC), C West (UCC) re
                               UCC requests
Minott, R.            02/20/23 Correspondence with A. Pretto-Sakmann             1.50
                               (Genesis) and M. Bergman (Genesis) re UCC
                               NDA
Minott, R.            02/20/23 Meeting prep re W&C info requests                 0.40
Minott, R.            02/20/23 Call with S. O’Neal, J. VanLare, E. Smith         1.10
                               (WC), C.West (WC), P. Abelson (WC), C.
                               Shore (WC) re UCC info request
Minott, R.            02/20/23 Prepare list of action items following White      0.50
                               and Case info call
O'Neal, S.A.          02/21/23 Call with Brad Greer (HL) re various issues,      0.30
                               including valuation and coin report
O'Neal, S.A.          02/21/23 Call with J. VanLare, H. Kim, M. Weinberg,        0.80
                               R. Minott (partial) and M. Hatch and
                               Houlihan, BRG, Moelis, A&M, and White &
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NAME                  DATE      DESCRIPTION                                     HOURS
                                Case UCC priorities and requests (0.8)
O'Neal, S.A.          02/21/23 Call with J.VanLare re committee issues            1.00
O'Neal, S.A.          02/21/23 Call with J. VanLare re call with Committee        0.30
VanLare, J.           02/21/23 Call with S. O’Neal re call with Committee         0.70
                               (.3); reviewed revised NDA with the
                               Committee (.3); call with R. Minott re UCC
                               NDA (.1)
VanLare, J.           02/21/23 Scheduling committee call (.1)                     0.10
VanLare, J.           02/21/23 Call with, S. O’Neal, H. Kim, M. Weinberg,         1.00
                               R. Minott (partial), M. Hatch and Houlihan,
                               BRG, Moelis, A&M, and White & Case re
                               UCC priorities and requests (.8); Call with S.
                               O’Neal re Committee issues (.1),
                               correspondence re the same (0.1)
Kim, H.R.             02/21/23 Call with J. VanLare, S. O’Neal,M. Hatch, M.       0.80
                               Weinberg, R. Minott (partial) and Houlihan,
                               BRG, Moelis, A&M, and White & Case UCC
                               priorities and requests
Minott, R.            02/21/23 Revise UCC NDA                                     1.50
Minott, R.            02/21/23 Call with J. VanLare re UCC NDA                    0.10
Minott, R.            02/21/23 Call with J. VanLare, S. O’Neal, H. Kim, M.        0.60
                               Weinberg, M. Hatch (partial) and Houlihan,
                               BRG, Moelis, A&M, and White & Case UCC
                               priorities and requests
Weinberg, M.          02/21/23 Call with J. VanLare, S. O’Neal, H. Kim, M.        0.60
                               Hatch, R. Minott (partial) and Houlihan,
                               BRG, Moelis, A&M, and White & Case UCC
                               priorities and requests.
Hatch, M.             02/21/23 Call with J. VanLare, S. O’Neal, H. Kim, M.        0.80
                               Weinberg, R. Minott (partial) and Houlihan,
                               BRG, Moelis, A&M, and White & Case UCC
                               priorities and requests (0.8)
O'Neal, S.A.          02/22/23 Corresp with J. Gottlieb (Morrison Cohen)and       0.40
                               A. Pretto-Sakmann (Genesis) re productions
                               to committee (.4)

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O'Neal, S.A.          02/22/23 Corresp with C. West (W&C) re info request         0.40
                               (.4)
VanLare, J.           02/22/23 Participated in calls relating to selection of     2.40
                               UCC counsel (2.4)
VanLare, J.           02/22/23 Reviewed Committee diligence requests (.1);        0.50
                               reviewed revised NDA (.4)
Minott, R.            02/22/23 Finalize UCC NDA                                   0.40
Dassin, L.L.          02/23/23 Emails with J. Cohen (White & Case) and S.         0.40
                               O'Neal and R. Zutshi (Cleary) regarding UCC
                               requests and next steps.
O'Neal, S.A.          02/23/23 Call with J. VanLare re case updates and           0.30
                               meeting with UCC
O'Neal, S.A.          02/23/23 Corresp with B. Barnwell (Moelis) and B.           0.50
                               Klein (Moelis) re diligence and creditor
                               meeting issues
O'Neal, S.A.          02/23/23 Call with J. Gottlieb (Morrison Cohen) re          0.10
                               productions to W&C (.1)
O'Neal, S.A.          02/23/23 Call with P. Abelson (Proskauer) re diligence      0.20
                               (.1), corresp with L. Dassin, R. Zutshi, J.
                               VanLare, R. Minott, Moelis and A&M teams
                               re diligence issues and process (.1)
VanLare, J.           02/23/23 Correspondence with R. Minott re NDA (.2);         0.70
                               reviewed correspondence relating to
                               Committee diligence requests (.5)
VanLare, J.           02/23/23 Call with R. Minott re UCC NDA (.1); Call          0.30
                               with S. O'Neal re case updates and meeting
                               with UCC (.2)
VanLare, J.           02/23/23 Call with R. Gayda re committee (.1)               0.10
Zutshi, R.N.          02/23/23 Planning for and sending materials responsive      0.90
                               to UCC requests.
Kim, H.R.             02/23/23 Reviewing UCC diligence requests                   0.80
Minott, R.            02/23/23 Correspondence with A. Pretto-Sakmann              1.00
                               (Genesis) and M. Bergman (Genesis) re UCC
                               NDA

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NAME                  DATE       DESCRIPTION                                  HOURS
Minott, R.            02/23/23 Call with J. VanLare re NDA                        0.10
Dassin, L.L.          02/24/23 Review materials for call with J. Cohen and        0.40
                               G. Ramirez (White & Case).
Dassin, L.L.          02/24/23 Call with J. Cohen and G. Ramirez (White &         0.30
                               Case) and R. Zutshi regarding regulatory
                               subpoenas
O'Neal, S.A.          02/24/23 Corresponded with P. Abelson (White &              0.20
                               Case) re Gemini MLA (.2)
O'Neal, S.A.          02/24/23   Correspondence with M. Weinberg and B.           0.90
                                 Barnwell (Moelis) re creditor meeting and
                                 PSA (.9)
VanLare, J.           02/24/23 Reviewed meeting planning (.1)                     0.10
Zutshi, R.N.          02/24/23 Call with L. Dassin, J. Cohen (W&C), and G.        0.50
                               Ramirez
                               (W&C) regarding regulatory subpoenas (0.3);
                               correspondence re same (0.2)
Zutshi, R.N.          02/24/23 Call                                               0.90
                               with M. Leibold, J. Cohen (W&C), C. West
                               (W&C), and G. Ramirez
                               (W&C) regarding regulatory subpoenas
Kim, H.R.             02/24/23 Reviewing UCC diligence requests                   0.30
Leibold, M.A.         02/24/23 Prepare for call with UCC (.9); Call with R.       1.80
                               Zutshi, J. Cohen (W&C), C. West (W&C),
                               and G. Ramirez (W&C) regarding regulatory
                               subpoenas (.9).
O'Neal, S.A.          02/25/23 Call with J. Saferstein (Weil) re meeting on       0.20
                               Thursday (.1); corresponded with B. Barnwell
                               ( Moelis) re same (.1)
VanLare, J.           02/26/23 Correspondence with M. Meises (W&C) re             0.10
                               information motion) (.1)
O'Neal, S.A.          02/27/23 Corresponded with B. Barnwell at Moelis re         0.10
                               UCC diligence request
O'Neal, S.A.          02/27/23 Teleconference with J. Vanlare re UCC,             0.30
                               wallet and bid procedures matters (.2);
                               correspond with J. VanLare re same (.1)

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VanLare, J.           02/27/23 Call with H. Kim, S. Bremer, G. Pesce (White       1.10
                               & Case), T. Smith (White & Case) and M.
                               Meises (White & Case) regarding redaction of
                               identifiable information (.3), correspondence
                               re same (0.1); Call with J. Sciametta re UCC
                               production (.2); Call with P. Abelson, M.
                               Meises, A. Criste re 3AC stipulation and GAP
                               (.5)
VanLare, J.           02/27/23 Call with S. O’Neal re case updates (.2)           0.20
VanLare, J.           02/27/23 Reviewed final NDA (.1); Call with J.              0.30
                               VanLare and R. Minott re UCC NDA (.2)
Bremer, S.            02/27/23 Call with J. VanLare, H. Kim, G. Pesce             0.30
                               (White & Case), T. Smith (White & Case), M.
                               Meises (White & Case) regarding redaction of
                               identifiable information.
Kim, H.R.             02/27/23 Reviewing draft of UCC motion for                  1.30
                               information protocol
Kim, H.R.             02/27/23 Reviewing UCC diligence requests                   0.30
Kim, H.R.             02/27/23 Call with J. VanLare, S. Bremer, G. Pesce          0.40
                               (White & Case), T. Smith (White & Case) and
                               M. Meises (White & Case) regarding
                               redaction of identifiable information (0.3);
                               correspondence re same (0.1)
Leibold, M.A.         02/27/23 Correspond regarding call with UCC (.1); Call      0.40
                               with G. Ramirez (W&C) regarding
                               subpoenas.
Minott, R.            02/27/23 Call with J. VanLare and R. Minott re UCC          0.20
                               NDA.
Minott, R.            02/27/23 Revise UCC NDA                                     0.90
O'Neal, S.A.          02/28/23 Weekly call with UCC advisors re diligence,        0.50
                               creditors meeting and next steps (.5)
O'Neal, S.A.          02/28/23 Call with J. VanLare (partial), H. Kim, M.         0.60
                               Leto (A&M), J. Sciametta (A&M), D. Petty
                               (A&M), O. Backes (Moelis), B. DiPietro
                               (Moelis), B. Barnwell (Moelis), J. Roden
                               (Moelis), J. Lina (Moelis) re: UCC diligence

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NAME                  DATE      DESCRIPTION                                    HOURS
                                requests (0.6)
O'Neal, S.A.          02/28/23 Weekly Call with J. VanLare, M. Hatch, H.         0.50
                               Kim, and R. Minott, and Houlihan, BRG,
                               Moelis, A&M, and White & Case (0.5)
VanLare, J.           02/28/23 Call with G. Pesce (W&C), M. Meises               0.90
                               (W&C), H. Kim re information protocol
                               motion (.4); reviewed committee information
                               protocol motion (.5)
VanLare, J.           02/28/23 Weekly call with J. VanLare, S. O’Neal, H.        0.50
                               Kim, R. Minott, M. Hatch and Houlihan,
                               BRG, Moelis, A&M, and White & Case
                               regarding UCC priorities and requests (0.5)
VanLare, J.           02/28/23 Call with S. O'Neal, H. Kim, M. Leto (A&M),       0.50
                               J. Sciametta (A&M), D. Petty (A&M), O.
                               Backes (Moelis), B. DiPietro (Moelis), B.
                               Barnwell (Moelis), J. Roden (Moelis), J. Lina
                               (Moelis) re: UCC diligence requests (partial)
                               (.5)
Kim, H.R.             02/28/23 Call with G. Pesce (W&C), M. Meises               0.40
                               (W&C), J. VanLare re information protocol
                               motion (.4)
Kim, H.R.             02/28/23 Call with S. O’Neal, J. VanLare, M. Leto          0.60
                               (A&M), J. Sciametta (A&M), D. Petty
                               (A&M), O. Backes (Moelis), B. DiPietro
                               (Moelis), B. Barnwell (Moelis), J. Roden
                               (Moelis), J. Lina (Moelis) re: UCC diligence
                               requests
Kim, H.R.             02/28/23 Weekly call with J. VanLare, S. O’Neal, R.        0.50
                               Minott, M. Hatch and Houlihan, BRG,
                               Moelis, A&M, and White & Case regarding
                               UCC priorities and requests
Kim, H.R.             02/28/23 Call with S. O’Neal, J. VanLare (partial), M.     0.60
                               Leto (A&M), J. Sciametta (A&M), D. Petty
                               (A&M), O. Backes (Moelis), B. DiPietro
                               (Moelis), B. Barnwell (Moelis), J. Roden
                               (Moelis), and J. Lina (Moelis) re: UCC
                               diligence requests

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Leibold, M.A.         02/28/23 Draft summary to UCC (.2).                         0.20
Minott, R.            02/28/23 Weekly call with J. VanLare, S. O’Neal, H.         0.50
                               Kim, R. Minott, M. Hatch and Houlihan,
                               BRG, Moelis, A&M, and White & Case
                               regarding UCC priorities and requests
Hatch, M.             02/28/23 Weekly Call with J. VanLare, S. O’Neal, H.         0.50
                               Kim, and R. Minott, and Houlihan, BRG,
                               Moelis, A&M, and White & Case (0.5)
                                 MATTER TOTAL:                                  100.10




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                                Timekeeper Summary
Name                                  Hours                  Rate           Amount

Partner
O'Neal, S.A.                           .0.70             .1,820.00   $      1,274.00
VanLare, J.                            .5.50             .1,730.00   $      9,515.00
Counsel
Hammer, B.M.                           .2.40             .1,280.00   $      3,072.00
Associate
Bremer, S.                              .0.20              .845.00   $        169.00
Kim, H.R.                               .0.20            .1,105.00   $        221.00
Minott, R.                            .23.80               .965.00   $     22,967.00
Ribeiro, C.                             .0.90            .1,045.00   $        940.50
Weinberg, M.                            .0.30            .1,105.00   $        331.50
Associate Not Admitted
Hatch, M.                              .3.30              .710.00    $      2,343.00

Total:                                 37.30                         $     40,833.00




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VanLare, J.           02/01/23 Reviewed top creditor list (.5); call with R.     0.80
                               Fielder (Kirkland) re same (.1); call with J.
                               Sazant (Proskauer) re same (.2)
Minott, R.            02/01/23 Review bar date motion precedent                  1.10
Minott, R.            02/01/23 Draft bar date motion                             4.70
VanLare, J.           02/02/23 Reviewed bar date motion (.2)                     0.20
Minott, R.            02/02/23 Correspondence with J. VanLare, P. Kinealy        1.60
                               (A&M), M. Leto (A&M), P. Wirtz (A&M) re
                               bar date motion and schedules
Minott, R.            02/02/23 Correspondence with J. VanLare re bar date        0.60
                               motion
Minott, R.            02/03/23 Correspondence with J. Berman (Kroll), C.         2.20
                               Garraway (Kroll), C. Porter (Kroll), J.
                               VanLare, P. Kinealy (A&M), M. Leto
                               (A&M), P. Wirtz (A&M) re bar date and
                               proofs of claim
Minott, R.            02/03/23 Revise bar date motion                            1.30
Ribeiro, C.           02/03/23 Correspond with J. VanLare, R. Minott re bar      0.10
                               date motion
Minott, R.            02/05/23 Revise bar date motion                            1.60
Hatch, M.             02/05/23 Drafted bar date motion (0.3)                     0.30
Hatch, M.             02/06/23 Drafted Bar Date Motion (1.2)                     1.20
VanLare, J.           02/07/23 Bar date call with J. Margolin (Hughes            0.30
                               Hubbard) (.2); drafted correspondence to J.
                               Margolin re same (.1)
VanLare, J.           02/07/23 Call with B. Bolthus, S. Lynch, P. Kinealy        0.20
                               (A&M) re claims (.2)
Ribeiro, C.           02/07/23 Review bar date motion                            0.60
Hatch, M.             02/07/23 Drafted Bar Date Motion (0.8)                     0.80
O'Neal, S.A.          02/13/23 Call with M. Weinberg, J. VanLare, B.             0.40
                               Bulthuis (Genesis), S. Lynch (Genesis), M.
                               Leto (A&M), P. Kinealy (A&M), D. Petty
                               (A&M), P. Wirtz (A&M), and H. Bixler
                               (A&M) to discuss scheduling of claims
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NAME                  DATE      DESCRIPTION                                    HOURS
                                (partial attendance).
VanLare, J.           02/13/23 Call with S. O’Neal (partial), M. Weinberg,       0.50
                               B. Bulthuis (Genesis), S. Lynch (Genesis), M.
                               Leto (A&M), P. Kinealy (A&M), D. Petty
                               (A&M), P. Wirtz (A&M), and H. Bixler
                               (A&M) to discuss scheduling of claims.
Minott, R.            02/13/23 Correspondence with P. Kinealy (A&M) and          0.30
                               D. Petty (A&M) re schedules
Minott, R.            02/13/23 Correspondence with P. Kinealy (A&M) re           0.30
                               SOFAs
Weinberg, M.          02/13/23 Call with S. O’Neal (partial), J. VanLare, B.     0.30
                               Bulthuis (Genesis), S. Lynch (Genesis), M.
                               Leto (A&M), P. Kinealy (A&M), D. Petty
                               (A&M), P. Wirtz (A&M), and H. Bixler
                               (A&M) to discuss scheduling of claims
                               (partial attendance).
VanLare, J.           02/14/23 Reviewed disclosures re claims (.1)               0.10
Minott, R.            02/14/23 Research on bar date motion filing                0.50
Minott, R.            02/14/23 Correspondence with A&M re Schedules              0.30
                               extension
Hatch, M.             02/14/23 Worked on Drafting Bar Date Motion (0.8)          0.80
VanLare, J.           02/15/23 Reviewed language re claims (.3)                  0.30
VanLare, J.           02/15/23 Reviewed second day orders (.2)                   0.20
O'Neal, S.A.          02/16/23 Corresp with all re schedules                     0.10
VanLare, J.           02/17/23 Drafted correspondence to B. Bolthius             0.40
                               (Genesis) re claims disclaimer (.4)
VanLare, J.           02/18/23 Drafted correspondence re bar date to R.          0.10
                               Minott (.1)
Minott, R.            02/21/23 Revise bar date motion                            1.40
VanLare, J.           02/23/23 Correspondence with R. Minott re bar date         0.10
                               motion (.1)
VanLare, J.           02/23/23 Call with J. Sciametta (A&M) re schedules         0.20
                               (.2)

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Minott, R.            02/23/23 Correspondence with J. Margolin (Hughes           0.70
                               Hubbard) re Gemini bar date
O'Neal, S.A.          02/24/23 Corresponded with A. Dietderich (Sullivan &       0.20
                               Cromwell) re FTX preference allegations and
                               next steps
VanLare, J.           02/24/23 Partially attended call with C. Ribeiro           0.20
                               (partial), H. Kim, R. Minott, S. Bremer and
                               M. Hatch (partial) and P. Kinealy (A&M), P.
                               Wirtz (A&M), M. Fitts (A&M), D. Petty
                               (A&M), R. Smith (A&M), S. Casante (A&M)
                               re schedules
Bremer, S.            02/24/23 Call with J. VanLare (partial), H. Kim, R.        0.20
                               Minott, C. Ribeiro (partial) and M. Hatch
                               (partial) and P. Kinealy (A&M), P. Wirtz
                               (A&M), M. Fitts (A&M), D. Petty (A&M), R.
                               Smith (A&M), S. Casante (A&M) re
                               schedules.
Kim, H.R.             02/24/23 Call with J. VanLare (partial), R. Minott, C.     0.20
                               Ribeiro (partial), S. Bremer and M. Hatch
                               (partial) and P. Kinealy (A&M), P. Wirtz
                               (A&M), M. Fitts (A&M), D. Petty (A&M), R.
                               Smith (A&M), S. Casante (A&M) re
                               schedules.
Minott, R.            02/24/23 Call with J. VanLare (partial), H. Kim, C.        0.30
                               Ribeiro (partial), S. Bremer and M. Hatch
                               (partial) and P. Kinealy (A&M), P. Wirtz
                               (A&M), M. Fitts (A&M), D. Petty (A&M), R.
                               Smith (A&M), S. Casante (A&M) re
                               schedules.
Ribeiro, C.           02/24/23 Partially attended call with J. VanLare           0.20
                               (partial), H. Kim, R. Minott, S. Bremer and
                               M. Hatch (partial) and P. Kinealy (A&M), P.
                               Wirtz (A&M), M. Fitts (A&M), D. Petty
                               (A&M), R. Smith (A&M), S. Casante (A&M)
                               re schedules
Hatch, M.             02/24/23 Partially attended call with J. VanLare           0.20
                               (partial), H. Kim, R. Minott, C. Ribeiro
                               (partial) and S. Bremer and P. Kinealy

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NAME                  DATE       DESCRIPTION                                       HOURS
                                 (A&M), P. Wirtz (A&M), M. Fitts (A&M), D.
                                 Petty (A&M), R. Smith (A&M), S. Casante
                                 (A&M) re schedules.
Minott, R.            02/26/23 Research insider payment precedent                    1.80
VanLare, J.           02/27/23 Call with R. Minott, M. Leto (AM), P.                 0.50
                               Kinealy (AM), J. Sciametta (AM) re
                               schedules and insiders (.5)
VanLare, J.           02/27/23 Call with J. VanLare, B. Hammer, R. Minott,           0.60
                               M. Leto (AM), P. Wirtz (AM), J. Sciametta
                               (AM), S. Cascante (AM), P. Kinealy (AM), S.
                               Lynch (Genesis), B. Bulthuis (Genesis), A.
                               Chan (Genesis), A. Tseng (Genesis), R.
                               McMahon (Genesis) re collateral liquidations
                               and setoff (.6) [24872-013]
Hammer, B.M.          02/27/23 Call with M. Leto (A&M) re treatment of               0.30
                               claims subject to setoff.
Hammer, B.M.          02/27/23 Call with J. VanLare, B. Hammer, R. Minott,           0.60
                               M. Leto (AM), P. Wirtz (AM), J. Sciametta
                               (AM), S. Cascante (AM), P. Kinealy (AM), S.
                               Lynch (Genesis), B. Bulthuis (Genesis), A.
                               Chan (Genesis), A. Tseng (Genesis), R.
                               McMahon (Genesis) re collateral liquidations
                               and setoff.
Hammer, B.M.          02/27/23 Call with R. Minott re setoff / collateralization     0.10
                               analysis
Minott, R.            02/27/23 Call with J. VanLare, M. Leto (AM), P.                0.50
                               Kinealy (AM), J. Sciametta (AM) re
                               schedules and insiders.
Minott, R.            02/27/23 Call with J. VanLare, B. Hammer, R. Minott,           0.60
                               M. Leto (AM), P. Wirtz (AM), J. Sciametta
                               (AM), S. Cascante (AM), P. Kinealy (AM), S.
                               Lynch (Genesis), B. Bulthuis (Genesis), A.
                               Chan (Genesis), A. Tseng (Genesis), R.
                               McMahon (Genesis) re collateral liquidations
                               and setoff.
Minott, R.            02/27/23 Call with B. Hammer re setoff /                       0.10
                               collateralization analysis.

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NAME                  DATE       DESCRIPTION                                    HOURS
Minott, R.            02/27/23 Research on schedules.                             1.10
Minott, R.            02/27/23 Correspondence with Moelis, J. VanLare re          1.30
                               insider treatment on schedules
VanLare, J.           02/28/23 Reviewed correspondence re treatment of            0.20
                               claims (.2)
VanLare, J.           02/28/23 Correspondence with S. O’Neal re Gemini            0.10
                               lender agreements (.1)
VanLare, J.           02/28/23 Call with R. Minott and B. Hammer re               0.50
                               collateralization and setoff issues.
Hammer, B.M.          02/28/23 Call with J. VanLare and R. Minott re              0.50
                               collateralization and setoff issues.
Hammer, B.M.          02/28/23 Reviewed and commented on Gemini transfer          0.20
                               consent agreement.
Hammer, B.M.          02/28/23 Addressed questions re calculation of interest     0.70
                               amounts and late fees.
Minott, R.            02/28/23 Call with J. VanLare and B. Hammer re              0.50
                               collateralization and setoff issues.
Minott, R.            02/28/23 Draft email to client re asserted                  1.00
                               collateralization questions
                                 MATTER TOTAL:                                   37.30




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                                  Timekeeper Summary
Name                                     Hours                 Rate            Amount

Partner
Lopez, D.C.                               .4.40            .1,930.00   $       8,492.00
Mazzuchi, M.A.                            .5.00            .1,930.00   $       9,650.00
O'Neal, S.A.                            .48.90             .1,820.00   $      88,998.00
Simmons, C.I.                             .4.70            .1,505.00   $       7,073.50
VanLare, J.                               .5.00            .1,730.00   $       8,650.00
Counsel
Christophorou, P.                         .3.40            .1,485.00   $       5,049.00
Hammer, B.M.                              .0.80            .1,280.00   $       1,024.00
Senior Attorney
Chiu, V.                                  .2.30            .1,400.00   $       3,220.00
Associate
Bremer, S.                              .15.80               .845.00   $      13,351.00
Minott, R.                                .0.40              .965.00   $         386.00
Mitchell, A.F.                          .13.80               .845.00   $      11,661.00
Rathi, M.                                 .1.50              .845.00   $       1,267.50
Ribeiro, C.                               .4.20            .1,045.00   $       4,389.00
Rohlfs, S.M.                            .13.20             .1,180.00   $      15,576.00
Weinberg, M.                            .80.10             .1,105.00   $      88,510.50
Witchger, K.                              .1.00            .1,105.00   $       1,105.00
Associate Not Admitted
Gong, R.B.                                .6.60             .710.00    $       4,686.00
Hatch, M.                               .10.30              .710.00    $       7,313.00
Non-Legal
Ferro, J.                                 .0.80             .250.00    $        200.00

Total:                                  222.20                         $    280,601.50




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NAME                   DATE       DESCRIPTION                                    HOURS
O'Neal, S.A.           02/01/23 Corresp with M. Weinberg re Term Sheet (.2);       1.40
                                call with Moelis team re same and recovery
                                model (.40); corresp with P. Aronzon (Special
                                Committee) and T. Conheeny (Special
                                Committee) re same (.3), call with P. Aronzon
                                (Special Committee) re same (.1)
O'Neal, S.A.           02/01/23 Review and comment on Weil Gotshal Term            0.40
                                Sheet issues list
O'Neal, S.A.           02/01/23 Corresp with P. Aronzon (Special Committee)        0.30
                                and T. Conheeny (Special Committee) re
                                same (.1)
Bremer, S.             02/01/23 Draft issue list of Ad Hoc Group's comments        0.70
                                on term sheet.
Bremer, S.             02/01/23 Draft issue list of DCG counsel's comments         1.60
                                on term sheet.
Rohlfs, S.M.           02/01/23 Review revised term sheet.                         1.00
Weinberg, M.           02/01/23 Reviewed DCG markup of restructuring term          6.00
                                sheet (0.5); correspondence with S. Bremer re
                                same (0.2); correspondence with S. O'Neal re
                                same (0.5); drafted issues list regarding DCG
                                markup (1.0); reviewed AHG markup of
                                restructuring term sheet (1.3); drafted issues
                                list re same (0.5): correspondence with S.
                                Bremer re same (0.2); correspondence with A.
                                Pretto-Sakmann (Genesis) re restructuring
                                term sheets (1.0); reviewed precedent
                                disclosure statements (0.8).
Hatch, M.              02/01/23 Drafting disclosure statement (1.0)                1.00
Lopez, D.C.            02/02/23 Review email from S O’Neal re liquidation          0.50
                                notice and related securities law issues (.2);
                                respond to S. O'Neal re same (.3).
O'Neal, S.A.           02/02/23 Call with S. Bremer, S. Rohlfs (partial), M.       1.10
                                Weinberg, Weil, Ducera, Moelis, Houlihan,
                                and Proskauer teams re term sheet.
O'Neal, S.A.           02/02/23 Call with A. Frelinghuysen (HH), D. Burke          1.50
                                (HH), and M. Weinberg to discuss term sheet
                                (.3); Corresp with M. Weinberg re Term Sheet
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NAME                   DATE      DESCRIPTION                                   HOURS
                                 (.5), markup same (.7)
O'Neal, S.A.           02/02/23 Tcs and corresp with team re Gemini               1.00
                                foreclosure issues (.40), call with M.
                                Weinberg and V. Chiu to discuss treatment of
                                GBTC collateral in restructuring term sheet
                                (.6)
O'Neal, S.A.           02/02/23 Call with A. Frelinghuysen (HH), D. Burke         0.50
                                (HH) and M. Weinberg to discuss Gemini
                                markup of term sheet.
O'Neal, S.A.           02/02/23 Draft issues list (.2); communicate with P.       0.30
                                Aronzon (Special Committee) and T.
                                Conheeny (Special Committee) re same (.1)
O'Neal, S.A.           02/02/23 Markup term sheet (.4); corresp with M.           0.50
                                Weinberg re same (.1)
VanLare, J.            02/02/23 Call with B. Klein (Moelis), M. DiYanni           0.50
                                (Moelis), B. Tichenor (Moelis), J. Soto
                                (Moelis), O. Backes(Moelis), B. Barnwell
                                (Moelis), B. DiPetro (Moelis), J. Lina
                                (Moelis), J. Roden(Moelis), J. Reinhart
                                (Moelis), S. Bremer re sale process.
Chiu, V.               02/02/23 Call with S. O’Neal and M. Weinberg to            0.60
                                discuss treatment of GBTC collateral in
                                restructuring term sheet (0.6).
Chiu, V.               02/02/23 Review UCC provisions (.8); draft                 1.50
                                correspondence re: foreclosure sale (.3).
                                Review correspondence re: cases on
                                foreclosure (.4).
Bremer, S.             02/02/23 Call with B. Klein (Moelis), M. DiYanni           0.50
                                (Moelis), B. Tichenor (Moelis), J. Soto
                                (Moelis), O. Backes(Moelis), B. Barnwell
                                (Moelis), B. DiPetro (Moelis), J. Lina
                                (Moelis), J. Roden(Moelis), J. Reinhart
                                (Moelis), J. VanLare re sale process
Bremer, S.             02/02/23 Review Proskauer comments to term sheet.          0.80
Bremer, S.             02/02/23 Prepare summary of call with Moelis re sale       0.20
                                process.

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Bremer, S.             02/02/23 Call with S. O'Neal, S. Rohlfs (partial), M.         1.20
                                Weinberg, Weil, Ducera, Moelis, Houlihan,
                                and Proskauer teams re term sheet (1.1); prep
                                for same (.1).
Minott, R.             02/02/23 Correspondence with J. VanLare, H. Kim and           0.40
                                S. Bremer re sale process
Mitchell, A.F.         02/02/23 Review of precedents re: UCC foreclosures,           4.70
                                secured party buy-in, and application of
                                proceeds from agent to principals.
Rohlfs, S.M.           02/02/23 Review revised term sheets (0.5); call with S.       1.70
                                O'Neal, M. Weinberg, S. Bremer, Weil,
                                Ducera, Moelis, Houlihan, and Proskauer
                                teams re term sheet. (0.7) (partial attendance);
                                review Rule 144 resale issues (0.5).
Weinberg, M.           02/02/23 Call with A. Frelinghuysen (Hughes                   0.30
                                Hubbard), D. Burke (Hughes Hubbard), and
                                S. O'Neal to discuss term sheet.
Weinberg, M.           02/02/23 Call with S. O'Neal, S. Rohlfs (partial), S.         1.20
                                Bremer, and Weil, Ducera, Moelis, Houlihan,
                                and Proskauer teams re term sheet (1.1); prep
                                for same (.1).
Weinberg, M.           02/02/23 Call with A. Frelinghuysen (HH), D. Burke            0.50
                                (HH)and S. O'Neal to discuss Gemini markup
                                of term sheet.
Weinberg, M.           02/02/23 Prepared issues list re same (1.0);                  6.20
                                correspondence with S. Bremer re same (0.2);
                                correspondence with S. O'Neal regarding term
                                sheet markups (0.5); call with S. O’Neal and
                                V. Chiu to discuss treatment of GBTC
                                collateral in restructuring term sheet (0.6);
                                reviewed AHG group markup of DCG term
                                sheet and issues list (1.0); correspondence
                                with P. Aronzon (Special Committee) and T.
                                Conheeny (Special Committee) re calls
                                regarding term sheet markup (0.5); prepared
                                for all hands call on term sheet markups (0.5);
                                correspondence with B. Barnwell (Moelis) re
                                term sheet (0.2); correspondence with A.

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NAME                   DATE      DESCRIPTION                                      HOURS
                                 Sullivan (Genesis) re draft term sheets (0.2);
                                 revised draft term sheet (1.2); correspondence
                                 with S. O'Neal re same (0.3).
Gong, R.B.             02/02/23 Background research on earn program.                1.20
Gong, R.B.             02/02/23 Research on foreclosure.                            1.70
Gong, R.B.             02/02/23 Summarize 6 Haw. App 469 and discuss with           0.70
                                A. Mitchell
Gong, R.B.             02/02/23 Research on definition of recognized market.        2.40
Gong, R.B.             02/02/23 Summarize caselaw research and circulate to         0.60
                                K. Withcger and A. Mitchell
Hatch, M.              02/02/23 Drafting disclosure statement                       4.50
O'Neal, S.A.           02/03/23 Call with D. Islim (Genesis) re Term Sheet          1.80
                                issues (.2); same with T. Conheeney
                                (Genesis) (.3); same with B. Rosen
                                (Proskauer) and B. Klein (Moelis) (.1);
                                corresp with M. Weinberg re Term Sheet
                                issues (.4); comment on markup of same (.5);
                                corresp with Tom Conheeney (Special
                                Committee) re document communication (.1);
                                draft response re same (.1)
O'Neal, S.A.           02/03/23 Call w/ B. Barnwell (Moelis), J. Lina               0.80
                                (Moelis), A. Swift (Moelis), Z. Jamal
                                (Moelis), B. Klein (Moelis), M. DiYanni
                                (Moelis),C. Ribeiro, J. VanLare, M. Weinberg
                                re claim recovery analysis (partial attendance)
O'Neal, S.A.           02/03/23 Call with M. Leto (A&M ) re Term Sheet              0.40
                                issues
O'Neal, S.A.           02/03/23 Call with D. Islim (Genesis), P. Aronzon            1.00
                                (Genesis), T. Conheeney (Genesis), B. Klein
                                (Moelis), A. Swift (Moelis) (partial), M.
                                Weinberg, and S. Rohlfs (partial) to discuss
                                open issues in restructuring term sheet (.6);
                                prep for same (.4).
O'Neal, S.A.           02/03/23 Late night corresp with B. Rosen and Special        0.20
                                Committee re Term Sheet
VanLare, J.            02/03/23 Call w/ B. Barnwell (Moelis), J. Lina               1.10
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NAME                   DATE       DESCRIPTION                                     HOURS
                                  (Moelis), A. Swift (Moelis), Z. Jamal
                                  (Moelis), B. Klein (Moelis), M. DiYanni
                                  (Moelis), S. O’Neal (partial), J. VanLare, M.
                                  Weinberg, C. Ribeiro re claim recovery
                                  analysis (1.1)
Christophorou, P.      02/03/23 Official comments email regarding                   2.50
                                recognized market exception and review of
                                foreclosure analysis.
Chiu, V.               02/03/23 Correspondence re: recognized market issue          0.20
                                in foreclosure.
Mitchell, A.F.         02/03/23 Review of GBTC dissolution procedures.              0.30
Mitchell, A.F.         02/03/23 Communications with S. O'Neal, R. Zutshi, S.        1.30
                                Rocks, P. Christophorou, V. Chiu, B.
                                Hammer, K. Witchger, & R. Gong re:
                                research on UCC foreclosure precedents.
Mitchell, A.F.         02/03/23 Review of precedent re: measure of damages          2.40
                                for wrongful foreclosure of collateral under
                                the UCC.
Mitchell, A.F.         02/03/23 Review documentation re: proper foreclosure         0.90
                                procedures.
Mitchell, A.F.         02/03/23 Review of precedents re: "commercially              1.40
                                reasonable" foreclosure under the UCC..
Ribeiro, C.            02/03/23 Call w/ B. Barnwell (Moelis), J. Lina               1.10
                                (Moelis), A. Swift (Moelis), Z. Jamal
                                (Moelis), B. Klein (Moelis), M. DiYanni
                                (Moelis), S. O’Neal (partial), J. VanLare, M.
                                Weinberg re claim recovery analysis
Rohlfs, S.M.           02/03/23 Call with D. Islim (Genesis), P. Aronzon            0.50
                                (Genesis), T. Conheeney (Genesis), B. Klein
                                (Moelis), A. Swift (Moelis) (partial), S.
                                O'Neal, M. Weinberg to discuss open issues
                                in restructuring term sheet. (partial
                                attendance)
Weinberg, M.           02/03/23 Call w/ B. Barnwell (Moelis), J. Lina               1.10
                                (Moelis), A. Swift (Moelis), Z. Jamal
                                (Moelis), B. Klein (Moelis), M. DiYanni
                                (Moelis), S. O’Neal (partial), J. VanLare, M.
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NAME                   DATE      DESCRIPTION                                      HOURS
                                 Weinberg, and C. Ribeiro re claim recovery
                                 analysis.
Weinberg, M.           02/03/23 Call with D. Islim (Genesis), P. Aronzon            0.60
                                (Genesis), T. Conheeney (Genesis), B. Klein
                                (Moelis), A. Swift (Moelis) (partial), S.
                                O'Neal, and S. Rohlfs (partial) to discuss open
                                issues in restructuring term sheet.
Weinberg, M.           02/03/23 Revised draft term sheet based on comments          0.40
                                from S. O'Neal (0.3); correspondence with S.
                                O'Neal re same (0.1).
Weinberg, M.           02/03/23 Further revised restructuring term sheet based      2.00
                                on comments from S. O'Neal and Moelis team
                                (1.8); correspondence with B. Rosen
                                (Proskauer), C. Marcus (K&E); A. Sexton
                                (K&E), J. Lee (K&E); R. Fielder (K&E) re
                                same (0.2).
O'Neal, S.A.           02/04/23 Calls with B. Rosen (Proskauer) (.20) and B.        0.30
                                Klein (Moelis) (.10) about Term Sheet
O'Neal, S.A.           02/04/23 Research re potential mediators                     0.30
Christophorou, P.      02/04/23 Review of email from Rocks on foreclosure.          0.30
Weinberg, M.           02/04/23 Reviewed correspondence regarding draft             0.20
                                restructuring term sheet.
O'Neal, S.A.           02/05/23 Call with M. Weinberg, S. Bremer, A. Litan          0.70
                                (AHG), and Proskauer, Moelis, and HL teams
                                to discuss restructuring term sheet.
O'Neal, S.A.           02/05/23 Confer w J.Saferstein (Weil) re potential           1.70
                                settlement (.3); corresp. w/ B. Rosen
                                (Proskauer) re same (.3); confer w/ M.
                                Weinberg re same (.3); confer w/ Moelis team
                                re same (.5); confer w/ Hughes Hubbard team
                                re same (.3).
O'Neal, S.A.           02/05/23 Corresp with J. VanLare and C. Ribeiro re           0.30
                                mediation
O'Neal, S.A.           02/05/23 Call with T. Conheeney (Genesis), D. Islim          0.80
                                (Genesis), A. Pretto-Sakmann (Genesis), B.
                                Klein (partial), Z. Jamal (Moelis), B.

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NAME                   DATE       DESCRIPTION                                   HOURS
                                  Barnwell (Moelis), M. Weinberg, J. VanLare,
                                  and B. Hammer regarding term sheet
                                  negotiations.
O'Neal, S.A.           02/05/23 Comment on mediation motion                        0.50
O'Neal, S.A.           02/05/23 Additional calls and corresp with J.               0.50
                                Saferstein, B. Rosen and M. Weinberg re Plan
                                Term Sheet
O'Neal, S.A.           02/05/23 Review and comment on Term Sheet                   0.80
O'Neal, S.A.           02/05/23 Confer with P. Aronzon (Special Committee)         0.40
                                and T. Conheeny (Special Committee) re
                                Term Sheet
O'Neal, S.A.           02/05/23 Call with J. VanLare re mediation (.1)             0.10
VanLare, J.            02/05/23 Reviewed mediation motion (.1)                     0.10
VanLare, J.            02/05/23 Call with T. Conheeney (Genesis), D. Islim         0.90
                                (Genesis), A. Pretto-Sakmann (Genesis), B.
                                Klein (partial), Z. Jamal (Moelis), B.
                                Barnwell (Moelis), S. O'Neal, M. Weinberg,
                                and B. Hammer regarding term sheet
                                negotiations (.8); prep for same (.1).
VanLare, J.            02/05/23 Call with S. O’Neal re mediation (.1)              0.10
Christophorou, P.      02/05/23 Attention to calculating damages.                  0.30
Hammer, B.M.           02/05/23 Call with T. Conheeney (Genesis), D. Islim         0.80
                                (Genesis), A. Pretto-Sakmann (Genesis), B.
                                Klein (partial), Z. Jamal (Moelis), B.
                                Barnwell (Moelis), S. O'Neal, J. VanLare, B.
                                Hammer and M. Weinberg regarding term
                                sheet negotiations
Bremer, S.             02/05/23 Call with S. O'Neal, S. Bremer, A. Litan           0.70
                                (AHG), and Proskauer, Moelis, and HL teams
                                to discuss restructuring term sheet.
Mitchell, A.F.         02/05/23 Communications with S. O'Neal, R. Zutshi, S.       0.30
                                Rocks, P. Christophorou, V. Chiu, B.
                                Hammer, K. Witchger, & R. Gong re:
                                research on UCC foreclosure precedents.
Weinberg, M.           02/05/23 Call with S. O'Neal, S. Bremer, A. Litan           0.70

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NAME                   DATE       DESCRIPTION                                    HOURS
                                  (AHG), and Proskauer, Moelis, and HL teams
                                  to discuss restructuring term sheet.
Weinberg, M.           02/05/23 Revised draft restructuring term sheet (4.0);      5.90
                                correspondence with Moelis team re same
                                (0.7); correspondence with S. O'Neal re same
                                (0.8); correspondence with M. Leto (A&M) re
                                same (0.2); correspondence with J. Sazant
                                (Proskauer) re same (0.2).
Weinberg, M.           02/05/23 Call with T. Conheeney (Genesis), D. Islim         0.80
                                (Genesis), A. Pretto-Sakmann (Genesis), B.
                                Klein (partial), Z. Jamal (Moelis), B.
                                Barnwell (Moelis), S. O'Neal, J. VanLare, and
                                B. Hammer regarding term sheet negotiations.
O'Neal, S.A.           02/06/23 Attend status conference and announce deal in      3.60
                                principle (1), prepare remarks for same (.8),
                                tcs and corresp with B. Rosen (Proskauer), A.
                                Frelinghuysen (HH) and others re edits to
                                summary of deal in principle (.7), calls and
                                corresp with Cleary team re draft of summary
                                of deal in principle and revise same (.6),
                                review incoming drafts from Proskauer (.3)
                                and Weil (.2)
O'Neal, S.A.           02/06/23 Call with J. VanLare (partial), S. Rohlfs, M.      0.40
                                Weinberg, and Moelis, Weil, Proskauer and
                                Hughes Hubbard teams to discuss
                                restructuring term sheet
O'Neal, S.A.           02/06/23 Review and comment on Term Sheet                   1.50
O'Neal, S.A.           02/06/23 Review and markup communications material          1.50
                                (.8) and corresp and calls with Brian Bulthuis
                                re same (.2), comment on notice of filing
                                Term Sheet (.3), calls with Chambers to move
                                status conference (.1), review adjournment
                                notice (.1)
Bremer, S.             02/06/23 Revise notice of term sheet with attention to      0.20
                                M. Weinberg comments.
Bremer, S.             02/06/23 Draft notice of term sheet.                        0.80
Mitchell, A.F.         02/06/23 Research on precedent cases for UCC Section        2.40

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NAME                   DATE       DESCRIPTION                                      HOURS
                                  9-619(c) (2.0); communications with Cleary
                                  team re: findings (.4).
Ribeiro, C.            02/06/23 Review notice of filing of plan term sheet           0.10
Rohlfs, S.M.           02/06/23 Call with S. O'Neal, J. VanLare (partial), S.        2.70
                                Bremer (partial), M. Weinberg, Proskauer,
                                Weil, Moelis, Houlihan, Ducera, Hughes
                                Hubbard and Kirkland & Ellis teams re term
                                sheet (1.1); Call with S. O'Neal, J. VanLare
                                (partial), M. Weinberg, and Moelis, Weil,
                                Proskauer and Hughes Hubbard teams to
                                discuss restructuring term sheet (.4); review
                                successive drafts of term sheet (1.2).
Weinberg, M.           02/06/23 Correspondence with Special Committee                9.50
                                regarding revised draft restructuring term
                                sheet (0.3); revised draft term sheet (3.0);
                                prepared for status conference re same (1.2);
                                reviewed draft notice of filing term sheet
                                (0.5); correspondence with S. Bremer re same
                                (0.3); reviewed comments from Gemini's
                                counsel on draft restructuring term sheet (0.7);
                                correspondence with A. Frelinghuysen (HHR)
                                re same (0.3); reviewed Weil comments on
                                restructuring term sheet (0.5); further revised
                                draft term sheet to address additional
                                comments from Weil, HHR and Moelis
                                following the status conference (2.0); revised
                                draft board deck regarding chapter 11 plan
                                process (0.7).
Weinberg, M.           02/06/23 Attended status conference regarding plan            0.70
                                term sheet.
O'Neal, S.A.           02/07/23 Call with M. Weinberg, J. VanLare (partial),         4.70
                                and S. Bremer (partial), and Kirkland & Ellis,
                                Proskauer, Weil, Houlihan, Hughes Hubbard,
                                Moelis, and Ducera teams re term sheet (.3);
                                Call with M. Weinberg and Weil, Proskauer,
                                Hughes Hubbard, Kirkland & Ellis, Ducera
                                and Houlihan teams to discuss restructuring
                                term sheet (partial attendance) (.5), tcs and
                                corresp with Moelis team re same (.4), review

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NAME                   DATE       DESCRIPTION                                     HOURS
                                  and comment on Term Sheet (.5), corresp
                                  with M. Weinberg re drafts (.7), updates to
                                  Special Committee (.4), corresp with capital
                                  markets team re redemption (.2), corresp with
                                  Proskauer re markup (.5), calls and corresp
                                  with Weil and Ducera re Term Sheet (.4), Call
                                  with M. Weinberg, A. Swift (Moelis) and B.
                                  Barnwell (Moelis) re restructuring term sheet
                                  (.7); Call with S. Bremer, S. Rohlfs, M.
                                  Weinberg and Moelis, Ducera, Weil and
                                  Hughes Hubbard teams to discuss
                                  restructuring term sheet (.1)
VanLare, J.            02/07/23 Call with S. O'Neal, M. Weinberg, and S.            0.10
                                Bremer (partial), and Kirkland & Ellis,
                                Proskauer, Weil, Houlihan, Hughes Hubbard,
                                Moelis, and Ducera teams re term sheet
                                (partial attendance).
Bremer, S.             02/07/23 Call with S. O'Neal, J. VanLare (partial), and      0.20
                                M. Weinberg, and Kirkland & Ellis,
                                Proskauer, Weil, Houlihan, Hughes Hubbard,
                                Moelis, and Ducera teams re term sheet
                                (partial attendance).
Bremer, S.             02/07/23 Call with S. O'Neal, S. Rohlfs, M. Weinberg         0.20
                                and Moelis, Ducera, Weil and Hughes
                                Hubbard teams to discuss restructuring term
                                sheet (.1); follow up re same (.1).
Mitchell, A.F.         02/07/23 Communications with Cleary team re:                 0.10
                                findings on UCC Section 9-619(c) research.
Rathi, M.              02/07/23 Compiling list of regulatory matters and civil      1.50
                                litigations against clients
Rohlfs, S.M.           02/07/23 Emails re: term sheet; research related to;         0.50
                                review successive term sheet drafts (.4); Call
                                with S. O'Neal, M. Weinberg, S. Bremer and
                                Moelis, Ducera, Weil and Hughes Hubbard
                                teams to discuss restructuring term sheet (.1).
Weinberg, M.           02/07/23 Call with S. O'Neal (partial) and Weil,             1.00
                                Proskauer, Hughes Hubbard, Kirkland &
                                Ellis, Ducera and Houlihan teams to discuss

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NAME                   DATE      DESCRIPTION                                     HOURS
                                 restructuring term sheet.
Weinberg, M.           02/07/23 Call with S. O'Neal, A. Swift (Moelis) and B.      0.70
                                Barnwell (Moelis) re restructuring term sheet.
Weinberg, M.           02/07/23 Call with S. O'Neal, J. VanLare (partial), and     0.30
                                S. Bremer (partial), and Kirkland & Ellis,
                                Proskauer, Weil, Houlihan, Hughes Hubbard,
                                Moelis, and Ducera teams re term sheet.
Weinberg, M.           02/07/23 Call with S. O'Neal, S. Rohlfs, S. Bremer and      0.10
                                Moelis, Ducera, Weil and Hughes Hubbard
                                teams to discuss restructuring term sheet.
Weinberg, M.           02/07/23 Reviewed open issues in the restructuring          3.50
                                term sheet (1.2); correspondence with S.
                                Rohlfs re same (0.3); correspondence with B.
                                Barnwell (Moelis) re same (0.2);
                                correspondence with S. Cheung re same (0.2);
                                reviewed Weil comments on draft term sheet
                                (0.5); correspondence with F. Siddiqui (Weil)
                                re same (0.3); correspondence with S. O'Neal
                                re term sheet negotiations (0.8);
Lopez, D.C.            02/08/23 Review of emails regarding ability to exercise     0.30
                                call option when possibly in possession of
                                MNPI.
Lopez, D.C.            02/08/23 Research into 10b-5 law related to exercise of     0.80
                                options.
Lopez, D.C.            02/08/23 Call with S. O'Neal, C. Simmons, and M.            0.50
                                Weinberg (partial) to discuss restructuring
                                term sheet
O'Neal, S.A.           02/08/23 Call with M. Weinberg (partial), D. Lopez          0.50
                                and C. Simmons to discuss restructuring term
                                sheet.
O'Neal, S.A.           02/08/23 Multiple tcs and corresp with B. Rosen             1.00
                                (Proskauer) and J. Safferstein re Term Sheet
                                as we negotiate potential deal
O'Neal, S.A.           02/08/23 Work on Term Sheet                                 1.00
O'Neal, S.A.           02/08/23 Comment on notice of filing Term Sheet             0.30
O'Neal, S.A.           02/08/23 Calls and corresp with Moelis re Term Sheet        1.00
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NAME                   DATE       DESCRIPTION                                    HOURS
                                  (.5), same with Special Committee (.5)
Simmons, C.I.          02/08/23 Consider 10b5-1 question.                          0.40
Simmons, C.I.          02/08/23 Call with S. O'Neal, D. Lopez, and M.              0.60
                                Weinberg (partial) to discuss restructuring
                                term sheet (0.5); prep for same (.1).
Rohlfs, S.M.           02/08/23 Emails re: term sheet (0.3); research re           1.00
                                blackout periods (0.5); review successive term
                                sheet drafts (0.2).

Weinberg, M.           02/08/23 Call with S. O'Neal, D. Lopez and C.               0.40
                                Simmons to discuss restructuring term sheet
                                (partial attendance).
Weinberg, M.           02/08/23 Revised draft restructuring term sheet (1.8);      2.20
                                revised draft notice of filing for term sheet
                                (0.4).
O'Neal, S.A.           02/09/23 Multiple calls and corresp with creditors re       3.90
                                Term Sheet (1.4), Call with P. Aronzon
                                (Genesis), B. Klein (Moelis) and M.
                                Weinberg to discuss term sheet negotiations
                                (.7), calls and corresp with Special Committee
                                re same (.5), Call with M. Weinberg, A. Swift
                                (Moelis), B. Rosen (Proskauer), J. Sazant
                                (Proskauer), and B. Geer (HL) to discuss
                                restructuring term sheet (0.3); call with M.
                                Weinberg and A. Swift (Moelis) re same
                                (0.3),follow up re same (.1); comment on
                                language of Term Sheet (.6)
Simmons, C.I.          02/09/23 Review term sheet drafts.                          0.30
Rohlfs, S.M.           02/09/23 Review term sheet drafts.                          0.30
Weinberg, M.           02/09/23 Further revised the draft restructuring term       2.40
                                sheet (1.7); correspondence with C. Simmons
                                re same (0.2); correspondence with S. O'Neal
                                and A. Swift (Moelis) re same (0.5).
Weinberg, M.           02/09/23 Call with S. O'Neal, A. Swift (Moelis), B.         0.60
                                Rosen (Proskauer), J. Sazant (Proskauer), and
                                B. Geer (HL) to discuss restructuring term
                                sheet (0.3); call with S. O'Neal and A. Swift
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NAME                   DATE       DESCRIPTION                                     HOURS
                                  (Moelis) re same (0.3).
Weinberg, M.           02/09/23 Call with P. Aronzon (Genesis), B. Klein            0.70
                                (Moelis) and S. O'Neal to discuss term sheet
                                negotiations.
Hatch, M.              02/09/23 Drafted disclosure statement (1.8)                  1.80
Ferro, J.              02/09/23 Prepare to file the term sheet. confer w/ P.        0.80
                                Boiko and M. Weinberg re same. (OT).
O'Neal, S.A.           02/10/23 Corresp with A. Pretto-Sakmann (Genesis)            0.40
                                and Special Committee re next steps on Term
                                Sheet
O'Neal, S.A.           02/10/23 Calls with D. Islim (Genesis) re Term Sheet         0.90
                                (.4), calls with T. Conheeney (Genesis) re
                                same (.5)
O'Neal, S.A.           02/10/23 Review and comment on various versions of           1.00
                                Term Sheet
O'Neal, S.A.           02/10/23 Comment and update notice of filing Term            0.60
                                Sheet (.1); Corresp with Brian Bulthuis, Tom
                                Conheeney and FGS re communications (.4)
                                and markup press communication re same (.1)
O'Neal, S.A.           02/10/23 Call with M. Weinberg, B. Rosen (Proskauer)         0.20
                                and J. Sazant (Proskauer) to discuss
                                restructuring term sheet.
O'Neal, S.A.           02/10/23 Calls and corresp with A. Verost (Ducera) and       2.90
                                J. Safferstein (Weil) re Plan Term Sheet (1.3),
                                calls and corresp with R. Fiedler (Kirkland)
                                (.2), with B. Rosen (Proskauer) (.5) and A.
                                Frelinghuysen (HH) (.3), work on and finalize
                                various drafts of term sheet (.6)
O'Neal, S.A.           02/10/23 Corresp re signature pages for Term Sheet           0.20
Simmons, C.I.          02/10/23 Communications w/ M. Weinberg re:                   0.20
                                transaction and follow up.
Ribeiro, C.            02/10/23 Review disclosure statement draft and               0.70
                                schedule
Rohlfs, S.M.           02/10/23 Review term sheet drafts.                           0.20
Weinberg, M.           02/10/23 Finalized restructuring term sheet (3.2);           3.70
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                                  correspondence with P. Boiko regarding filing
                                  of same (0.2); correspondence with J. Sazant
                                  (Proskauer) and F. Siddiqui (Weil) re
                                  signature pages for term sheet (0.3).
Lopez, D.C.            02/13/23 Emails S Rohlfs, J VanLare and K Witchger            0.30
                                re restrictions on ability of Genesis to trade
                                Grayscale.
Bremer, S.             02/13/23 Review checklists. for PSA.                          0.20
Rohlfs, S.M.           02/13/23 Summarize affiliate sale issues, review              0.80
                                regulatory filings, emails re: the same.
Weinberg, M.           02/13/23 Reviewed news articles regarding                     2.50
                                restructuring term sheet and flagged
                                inaccuracies (1.0); correspondence with S.
                                O'Neal re plan support agreement (0.3);
                                reviewed precedent document checklists (0.3);
                                correspondence with S. Bremer re document
                                checklist (0.5); correspondence with F.
                                Siddiqui (Weil) re same (0.4).
Weinberg, M.           02/13/23 Call with F. Siddiqui (Weil) to discuss              0.10
                                definitive documentation for amended chapter
                                11 plan.
Witchger, K.           02/13/23 Research and email to S. Rohlfs, J. VanLare,         1.00
                                D. Lopez re: the liquidation restrictions on the
                                shares of GBTC
O'Neal, S.A.           02/14/23 Call with M. Weinberg, C. Ribeiro, M. Leto           2.00
                                (A&M), S. Cascante (A&M) and Moelis team
                                to discuss draft recovery analysis (.5),
                                meeting with D. Islim (Genesis) and Moelis
                                team re same (1.0), filing work (.5)
Bremer, S.             02/14/23 Call with M. Weinberg re document checklist          0.30
                                for restructuring.
Bremer, S.             02/14/23 Review final term sheet for items necessary          2.00
                                for restructuring.
Weinberg, M.           02/14/23 Reviewed draft document checklist for                0.40
                                restructuring.
Weinberg, M.           02/14/23 Call with S. Bremer re document checklist for        0.30

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NAME                   DATE      DESCRIPTION                                     HOURS
                                 restructuring.
Weinberg, M.           02/14/23 Call with S. O'Neal, C. Ribeiro, M. Leto           0.80
                                (A&M), S. Cascante (A&M) and Moelis team
                                to discuss draft recovery analysis (.5); prep
                                for same (.3).
Weinberg, M.           02/14/23 Call with S. O'Neal, M. Weinberg, M. Leto          0.50
                                (A&M), S. Cascante (A&M) and Moelis team
                                to discuss draft recovery analysis (.5)
O'Neal, S.A.           02/15/23 Call with J. Saferstein (Weil) re PSA and          0.40
                                other developments (.4)
O'Neal, S.A.           02/15/23 Call with Z. Jamal re timeline and plan issues     0.20
Bremer, S.             02/15/23 Draft document checklist for restructuring.        1.30
Weinberg, M.           02/15/23 Correspondence with S. O'Neal and S. Bremer        0.40
                                regarding document checklist and next steps
                                for restructuring negotiations.
Bremer, S.             02/16/23 Call with M. Weinberg re internal document         0.30
                                checklist for restructuring.
Weinberg, M.           02/16/23 Revised draft restructuring document               2.20
                                checklist (1.4); correspondence with S.
                                Bremer re same (0.3); correspondence with F.
                                Siddiqui (Weil) re same (0.2); Call with S.
                                Bremer re internal document checklist for
                                restructuring (0.3).
VanLare, J.            02/18/23 Drafted correspondence to C. Ribeiro and M.        0.10
                                Hatch re disclosure statement (.1)
Weinberg, M.           02/18/23 Correspondence with J. VanLare on question         0.30
                                re plan treatment.
Weinberg, M.           02/20/23 Reviewed issues related to restructuring           0.40
                                document checklist (0.2), correspond with J.
                                VanLare and C. Ribeiro re same (0.2)
O'Neal, S.A.           02/21/23 Corresp with Weinberg re PSA issues (.1)           0.10
Weinberg, M.           02/21/23 Reviewed issues related to restructuring           0.80
                                documentation.
O'Neal, S.A.           02/22/23 Call with J. VanLare, M. Weinberg, S. Rohlfs,      0.80
                                S. Bremer (partial)and Weil, Moelis,
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NAME                   DATE      DESCRIPTION                                     HOURS
                                 Proskauer, Hughes Hubbard, and Ducera
                                 teams re restructuring documentation
O'Neal, S.A.           02/22/23 Attention to 40 Act issues (.1)                    0.10
O'Neal, S.A.           02/22/23 Comment on document checklist for Plan (.3)        0.30
O'Neal, S.A.           02/22/23 Attend hearing re Second Day Motions and           1.30
                                general status conference (1.3)
VanLare, J.            02/22/23 Call with S. O'Neal, M. Weinberg, S. Rohlfs,       0.80
                                S. Bremer (partial) and Weil, Moelis,
                                Proskauer, Hughes Hubbard, and Ducera
                                teams re restructuring documentation. (.8.)
VanLare, J.            02/22/23 Reviewed work plan for disclosure statement        0.10
                                (.1)
Christophorou, P.      02/22/23 Foreclosure emails.                                0.30
Bremer, S.             02/22/23 Call with S. O'Neal, J. VanLare, M.                0.70
                                Weinberg, S. Rohlfs, and Weil, Moelis,
                                Proskauer, Hughes Hubbard, and Ducera
                                teams re restructuring documentation (partial
                                attendance)
Bremer, S.             02/22/23 Review Proskauer draft of Plan support             2.30
                                agreement.
Rohlfs, S.M.           02/22/23 Call with S. O'Neal, J. VanLare, M.                0.80
                                Weinberg, S. Bremer (partial) and Weil,
                                Moelis, Proskauer, Hughes Hubbard, and
                                Ducera teams re restructuring documentation.
Weinberg, M.           02/22/23 Call with S. O'Neal, J. VanLare, S. Rohlfs, S.     0.80
                                Bremer (partial) and Weil, Moelis, Proskauer,
                                Hughes Hubbard, and Ducera teams re
                                restructuring documentation.
Weinberg, M.           02/22/23 Reviewed draft plan support agreement (1.8);       2.40
                                revised draft restructuring document checklist
                                (0.4); correspondence with S. O'Neal re same
                                (0.2).
Lopez, D.C.            02/23/23 Call with C. Simmons, S. Rohlfs re: 40 act         0.50
                                and registration requirement issues (0.5).
Lopez, D.C.            02/23/23 Call with C. Simmons, S. Rohlfs, M.                0.50

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                                  Weinberg , S. Bremer and Weil, Hughes
                                  Hubbard, Proskauer and Kirkland & Ellis
                                  teams re distribution via DTC. (.5)
Lopez, D.C.            02/23/23 Call with S. Rohlfs re: 40 Act and registration     0.50
                                requirement issues
Mazzuchi, M.A.         02/23/23 Review term sheet (0.8), Call with D. Lopez,        1.30
                                C. Simmons, M. Weinberg, S. Rohlfs, S.
                                Bremer and Weil, Hughes Hubbard,
                                Proskauer and Kirkland & Ellis teams re
                                distribution via DTC (0.5)
O'Neal, S.A.           02/23/23 Call with A. Frelinghuysen (Hughes Hibbard)         0.10
                                re assignment of claims (.1)
Simmons, C.I.          02/23/23 Call with D. Lopez, S. Rohlfs re: 40 Act and        0.50
                                registration requirement issues (0.5).
Simmons, C.I.          02/23/23 Call with S. Rohlf, M. Weinberg and S.              0.40
                                Bremer, A. Lynch (Weil), E. Marshall
                                (Weil), S. Standon (Weil), re mechanics of
                                issuing preferred shares (0.3), correspondence
                                re the same (.1).
Simmons, C.I.          02/23/23 Follow up call with M. Weinberg and S.              0.20
                                Rohlfs to discuss 1145/12(g).
Simmons, C.I.          02/23/23 Consider questions regarding preferred share        0.70
                                securities law issues.
Simmons, C.I.          02/23/23 Call with D. Lopez, S. Rohlfs, M. Weinberg ,        0.50
                                S. Bremer and Weil, Hughes Hubbard,
                                Proskauer and Kirkland & Ellis teams re
                                distribution via DTC. (.5).
VanLare, J.            02/23/23 Reviewed workplan for disclosure statement          0.80
                                (.3); correspondence with M. Hatch re
                                disclosure statement (.5)
Bremer, S.             02/23/23 Call with C. Simmons, S. Rohlfs, M.                 0.30
                                Weinberg, A. Lynch (Weil), E. Marshall
                                (Weil), S. Standon (Weil), re mechanics of
                                issuing preferred shares
Bremer, S.             02/23/23 Call with D. Lopez, C. Simmons, S. Rohlfs,          0.50
                                M. Weinberg and Weil, Hughes Hubbard,

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NAME                   DATE       DESCRIPTION                                     HOURS
                                  Proskauer and Kirkland & Ellis teams re
                                  distribution via DTC.
Ribeiro, C.            02/23/23 Conference with M. Hatch re disclosure              0.20
                                statement - regulatory risks
Ribeiro, C.            02/23/23 Correspond with M. Hatch re regulatory risk         0.20
                                factors
Ribeiro, C.            02/23/23 Revise description of regulatory/litigation         1.90
                                risks
Rohlfs, S.M.           02/23/23 Call with D. Lopez, C. Simmons, M.                  1.80
                                Weinberg , S. Bremer and Weil, Hughes
                                Hubbard, Proskauer and Kirkland & Ellis
                                teams re distribution via DTC (0.5); call with
                                D. Lopez re: 40 Act and registration
                                requirement issues (0.5); call with C.
                                Simmons, D. Lopez, M. Weinberg re: 40 act
                                and registration requirement issues (0.5); Call
                                with C. Simmons, S. Bremer, M. Weinberg,
                                A. Lynch (Weil), E. Marshall (Weil), S.
                                Standon (Weil), re mechanics of issuing
                                preferred shares (0.3)
Rohlfs, S.M.           02/23/23 Follow up call with M. Weinberg and C.              0.20
                                Simmons to discuss 1145/12(g)
Weinberg, M.           02/23/23 Call with D. Lopez, M. Mazzuchi, C.                 0.50
                                Simmons, S. Rohlfs, S. Bremer and Weil,
                                Hughes Hubbard, Proskauer and Kirkland &
                                Ellis teams re distribution via DTC.
Weinberg, M.           02/23/23 Call with C. Simmons, S. Rohlfs, and S.             0.40
                                Bremer, A. Lynch (Weil), E. Marshall
                                (Weil), and S. Standon (Weil) re mechanics of
                                issuing preferred shares (0.3), correspondence
                                re the same (0.1)
Weinberg, M.           02/23/23 Follow up call with C. Simmons and S.               0.20
                                Rohlfs to discuss 1145/12(g).
Weinberg, M.           02/23/23 Correspondence with S. O'Neal re                    1.20
                                restructuring document checklist (0.2);
                                reviewed issues related to restructuring
                                disclosure requirements (0.8); reviewed

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                                  correspondence with C. Simmons and S.
                                  Rohlfs re same (0.2).
Hatch, M.              02/23/23 Drafted regulatory section of disclosure            1.40
                                statement (1.2), Conference with C. Ribeiro re
                                disclosure statement - regulatory risks (0.2)
Hatch, M.              02/23/23 Compiled litigation risk section for disclosure     1.60
                                statement
Mazzuchi, M.A.         02/24/23 Review materials regarding liquidating              1.00
                                trust/preferred shares.
Rohlfs, S.M.           02/24/23 Conference with J. Van Lare regarding Rule          0.30
                                144 sales. (0.1)
                                Review Rule 144 language (.2).
Weinberg, M.           02/24/23 Correspondence with S. O'Neal and Moelis            1.00
                                team regarding meeting with AHG and
                                Creditors' Committee (1.0).
Rohlfs, S.M.           02/26/23 Review disclaimers and provide revisions to         0.70
                                same.
Lopez, D.C.            02/27/23 Call with M. Mazzuchi, S. Bremer, C.                0.50
                                Simmons, S. Rohlfs, M. Weinberg, G. Simon
                                (Hughes Hubbard), A. Lynch (Weil), D.
                                Smith (Hughes Hubbard), A. Frelinghuysen
                                (Hughes Hubbard), M. Cruz (Weil), S.
                                Stanton (Weil), E. Marshall (Weil), J. Sazant
                                (Proskauer) , J. Habenicht (Proskauer), D.
                                Ruzi (Weil), M. Hamilton (Proskauer), F.
                                Zarb (Proskauer), T. Multari (Proskauer), A.
                                Sexton (Kirkland & Ellis), J. Lee (Kirkland &
                                Ellis, S. Goldring (Weil), T. Tavridou (Weil)
                                re issuance of preferred shares.
Mazzuchi, M.A.         02/27/23 Review liquidating trust materials                  1.50
Mazzuchi, M.A.         02/27/23 Call with S. Bremer, D. Lopez, C. Simmons,          0.40
                                S. Rohlfs, M. Weinberg, G. Simon (Hughes
                                Hubbard), A. Lynch (Weil), D. Smith
                                (Hughes Hubbard), A. Frelinghuysen (Hughes
                                Hubbard), M. Cruz (Weil), S. Stanton (Weil),
                                E. Marshall (Weil), J. Sazant (Proskauer) , J.
                                Habenicht (Proskauer), D. Ruzi (Weil), M.

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                                  Hamilton (Proskauer), F. Zarb (Proskauer),
                                  T. Multari (Proskauer), A. Sexton (Kirkland
                                  & Ellis), J. Lee (Kirkland & Ellis, S. Goldring
                                  (Weil), T. Tavridou (Weil) re issuance of
                                  preferred shares
O'Neal, S.A.           02/27/23 Corresponded with Mike Weinberg re PSA                0.10
                                (.1)
O'Neal, S.A.           02/27/23 Call with D. Smith (Hughes Hubbard) re 105            0.10
                                injunction and opt outs
Simmons, C.I.          02/27/23 Consider registration requirements for                0.30
                                preferred shares
Simmons, C.I.          02/27/23 Call with S. Rohlfs re: transaction structure         0.20
                                and issues. (0.2)
Simmons, C.I.          02/27/23 Call with M. Mazzuchi, D. Lopez, S. Rohlfs,           0.40
                                M. Weinberg, S. Bremer, G. Simon (Hughes
                                Hubbard), D. Smith (Hughes Hubbard), A.
                                Frelinghuysen (Hughes Hubbard), A. Lynch
                                (Weil), M. Cruz (Weil), S. Stanton (Weil), S.
                                Goldring (Weil), T. Tavridou (Weil), E.
                                Marshall (Weil), D. Ruzi (Weil), M. Hamilton
                                (Proskauer), F. Zarb (Proskauer), T. Multari
                                (Proskauer), J. Sazant (Proskauer), J.
                                Habenicht (Proskauer), A. Sexton (Kirkland
                                & Ellis) and J. Lee (Kirkland & Ellis)
                                regarding issuance of preferred shares. (.4)
Bremer, S.             02/27/23 Call with M. Mazzuchi, D. Lopez, C.                   0.40
                                Simmons, S. Rohlfs, M. Weinberg, G. Simon
                                (Hughes Hubbard), A. Lynch (Weil), D.
                                Smith (Hughes Hubbard), A. Frelinghuysen
                                (Hughes Hubbard), M. Cruz (Weil), S.
                                Stanton (Weil), E. Marshall (Weil), J. Sazant
                                (Proskauer) , J. Habenicht (Proskauer), D.
                                Ruzi (Weil), M. Hamilton (Proskauer), F.
                                Zarb (Proskauer), T. Multari (Proskauer), A.
                                Sexton (Kirkland & Ellis), J. Lee (Kirkland &
                                Ellis, S. Goldring (Weil), T. Tavridou (Weil)
                                re issuance of preferred shares.
Rohlfs, S.M.           02/27/23 Call with C. Simmons re: transaction                  0.70

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NAME                   DATE       DESCRIPTION                                      HOURS
                                  structure and issues 0.2

                                  Call with M. Mazzuchi, D. Lopez, C.
                                  Simmons, M. Weinberg, S. Bremer, G. Simon
                                  (Hughes Hubbard), D. Smith (Hughes
                                  Hubbard), A. Frelinghuysen (Hughes
                                  Hubbard), A. Lynch (Weil), M. Cruz (Weil),
                                  S. Stanton (Weil), S. Goldring (Weil), T.
                                  Tavridou (Weil), E. Marshall (Weil), D. Ruzi
                                  (Weil), M. Hamilton (Proskauer), F. Zarb
                                  (Proskauer), T. Multari (Proskauer), J. Sazant
                                  (Proskauer), J. Habenicht (Proskauer), A.
                                  Sexton (Kirkland & Ellis) and J. Lee
                                  (Kirkland & Ellis) regarding issuance of
                                  preferred shares. (.4)

Weinberg, M.           02/27/23 Correspondence with Special Committee                6.50
                                regarding draft plan support agreement (0.6);
                                correspondence with R. Minott regarding
                                draft bidding procedures timeline (0.7);
                                revised draft plan support agreement (3.8);
                                reviewed precedents re same (1.4).
Weinberg, M.           02/27/23 Call with M. Mazzuchi, D. Lopez, C.                  0.40
                                Simmons, S. Rohlfs, S. Bremer, G. Simon
                                (Hughes Hubbard), A. Lynch (Weil), D.
                                Smith (Hughes Hubbard), A. Frelinghuysen
                                (Hughes Hubbard), M. Cruz (Weil), S.
                                Stanton (Weil), E. Marshall (Weil), J. Sazant
                                (Proskauer) , J. Habenicht (Proskauer), D.
                                Ruzi (Weil), M. Hamilton (Proskauer), F.
                                Zarb (Proskauer), T. Multari (Proskauer), A.
                                Sexton (Kirkland & Ellis), J. Lee (Kirkland &
                                Ellis, S. Goldring (Weil), T. Tavridou (Weil)
                                re issuance of preferred shares.
Mazzuchi, M.A.         02/28/23 Call with G. Simon (Hughes Hubbard)                  0.80
                                regarding liquidating trust and review of term
                                sheet.
O'Neal, S.A.           02/28/23 Correspondence with Swift at Moelis re               0.10
                                independent accounting firm for valuation (.1)

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O'Neal, S.A.           02/28/23 Correspondence with M. Weinberg and B,              0.10
                                Rosen re PSA and term sheet issues (.1)
VanLare, J.            02/28/23 Call with S. Bremer and C. Ribeiro re motion        0.40
                                to extend stay to non-debtors.
Bremer, S.             02/28/23 Call with W. McRae, M. Linch, J. Gifford, K.        0.40
                                Heiland and Proskauer to discuss tax analysis
                                of the term sheet (0.3).

                                 Call with W. McRae, M. Linch, J. Gifford and
                                 K. Heiland to discuss tax analysis of the term
                                 sheet (0.3).

                                 Research relating to tax analysis of the term
                                 sheet (0.9).
Weinberg, M.           02/28/23 Revised draft plan support agreement (4.0);         6.30
                                reviewed precedents re same (1.3); revised
                                draft term sheet (0.5); correspondence with S.
                                O'Neal regarding all-hands restructuring
                                meeting (0.5).
                                 MATTER TOTAL:                                    222.20




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                                Timekeeper Summary
Name                                   Hours                 Rate            Amount

Partner
Gerber, J.M.                            .0.30            .1,730.00   $         519.00
Linch, M.E.                           .25.50             .1,735.00   $      44,242.50
McRae, W.L.                             .7.60            .2,135.00   $      16,226.00
O'Neal, S.A.                            .3.30            .1,820.00   $       6,006.00
Simmons, C.I.                           .0.20            .1,505.00   $         301.00
VanLare, J.                             .0.50            .1,730.00   $         865.00
Counsel
Gifford, J.D.                           .1.60            .1,485.00   $       2,376.00
Associate
Heiland, K.                           .39.30             .1,105.00   $      43,426.50
Minott, R.                              .8.50              .965.00   $       8,202.50
Ribeiro, C.                             .0.10            .1,045.00   $         104.50
Schaefer, D.                          .26.60             .1,045.00   $      27,797.00
Weinberg, M.                            .3.90            .1,105.00   $       4,309.50

Total:                                117.40                         $    154,375.50




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Linch, M.E.           02/01/23 Attend to questions regarding NOL trading          1.00
                               order.
Heiland, K.           02/01/23 Correspondence w. D. Schaefer re U.S. tax          0.50
                               treatment of Genesis losses.
Heiland, K.           02/01/23 Review, update draft NOL motion.                   1.60
Minott, R.            02/01/23 Revise NOL motion                                  1.00
Linch, M.E.           02/02/23 Attend to issues related to NOL trading order.     2.00
Linch, M.E.           02/02/23 Correspond with team regarding NOL trading         0.20
                               order.
Gifford, J.D.         02/02/23 Review of filing precedents with K. Heiland        0.80
                               and D. Schaefer.
Heiland, K.           02/02/23 Correspondence w. D. Schaefer, J. Gifford re       0.30
                               NOL motion draft.
Heiland, K.           02/02/23 Research U.S. tax issues (2.6); Review of          3.40
                               filing precedents with D. Schaefer and J.
                               Gifford (.8).
Minott, R.            02/02/23 Correspondence with K. Heiland and M. Leto         1.40
                               (A&M), J. Sciametta (A&M) re NOLs
Schaefer, D.          02/02/23 Drafting the NOL order (3); related research.      3.00
Schaefer, D.          02/02/23 Review of filing precedents with K. Heiland        0.80
                               and J. Gifford
Linch, M.E.           02/03/23 Confer with team regarding NOL trading             1.30
                               order.
Linch, M.E.           02/03/23 Draft and revise NOL trading order.                6.00
Linch, M.E.           02/03/23 Consult with team regarding NOL trading            1.00
                               order revisions.
Heiland, K.           02/03/23 Review, update draft NOL motion (2.1); Call        3.20
                               with D. Schaefer to review NOL order
                               drafting (1.1).
Heiland, K.           02/03/23 Research, summarize applicable U.S. tax            2.40
                               issues.
Minott, R.            02/03/23 Correspondence with K. Heiland, D. Schaefer        0.90
                               re NOLs
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Schaefer, D.          02/03/23 Revisions to the NOL order and drafting           0.80
                               explanation for J. Gifford.
Schaefer, D.          02/03/23 Review of unified loss rules and call with J.     1.30
                               Gifford and M. Linch to discuss revised NOL
                               order.
Schaefer, D.          02/03/23 Drafting the NOL order and related research       7.40
                               under M. Linch.
Schaefer, D.          02/03/23 Call with K. Heiland to review NOL order          1.10
                               drafting.
Linch, M.E.           02/04/23 Revise motion for NOL trading order.              1.70
Linch, M.E.           02/04/23 Correspond with K. Heiland, R. Minott, M.         0.30
                               Weinberg, D. Schaefer regarding NOL trading
                               order and worthless stock deduction.
Heiland, K.           02/04/23 Correspondence w. M. Linch, R. Minott, M.         0.30
                               Weinberg, D. Schaefer team re updated draft
                               NOL motion.
Linch, M.E.           02/05/23 Correspond with K. Heiland, R. Minott, M.         0.40
                               Weinberg, D. Schaefer regarding NOL trading
                               order.
Heiland, K.           02/05/23 Revise draft NOL motion.                          2.00
Minott, R.            02/05/23 Draft NOL motion                                  2.90
Minott, R.            02/05/23 Call with M. Weinberg re NOL motion               0.20
Weinberg, M.          02/05/23 Reviewed issues related to draft NOL motion.      0.40
Weinberg, M.          02/05/23 Call with R. Minott re NOL motion                 0.20
Weinberg, M.          02/06/23 Correspondence with S. O'Neal re draft NOL        0.20
                               motion.
Heiland, K.           02/07/23 Research U.S. tax planning considerations.        1.70
Heiland, K.           02/07/23 U.S. tax review of proposed restructuring         1.50
                               plan, draft term sheet.
Heiland, K.           02/07/23 Correspondence w. D. Schaefer, M. Linch re        1.00
                               NOL motion draft, U.S. tax considerations for
                               restructuring plan.
Heiland, K.           02/07/23 Call with M. Weinberg and D. Schaefer             1.00
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                                 regarding NOL motion procedures under M.
                                 Linch.
Schaefer, D.          02/07/23 Call with M. Weinberg and K. Heiland                 1.00
                               regarding NOL motion procedures under M.
                               Linch.
Weinberg, M.          02/07/23 Reviewed tax questions re draft NOL motion           0.60
                               (0.4); correspondence with K. Heiland re
                               same (0.2).
Weinberg, M.          02/07/23 Call with D. Schaefer and K. Heiland                 1.00
                               regarding NOL motion procedures under M.
                               Linch
Gerber, J.M.          02/08/23 Call with C. Simmons re potential insider            0.30
                               trading claims (.2); prep for same (.1)
Simmons, C.I.         02/08/23 Call with J. Gerber re potential insider trading     0.20
                               claims
Heiland, K.           02/08/23 Correspondence w. M. Linch, D. Schaefer re           0.80
                               NOL motion, U.S. tax considerations for
                               restructuring plan.
Heiland, K.           02/08/23 Correspondence w. CGSH bk team, A&M re               0.50
                               factual background for NOL motion.
Schaefer, D.          02/08/23 Revisions to the NOL motion under M. Linch.          1.60
Linch, M.E.           02/09/23 Correspond with GGH team regarding NOLs.             0.20
Ribeiro, C.           02/10/23 Correspond with M. Weinberg, D. Schaefer re          0.10
                               NOL motion
Linch, M.E.           02/13/23 Confer with W. McRae regarding NOL                   0.20
                               motion.
Linch, M.E.           02/13/23 Call with S. O’Neal, J. VanLare, K. Heiland,         0.60
                               D. Schafer, M. Weinberg, R. Minott re NOLs
Linch, M.E.           02/13/23 Confer with K. Heiland and D. Schaefer               0.30
                               regarding NOLs.
Linch, M.E.           02/13/23 Correspond with team regarding NOL motion            0.40
                               and term sheet.
McRae, W.L.           02/13/23 Discussed deal status with M. Linch.                 0.30
McRae, W.L.           02/13/23 Look at materials sent by D. Schaefer (NOL           0.40
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                                motion and term sheet).
O'Neal, S.A.          02/13/23 Call with A. Chan (Genesis) re taxes (.2), Call     0.60
                               with M. Weinberg, J. VanLare (partial), M.
                               Linch, K. Heiland, D. Schafer, and R. Minott
                               re NOL (partial attendance) (.4)
VanLare, J.           02/13/23 Call with S. O’Neal (partial), M. Weinberg,         0.50
                               M. Linch, K. Heiland, D. Schafer, and R.
                               Minott re NOLs (partial attendance).
Heiland, K.           02/13/23 Draft summary for CGSH tax group re NOL             0.50
                               planning considerations.
Heiland, K.           02/13/23 Call with S. O’Neal (partial), J. VanLare           0.60
                               (partial), M. Linch,M. Weinberg, D. Schafer,
                               and R. Minott re NOLs.
Minott, R.            02/13/23 Call with S. O’Neal (partial), J. VanLare           0.60
                               (partial), M. Linch, K. Heiland, D. Schafer,
                               M. Weinberg re NOLs
Schaefer, D.          02/13/23 Call with S. O’Neal (partial), J. VanLare           1.80
                               (partial), M. Linch, K. Heiland, M. Weinberg,
                               and R. Minott re NOL (.6) and review of
                               NOLs under M. Linch (1.2).
Weinberg, M.          02/13/23 Call with S. O’Neal (partial), J. VanLare           0.60
                               (partial), M. Linch, K. Heiland, D. Schafer,
                               and R. Minott re NOLs.
Linch, M.E.           02/14/23 Call with W. McRae and D. Schaefer re NOL           0.50
                               issues
Linch, M.E.           02/14/23 Correspond with team regarding NOL                  0.40
                               preservation diligence questions.
Linch, M.E.           02/14/23 Correspond with team regarding Section 382          0.40
                               issues and diligence list.
McRae, W.L.           02/14/23 Call with D. Schaefer and M. Linch re NOL           0.50
                               issues
O'Neal, S.A.          02/14/23 Corresp with B. McRae, D. Schaefer, M.              0.10
                               Linch re tax issues (.1)
Heiland, K.           02/14/23 Correspondence w. Genesis re debtor tax             0.40
                               background questions.

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Heiland, K.           02/14/23 Tax review, analysis of draft plan term sheet.      1.40
Heiland, K.           02/14/23 Review, draft tax diligence questions for draft     1.60
                               restructuring plan.
Schaefer, D.          02/14/23 Call with W. McRae and M. Linch re NOL              1.90
                               issues (.5) and review of NOLs under M.
                               Linch (1.4).
Linch, M.E.           02/15/23 Confer with Cleary and Moelis teams                 1.00
                               regarding marketing process and NOL
                               preservation.
Linch, M.E.           02/15/23 Correspond with Cleary team regarding NOL           0.40
                               issues.
Linch, M.E.           02/15/23 Correspond with B. McRae, D. Schaefer, K.           0.30
                               Heiland regarding NOL diligence issues.
O'Neal, S.A.          02/15/23 Corresp with M. Leto (A&M) and B. McRae,            0.10
                               M. Linch re tax issues
McRae, W.L.           02/16/23 Prep for call with Moelis.                          0.30
McRae, W.L.           02/16/23 Call with S. O’Neal, M. Weinberg, M. Linch,         1.00
                               K. Heiland (partial), D. Schaefer, R. Minott,
                               B. Tichenor (Moelis), M. DiYanni (Moelis)
                               and J. Soto (Moelis) to discuss tax attributes
                               (.9) and follow-up (.1).
O'Neal, S.A.          02/16/23 Call with M. Weinberg, W. McRae, M. Linch,          1.00
                               K. Heiland (partial), D. Schaefer, R. Minott,
                               B. Tichenor (Moelis), M. DiYanni (Moelis)
                               and J. Soto (Moelis) to discuss tax attributes
                               (.9) and follow up with Cleary team re same
                               (.1)
Heiland, K.           02/16/23 Call with S. O’Neal, W. McRae, M. Linch, M.         0.50
                               Weinberg, D. Schaefer, R. Minott, B.
                               Tichenor (Moelis), M. DiYanni (Moelis) and
                               J. Soto (Moelis) to discuss tax attributes
                               (partial attendance).
Minott, R.            02/16/23 NOL attributes analysis                             0.90
Schaefer, D.          02/16/23 Call with Moelis and internal call and review       1.30
                               of NOL motion under M. Linch.

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Weinberg, M.          02/16/23 Call with S. O’Neal, W. McRae, M. Linch, K.       0.90
                               Heiland (partial), D. Schaefer, R. Minott, B.
                               Tichenor (Moelis), M. DiYanni (Moelis) and
                               J. Soto (Moelis) to discuss tax attributes.
Linch, M.E.           02/17/23 Correspond with team regarding NOL                0.50
                               preservation issues.
Linch, M.E.           02/17/23 Call with S. O’Neal, W. McRae, M.                 1.00
                               Weinberg, K. Heiland (partial), D. Schaefer,
                               R. Minott, B. Tichenor (Moelis), M. DiYanni
                               (Moelis) and J. Soto (Moelis) to discuss tax
                               attributes.
McRae, W.L.           02/17/23 Call with R. Minott, S. O'Neal, K. Heiland,       0.70
                               and W&C re tax attributes of Debtors (.6);
                               follow up (.1).
O'Neal, S.A.          02/17/23 Call with R. Minott, K. Heiland, W. McRae,        0.70
                               and W&C re tax attributes of Debtors (.6),
                               follow up call with Phil Abelson (W&C) (.1)
Heiland, K.           02/17/23 Research related to tax attributes.               1.30
Heiland, K.           02/17/23 Call with R. Minott, S. O'Neal, W. McRae,         0.60
                               and W&C re tax attributes of Debtors.
Heiland, K.           02/17/23 Revise draft NOL order; correspondence w.         3.40
                               CGSH team re same.
Heiland, K.           02/17/23 Correspondence w. cleary team re tax              0.40
                               diligence questions.
Minott, R.            02/17/23 Call with K. Heiland, S. O'Neal, W. McRae,        0.60
                               and W&C re tax attributes of Debtors.
Linch, M.E.           02/18/23 Attend to revision of NOL motion.                 2.00
McRae, W.L.           02/18/23 E-mails with Maureen Linch regarding NOL          1.00
                               order (.2); and review of a worthless stock
                               deduction (.8).
Heiland, K.           02/18/23 Review questions from W. McRae re draft           2.00
                               NOL motion, tax analysis of debtor group.
Schaefer, D.          02/18/23 Revisions to the draft NOL motion under W.        2.80
                               McRae .
McRae, W.L.           02/19/23 Attention e-mails and review of NOL order.        1.00
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Heiland, K.           02/19/23 Correspondence w. CGSH tax team re tax             0.10
                               diligence questions
Schaefer, D.          02/19/23 Revisions to the draft NOL motion under W.         0.30
                               McRae .
Linch, M.E.           02/20/23 Correspond with W. McRae, K. Heiland and           0.10
                               D. Schaefer regarding diligence questions.
Linch, M.E.           02/21/23 Correspond with W. McRae, K. Heiland, D.           0.50
                               Schaefer regarding tax diligence questions.
O'Neal, S.A.          02/21/23 Correspondence with A. Chan (A&M) re tax           0.20
                               diligence (.2)
Heiland, K.           02/21/23 Review comments from W. McRae to draft             0.60
                               NOL motion.
Heiland, K.           02/21/23 Correspondence w. A. Chan (Genesis) re tax         0.20
                               DD questions.
Linch, M.E.           02/22/23 Correspond with W. McRae, K. Heiland and           0.20
                               D. Schaefer regarding tax diligence questions.
O'Neal, S.A.          02/22/23 Corresp with W. McRae, A. Chan (Genesis)           0.40
                               re tax issues (.4)
Heiland, K.           02/22/23 Review updated tax DD materials.                   0.50
Heiland, K.           02/22/23 Review updated tax dd information from             1.40
                               Genesis (1.0); correspondence w. W. McRae,
                               M. Linch, D. Schaefer re same (0.4).
Linch, M.E.           02/23/23 Correspond with internal and external teams        0.50
                               regarding tax structuring issues.
Linch, M.E.           02/23/23 Correspond with W. McRae, K. Heiland, D.           0.30
                               Schaefer regarding tax diligence questions.
O'Neal, S.A.          02/23/23 Corresp with J. Saferstein (Weil) and W.           0.20
                               McRae (Cleary) re tax issues and diligence
                               (.2)
Linch, M.E.           02/24/23 Correspond with internal and external teams        0.50
                               regarding tax structuring issues.
McRae, W.L.           02/24/23 Attention e-mails regarding tax diligence.         0.10
Heiland, K.           02/24/23 Correspondence with D. Schaefer re tax             0.60
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                                 diligence matters.
Linch, M.E.           02/27/23 Correspond with team regarding advisors               0.20
                               meeting.
McRae, W.L.           02/27/23 Attention e-mails and look at preferred stock         0.50
                               Section 305 issue.
Linch, M.E.           02/28/23 Confer with Cleary and Proskauer teams                0.50
                               regarding tax issues in term sheet.
Linch, M.E.           02/28/23 Confer with Cleary team regarding tax issues          0.60
                               in term sheet.
McRae, W.L.           02/28/23 Prep for call with Proskauer.                         1.00
McRae, W.L.           02/28/23 Call with Proskauer (.50); Call with D.               0.80
                               Schaefer, M. Linch, J. Gifford and K. Heiland
                               to discuss tax analysis of the term sheet. (.30)
Gifford, J.D.         02/28/23 Teleconference with W. McRae, Y.                      0.50
                               Habernicht, M. Hamilton, M. Linch, K.
                               Heiland and D. Schaefer regarding tax
                               matters.
Gifford, J.D.         02/28/23 Follow up teleconference with W. McRae, M.            0.30
                               Linch, K. Heiland and D. Schaefer regarding
                               tax matters.
Heiland, K.           02/28/23 U.S. tax analysis of proposed plan.                   1.60
Heiland, K.           02/28/23 Call with W. McRae, M. Linch, J. Gifford, D.          0.60
                               Schaefer and Proskauer to discuss tax analysis
                               of the term sheet (0.3).

                                 Call with W. McRae, M. Linch, J. Gifford and
                                 D. Schaefer to discuss tax analysis of the term
                                 sheet (0.3).
Heiland, K.           02/28/23 Correspondence w. Cleary tax team re tax              0.80
                               issues discussed on Proskauer call.
Schaefer, D.          02/28/23 Call with Proskauer, internal call, and related       1.50
                               research under W. McRae .
                                 MATTER TOTAL:                                     117.40



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                                  Timekeeper Summary
Name                                     Hours                 Rate            Amount

Partner
Dassin, L.L.                            .30.30             .1,930.00   $      58,479.00
O'Neal, S.A.                              .8.30            .1,820.00   $      15,106.00
VanLare, J.                               .1.00            .1,730.00   $       1,730.00
Zutshi, R.N.                            .30.70             .1,730.00   $      53,111.00
Counsel
Janghorbani, A.                         .22.30             .1,485.00   $      33,115.50
Morris, B.J.                              .1.00            .1,485.00   $       1,485.00
Weaver, A.                                .9.90            .1,485.00   $      14,701.50
Senior Attorney
Saenz, A.F.                             .48.50             .1,190.00   $      57,715.00
Associate
Alegre, N.                              .36.50             .1,045.00   $      38,142.50
Amorim, E.D.                            .72.70             .1,105.00   $      80,333.50
Dawley, W.S.                              .1.40              .965.00   $       1,351.00
Leibold, M.A.                           .15.90             .1,155.00   $      18,364.50
Levander, S.L.                          .22.40             .1,180.00   $      26,432.00
Lotty, A.                                 .3.50              .965.00   $       3,377.50
MacAdam, K.                             .18.10               .845.00   $      15,294.50
Morrow, E.S.                            .27.90               .965.00   $      26,923.50
Rathi, M.                               .12.60               .845.00   $      10,647.00
Richey, B.                              .32.90               .845.00   $      27,800.50
Rosenblum, B.                             .0.50            .1,045.00   $         522.50
Saba, A.                                .16.40             .1,045.00   $      17,138.00
Associate Not Admitted
Gariboldi, A.                           .51.70              .710.00    $      36,707.00
Hatch, M.                               .16.30              .710.00    $      11,573.00
Kowiak, M.J.                              .8.60             .710.00    $       6,106.00
Staff Attorney
Levy, J.R.                              .43.50              .710.00    $      30,885.00
Vaughan Vines, J.A.                     .52.10              .505.00    $      26,310.50
Support Attorney
Woll, L.                                  .0.60             .375.00    $        225.00
Paralegal
Gallagher, A.                             .2.10             .370.00    $        777.00
Lashay, V.                                .0.30             .550.00    $        165.00
Milano, L.M.                              .0.30             .370.00    $        111.00

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Name                                  Hours                 Rate            Amount

Saran, S.                              .1.00             .430.00    $        430.00

Total:                               589.30                         $    615,059.50




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VanLare, J.             02/01/23 Reviewed correspondence from A. Sully re           0.30
                                 response to regulators (.3)
Janghorbani, A.         02/01/23 Correspondence w L. Dassin, R. Zutshi, A           0.30
                                 Saenz, and S Levander re regulator inquiries
                                 and responses.
Janghorbani, A.         02/01/23 Attend to talking points for regulator call.       0.50
Saenz, A.F.             02/01/23 Review production cover letters for regulators     0.80
                                 (.3); provide comments to regulator talking
                                 points (.5).
Amorim, E.D.            02/01/23 Quality check of production set to regulators.     1.50
Amorim, E.D.            02/01/23 Comments on draft talking points for meeting       0.30
                                 with regulators.
Amorim, E.D.            02/01/23 Comments on draft talking points for meeting       0.30
                                 with regulator.
Amorim, E.D.            02/01/23 Edits to draft talking points for meeting with     0.30
                                 regulators.
Amorim, E.D.            02/01/23 Edits to draft talking points for meeting with     0.30
                                 regulators.
Levander, S.L.          02/01/23 Analysis re discovery requests                     0.40
MacAdam, K.             02/01/23 Prepare talking points re: regulator               6.40
                                 jurisdiction.
MacAdam, K.             02/01/23 Call with A. Gariboldi to discuss regulator        0.10
                                 production.
MacAdam, K.             02/01/23 Draft cover letter for regulator production.       0.70
Gariboldi, A.           02/01/23 Prepare documentation for regulator                0.60
                                 production with E. Amorim.
Gariboldi, A.           02/01/23 Prepare materials for regulator call with E.       1.50
                                 Amorim, K. MacAdam.
Gariboldi, A.           02/01/23 Call with K. MacAdam to discuss regulator          0.10
                                 production
Levy, J.R.              02/01/23 QC review production to regulators for             0.40
                                 delivery
Vaughan Vines, J.A.     02/01/23 Update production log.                             1.30
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NAME                    DATE       DESCRIPTION                                    HOURS
Vaughan Vines, J.A.     02/01/23 Analyze documents for privilege and                6.30
                                 responsiveness to regulator subpoena.
Lashay, V.              02/01/23 Production data encryption                         0.30
Dassin, L.L.            02/02/23 Prepare for call with regulator.                   0.50
Dassin, L.L.            02/02/23 Update Call with regulator and A. Saenz, R.        0.40
                                 Zutshi, A. Janghorbani, S. Levander (partial
                                 attendance).
Dassin, L.L.            02/02/23 Emails with regulator, A. Janghorbani, A.          0.30
                                 Saenz, R. Zutshi, S. Levander regarding
                                 regulator call follow up.
Dassin, L.L.            02/02/23 Communications with CGSH team regarding            1.80
                                 regulator document production, strategy, and
                                 next steps (1.3); Following up meeting w A.
                                 Janghorbani, and S Levander after regulator
                                 call (.5).
Zutshi, R.N.            02/02/23 Planning for meeting w/ regulator (.6);            1.10
                                 communications with regulator re same (.5).
Janghorbani, A.         02/02/23 Attend to regulator call talking points.           0.70
Janghorbani, A.         02/02/23 Update Call with regulator and L. Dassin           0.50
                                 (partial), R. Zutshi, A. Saenz, S. Levander.
Janghorbani, A.         02/02/23 Following up meeting w L Dassin and S              0.50
                                 Levander after regulator call.
Saenz, A.F.             02/02/23 Review draft regulator talking points, prepare     1.20
                                 for call with A. Van Voorhees (Genesis)
                                 regarding non-lending products.
Saenz, A.F.             02/02/23 Call with A van Voorhees (Genesis) regarding       0.50
                                 regulator meeting.
Saenz, A.F.             02/02/23 Amend talking points ahead of call with            0.50
                                 regulator.
Saenz, A.F.             02/02/23 Update Call with regulator and L. Dassin           0.50
                                 (partial), R. Zutshi, A. Janghorbani, S.
                                 Levander.
Saenz, A.F.             02/02/23 Call with S. Levander to discuss regulator         0.30
                                 production priorities, privilege.

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NAME                   DATE       DESCRIPTION                                     HOURS
Saenz, A.F.            02/02/23 Meeting with E. Amorim, S. Levander                 0.20
                                regarding production to regulator.
Saenz, A.F.            02/02/23 Circulate summary of regulator Call to full         0.60
                                Cleary team
Saenz, A.F.            02/02/23 Attention to regulator relevant issues              0.20
                                discussion.
Amorim, E.D.           02/02/23 Coordination of regulator production (.4);          2.00
                                preparation of materials for same (1); edits to
                                cover and foia letters (0.4); email
                                communication with the regulator (0.2).
Amorim, E.D.           02/02/23 Comments on and edits to draft talking points       1.00
                                for meeting with regulator.
Amorim, E.D.           02/02/23 Further coordination of regulator production        1.60
                                (.4); preparation of materials for same (.4);
                                edits to cover and foia letters (0.4); email
                                communication with the regulator (0.2);
                                Meeting with A. Saenz, S. Levander regarding
                                production to regulator (.2).
Amorim, E.D.           02/02/23 Meeting with A. Gariboldi regarding                 0.20
                                preparation for regulator upcoming meeting
                                and regulator request for search terms.
Levander, S.L.         02/02/23 Update Call with regulator and L. Dassin            0.50
                                (partial), R. Zutshi, A. Janghorbani, A. Saenz.
Levander, S.L.         02/02/23 Call with a. Saenz to discuss regulator             0.30
                                production priorities, privilege.
Levander, S.L.         02/02/23 Meeting with E. Amorim, A. Saenz regarding          0.20
                                production to regulator.
Levander, S.L.         02/02/23 Following up meeting w L Dassin and A.              0.50
                                Janghorbani after regulator call.
Gariboldi, A.          02/02/23 Attention to third production of materials to       4.20
                                regulator in coordination with A. Saenz, E.
                                Amorim, K. MacAdam.
Gariboldi, A.          02/02/23 Prepare materials for regulator fourth              3.70
                                production.
Gariboldi, A.          02/02/23 Meeting with E. Amorim regarding                    0.20

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NAME                    DATE       DESCRIPTION                                    HOURS
                                   preparation for regulator upcoming meeting
                                   and regulator request for search terms.
Levy, J.R.              02/02/23 Finalize regulator productions                     1.00
Gallagher, A.           02/02/23 Finalized Production and Cover Letters per A.      0.80
                                 Gariboldi
Dassin, L.L.            02/03/23 Communications with CGSH team regarding            0.50
                                 regulator productions.
Zutshi, R.N.            02/03/23 Planning regulator response strategy; corresp.     1.30
                                 w/ L. Dassin, A. Janghorbani, A. Saenz re
                                 same.
Janghorbani, A.         02/03/23 Attend to email correspondence re regulator        0.50
                                 productions and document review.
Saenz, A.F.             02/03/23 Draft language for regulator production cover      0.90
                                 letter regarding Gemini EARN product,
                                 communication with team regarding same.
Saenz, A.F.             02/03/23 Review search terms, custodian list                1.00
                                 production for regulator.
Saenz, A.F.             02/03/23 Comments to cover letter re Production to          0.40
                                 regulator.
Amorim, E.D.            02/03/23 Quality check of materials for production to       1.00
                                 the regulator.
Amorim, E.D.            02/03/23 Revise search terms and hit counts for             0.50
                                 regulator production.
Amorim, E.D.            02/03/23 Email communication with A. Saenz, S.              0.20
                                 Levander, L. Dassin and R. Zutshi regarding
                                 draft letter to the regulator.
Amorim, E.D.            02/03/23 Edits to talking point for meeting with the        0.30
                                 regulator.
Amorim, E.D.            02/03/23 Revise edits to production letter to the           0.30
                                 regulator.
Amorim, E.D.            02/03/23 Transmission of production to the regulator.       0.50
Amorim, E.D.            02/03/23 Transmission of production to the regulator.       0.50
Saba, A.                02/03/23 Drafted enforcement talking points for Special     0.40
                                 Committee update.
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Gariboldi, A.         02/03/23 Prepare materials for CGSH first meeting           3.00
                               with regulator.
Gariboldi, A.         02/03/23 Prepare matrials for CGSH meeting with             2.10
                               regulator.
Gariboldi, A.         02/03/23 Edit regulator production in coordination with     0.80
                               A. Saenz, E. Amorim.
Levy, J.R.            02/03/23 Coordinate and finalize regulator production       1.60
Vaughan Vines, J.A.   02/03/23 Analyze June/July 2022 data in response to         9.00
                               regulator requests.
Gallagher, A.         02/03/23 Finalized Documents for regulator production       1.30
                               per E. Amorim
Milano, L.M.          02/03/23 As per S. Saran, encrypt PDF files in              0.30
                               connection w/ production.
O'Neal, S.A.          02/04/23 Call with R. Zitshi re Genesis mediation           0.10
Zutshi, R.N.          02/04/23 Call with S. O'Neal re Genesis mediation           0.10
Saenz, A.F.           02/05/23 Comment on regulator proposed talking              1.10
                               points drafted by K. MacAdam.
MacAdam, K.           02/05/23 Revise regulator talking points to incorpoarte     0.50
Saenz, A.F.           02/06/23 Correspondence and coordination with               0.20
                               Morrison Cohen regarding Gemini EARN
                               productions to regulators.
Saenz, A.F.           02/06/23 Comment on agenda for call with derivatives        0.40
                               trading individuals.
Saenz, A.F.           02/06/23 Review and comment on regulator talking            0.50
                               points.
Saenz, A.F.           02/06/23 Call with D. Isaacs (MoCo) to discuss              0.30
                               coordination of review across topics.
Saenz, A.F.           02/06/23 Call with company personnel regarding              0.50
                               regulator jurisdiction.
Saenz, A.F.           02/06/23 Call with J. Levy (partial), A. Saba, J. Vines     0.80
                               (partial),S. Levander, M. Rathi, A. Lotty and
                               S. Larner re: privilege issues & production
                               next steps
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NAME                    DATE       DESCRIPTION                                      HOURS
Amorim, E.D.            02/06/23 Edits to talking points for meeting with the         1.00
                                 regulator.
Amorim, E.D.            02/06/23 Comments on draft talking points for meeting         0.20
                                 with regulator.
Levander, S.L.          02/06/23 Call with J. Levy (partial), A. Saba, J. Vines       0.80
                                 (partial), A. Saenz, M. Rathi, A. Lotty and S.
                                 Larner re: privilege issues & production next
                                 steps
Levander, S.L.          02/06/23 Analysis re search terms for regulators              0.30
Lotty, A.               02/06/23 Call with J. Levy (partial), A. Saba, J. Vines       0.80
                                 (partial), A. Saenz,, M. Rathi, S. Levander
                                 and S. Larner re: Privilege issues &
                                 production next steps.
MacAdam, K.             02/06/23 Revise regulator talking points.                     0.50
Gariboldi, A.           02/06/23 Call with S. Saran, A. Lotty, A. Gallagher, M.       1.00
                                 Rathi re: revisions to Legal Themes outline.
Gariboldi, A.           02/06/23 Circulate regulator talking points to L. Dassin,     0.20
                                 R. Zutshi, A. Janghorbani, A. Saenz, S.
                                 Levander, and E. Amorim.
Levy, J.R.              02/06/23 Prepare upcoming regulator production set            1.60
Vaughan Vines, J.A.     02/06/23 Call with J. Levy (partial), A. Saba, A. Saenz,      0.60
                                 M. Rathi, A. Lotty, S. Levander and S. Larner
                                 regarding privilege issues & production next
                                 steps (partial attendance).
Dassin, L.L.            02/07/23 Emails with A. Janghorbani and CGSH team             0.40
                                 regarding regulator request for follow up
                                 regarding search terms.
Zutshi, R.N.            02/07/23 Planning for discussions with authorities and        1.90
                                 internal communications regarding same.
Janghorbani, A.         02/07/23 Correspondence w regulator staff.                    0.30
Janghorbani, A.         02/07/23 Correspondence w Cleary team re regulator            0.30
                                 staff questions.
Janghorbani, A.         02/07/23 Attend to draft regulator talking points             1.00
Saenz, A.F.             02/07/23 Review regulator data and provide comments           0.80

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                                  to Team.
Saenz, A.F.            02/07/23 Review regulator talking points, provide           0.60
                                comments to S. Levander.
Amorim, E.D.           02/07/23 Email communication with the regulator, A.         0.20
                                Saenz and S. Levander to coordinate call
                                regarding search terms with the regulator.
Amorim, E.D.           02/07/23 Email communication with Morrison Cohen            0.20
                                counsel regarding coordination of regulatory
                                responses.
Amorim, E.D.           02/07/23 Comments on draft talking points for meeting       0.30
                                with the regulator.
Levander, S.L.         02/07/23 Drafted talking points for regulator call          0.70
MacAdam, K.            02/07/23 Revise regulator talking points.                   1.20
Levy, J.R.             02/07/23 Coordinate workspace access for Morrison &         1.00
                                Cohen
Levy, J.R.             02/07/23 Update regulator production set                    1.00
Dassin, L.L.           02/08/23 Prepare for call with regulators                   1.00
Dassin, L.L.           02/08/23 Call with regulator Staff and CGSH team.           0.40
Dassin, L.L.           02/08/23 Communications with CGSH team regarding            3.50
                                regulators follow up and next steps (3); Call
                                with S. O'Neal and Rishi Zutshi re
                                enforcement issues (.5).
Dassin, L.L.           02/08/23 Call with regulator Team with A. Sanez, R.         0.40
                                Zutshi, S. Levander (partial attendance).
O'Neal, S.A.           02/08/23 Call with L. Dassin and R. Zutshi re               0.50
                                enforcement issues
O'Neal, S.A.           02/08/23 Discuss regulatory issues with M. Patterson,       0.20
                                A. Pretto-Sakmann (Genesis) and D. Islim
                                (Genesis)in separate discussions
Zutshi, R.N.           02/08/23 Communications with regulator and follow-up        2.80
                                related to same (2.3); Call with regulator
                                Team with L. Dassin (partial), A. Sanez, S.
                                Levander (.5).
Zutshi, R.N.           02/08/23 Call with L. Dassin and S. O'Neal re               0.50
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                                   enforcement issues
Janghorbani, A.         02/08/23 Prepared for and call w regulator staff.           0.50
Janghorbani, A.         02/08/23 Correspondence with Cleary team re regulator       1.00
                                 staff proposed requests.
Weaver, A.              02/08/23 Research of issues related to regulatory           1.00
                                 matters in bankruptcy.
Saenz, A.F.             02/08/23 Meeting with A. Gariboldi, E. Amorim to            0.50
                                 discuss upcoming productions.
Saenz, A.F.             02/08/23 Call with regulator Team with L. Dassin            0.50
                                 (partial), R. Zutshi, S. Levander.
Saenz, A.F.             02/08/23 Review and comment on regulator Talking            1.40
                                 Points.
Saenz, A.F.             02/08/23 Review escalated documents for production.         0.30
Saenz, A.F.             02/08/23 Correspondence with team regarding privilege       0.80
                                 review updates.
Saenz, A.F.             02/08/23 Discussion with regulator on search terms.         0.50
Saenz, A.F.             02/08/23 Follow up with A. Janghorbani, S. Levander         0.50
                                 on cooperation strategy.
Saenz, A.F.             02/08/23 Meeting with S. Levander to discuss internal       0.50
                                 team update and key document topics.
Saenz, A.F.             02/08/23 Update email to prepare regulator next steps       0.50
                                 and requests for search terms arrangement.
Saenz, A.F.             02/08/23 Call with E. Amorim, S. Levander (partial)         0.60
                                 and A. Gariboldi to discuss upcoming
                                 production and next steps for regulator
                                 responses.
Saenz, A.F.             02/08/23 Draft email to A. Pretto-Sakmann to discuss        0.60
                                 regulator outreach.
Amorim, E.D.            02/08/23 Call with A. Saenz, S. Levander (partial) and      0.60
                                 A. Gariboldi to discuss upcoming production
                                 and next steps for regulator responses.
Amorim, E.D.            02/08/23 Email communication with A. Gariboldi, J.          0.30
                                 Levy and J.V. Vines regarding preparation of
                                 productions to the regulator.
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NAME                   DATE       DESCRIPTION                                    HOURS

Amorim, E.D.           02/08/23 Meeting with A. Saenz, A. Gariboldi to             0.50
                                discuss upcoming productions.
Levander, S.L.         02/08/23 Call with A. Saba to discuss regulator             0.40
                                investigation next steps
Levander, S.L.         02/08/23 Meeting with A. Saenz to discuss internal          0.50
                                team update and key document topics.
Levander, S.L.         02/08/23 Call with A. Saba to discuss regulator             1.30
                                investigation next steps (.4); Call with
                                regulator Team with L. Dassin, R. Zutshi, A.
                                Saenz (.5); follow up re same (.4)
Levander, S.L.         02/08/23 Call with regulator and follow-up                  1.20
Levander, S.L.         02/08/23 Call with E. Amorim, A. Saenz and A.               0.50
                                Gariboldi to discuss upcoming production and
                                next steps for regulator responses (partial
                                attendance).
Levander, S.L.         02/08/23 Drafted analysis re next steps with regulators     0.70
MacAdam, K.            02/08/23 Revise regulation talking points.                  2.00
Saba, A.               02/08/23 Performed quality control document review          1.30
                                (.9); Call with S. Levander to discuss
                                regulator investigation next steps (.4).
Saba, A.               02/08/23 Call with S. Levander to discuss regulator         0.40
                                investigation next steps.
Gariboldi, A.          02/08/23 Review materials contained in first e-comms        2.90
                                production to regulator in coordination with
                                M. Kowiak, A. Saenz.
Gariboldi, A.          02/08/23 Meeting with A. Saenz, E. Amorim to discuss        0.50
                                upcoming productions.
Gariboldi, A.          02/08/23 Call with E. Amorim, S. Levander (partial)         0.80
                                and A. Saenz to discuss upcoming production
                                and next steps for regulator responses (.6);
                                prep for same (.2).
Gariboldi, A.          02/08/23 Discuss materials preparation for regulator        0.10
                                production with J. Levy.
Levy, J.R.             02/08/23 Coordinate Relativity access for Morrison &        0.70

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NAME                   DATE       DESCRIPTION                                    HOURS
                                  Cohen
Levy, J.R.             02/08/23 Prepare files for regulator production             1.80
Levy, J.R.             02/08/23 Prepare for regulator production                   0.70
Vaughan Vines, J.A.    02/08/23 Prepare regulator production set.                  3.50
Vaughan Vines, J.A.    02/08/23 Perform quality checks on regulator                0.50
                                production set.
Dassin, L.L.           02/09/23 Analyze communications and materials for           1.30
                                enforcement follow up and production.
Zutshi, R.N.           02/09/23 Planning for enforcement strategy and              1.20
                                communications regarding same.
Morris, B.J.           02/09/23 Review of Futures contract positions and           1.00
                                advice regarding description for regulator
                                response/jurisdictional queries
Weaver, A.             02/09/23 Meeting with S. Levander, A. Saenz to              0.50
                                discuss strategic next steps regarding
                                regulators productions.
Saenz, A.F.            02/09/23 Correspondence regarding spoliation and            0.20
                                regulator responses to questions.
Amorim, E.D.           02/09/23 Email communication with A. Saenz and A.           0.20
                                Gariboldi regarding draft talking points for
                                regulator call.
Amorim, E.D.           02/09/23 Email communication with Morrison Cohen            0.10
                                regarding investigation status and updates.
Amorim, E.D.           02/09/23 Comments on summary of production set to           0.20
                                the regulator.
Levander, S.L.         02/09/23 Meeting with A. Saenz, A. Weaver to discuss        0.50
                                strategic next steps regarding regulators
                                productions.
MacAdam, K.            02/09/23 Prepare regulator talking points on                1.30
                                communications preservation.
Gariboldi, A.          02/09/23 Prepare materials for enforcement team             2.20
                                meeting with regulator in coordination with E.
                                Amorim.
Gariboldi, A.          02/09/23 Edit regulator meeting materials in response       0.50
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                                   to comments from E. Amorim.
Gariboldi, A.           02/09/23 Prepare key documents from first e-comms            0.30
                                 production for review by enforcement team
                                 leadership.
Gariboldi, A.           02/09/23 Create materials for first production to            1.30
                                 regulator.
Kowiak, M.J.            02/09/23 Draft email to L. Dassin, R. Zutshi, and A.         1.20
                                 Janghorbani regarding first e-communications
                                 production
Levy, J.R.              02/09/23 Coordinate upcoming regulator production            1.00
Dassin, L.L.            02/10/23 Communications with R. Zutshi and CGSH              1.40
                                 team regarding regulators follow up (.9);
                                 Strategy call with A. Saenz, R. Zutshi (.5).
Dassin, L.L.            02/10/23 Analyze materials for production to                 1.70
                                 authorities.
Zutshi, R.N.            02/10/23 Communications with client regarding                1.40
                                 enforcement developments and strategy (.9);
                                 Strategy call with L. Dassin, A. Saenz (.5)
Zutshi, R.N.            02/10/23 Planning for enforcement strategy and               0.90
                                 communications regarding same.
Janghorbani, A.         02/10/23 Correspondence w regulator staff.                   0.20
Weaver, A.              02/10/23 Correspondence with A Janghorbani, R                0.50
                                 Zutshi, L Dassin, A Saenz and S Levander
                                 regarding regulatory responses.
Saenz, A.F.             02/10/23 Edits to talking points for regulator regarding     1.00
                                 search terms, record-setting, key documents
                                 and upcoming production.
Saenz, A.F.             02/10/23 Outreach regarding trading data regulator           0.80
                                 relevance.
Saenz, A.F.             02/10/23 Regulatory strategy call with L. Dassin, R.         0.50
                                 Zutshi.
Saenz, A.F.             02/10/23 Finalize search terms and provide guidance          2.80
                                 on talking points.
Saenz, A.F.             02/10/23 Respond to D. Isaacs regarding coordination         0.30

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                                  of productions.
Amorim, E.D.           02/10/23 Edits to draft talking points for meeting with     1.00
                                regulator.
Amorim, E.D.           02/10/23 Edits to draft talking points for meeting with     1.50
                                the regulator.
Amorim, E.D.           02/10/23 Email communication with Cleary team               0.20
                                regarding regulator productions and pending
                                items.
Amorim, E.D.           02/10/23 Email communication with Cleary team               0.20
                                regarding list of custodians and search terms.
Amorim, E.D.           02/10/23 Edits to draft talking point regarding             0.30
                                preservation issues.
Amorim, E.D.           02/10/23 Comments on selected key documents                 0.70
                                elevated by reviewers and summary of key
                                documents.
Amorim, E.D.           02/10/23 Comments on master chronology and legal            0.50
                                themes.
Amorim, E.D.           02/10/23 Drafting of updated search terms based on          0.50
                                regulator's proposed terms.
Amorim, E.D.           02/10/23 Email communication with J. Levy and J.V.          0.40
                                Vines regarding testing of new search
                                parameters.
Amorim, E.D.           02/10/23 Comments on document hits on testing of            0.30
                                regulator proposed search terms.
Amorim, E.D.           02/10/23 Comments on work product regarding                 0.30
                                employees list of positions and dates
Amorim, E.D.           02/10/23 Comments on summary of findings regarding          0.20
                                metrics risk.
Amorim, E.D.           02/10/23 Email communication with A. Saenz and J.           0.20
                                Levy regarding priority productions and next
                                steps.
Levander, S.L.         02/10/23 Drafted talking points for regulator call          0.70
Gariboldi, A.          02/10/23 Draft materials for regulator regulatorond         2.40
                                meeting in coordination with E. Amorim, K.

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NAME                    DATE       DESCRIPTION                                     HOURS
                                   MacAdam.
Gariboldi, A.           02/10/23 Edit regulator meeting materials in response        2.50
                                 to comments from A. Saenz.
Gariboldi, A.           02/10/23 Develop alternative search terms for regulator      0.50
                                 in coordination with A. Saenz, E. Amorim.
Levy, J.R.              02/10/23 Conduct updated search scoping and review           2.20
                                 workflows for regulator subpoena review
Levy, J.R.              02/10/23 Coordinate and release regulator production         1.60
Vaughan Vines, J.A.     02/10/23 Analyze regulator search terms per request          4.30
                                 from E. Amorim.
Dassin, L.L.            02/11/23 Communications with R. Zutshi and CGSH              0.60
                                 team regarding regulator follow up.
Zutshi, R.N.            02/11/23 Plan and discuss regulator response strategy.       1.20
Janghorbani, A.         02/11/23 Correspondence w L Dassin, r Zutshi, A              0.20
                                 Weaver, A Saenz, and S Levander re regulator
                                 outreach.
Janghorbani, A.         02/11/23 Worked on talking points for regulator call.        0.70
Weaver, A.              02/11/23    Correspondence with A Janghorbani, R             0.50
                                   Zutshi, L Dassin, A Saenz and S Levander
                                   regarding regulatory responses.
Saenz, A.F.             02/11/23 Final edits to regulator talking points for         0.60
                                 search term and custodian finalization call.
Amorim, E.D.            02/11/23 Edits to the draft talking points for regulator     0.50
                                 meeting.
Amorim, E.D.            02/11/23 Email communication with A. Saenz, A.               0.50
                                 Gariboldi, S. Levander and J. Levy regarding
                                 hit counts, new search terms and next steps of
                                 document review.
Levander, S.L.          02/11/23 Drafted and revised talking points for              1.40
                                 regulator call
Gariboldi, A.           02/11/23 Edit meeting materials in preparation for           1.90
                                 enforcement team meeting with regulator.
Levy, J.R.              02/11/23 Conduct updated search scoping for regulator        1.80
                                 subpoena review
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Dassin, L.L.            02/12/23 Review materials for calls with regulators.        0.50
Dassin, L.L.            02/12/23 Emails with R. Zutshi and CGSH team                0.50
                                 regarding outline for discussions with
                                 regulators.
Dassin, L.L.            02/12/23 Call with S. O'Neal , R. Zutshi, A. Weaver         1.00
                                 and S. Levander re regulatory and enticement
                                 issues
O'Neal, S.A.            02/12/23 Call with L. Dassin, R. Zutshi, A. Weaver and      1.10
                                 S. Levander re regulatory and enticement
                                 issues (1), follow up corresp with J. Gottlieb
                                 (.1)
O'Neal, S.A.            02/12/23 Revise regulatory talking points (.2)              0.20
Janghorbani, A.         02/12/23 Correspondence w R Zutshi, L Dassin, A             0.40
                                 Weaver, A Saenz, and S Levander re regulator
                                 call.
Weaver, A.              02/12/23 Call with L. Dassin, R. Zutshi, S. O'Neal and      1.00
                                 S. Levander re regulatory and enticement
                                 issues
Saenz, A.F.             02/12/23 Correspondence with bankruptcy team                1.00
                                 regarding regulator Talking Points,
                                 identification of issues.
Amorim, E.D.            02/12/23 Email communication with Cleary team to            0.50
                                 discuss preparation for regulator call.
Levander, S.L.          02/12/23 Call with L. Dassin, R. Zutshi, A. Weaver and      1.50
                                 S. O'Neal re regulatory and enticement issues
                                 (1) and follow up (.1); Call with L Dassin, R
                                 Zutshi and A. Weaver regarding investigation
                                 strategy (.4)
MacAdam, K.             02/12/23 Revise regulator talking points.                   0.70
Saba, A.                02/12/23 Gathered and analyzed regulatory subpoenas         0.80
                                 to determine if they cold be disclosed as
                                 parties in interest.
Gariboldi, A.           02/12/23 Edit meeting materials in preparation for          0.60
                                 enforcement team meeting with regulator.
Dassin, L.L.            02/13/23 Analyze materials for follow up with               1.80
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                                   regulators.
Dassin, L.L.            02/13/23 Conference w A. Saenz, R. Zutshi, A.                0.50
                                 Weaver, A. Janghorbani, and S. Levander re
                                 call with regulator (.4); prep for same (.1)
Dassin, L.L.            02/13/23 Post-strategy call with A. Saenz, R. Zutshi, A.     1.20
                                 Weaver, A. Janghorbani, S. Levander to
                                 discuss Special Committee presentation (1);
                                 prep for same (.2).
Zutshi, R.N.            02/13/23 Post-strategy call with L. Dassin, A. Saenz, A.     1.40
                                 Weaver, A. Janghorbani S. Levander to
                                 discuss Special Committee presentation (1);
                                 T/c w L. Dassin, A. Weaver, A. Saenz, A.
                                 Janghorbani, and S. Levander re call with
                                 regulator (.4)
Zutshi, R.N.            02/13/23 Planning for regulator meeting and internal         1.80
                                 communications related to same.
Janghorbani, A.         02/13/23 T/c w L Dassin, R Zutshi, A Weaver, A               0.40
                                 Saenz, and S Levander re call with regulator.
Janghorbani, A.         02/13/23 T/c and correspondence w regulator.                 1.00
Janghorbani, A.         02/13/23 T/c w L. Dassin, R. Zutshi, A. Saenz, A.            0.50
                                 Weaver, and S. Levander re call with
                                 regulator (.4); prep for same (.1).
Weaver, A.              02/13/23 Call with S. Levander, A Saenz re                   0.50
                                 investigation strategy and next steps
Weaver, A.              02/13/23 Post-strategy call with L. Dassin, R. Zutshi,       1.50
                                 A. Saenz, A. Janghorbani, S. Levander to
                                 discuss Special Committee presentation (1);
                                 T/c w L. Dassin, R. Zutshi, A. Saenz, A.
                                 Janghorbani, and S. Levander re call with
                                 regulator (.4); prep for same (.1).
Weaver, A.              02/13/23 Comment on draft talking points for                 0.20
                                 discussions with authorities.
Saenz, A.F.             02/13/23 Call with regulator (0.5), T/c w L. Dassin, R.      0.90
                                 Zutshi, A. Weaver, A. Janghorbani, and S.
                                 Levander re call with regulator (.4)
Saenz, A.F.             02/13/23 Post-strategy call with L. Dassin, R. Zutshi,       1.00
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                                A. Weaver, A. Janghorbani S. Levander to
                                discuss Special Committee presentation.
Saenz, A.F.           02/13/23 Draft follow-up email to regulator regarding        0.80
                               search terms, responses to outstanding
                               questions.
Saenz, A.F.           02/13/23 Call with N. Alegre, A. Lotty, E. Amorim, A.        0.70
                               Saba, J. Vaughan Vines, J. Levy, S. Levander
                               regarding document review priorities (.70).
Saenz, A.F.           02/13/23 Finalize Talking Points for use in discussions      0.70
                               with regulator in light of cooperation and
                               settlement changes.
Saenz, A.F.           02/13/23 Attend meeting with K. MacAdam (partial),           0.50
                               S. Levander (partial), E. Amorim, and A.
                               Gariboldi to discuss productions to regulators.
Alegre, N.            02/13/23 Call with A. Lotty, E. Amorim, A. Saba, J.          0.70
                               Vaughan Vines, J. Levy, A. Saenz, S.
                               Levander re: document review priorities.
Alegre, N.            02/13/23 Conduct initial analysis of common interest         2.00
                               privilege issues for regulator subpoena
                               response.
Alegre, N.            02/13/23 Identify examples of common interest                1.00
                               privilege (0.5) and write up analysis re. same
                               (0.5) for reviewers training as of 2/13.
Alegre, N.            02/13/23 Review updates on calls with regulator and          0.30
                               subpoena response next steps as of 2/13.
Alegre, N.            02/13/23 Coordinate on documents review next steps           0.50
                               with mid-level/junior associate team.
Amorim, E.D.          02/13/23 Edits to chronology of events.                      0.30
Amorim, E.D.          02/13/23 Revised key documents elevated by reviewers         1.10
                               and respective summaries.
Amorim, E.D.          02/13/23 Edits to legal theme outline.                       0.30
Amorim, E.D.          02/13/23 Attend meeting with A. Saenz, S. Levander           0.50
                               (partial), K. MacAdam (partial), and A.
                               Gariboldi to discuss productions to regulators.
Amorim, E.D.          02/13/23 Revise summary of call with regulator.              0.20
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Amorim, E.D.           02/13/23 Email communication with A. Saenz, J. Levy          0.20
                                and J.V. Vines regarding final search terms
                                for regulator request
Amorim, E.D.           02/13/23 Revise draft talking points for special             0.60
                                committee meeting.
Amorim, E.D.           02/13/23 Revised consolidated list of search terms.          0.10
Amorim, E.D.           02/13/23 Revised key documents and respective                0.50
                                summaries regarding risk report.
Levander, S.L.         02/13/23 Call with N. Alegre, A. Lotty, E. Amorim, A.        0.70
                                Saba, J. Vaughan Vines, J. Levy, A. Saenz re:
                                document review
                                priorities
Levander, S.L.         02/13/23    T/c w L. Dassin, R. Zutshi, A. Weaver, A.        0.40
                                  Janghorbani, and A. Saenz re call with
                                  regulator (.4)
Levander, S.L.         02/13/23 Call with regulator (.5); Post-strategy call        1.50
                                with L. Dassin, R. Zutshi, A. Weaver, A.
                                Janghorbani A. Saenz to discuss Special
                                Committee presentation (1.0)
Levander, S.L.         02/13/23 Attend meeting with A. Saenz, K. MacAdam            0.40
                                (partial), E. Amorim, and A. Gariboldi to
                                discuss productions to regulators (partial
                                attendance).
Lotty, A.              02/13/23 Call with N. Alegre, E. Amorim, A. Saba, J.         0.70
                                Vaughan Vines, J. Levy, A. Saenz, S.
                                Levander re: document review priorities.
MacAdam, K.            02/13/23 Attend meeting with A. Saenz, S. Levander           0.40
                                (partial), E. Amorim, and A. Gariboldi to
                                discuss productions to regulators (partial
                                attendance).
Saba, A.               02/13/23 Call with N. Alegre, A. Lotty, E. Amorim, J.        0.70
                                Vaughan Vines, J. Levy, A. Saenz, S.
                                Levander re: document review priorities
Gariboldi, A.          02/13/23 Attend meeting with A. Saenz, S. Levander           0.50
                                (partial), E. Amorim, and K. MacAdam
                                (partial) to discuss productions to regulators.
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Gariboldi, A.           02/13/23 Prepare for upcoming production to regulator       1.50
                                 with E. Amorim.
Levy, J.R.              02/13/23 Call with N. Alegre, A. Lotty, E. Amorim, A.       0.70
                                 Saba, J. Vaughan Vines, A. Saenz, S.
                                 Levander re: document review priorities
Levy, J.R.              02/13/23 Coordinate updated scoping and review              2.50
                                 workflows for regulator subpoena review
Vaughan Vines, J.A.     02/13/23 Call with N. Alegre, A. Lotty, E. Amorim, A.       0.70
                                 Saba, J. Vaughan Vines, J. Levy, A. Saenz, S.
                                 Levander regarding document review
                                 priorities.
Vaughan Vines, J.A.     02/13/23 Analyze documents for responsiveness to            7.50
                                 regulator requests.
Dassin, L.L.            02/14/23 Meeting with A. Janghorbani, R. Zutshi, A.         1.00
                                 Weaver, A. Saenz, E. Amorim and S.
                                 Levander re regulator outreach (.5) and next
                                 steps for follow up to regulators(.5).
Dassin, L.L.            02/14/23 Debrief meeting with A. Saenz, A. Weaver, E.       0.50
                                 Amorim to discuss next steps for regulator
                                 subpoena compliance.
Zutshi, R.N.            02/14/23 Meeting with w L. Dassin, A. Janghorbani,          1.60
                                 A. Weaver, A. Saenz, E. Amorim and S.
                                 Levander re regulator outreach (.5) and
                                 follow-up related to same (1.1).
Janghorbani, A.         02/14/23 Correspondence w L Dassin, R Zutshi, A             0.30
                                 Weaver, A Saenz, and S Levander re regulator
                                 outreach.
Janghorbani, A.         02/14/23 Meeting with w L. Dassin, R. Zutshi, A.            0.50
                                 Weaver, A. Saenz, E. Amorim and S.
                                 Levander re regulator outreach.
Janghorbani, A.         02/14/23 Correspondence w regulator staff.                  0.20
Weaver, A.              02/14/23 Work with team on finalizing production.           0.20
Weaver, A.              02/14/23 Correspondence with L Dassin, R Zutshi, A          0.30
                                 Janghorbani, A Saenz and S Levander
                                 regarding upcoming call with authorities.

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Weaver, A.            02/14/23 Meeting with w L. Dassin, R. Zutshi, A.             0.50
                               Janghorbani, A. Saenz, E. Amorim and S.
                               Levander re regulator outreach
Weaver, A.            02/14/23 Debrief meeting with A. Saenz, E. Amorim,           0.50
                               L. Dassin to discuss next steps for regulator
                               subpoena compliance.
Saenz, A.F.           02/14/23 Comments to regulator production cover              0.30
                               letter.
Saenz, A.F.           02/14/23 Call with regulator regarding productions.          0.40
Saenz, A.F.           02/14/23 Meeting with w L. Dassin, R. Zutshi, A.             0.70
                               Weaver, A. Janghorbani, E. Amorim and S.
                               Levander re regulator outreach (.5); follow up
                               re same (.2).
Saenz, A.F.           02/14/23 Comments to E. Amorim regarding regulator           0.20
                               call notes.
Saenz, A.F.           02/14/23 Debrief meeting with E. Amorim, A. Weaver,          0.50
                               L. Dassin to discuss next steps for regulator
                               subpoena compliance.
Alegre, N.            02/14/23 Attend meeting with Reviewing Attorneys             0.70
                               Team.
Alegre, N.            02/14/23 Write up analysis re. examples of common            0.20
                               interest privilege for reviewers training as of
                               2/14.
Alegre, N.            02/14/23 Write up guidance/talking points on common          1.20
                               interest privilege principles for reviewers
                               training.
Alegre, N.            02/14/23 Prepare for reviewers training on common            0.10
                               interest privilege.
Alegre, N.            02/14/23 Analyze common interest privilege                   0.40
                               considerations in June 2022 GGC/DCG
                               communications (0.3) and correspond re.
                               same (0.1).
Alegre, N.            02/14/23 Review matter updates related to investigation      0.10
                               and regulatory enforcement.
Amorim, E.D.          02/14/23 Meeting with L. Dassin, R. Zutshi, A.               1.00

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                                  Janghorbani, A. Saenz, A. Weaver and S.
                                  Levander re regulator outreach (.5) and
                                  prepare for call with regulator (.5).
Amorim, E.D.           02/14/23 Meeting with regulators.                            0.50
Amorim, E.D.           02/14/23 Debrief meeting with A. Saenz, A. Weaver, L.        0.50
                                Dassin to discuss next steps for regulator
                                subpoena compliance.
Amorim, E.D.           02/14/23 Drafting regulator call summary.                    0.50
Amorim, E.D.           02/14/23 Edited regulator draft production cover letter.     0.20
Amorim, E.D.           02/14/23 Quality check of production set to regulator.       1.00
Amorim, E.D.           02/14/23 Email communication with J.V. Vines, J.             0.50
                                Levy and A. Gariboldi to coordinate
                                production of materials to regulator.
Levander, S.L.         02/14/23 Meeting with w L. Dassin, R. Zutshi, A.             0.50
                                Janghorbani, A. Saenz, A. Weaver and E.
                                Amorim re regulator outreach (.5)
Lotty, A.              02/14/23 Attend “Reviewing Attorneys Team Meeting”           0.60
                                video call with K. MacAdam, A. Saba, J.
                                Levy, J. Vaughan Vines, and M. Kowiak.
MacAdam, K.            02/14/23 Second level privilege review for production        2.70
                                (2.6); call with M. Rathi re: the same (.1).
MacAdam, K.            02/14/23 Attend “Reviewing Attorneys Team Meeting”           0.60
                                video call with M. Rathi, A. Saba, A. Lotty, J.
                                Levy, J. Vaughan Vines, and M. Kowiak.
Rathi, M.              02/14/23 Second Level Review (4.7); call with K.             4.80
                                MacAdams re: the same (.1)
Saba, A.               02/14/23 Corresponded with C. Ribeiro, M. Hatch re:          0.70
                                confidentiality of investigations.
Saba, A.               02/14/23 Revised chron for liability analysis.               2.20
Saba, A.               02/14/23 Attend “Reviewing Attorneys Team Meeting”           0.60
                                video call with K. MacAdam, M. Kowiak, A.
                                Lotty, J. Levy, J. Vaughan Vines
Saba, A.               02/14/23 Corresponded with team on various questions         0.60
                                related to second level document review.

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Saba, A.                02/14/23 Drafted liability analysis.                        2.50
Gariboldi, A.           02/14/23 Attend to filing of first production of            2.00
                                 materials to regulator.
Kowiak, M.J.            02/14/23 Attend “Reviewing Attorneys Team Meeting”          0.60
                                 video call with K. MacAdam, A. Saba, A.
                                 Lotty, J. Levy, J. Vaughan Vines
Levy, J.R.              02/14/23 "Attend “Reviewing Attorneys Team                  0.60
                                 Meeting” video call with K.
                                 MacAdam, A. Saba, A. Lotty, J. Vaughan
                                 Vines, and M. Kowiak"
Levy, J.R.              02/14/23 Coordinate, manage, and prepare regulator          3.20
                                 search term scoping and reviewer workflows
Vaughan Vines, J.A.     02/14/23 Attend “Reviewing Attorneys Team Meeting”          0.60
                                 video call with K. MacAdam, A. Saba, A.
                                 Lotty, J. Levy, K. MacAdam
Vaughan Vines, J.A.     02/14/23 Analyze documents for responsiveness to            2.30
                                 regulator requests.
Woll, L.                02/14/23 Attend "Reviewing Attorneys team meeting"          0.60
                                 video call with K. McAdam, A. Saba, A.
                                 Lotty, J. Levy,
Dassin, L.L.            02/15/23 Communications with R. Zutshi, A. Weaver,          0.80
                                 and CGSH team regarding strategy and next
                                 steps for regulators.
Zutshi, R.N.            02/15/23 Attend telephonic meeting with regulator and       1.10
                                 preparation and follow-up related to same.
Janghorbani, A.         02/15/23 Correspondence w L Dassin, R Zutshi, A             0.30
                                 Weaver, A Saenz, and S Levander re call w
                                 regulator.
Saenz, A.F.             02/15/23 Call with regulator to discuss search terms        0.20
Saenz, A.F.             02/15/23 Debrief call with S. Levander regarding            0.90
                                 balance sheet analysis.
Saenz, A.F.             02/15/23 Review and send email regarding regulator          0.30
                                 call summary.
Saenz, A.F.             02/15/23 Correspondence on investigation review             0.50
                                 numbers, request to S, Larner for update of
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                                  Special Committee meeting update.
Saenz, A.F.            02/15/23 Correspondence on investigation review             0.50
                                numbers, request to S, Larner for update of
                                Special Committee meeting update.
Alegre, N.             02/15/23 Clean up (0.1) and circulate (0.1) revised         0.20
                                guidance on common interest privilege for
                                reviewers.
Alegre, N.             02/15/23 Address privilege issues with second-level         0.30
                                document review as of 2/15.
Amorim, E.D.           02/15/23 Email communication with A. Gariboldi              0.20
                                regarding meeting with the regulator to
                                discuss search terms.
Amorim, E.D.           02/15/23 Email communication with A. Saenz, J.V.            0.20
                                Vines and J. Levy regarding preparation of
                                production to regulator.
Amorim, E.D.           02/15/23 Revised summary of call with regulator             0.10
                                regarding search terms and custodians.
Amorim, E.D.           02/15/23 Email communication with Cleary team               0.30
                                regarding preparation of production to
                                regulators.
Levander, S.L.         02/15/23 Call with regulator and follow up                  0.50
Levander, S.L.         02/15/23 Debrief call with A. Saenz regarding balance       0.90
                                sheet analysis.
MacAdam, K.            02/15/23 Email correspondence with A. Saenz re              0.40
                                counsel for former employees.
Saba, A.               02/15/23 Corresponded with team re: liability analysis.     0.20
Saba, A.               02/15/23 Reviewed second level review summaries             0.50
                                (.4); corresponded with team regarding same
                                (.1).
Gariboldi, A.          02/15/23 Attend meeting with regulator, create meeting      0.80
                                minutes.
Gariboldi, A.          02/15/23 Create materials for production to regulators      2.00
                                in coordination with E. Amorim.
Levy, J.R.             02/15/23 Quality control review of outgoing                 1.00

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NAME                    DATE       DESCRIPTION                                    HOURS
                                   productions
Levy, J.R.              02/15/23 Update reviewer workflows and plan for             1.20
                                 additional scoping
Vaughan Vines, J.A.     02/15/23 Analyze documents for responsiveness to            4.30
                                 regulator requests.
Dassin, L.L.            02/16/23 Call with S.O'Neal and R. Zutshi re regulatory     0.80
                                 and DCG issues (.5); prep for same (.3)
Janghorbani, A.         02/16/23 Correspondence w S Levander re potential           0.50
                                 regulator outreach and t.c w R Zutshi re same.
Saenz, A.F.             02/16/23 Review cover letters provided to regulators        0.50
                                 before production.
Amorim, E.D.            02/16/23 Quality check and preparation of production        1.30
                                 of materials to the regulator.
Amorim, E.D.            02/16/23 Quality check and preparation of production        1.00
                                 of materials to the regulator.
Amorim, E.D.            02/16/23 Quality check and preparation of production        1.50
                                 of materials to the regulator.
Amorim, E.D.            02/16/23 Revised key documents and respective               1.50
                                 summaries elevated by document reviewers.
Amorim, E.D.            02/16/23 Analysis and selection of loan term sheets in      1.50
                                 anticipation of productions to regulators.
Gariboldi, A.           02/16/23 Edit materials for production to regulators.       1.00
Gariboldi, A.           02/16/23 Attend to production to regulators.                1.50
Levy, J.R.              02/16/23 Finalize regulator productions                     1.30
Levy, J.R.              02/16/23 Coordinate search term scoping and manage          2.00
                                 reviewer workflows
Vaughan Vines, J.A.     02/16/23 Analyze documents for responsiveness to            3.80
                                 regulator requests.
Dassin, L.L.            02/17/23 Call with J. Gottlieb (MoCo), D. Isaacs            0.50
                                 (MoCo), S. O'Neal, A. Saenz, R. Zutshi
                                 regarding regulatory coordination and
                                 bankruptcy overlap.
O'Neal, S.A.            02/17/23 Corresp with team re regulatory matters (.2),      0.30
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NAME                    DATE       DESCRIPTION                                    HOURS
                                   corresp with W&C re same (.1)
O'Neal, S.A.            02/17/23 Call with J. Gottlieb (MoCo), D. Isaacs            0.50
                                 (MoCo), A. Saenz, L. Dassin, R. Zutshi
                                 regarding regulatory coordination and
                                 bankruptcy overlap.
Zutshi, R.N.            02/17/23 Planning for investigations and productions to     1.20
                                 regulators (.7); Call with L. Dassin and S.
                                 O'Neal re regulatory and DCG issues (.5).
Zutshi, R.N.            02/17/23 Call with J. Gottlieb (MoCo), D. Isaacs            0.50
                                 (MoCo), A. Saenz, L. Dassin, S. O'Neal
                                 regarding regulatory coordination and
                                 bankruptcy overlap.
Janghorbani, A.         02/17/23 Correspondence w S Levander and R Zutshi           0.30
                                 re regulator call.
Janghorbani, A.         02/17/23 Correspondence w regulator staff.                  0.20
Janghorbani, A.         02/17/23 Attend to elevated documents.                      0.70
Saenz, A.F.             02/17/23 Call with J. Gottlieb (MoCo), D. Isaacs            0.50
                                 (MoCo), S. O'Neal, L. Dassin, R. Zutshi
                                 regarding regulatory coordination and
                                 bankruptcy overlap.
Saenz, A.F.             02/17/23 Call with M. Weibold to discuss strategy.          0.30
Amorim, E.D.            02/17/23 Email communication with A. Saenz and M.           0.20
                                 Leibold regarding draft talking points for
                                 regulator
Morrow, E.S.            02/17/23 Call with M. Rathi and B. Richey Re Second         0.70
                                 Level Review
Morrow, E.S.            02/17/23 Conduct SLR for investigation production           2.80
Rathi, M.               02/17/23 Call with B. Richey and E. Morrow Re               1.10
                                 Second Level Review (.7), sending materials
                                 re: the same (.4)
Richey, B.              02/17/23 Review of all regulatory subpoenas (.8); Call      3.10
                                 with M. Rathi and E. Morrow Re Second
                                 Level Review (.7); second level review of
                                 documents for upcoming production (1.4);
                                 correspondence with Cleary team regarding

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NAME                  DATE       DESCRIPTION                                    HOURS
                                 same (.2).
Gariboldi, A.         02/17/23 Edit preparation materials for regulator           2.00
                               meeting with M. Leibold.
Levy, J.R.            02/17/23 Prepare and conduct pre-production quality         2.00
                               control for upcoming production and manage
                               related workflows
Vaughan Vines, J.A.   02/17/23 Analyze documents for responsiveness to            2.50
                               regulator requests.
Amorim, E.D.          02/18/23 Revised demand for arbitration.                    2.20
Leibold, M.A.         02/18/23 Review regulator talking points (1.0); Revise      1.80
                               regulator talking points (.8).
Morrow, E.S.          02/18/23 Conduct SLR of document review for                 1.60
                               production
Morrow, E.S.          02/18/23 Conduct SLR of responsive documents for            1.10
                               production
O'Neal, S.A.          02/19/23 Call with L. Dassin and R. Zutshi re               0.60
                               regulatory and DCG issues (.5), corresp with
                               Christian Ribeiro re common interest
                               agreement (.1)
Saenz, A.F.           02/19/23 Review regulator Talking Points on                 0.20
                               cooperation.
Amorim, E.D.          02/19/23 Email communication with A. Saenz, A. Lotty        0.30
                               and M. Rathi to discuss coordination of
                               regulatory responses.
Amorim, E.D.          02/19/23 Revised draft talking points and selected          0.50
                               documents for upcoming meeting with
                               regulator.
Leibold, M.A.         02/19/23 Revise regulator talking points (2.6); Prepare     4.00
                               for interview (1.4).
Morrow, E.S.          02/19/23 Draft notes summarizing SLR analysis for           1.10
                               team
Rathi, M.             02/19/23 Correspondence with E. Amorim re: board            0.30
                               documents
Rathi, M.             02/19/23 Second Level document review                       0.20

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NAME                    DATE       DESCRIPTION                                    HOURS
Richey, B.              02/19/23 Second level review of documents for               1.50
                                 upcoming production.
Dassin, L.L.            02/20/23 Prepare outline of enforcement efforts and         1.50
                                 strategy (1.1), Call with R. Zutshi, A. Saenz,
                                 A. Weaver (partial) and S. Levander re UCC
                                 next steps (0.4)
Dassin, L.L.            02/20/23 Analyze materials regarding same and for           1.00
                                 upcoming briefings and productions.
Dassin, L.L.            02/20/23 Call with R Zutshi, A Saenz, S O’Neal, P           0.70
                                 Abelson (W&C), G Pesce (W&C) and C West
                                 (W&C) regarding regulatory investigations
O'Neal, S.A.            02/20/23 Call with L Dassin, R Zutshi, A Saenz, P           0.70
                                 Abelson (W&C), G Pesce (W&C) and C West
                                 (W&C) regarding regulatory investigations
Zutshi, R.N.            02/20/23 Call with L Dassin, A Saenz, S O’Neal, P           0.70
                                 Abelson (W&C), G Pesce (W&C) and C West
                                 (W&C) regarding regulatory investigations.
Zutshi, R.N.            02/20/23 Planning to address UCC requests (1.2), Call       1.60
                                 with L. Dassin, A. Weaver, (partial) S.
                                 Levander, and A. Saenz re UCC next steps
                                 (0.4)
Janghorbani, A.         02/20/23 Worked on regulatory talking points.               0.50
Janghorbani, A.         02/20/23 Attend to elevated documents.                      0.70
Janghorbani, A.         02/20/23 Correspondence w R Zutshi and S Levander           0.30
                                 re regulatory call.
Weaver, A.              02/20/23 Correspondence with L Dassin, A Saenz, R           0.20
                                 Zutshi and S Levander regarding call with
                                 UCC.
Weaver, A.              02/20/23 Call with L Dassin, R Zutshi, A Saenz, and S       0.20
                                 Levander re UCC next steps (partial
                                 attendance)
Weaver, A.              02/20/23 Call with L Dassin, R Zutshi, A Saenz, S           0.70
                                 O’Neal, S Levander, P Abelson (W&C), G
                                 Pesce (W&C) and C West (W&C) regarding
                                 regulatory investigations.

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Saenz, A.F.            02/20/23 Call with L Dassin, R Zutshi, S O’Neal, P             0.70
                                Abelson (W&C), G Pesce (W&C) and C West
                                (W&C) regarding regulatory investigations
Saenz, A.F.            02/20/23 Implement L. Dassin edits to UCC talking              0.50
                                points (0.1), Call with L. Dassin, R. Zutshi, A
                                Weaver (partial), and S. Levander re UCC
                                next steps (0.4)
Amorim, E.D.           02/20/23 Revised produced and received loan term               2.00
                                sheets.
Amorim, E.D.           02/20/23 Prepared set of loan term sheets for upcoming         2.00
                                production to regulators.
Amorim, E.D.           02/20/23 Email communication with A. Saenz, M.                 0.20
                                Leibold, A. Janghorbani, and R. Zutshi
                                regarding talking points and upcoming
                                meeting with the regulator.
Leibold, M.A.          02/20/23 Circulate draft of regulator talking points (.1);     1.90
                                Confer with A. Saenz re talking point
                                revisions (.1); Revise regulator TPs (1.7).
Levander, S.L.         02/20/23 Call with L Dassin, R Zutshi, A Saenz, S              0.70
                                O’Neal, P Abelson (W&C), G Pesce (W&C)
                                and C West (W&C) regarding regulatory
                                investigations.
Levander, S.L.         02/20/23 Call with L Dassin, R Zutshi, A Weaver                0.40
                                (partial) re UCC next steps
Rathi, M.              02/20/23 Second Level Document Review                          1.10
Dassin, L.L.           02/21/23 Meet with A. Saenz, R. Zutshi, A. Weaver, A.          0.80
                                Janghorbani, A. Saenz, S. Levander, and M.
                                Leibold re preparation for regulator call (0.4),
                                correspondence re the same (0.4)
Dassin, L.L.           02/21/23 Analyze materials for production to                   1.30
                                authorities (0.8), Pre-Weil call meeting with
                                S. Levander, R. Zutshi, A. Weaver, A. Saenz
                                (0.2), Teleconference with R. Zutshi and J
                                Polkes (Weil) re common interest (0.3)
Zutshi, R.N.           02/21/23 Planning and prep for regulator call (0.7),           2.20
                                Attend call with S. O'Neal, A. Saenz, S.

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                                   Levander to coordinate key issues for
                                   bankruptcy and regulatory alignment (0.8),
                                   Meet with L. Dassin. M. Leibold, A. Weaver,
                                   A. Janghorbani, A. Saenz, S. Levander re
                                   preparation for regulator call (0.4), Call with
                                   D. Isaacs (Morrison Cohen), R. Zutshi, and A.
                                   Saenz to discuss regulatory response
                                   coordination and next steps (0.3), Pre-Weil
                                   call meeting with L. Dassin, S. Levanderi, A.
                                   Weaver, A. Saenz (0.2)
Zutshi, R.N.            02/21/23 Teleconference with L Dassin and J Polkes             0.30
                                 (weil) re common interest.
Zutshi, R.N.            02/21/23 Debrief meeting with A. Janghorbani, S.               0.50
                                 Levander regarding regulatory coordination
Zutshi, R.N.            02/21/23 Call with regulator, A. Saenz, S. Levander            0.80
                                 and A. Janghorbani
Janghorbani, A.         02/21/23 Worked on talking points for regulator call.          1.00
Janghorbani, A.         02/21/23 Call with regulator, R. Zutshi, A. Saenz, S.          0.80
                                 Levander (0.3), Debrief meeting with R.
                                 Zutshi, A. Saenzi, S. Levander regarding
                                 regulatory coordination. (0.5)
Janghorbani, A.         02/21/23 Meet with L. Dassin. R. Zutshi, A. Weaver,            1.00
                                 M. Leibold, A. Saenz, S. Levander re
                                 preparation for regulator call (0.4),
                                 correspondence re the same (0.6)
Weaver, A.              02/21/23 Pre-Weil call meeting with L. Dassin, R.              0.70
                                 Zutshi, S. Levander and A. Saenz
Weaver, A.              02/21/23 Pre-Weil call meeting with L. Dassin, R.              0.50
                                 Zutshi, A. Weaver, A. Saenz (0.2),
                                 correspondence re the same (0.3)
Weaver, A.              02/21/23 Meet with L Dassin, R Zutshi, A Saenz, A              0.40
                                 Janghorbani, and S Levander, M. Leibold re
                                 preparation for regulator call.
Saenz, A.F.             02/21/23 Prepare agenda for call with Morrison Cohen           0.30
                                 regarding weekly check-in.
Saenz, A.F.             02/21/23 Correspondence regarding anticipated                  0.20

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                                 Weil/DCG call and regulatory deliverables.
Saenz, A.F.           02/21/23 Call with D. Isaacs (Morrison Cohen), E.            0.30
                               Amorim, and R. Zutshi to discuss regulatory
                               response coordination and next steps (0.3)
Saenz, A.F.           02/21/23 Pre-Weil call meeting with L. Dassin, R.            0.20
                               Zutshi, A. Weaver, S. Levander.
Saenz, A.F.           02/21/23 Review Talking Points regarding regulator           0.80
                               Call prep (0.3), meeting with S. Levander
                               regarding regulator call prep (0.5)
Saenz, A.F.           02/21/23 Attend call with S. O'Neal, R. Zutshi, S.           0.80
                               Levander to coordinate key issues for
                               bankrutpcy and regulatory alignment.
Saenz, A.F.           02/21/23 Meet with L. Dassin. R. Zutshi, A. Weaver,          0.40
                               A. Janghorbani, A. Saenz, S. Levander and M.
                               Leibold re preparation for regulator call.
Saenz, A.F.           02/21/23 Call with regulator, R. Zutshi, A. Janghorbani,     0.30
                               S. Levander.
Saenz, A.F.           02/21/23 Debrief meeting with R. Zutshi, A.                  0.50
                               Janghorbani, S. Levander regarding
                               regulatory coordination.
Saenz, A.F.           02/21/23 Address production volume draft email to            0.40
                               Team.
Alegre, N.            02/21/23 Review notes from regulator calls and internal      0.10
                               workstream coordination.
Amorim, E.D.          02/21/23 Call with D. Isaacs (Morrison Cohen), R.            0.50
                               Zutshi, and A. Saenz to discuss regulatory
                               response coordination and next steps.
Amorim, E.D.          02/21/23 Meeting with M. Leibold to discuss draft            0.80
                               talking points for call with the regulator.
Amorim, E.D.          02/21/23 Revised list of search terms and privilege          0.20
                               terms to send to D. Isaacs (Morrison Cohen).
Amorim, E.D.          02/21/23 Email communication with A. Saenz, A.               0.50
                               Lotty, J.V. Vines and J. Levy regarding
                               investigation review process and planning
                               next review steps and priorities.

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Amorim, E.D.           02/21/23 Email communication with A. Saenz and D.            0.30
                                Issacs (Morrison Cohen) to coordinate
                                regulatory responses.
Amorim, E.D.           02/21/23 Revised list of UCC production requests and         0.20
                                priorities.
Amorim, E.D.           02/21/23 Revised selected key documents and                  1.20
                                respective summaries for discussion with the
                                regulator.
Amorim, E.D.           02/21/23 Comments on selected key documents                  0.50
                                elevated by the investigation review team.
Amorim, E.D.           02/21/23 Revised summary of call with the regulator.         0.10
Leibold, M.A.          02/21/23 Revise regulator talking points (.1); Circulate     3.60
                                revised talking points (.1); Meet with E.
                                Amorim to discuss draft talking points for call
                                with the regulator (.8); Meet with L. Dassin.
                                R. Zutshi, A. Weaver, A. Janghorbani, A.
                                Saenz, S. Levander re preparation for
                                regulator call (.4); Further revise regulator
                                talking points (1.2); Review summary of call
                                (.1); Worked on interview preparation (.9).
Levander, S.L.         02/21/23 Meeting with A. Saenz regarding regulator           0.70
                                call prep (0.5), Pre-Weil call meeting with L.
                                Dassin, R. Zutshi, A. Weaver, A. Saenz (0.2)
Levander, S.L.         02/21/23 Met with A. Saenz, R. Zutshi, L. Dassin, A.         0.40
                                Janghrorbani, A. Weaver and M. Leibold re
                                preparation for regulator call
Levander, S.L.         02/21/23 Debrief meting with R. Zutshi, A.                   0.50
                                Janghorbani, A. Saenz regarding regulatory
                                coordination
Levander, S.L.         02/21/23 Attend Call with S. O'Neal, R. Zutshi and A.        0.80
                                Saenz to coordinate key issues for bankruptcy
                                and regulatory alignment
Levander, S.L.         02/21/23 Call with regulator, R. Zutshi, A. Janghorbani,     0.80
                                A. Saenz
Morrow, E.S.           02/21/23 Draft email summary re: document review             0.60
                                (0.6)

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Rathi, M.             02/21/23 Second Level document review (2.2); related           3.40
                               correspondence with M. Kowiak, B. Richey,
                               E. Morrow, A. Saba and A. Lotty (1.2)
Rathi, M.             02/21/23 Drafting email to Morrison Cohen re:                  0.80
                               regulator requests
Rathi, M.             02/21/23 .7 - drafting presentation for Project attorneys;     0.90
                               .2 - call with A. Gariboldi re: the same
Richey, B.            02/21/23 Second level review of documents for                  6.20
                               production (6); correspondence with
                               Investigations team regarding responsiveness
                               issues (.2).
Saba, A.              02/21/23 Correspondence with Investigations team re:           1.50
                               issues related to second level document
                               review.
Gariboldi, A.         02/21/23 Prepare materials for meeting with Genesis            1.00
                               Investigation Review Team (0.7), Call with
                               M. Rathi. Re drafting presentation for project
                               attorneys
O'Neal, S.A.          02/22/23 Call with W. Uptegrove, T. Scheuer, R.                0.50
                               Zutshi, J. VanLare (partial), and M. Hatch re
                               regulatory issues (0.6)
O'Neal, S.A.          02/22/23 Email to Miranda Hatch re research requests           0.10
                               outline (.1)
O'Neal, S.A.          02/22/23 Comment on regulatory update to A. Pretto-            0.10
                               Sakmann (Genesis)(.1)
O'Neal, S.A.          02/22/23 Corresp with C. West (W&C) re regulatory              0.20
                               requests (.2)
VanLare, J.           02/22/23 Call with W. Uptegrove, T. Scheuer, S.                0.40
                               ONeal, R. Zutshi, M. Hatch re regulatory
                               issues (0.4) (partial attendance)
Zutshi, R.N.          02/22/23 Call with W. Uptegrove, T. Scheuer, S.                0.60
                               ONeal, J. VanLare (partial), and M. Hatch
                               regarding regulatory issues (0.5),
                               correspondence re the same (0.1)
Zutshi, R.N.          02/22/23 Communications regarding coordination with            1.10
                               Morrison Cohen on enforcement strategy.
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NAME                    DATE       DESCRIPTION                                  HOURS

Janghorbani, A.         02/22/23 Email correspondence w L Dassin, R Zutshi,         0.30
                                 A Weaver, A Saenz, and S Levander re
                                 regulatory investigations status.
Saenz, A.F.             02/22/23 Meeting with S. Levander, A. Saba, E.              0.80
                                 Amorim, N. Alegre, B. Richey, A. Lotty, J.
                                 Levy, J. Vaughan Vines, and M. Leibold
                                 regarding document review workstreams and
                                 resource allocation.
Saenz, A.F.             02/22/23 Draft email to CGSH Investigations team            0.60
                                 regarding document review priorities and
                                 volume management.
Saenz, A.F.             02/22/23 Comments to B. Richey regarding daily status       0.30
                                 agenda.
Saenz, A.F.             02/22/23 Outreach email to J. Shum regarding data           0.30
                                 storage.
Alegre, N.              02/22/23 Meeting with A. Saenz, S. Levander, A. Saba,       0.80
                                 E. Amorim, B. Richey, A. Lotty, J. Levy, J.
                                 Vaughan Vines, and M. Leibold regarding
                                 document review workstreams and resource
                                 allocation.
Alegre, N.              02/22/23 Review precedent privilege review protocol.        0.80
Amorim, E.D.            02/22/23 Meeting with A. Saenz, S. Levander, A. Saba,       0.80
                                 N. Alegre, B. Richey, A. Lotty, J. Levy, J.
                                 Vaughan Vines, and M. Leibold regarding
                                 document review workstreams and resource
                                 allocation.
Amorim, E.D.            02/22/23 Prepared materials for paralegal project           0.50
                                 regarding checking of term sheets and
                                 upcoming production.
Amorim, E.D.            02/22/23 Revised key documents elevated by document         0.60
                                 reviewers.
Amorim, E.D.            02/22/23 Revised selection of summaries for upcoming        3.70
                                 discussions with the regulator.
Amorim, E.D.            02/22/23 Drafted sections of talking points regarding       2.60
                                 selection of documents to present to
                                 regulators.
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NAME                   DATE       DESCRIPTION                                   HOURS

Leibold, M.A.          02/22/23    Meeting with A. Saenz, S. Levander, A.          0.90
                                  Saba, E. Amorim, N. Alegre, B. Richey, A.
                                  Lotty, J. Levy, and J. Vaughan Vines,
                                  regarding document review workstreams and
                                  resource allocation (0.8); Correspond re
                                  regulator production (.1)
Levander, S.L.         02/22/23 Meeting with A. Saenz, M. Leiboldr, A. Saba,       0.80
                                E. Amorim, N. Alegre, B. Richey, A. Lotty, J.
                                Levy, and J. Vaughan Vines, regarding
                                document review workstreams and resource
                                allocation
Lotty, A.              02/22/23 Meeting with A. Saenz, S. Levander, A. Saba,       0.80
                                E. Amorim, N. Alegre, B. Richey, J. Levy, J.
                                Vaughan Vines, and M. Leibold regarding
                                document review workstreams and resource
                                allocation.
Richey, B.             02/22/23 Meeting with A. Saenz, S. Levander, A. Saba,       1.90
                                E. Amorim, N. Alegre, A. Lotty, J. Levy, J.
                                Vaughan Vines, and M. Leibold regarding
                                document review workstreams and resource
                                allocation (0.8); second level review for
                                upcoming production (1.1).
Saba, A.               02/22/23 Reviewed documents flagged by associate            2.00
                                team on second level doc review (1.5);
                                provided comments regarding same (0.5).
Saba, A.               02/22/23 Meeting with A. Saenz, S. Levander, E.             0.80
                                Amorim, N. Alegre, B. Richey, A. Lotty, J.
                                Levy, J. Vaughan Vines, and M. Leibold
                                regarding document review workstreams and
                                resource allocation.
Hatch, M.              02/22/23 Call with W. Uptegrove, T. Scheuer, S.             0.50
                                ONeal, R. Zutshi, and J. VanLare (partial) re
                                regulatory issues (0.6)
Hatch, M.              02/22/23 Circulated regulator Call notes                    0.40
Levy, J.R.             02/22/23 Meeting with A. Saenz, S. Levander, A. Saba,       0.80
                                E. Amorim, N. Alegre, B. Richey, A.
                                Lotty,M. Leibold, and J. Vaughan Vines,

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NAME                    DATE       DESCRIPTION                                   HOURS
                                   regarding document review workstreams and
                                   resource allocation
Levy, J.R.              02/22/23 Conduct QC review (1.0), compile documents         2.60
                                 for upcoming regulator production (1.0),
                                 coordinate Telegram processing and analysis
                                 for same (0.6)
Vaughan Vines, J.A.     02/22/23    Meeting with A. Saenz, S. Levander, A.          3.60
                                   Saba, E. Amorim, N. Alegre, B. Richey, A.
                                   Lotty, J. Levy, and M. Leibold, regarding
                                   document review workstreams and resource
                                   allocation (0.8), Analyze documents for
                                   responsiveness to regulator requests (2.8)
Dassin, L.L.            02/23/23 Analyze materials for regulator productions.       0.70
O'Neal, S.A.            02/23/23 Markup A. Sullivan (Genesis) language              0.10
                                 responding to regulator request (.1)
Zutshi, R.N.            02/23/23 Communications with D Isaacs (MoCo)                0.40
                                 regarding enforcement matters.
Janghorbani, A.         02/23/23 Attend to email correspondence re                  1.00
                                 investigation.
Saenz, A.F.             02/23/23 Call with E. Amorim to discuss preparation         0.10
                                 for meeting with the regulator.
Saenz, A.F.             02/23/23 Provide comments to Moelis slide deck              0.20
                                 regarding sale options and regulatory
                                 disclosures.
Saenz, A.F.             02/23/23 Comments regarding email to UCC,                   0.60
                                 implement regulatory updates.
Alegre, N.              02/23/23 Call with E. Morrow re. privilege research.        0.30
Alegre, N.              02/23/23 Call with B. Richey re. privilege review           0.90
                                 protocol.
Alegre, N.              02/23/23 Call with J. Levy and J. Vaughn Vines re:          0.70
                                 privilege review protocol.
Alegre, N.              02/23/23 Coordinate on next steps re. privilege review      0.60
                                 protocol and research.
Alegre, N.              02/23/23 Draft privilege review plan (0.6) and              0.80
                                 correspond re. same (0.2)
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Alegre, N.            02/23/23 Draft privilege review protocol as of 2/23.        1.40
Amorim, E.D.          02/23/23 Call with M. Kowiac to discuss draft talking       0.10
                               points for meeting with the regulator.
Amorim, E.D.          02/23/23 Call with A. Saenz to discuss preparation for      0.20
                               meeting with the regulator (0.1),
                               correspondence re the same (0.1)
Amorim, E.D.          02/23/23 Revised selection of key documents and             1.70
                               respective summaries elevated by document
                               reviewers.
Amorim, E.D.          02/23/23 Drafted summary of regulators requests and         1.00
                               productions in anticipation of meeting with
                               UCC.
Dawley, W.S.          02/23/23 Communication with N. Alegre regarding             0.70
                               privilege review research.
Leibold, M.A.         02/23/23 Correspond regarding regulator production          0.40
                               (.4).
Morrow, E.S.          02/23/23 Call with N. Alegre re. privilege research         0.30
Richey, B.            02/23/23 Call with N. Alegre re. privilege review           1.50
                               protocol (0.9); review of draft privilege
                               review protocol materials (.6).
Gariboldi, A.         02/23/23 Prepare materials for production to regulators     2.00
                               with K. MacAdam.
Hatch, M.             02/23/23 Researched regulatory exception.                   3.30
Kowiak, M.J.          02/23/23 Call with E. Amorim to discuss draft talking       0.10
                               points for meeting with the regulator
Kowiak, M.J.          02/23/23 Assessment of documents for potential              0.60
                               inclusion in talking points with regulator
Kowiak, M.J.          02/23/23 Start revising prior talking points for            0.30
                               upcoming discussion with regulator
Kowiak, M.J.          02/23/23 Correspond with M. Leibold, E. Amorim              0.30
                               regarding talking points for regulator meeting
Levy, J.R.            02/23/23 Call with N. Alegre, and J. Vaughn Vines re:       0.70
                               privilege review protocol.

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Levy, J.R.            02/23/23 Finalize productions for processing               1.70
Vaughan Vines, J.A.   02/23/23 Call with N. Alegre and J. Levy regarding         0.70
                               privilege review protocol.
O'Neal, S.A.          02/24/23 Call with A. Pretto-Sakmann (Genesis) and J.      0.90
                               Gottlieb (MoCo) re various regulatory and
                               enforcement matters (.9)
O'Neal, S.A.          02/24/23 Review research re regulatory issues prepared     0.10
                               by Miranda Hatch (.1)
O'Neal, S.A.          02/24/23 Correspondence with C. Ribeiro re former          0.10
                               employee request for indemnity and stay
                               relief (.1)
O'Neal, S.A.          02/24/23 Correspondence with A. Pretto-Sakmann re          0.30
                               various regulatory matters (.3)
Saenz, A.F.           02/24/23 Call with J. Levy, J. Vaughan Vines, A. Saba,     0.60
                               A. Lotty regarding document review and
                               production processes.
Saenz, A.F.           02/24/23 Meeting with J. Levy, E. Amorim and V.            0.40
                               Upadhyaya (MoCo) to coordinate regulatory
                               productions.
Saenz, A.F.           02/24/23 Call with M. Hatch to discuss regulatory          0.30
                               research.
Alegre, N.            02/24/23 Meeting with W. Dawley, B. Richey, and E.         0.70
                               Morrow regarding common interest privilege
                               issues.
Alegre, N.            02/24/23 Coordinate on privilege review next steps         0.40
                               (0.3) and correspond re. same (0.1)
Alegre, N.            02/24/23 Analyze privilege review issues (0.5) and         0.70
                               correspond re. same (0.2).
Amorim, E.D.          02/24/23 Call with A. Saenz, J. Levy, V. Upadhyaya         0.50
                               (MoCo) to discuss regulatory responses
                               coordination (0.4); correspondence re same
                               (0.1).
Amorim, E.D.          02/24/23 Edited draft production and FOIA letters to       1.00
                               regulators.
Amorim, E.D.          02/24/23 Revised key documents elevated by                 1.30
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                                 investigation document reviewers.
Amorim, E.D.          02/24/23 Commented on draft summaries of key                 0.50
                               documents to discuss with regulators.
Amorim, E.D.          02/24/23 Email communication with V. Upadhyaya, D.           0.10
                               Isaacs (MoCo), A. Saenz and J. Ley regarding
                               production specifics.
Amorim, E.D.          02/24/23 Drafted PPT slide deck with enforcement             1.00
                               updates to client.
Dawley, W.S.          02/24/23 Meeting with N. Alegre, B. Richey, and E.           0.70
                               Morrow regarding common interest privilege
                               issues.
Leibold, M.A.         02/24/23 Correspond re production to regulator (.2);         0.50
                               Review draft cover letters (.1); Review key
                               documents for regulator talking points (.2)
Lotty, A.             02/24/23 Call with J. Levy, J. Vaughan Vines, A.             0.60
                               Saenz, A. Saba re: document review and
                               production processes.
MacAdam, K.           02/24/23 Prepare cover letter for regulator production.      0.60
Morrow, E.S.          02/24/23 Meeting with W. Dawley, N. Alegre, and B.           0.70
                               Richey regarding common interest privilege
                               issues (0.7)
Morrow, E.S.          02/24/23 Conduct background research on privilege            1.00
                               issues
Morrow, E.S.          02/24/23 Perform legal research re: privilege issues         2.90
Morrow, E.S.          02/24/23 Perform legal research and analysis on              2.80
                               privilege
Richey, B.            02/24/23 Call with J. Levy re: privilege review protocol     6.30
                               (.5); meeting with W. Dawley, N. Alegre, and
                               E. Morrow regarding common interest
                               privilege issues (0.7); document review for
                               privilege review protocol (3.6);
                               correspondence with Cleary team regarding
                               privilege review protocol (0.5); drafting
                               privilege review protocol (1).
Saba, A.              02/24/23 Call with J. Levy, J. Vaughan Vines, A.             0.60

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                                 Saenz, A. Lotty re: document review and
                                 production processes.
Gariboldi, A.         02/24/23 Prepare materials for production to regulators     2.00
                               with E. Amorim, M. Leibold, and K.
                               MacAdam.
Hatch, M.             02/24/23 Researched regulatory matters.                     4.50
Kowiak, M.J.          02/24/23 Assessment of documents for use in talking         1.70
                               points with regulator
Kowiak, M.J.          02/24/23 Prepare email to M. Leibold and E. Amorin          0.20
                               regarding documents to include in talking
                               points
Levy, J.R.            02/24/23 Meeting with A. Saenz, E. Amorim and V.            0.40
                               Upadhyaya (MoCo) to coordinate regulatory
                               productions
Levy, J.R.            02/24/23 Call with B. Richey re: privilege review           0.50
                               protocol (.5)
Levy, J.R.            02/24/23 Coordinate download of regulatory                  0.50
                               productions
Vaughan Vines, J.A.   02/24/23 Call with J. Levy, A. Saenz, A. Saba, A. Lotty     0.60
                               regarding document review and production
                               processes.
Alegre, N.            02/25/23 Revise memo on common interest privilege           1.80
                               analysis.
Alegre, N.            02/25/23 Analyze privilege review issues.                   1.00
Hatch, M.             02/25/23 Researched regulatory matters.                     3.90
Alegre, N.            02/26/23 Re-revise memo on common interest privilege        2.10
                               analysis.
Alegre, N.            02/26/23 Draft privilege review protocol as of 2/26.        3.00
Morrow, E.S.          02/26/23 Draft and send memorandum on privilege             3.10
Richey, B.            02/26/23 Drafting and editing privilege review protocol     3.30
                               (3); correspondence with Cleary team
                               regarding same (.3).
Hatch, M.             02/26/23 Researched regulatory matters.                     2.00

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NAME                    DATE       DESCRIPTION                                   HOURS
O'Neal, S.A.            02/27/23 Call with R. Zutshi, J. VanLare (partial) and      0.80
                                 A. Pretto-Sakmann (Genesis) re updates and
                                 next steps (.8)"
VanLare, J.             02/27/23 Call with S. O’Neal, R. Zutshi and A. Pretto-      0.20
                                 Sakmann (Genesis) re investigations update
                                 (.2) (partial)
Zutshi, R.N.            02/27/23 Call with S. O'Neal, J. VanLare (partial) and      0.80
                                 A. Pretto-Sakmann (Genesis) re updates and
                                 next steps (.8)
Zutshi, R.N.            02/27/23 Call with D. Isaacs, J. Gottlieb (MoCo), A.        0.80
                                 Saenz and E. Amorim to discuss and
                                 coordinate regulatory resposes
Zutshi, R.N.            02/27/23 Call with A. Saenz and E. Amorim to plan           0.20
                                 next steps of regulatory productions
Janghorbani, A.         02/27/23 Meeting with L Dassin, R Zutshi, A Saenz, A        3.00
                                 Weaver, S Levander, and B Richey re special
                                 committee meeting prep.
Janghorbani, A.         02/27/23 T/c w J Gottlieb re regulator outreach.            0.40
Saenz, A.F.             02/27/23 Call with E. Amorim and R. Zutshi to plan          0.20
                                 next steps of regulatory productions.
Saenz, A.F.             02/27/23 Prepare enforcement update for client,             1.00
                                 including indemnification requests update.
Saenz, A.F.             02/27/23 Call to discuss privilege review with N.           0.30
                                 Alegre.
Alegre, N.              02/27/23 Provide feedback on production privilege           0.80
                                 analysis as of 2/27.
Alegre, N.              02/27/23 Draft cover note on privilege review analysis      1.70
                                 and protocol.
Alegre, N.              02/27/23 Correspond on production privilege review.         1.10
Alegre, N.              02/27/23 Re-review documents for privilege for              0.30
                                 upcoming production as of 2/27.
Alegre, N.              02/27/23 Call to discuss privilege review with A.           0.30
                                 Saenz.
Alegre, N.              02/27/23 Call to discuss privilege review with B.           0.10

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NAME                  DATE       DESCRIPTION                                    HOURS
                                 Richey.
Alegre, N.            02/27/23 Call to discuss privilege review with J. Levy.     0.30
Alegre, N.            02/27/23 Meeting with J. Levy, B. Richey, and E.            1.00
                               Morrow regarding privilege review.
Alegre, N.            02/27/23 Draft privilege review protocol as of 2/27.        1.70
Amorim, E.D.          02/27/23 Meeting with D. Isaacs, J. Gottlieb (MoCo),        0.80
                               A. Saenz and R. Zutshi to discuss and
                               coordinate regulatory responses.
Amorim, E.D.          02/27/23 Call with A. Saenz and R. Zutshi to plan next      0.20
                               steps of regulatory productions.
Amorim, E.D.          02/27/23 Edited production letters to the regulators        1.00
Leibold, M.A.         02/27/23 Revise deck regarding regulatory                   1.50
                               workstreams (.5); Review draft regulator
                               talking points (1.).
Morrow, E.S.          02/27/23 Conduct privilege review of regulator              3.90
                               production
Morrow, E.S.          02/27/23 Legal analysis re: privilege                       1.10
Morrow, E.S.          02/27/23 Draft email summary of privilege issues            1.20
Morrow, E.S.          02/27/23 Conduct second level document review               0.50
Richey, B.            02/27/23 Call to discuss privilege review with N.           8.50
                               Alegre (0.1); Meeting with J. Levy, N.
                               Alegre, and E. Morrow regarding privilege
                               review (1); drafting privilege review protocol
                               (1.5); privilege review for upcoming
                               production (5.9).
Rosenblum, B.         02/27/23 Correspond with Cleary team regarding Reg          0.50
                               D disqualification question.
Hatch, M.             02/27/23 Researching regulatory matters.                    1.40
Kowiak, M.J.          02/27/23 Work on talking points for discussion with         2.00
                               regulator
Kowiak, M.J.          02/27/23 Revise folder of key documents                     0.10
Kowiak, M.J.          02/27/23 Prepare email to M. Leibold and E. Amorim          0.40
                               regarding talking points for regulator meeting
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NAME                    DATE       DESCRIPTION                                    HOURS
Levy, J.R.              02/27/23 Call                                               0.30
                                 to discuss privilege review with N. Alegre
Levy, J.R.              02/27/23 Review and comment on privilege review             0.70
                                 protocol
Levy, J.R.              02/27/23 Coordinate QC review of upcoming                   1.00
                                 productions
Saran, S.               02/27/23 Updated communications logs with regulator.        1.00
Dassin, L.L.            02/28/23 Prepare strategy for enforcement next steps        0.50
                                 and follow up.
Dassin, L.L.            02/28/23 Communications with A. Saenz regarding             0.50
                                 regulator productions.
O'Neal, S.A.            02/28/23 Respond to regulatory questions from Andrew        0.10
                                 Sullivan at Genesis (.1)
O'Neal, S.A.            02/28/23 Attend call with R. Zutshi, S. Levander, A.        0.80
                                 Saenz to coordinate key issues for bankruptcy
                                 and regulatory alignment
VanLare, J.             02/28/23 Drafted email to A. Sullivan (Genesis) in          0.10
                                 responses to regulator inquiries (.1)
Zutshi, R.N.            02/28/23 Planning for enforcement responses.                0.70
Janghorbani, A.         02/28/23 Attend to elevated documents and privilege         0.80
                                 review.
Saenz, A.F.             02/28/23 Telegram collection call with S. Cohen             0.30
                                 (former employee).
Saenz, A.F.             02/28/23 Circulate comments on Telegram collection          0.30
                                 update.
Alegre, N.              02/28/23 Re-review documents for privilege for              1.50
                                 upcoming production as of 2/28.
Alegre, N.              02/28/23 Provide feedback on production privilege           2.70
                                 analysis as of 2/28.
Alegre, N.              02/28/23 Call to discuss privilege review process with      0.30
                                 B. Richey.
Alegre, N.              02/28/23 Coordinate Privilege QC and Priv Review            0.90
                                 process (0.6) and correspond re. same (0.3) as
                                 of 2/28.
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NAME                  DATE       DESCRIPTION                                   HOURS

Amorim, E.D.          02/28/23 Prepared and submitted production to the           1.80
                               regulator.
Amorim, E.D.          02/28/23 Prepared and submitted production to the           2.00
                               regulator.
Amorim, E.D.          02/28/23 Prepared and submitted production to the           1.00
                               regulator.
Amorim, E.D.          02/28/23 Revised draft talking points and selected          0.60
                               documents for meeting with the regulator.
Leibold, M.A.         02/28/23 Review correspondence re next steps (.1);          1.30
                               Revise regulator talking points (1.3).
Morrow, E.S.          02/28/23 Internal emails with A. Saba and M.                0.30
                               Cinnamon re: privilege review process
Morrow, E.S.          02/28/23 Internal emails A. Saba and A. Gariboldi re:       0.30
                               privilege review
Morrow, E.S.          02/28/23 Legal analysis and research regarding              1.90
                               privilege
Richey, B.            02/28/23 Call to discuss privilege review process with      0.60
                               N. Alegre (.3); correspondence with Cleary
                               team regarding structure of privilege review
                               (.3).
Saba, A.              02/28/23 Call with J. Levy, J. Vaughan Vines, A.            0.60
                               Saenz, A. Lotty re: document review and
                               production processes.
Gariboldi, A.         02/28/23 Attention to production of materials to            1.50
                               regulators with E. Amorim.
Hatch, M.             02/28/23 Call with A. Saenz to discuss regulatory           0.30
                               research.
Kowiak, M.J.          02/28/23 Address M. Leibold requests regarding              1.10
                               talking points for regulator
Levy, J.R.            02/28/23 Prepare for upcoming privilege review and          2.20
                               coordinate second level review workflows
Levy, J.R.            02/28/23 Finalize productions for delivery                  1.20
                                 MATTER TOTAL:                                  589.30

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                                  Timekeeper Summary
Name                                     Hours                 Rate            Amount

Partner
Dassin, L.L.                            .81.30             .1,930.00   $    156,909.00
Kessler, T.S.                             .0.80            .1,305.00   $      1,044.00
Kolodner, J.S.                            .0.60            .1,765.00   $      1,059.00
O'Neal, S.A.                              .6.90            .1,820.00   $     12,558.00
VanLare, J.                               .1.50            .1,730.00   $      2,595.00
Zutshi, R.N.                            .80.40             .1,730.00   $    139,092.00
Counsel
Hammer, B.M.                              .0.80            .1,280.00   $       1,024.00
Janghorbani, A.                         .17.20             .1,485.00   $      25,542.00
Morris, B.J.                              .2.10            .1,485.00   $       3,118.50
Weaver, A.                              .33.60             .1,485.00   $      49,896.00
Senior Attorney
Saenz, A.F.                            .117.50             .1,190.00   $    139,825.00
Associate
Alegre, N.                               .29.70            .1,045.00   $     31,036.50
Amorim, E.D.                             .36.90            .1,105.00   $     40,774.50
Cinnamon, M.                             .12.00            .1,155.00   $     13,860.00
Kane-Weiss, S.M.                           .0.60           .1,180.00   $        708.00
Larner, S.                               .98.70              .965.00   $     95,245.50
Leibold, M.A.                            .23.10            .1,155.00   $     26,680.50
Levander, S.L.                           .64.00            .1,180.00   $     75,520.00
Lotty, A.                              .141.00               .965.00   $    136,065.00
MacAdam, K.                              .82.60              .845.00   $     69,797.00
Minott, R.                                 .0.70             .965.00   $        675.50
Morrow, E.S.                             .24.20              .965.00   $     23,353.00
Mustefa, H.                                .0.60           .1,045.00   $        627.00
Rathi, M.                              .133.70               .845.00   $    112,976.50
Richey, B.                               .34.20              .845.00   $     28,899.00
Saba, A.                                 .51.40            .1,045.00   $     53,713.00
Schwartz, D.Z.                             .1.70           .1,180.00   $      2,006.00
Associate Not Admitted
Gariboldi, A.                           .35.90              .710.00    $      25,489.00
Hatch, M.                                 .0.50             .710.00    $         355.00
Kowiak, M.J.                            .99.90              .710.00    $      70,929.00
Staff Attorney
Christian, D.M.                         .86.50              .505.00    $      43,682.50
Levy, J.R.                              .36.50              .710.00    $      25,915.00

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Name                                      Hours                 Rate            Amount

Orteza, A.                               .92.50              .505.00    $      46,712.50
Vaughan Vines, J.A.                        .8.40             .505.00    $       4,242.00
Project Attorney
Barreto, B.                              .76.60              .505.00    $      38,683.00
Guiha, A.                                .95.30              .505.00    $      48,126.50
Hurley, R.                               .96.40              .505.00    $      48,682.00
Wang, B.                                 .93.60              .505.00    $      47,268.00
Support Attorney
Banks, B.D.                             .160.00              .300.00    $      48,000.00
Cavanagh, J.                            .193.30              .300.00    $      57,990.00
Gayle, K.                               .157.00              .300.00    $      47,100.00
Han, S.                                 .101.50              .300.00    $      30,450.00
Hong, H.S.                              .199.30              .300.00    $      59,790.00
Rivas-Marrero, D.                       .203.60              .300.00    $      61,080.00
Taylor, W.B.                            .159.80              .300.00    $      47,940.00
Wilford, R.N.                           .159.80              .300.00    $      47,940.00
Woll, L.                                  .92.80             .375.00    $      34,800.00
Paralegal
Abelev, A.                                 .0.80             .370.00    $         296.00
Adubofour, A.                            .10.00              .430.00    $       4,300.00
Gallagher, A.                            .20.60              .370.00    $       7,622.00
Lang, P.W.                                 .4.30             .370.00    $       1,591.00
Lashay, V.                                 .0.60             .550.00    $         330.00
Milano, L.M.                               .1.60             .370.00    $         592.00
Saran, S.                                .20.80              .430.00    $       8,944.00
Non-Legal
Libberton, S.I.                            .0.30             .370.00    $        111.00

Total:                                 3,286.00                         $   2,103,560.00




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NAME                  DATE       DESCRIPTION                                    HOURS
Dassin, L.L.          02/01/23 Analyze materials for follow-up.                   2.80
Dassin, L.L.          02/01/23 Communications with R. Zutshi regarding            1.00
                               communications review, analysis, and next
                               steps.
Dassin, L.L.          02/01/23 Video-conference with P. Aronzon (Special          0.50
                               Committee) and T. Conheeny (Special
                               Committee) regarding status and next steps.
Zutshi, R.N.          02/01/23 Communications regarding investigation with        0.70
                               P. Aronzon (Special Committee) and T.
                               Conheeny (Special Committee).
Zutshi, R.N.          02/01/23 Planning for investigation (1.2);                  1.70
                               communications regarding same with L
                               Dassin and A Saenz (.5).
Zutshi, R.N.          02/01/23 Revise draft talking points and                    1.10
                               communications regarding same.
Zutshi, R.N.          02/01/23 Attention to issues re data collection.            0.80
Saenz, A.F.           02/01/23 Call with S. Levander to discuss Special           0.20
                               Committee talking points.
Saenz, A.F.           02/01/23 Outreach to former employee counsel to             0.30
                               discuss Telegram collection.
Saenz, A.F.           02/01/23 Review Legal Themes Outline (1); provide           1.80
                               comments to team (.8).
Saenz, A.F.           02/01/23 Call with A. Lotty, M. Rathi, S. Levander, S.      0.30
                               Larner regarding investigation materials.
Saenz, A.F.           02/01/23 Correspondence with A. Sullivan regarding          0.40
                               clarification of document requests.
Saenz, A.F.           02/01/23 Call with S. Larner re: indemnification memo       0.10
Amorim, E.D.          02/01/23 Comments on documents elevated for                 1.00
                               relevancy to associate team.
Larner, S.            02/01/23 Call with A. Saenz re: indemnification memo        0.10
Larner, S.            02/01/23 Reviewed project attorney key documents            1.00
Larner, S.            02/01/23 Reviewe legal theme outline documents,             1.90
                               added them to the outline, and drafted partner
                               email for A. Saenz's review
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NAME                   DATE       DESCRIPTION                                   HOURS

Larner, S.             02/01/23 Call with M. Rathi re: updating legal themes       0.20
                                outline
Larner, S.             02/01/23 Revised indemnification memo re: A. Saenz          3.20
                                comments.
Larner, S.             02/01/23 Call with A. Saenz, A. Lotty, M. Rathi, S.         0.30
                                Levander re: investigation materials
Levander, S.L.         02/01/23 Call with A. Saenz, A. Lotty, M. Rathi, S.         0.30
                                Larner re: investigation materials
Levander, S.L.         02/01/23 Analysis re investigation updates and next         1.10
                                steps (1); Call with A. Saenz to discuss
                                Special Committee talking points (.1)
Lotty, A.              02/01/23 Review and summarize key documents (5);            9.00
                                Revise document review protocol and related
                                correspondence (1); Coordinate materials for
                                meeting re: investigation (2.7); Call with A.
                                Saenz, M. Rathi, S. Levander, S. Larner
                                regarding investigation materials (.3).
MacAdam, K.            02/01/23 Review documents flagged as key/interesting.       1.40
Rathi, M.              02/01/23 reviewing key documents for investigation          5.20
                                (3.1); drafting key document summary (1.6);
                                correspondence with project attorneys re: the
                                same (.3); Call with S. Larner re: updating
                                legal themes outline (.2)
Rathi, M.              02/01/23 Reviewing board documents related to               0.60
                                November transaction
Rathi, M.              02/01/23 Fixing investigation chronology                    0.50
Rathi, M.              02/01/23 QC review for new project attorney                 0.70
Rathi, M.              02/01/23 Revising process memorandum                        0.30
Rathi, M.              02/01/23 Compiling materials for investigation binder       1.00
Rathi, M.              02/01/23 Call with A. Saenz, A. Lotty, S. Levander,         0.40
                                S. Larner re: investigation materials (.3);
                                follow up with A. Lotty re: the same (.1)
Saba, A.               02/01/23 Performed QC doc review.                           1.20
Kowiak, M.J.           02/01/23 Make updates to the Legal Themes Outline           2.40
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Kowiak, M.J.            02/01/23 Review elevated documents for potential            2.40
                                 inclusion in Legal Themes Outline
Christian, D.M.         02/01/23 Conduct review for responsive and potential       10.00
                                 key documents.
Levy, J.R.              02/01/23 Coordinate reviewer workflows and update           2.10
                                 search term scoping
Orteza, A.              02/01/23 Prepare key documents and summary for M.           0.50
                                 Rathi
Orteza, A.              02/01/23 Review documents for relevance, privilege          5.50
                                 and key terms
Vaughan Vines, J.A.     02/01/23 Perform search term testing.                       0.70
Barreto, B.             02/01/23 First-level review of investigation documents.     7.90
Guiha, A.               02/01/23 Review documents for responsiveness and            1.00
                                 privilege.
Hurley, R.              02/01/23 review selected documents for responsiveness       3.50
                                 and relevance issues
Wang, B.                02/01/23 Review documents for responsiveness and            6.30
                                 privilege per A. Lotty.
Banks, B.D.             02/01/23 Electronic Document Review.                        8.00
Cavanagh, J.            02/01/23 Electronic Document Review.                       10.00
Gayle, K.               02/01/23 Electronic Document Review.                        8.00
Han, S.                 02/01/23 Electronic Document Review.                        8.00
Han, S.                 02/01/23 Electronic Document Review.                        8.00
Hong, H.S.              02/01/23 Electronic Document Review.                       10.00
Rivas-Marrero, D.       02/01/23 Electronic Document Review.                       12.00
Taylor, W.B.            02/01/23 Electronic Document Review.                        8.00
Wilford, R.N.           02/01/23 Electronic Document Review.                        8.00
Woll, L.                02/01/23 Conduct first level document review.               6.00
Gallagher, A.           02/01/23 Updated Genesis Chronology per M. Rathi            3.50
Gallagher, A.           02/01/23 Prepared Binder per M. Rathi and A. Lotty          1.30

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Saran, S.               02/01/23 Revised communications log per M. Rathi             0.50
Saran, S.               02/01/23 Re-organized chronology and assisted with           3.30
                                 preparing binders for partners per M. Rathi
Dassin, L.L.            02/02/23 Meeting with R. Zutshi, A. Janghorbani, S.          1.20
                                 Levander, A. Saenz, A. Saba, A. Lotty re:
                                 investigation updates.
Dassin, L.L.            02/02/23 Analyze materials and communications for            1.50
                                 follow-up.
Zutshi, R.N.            02/02/23 Planning for investigation (.9); Meeting with       2.10
                                 L. Dassin,S. Levander, A. Janghorbani, A.
                                 Saenz, A. Saba, A. Lotty re: investigation
                                 updates (1.2)
Zutshi, R.N.            02/02/23 Attend meeting with K. MacAdams, A.                 0.90
                                 Saenz, A. van Voorhees (Genesis) and A.
                                 Sullivan (Genesis) to discuss non-lending
                                 products (.6); prep for same (.3).
Zutshi, R.N.            02/02/23 Analyze materials identified in review.             1.40
Janghorbani, A.         02/02/23 Meeting with L. Dassin, R. Zutshi, S.               1.20
                                 Levander, A. Saenz, A. Saba, A. Lotty re:
                                 investigation updates
Saenz, A.F.             02/02/23 Attend meeting with R. Zutshi, K.                   0.60
                                 MacAdams, A. van Voorhees (Genesis) and
                                 A. Sullivan (Genesis) to discuss non-lending
                                 products.
Saenz, A.F.             02/02/23 Call with A. Saba (partial), E. Amorim, K.          1.50
                                 MacAdam, S. Larner, A. Lotty, S. Levander
                                 regarding investigation workstreams (.9); prep
                                 for same (.6).
Saenz, A.F.             02/02/23 Review Legal Themes outline, provide                2.00
                                 comments to Team (1.9); Call with K.
                                 MacAdams to dicsuss comments to regulator
                                 talking points (.1).
Saenz, A.F.             02/02/23 Meeting with L. Dassin, R. Zutshi, A.               1.40
                                 Janghorbani, S. Levander, A. Saba, A. Lotty
                                 regarding investigation updates (1.2); prep for
                                 same (.2).

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NAME                   DATE       DESCRIPTION                                   HOURS
Saenz, A.F.            02/02/23 Review key highlights of Legal Themes              0.50
                                outline in light of upcoming meeting.
Amorim, E.D.           02/02/23 Comments on draft talking points for meeting       0.50
                                with regulator.
Amorim, E.D.           02/02/23 Comments on existing search terms and hit          0.50
                                counts regarding document search.
Amorim, E.D.           02/02/23 Edits to existing search terms regarding           0.50
                                document search.
Amorim, E.D.           02/02/23 Call with A. Saenz, A. Saba, K. MacAdam, S.        0.90
                                Larner, A. Lotty, S. Levander regarding
                                investigation workstreams.
Larner, S.             02/02/23 Reviewed key documents sent from project           2.00
                                attorneys (.6); summarized and elevated the
                                most key documents for incorporation into the
                                outline (.5); Call with A. Saenz, A. Saba
                                (partial), E. Amorim, K. MacAdam, S.
                                Levander, A. Lotty re: investigation
                                workstreams (.9).
Levander, S.L.         02/02/23 Meeting with L. Dassin, R. Zutshi,                 1.20
                                A. Janghorbani, A. Saenz, A. Saba, A. Lotty
                                re: investigation updates
Levander, S.L.         02/02/23 Call with A. Saenz, A. Saba (partial), E.          0.90
                                Amorim, K. MacAdam, S. Larner, A. Lotty
                                re: investigation workstreams
Levander, S.L.         02/02/23 Analysis re document review next steps             0.70
Lotty, A.              02/02/23 Correspondence re: case chronology.                1.50
Lotty, A.              02/02/23 Review key documents flagged in document           3.50
                                review.
Lotty, A.              02/02/23 Finalize binders for investigation meeting.        0.40
Lotty, A.              02/02/23 Meeting with L. Dassin, R. Zutshi, A.              1.20
                                Janghorbani, S. Levander, A. Saenz, A. Saba
                                re: investigation updates
Lotty, A.              02/02/23 Call with A. Saenz, A. Saba (partial), E.          1.00
                                Amorim, K. MacAdam, S. Larner, S.
                                Levander re: investigation workstreams (.9);

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NAME                  DATE      DESCRIPTION                                      HOURS
                                Call with A. Saba re: next steps on doc review
                                (.1).
MacAdam, K.           02/02/23 Call with A. Saenz, A. Saba (partial), E.           0.90
                               Amorim, S. Larner, A. Lotty, S. Levander re:
                               investigation workstreams.
MacAdam, K.           02/02/23 Summarize documents flagged as key.                 1.40
MacAdam, K.           02/02/23 Revise regulator talking points.                    0.90
MacAdam, K.           02/02/23 Call with A. Saenz to discuss comments to           0.10
                               regulator talking points.
MacAdam, K.           02/02/23 Review documents flagged as key/interesting.        2.00
MacAdam, K.           02/02/23 Attend meeting with R. Zutshi, A. Saenz, A.         0.60
                               van Voorhees (Genesis) and A. Sullivan
                               (Genesis) to discuss non-lending products.
Rathi, M.             02/02/23 Second level review for project attorney            0.50
Rathi, M.             02/02/23 Drafting legal themes outline update and            3.00
                               summary for Cleary team
Rathi, M.             02/02/23 Correspondence w/ A. Gariboldi, E. Amorim,          0.40
                               A. Lotty related to investigation team
                               schedule and next steps
Rathi, M.             02/02/23 Correspondence related to investigation             0.10
                               binders
Rathi, M.             02/02/23 reviewing key documents(.9); related                1.80
                               correspondence with project attorneys,
                               associate team (.9)
Saba, A.              02/02/23 Call with A. Saenz, E. Amorim, K.                   0.80
                               MacAdam, S. Larner, A. Lotty, S. Levander
                               re: investigation workstreams (partial
                               attendance)
Saba, A.              02/02/23 Meeting with L. Dassin, R. Zutshi, A.               1.20
                               Janghorbani, S. Levander, A. Saenz, A. Lotty
                               re: investigation updates
Saba, A.              02/02/23 Reviewed and provided edits to current draft        1.80
                               of Legal themes outline.
Saba, A.              02/02/23 Call with A. Lotty re: next steps on doc            0.10

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NAME                    DATE       DESCRIPTION                                  HOURS
                                   review.
Saba, A.                02/02/23 Performed QC doc review.                           2.20
Gariboldi, A.           02/02/23 Call with A. Saenz, A. Saba (partial), K.          0.50
                                 MacAdam, S. Larner, A. Lotty, S. Levander
                                 regarding investigation workstreams.
Kowiak, M.J.            02/02/23 Continue working on Legal Themes Outline           1.10
                                 updates
Kowiak, M.J.            02/02/23 Prepare email regarding Legal Themes               0.60
                                 Outline updates
Kowiak, M.J.            02/02/23 Draft correspondence to A. Saenz regarding         0.10
                                 requested document
Kowiak, M.J.            02/02/23 Review elevated key documents for potential        2.30
                                 inclusion in Legal Themes Outline
Kowiak, M.J.            02/02/23 Finalize email to partners regarding Legal         0.30
                                 Themes Outline
Kowiak, M.J.            02/02/23 Implement A. Saenz edits to Legal Themes           1.30
                                 Outline
Kowiak, M.J.            02/02/23 Search for document in discovery platform          0.60
                                 per request of A. Saenz
Christian, D.M.         02/02/23 Conduct review for responsive and potential       10.00
                                 key documents.
Levy, J.R.              02/02/23 Coordinate data collection and processing          1.00
Levy, J.R.              02/02/23 Manage and update document reviewer                1.00
                                 workflows
Orteza, A.              02/02/23 Review documents for key terms and                 8.50
                                 potential privilege
Vaughan Vines, J.A.     02/02/23 Update production log.                             0.50
Guiha, A.               02/02/23 Review documents for responsiveness and            5.00
                                 privilege.
Hurley, R.              02/02/23 review selected documents for responsiveness       4.80
                                 and relevance issues
Wang, B.                02/02/23 Review documents for responsiveness and            6.00
                                 privilege per A. Lotty.
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Banks, B.D.           02/02/23 Electronic Document Review.                        8.00
Cavanagh, J.          02/02/23 Electronic Document Review.                       10.00
Gayle, K.             02/02/23 Electronic Document Review.                        8.00
Han, S.               02/02/23 Electronic Document Review.                        7.50
Hong, H.S.            02/02/23 Electronic Document Review.                       10.00
Rivas-Marrero, D.     02/02/23 Electronic Document Review.                       11.00
Taylor, W.B.          02/02/23 Electronic Document Review.                        8.00
Wilford, R.N.         02/02/23 Electronic Document Review.                        8.30
Woll, L.              02/02/23 Conduct first level document review.               4.30
Gallagher, A.         02/02/23 Updated Chronology per M. Rathi                    1.00
Saran, S.             02/02/23 Prepared binder per S. Levander                    0.80
Saran, S.             02/02/23 Retrieved relevant production emails per A.        0.50
                               Gariboldi
Dassin, L.L.          02/03/23 Video-conference wit A. Pretto-Sakmann             0.50
                               (Genesis) and R. Zutshi regarding status and
                               next steps.
Dassin, L.L.          02/03/23 Call with S. O'Neal and R. Zutshi regarding        0.50
                               status and next steps.
Dassin, L.L.          02/03/23 Analyze materials identified in review.            3.70
O'Neal, S.A.          02/03/23 Call with L. Dassin and R. Zutshi regardin         0.50
O'Neal, S.A.          02/03/23 Call with B. Hammer re various matters             0.30
                               relating to Term Sheet
Zutshi, R.N.          02/03/23 Analysis of materials and planning related to      3.10
                               investigation and internal communications
                               regarding same (1.9); Call with S. Levander,
                               A. Saenz regarding strategic planning, Special
                               Committee meeting (.2); Video-conference
                               wit A. Pretto-Sakmann (Genesis) and L.
                               Dassin regarding status and next steps (.5);
                               Call with S. O'Neal and L. Dassin regarding
                               status and next steps (.5).
Zutshi, R.N.          02/03/23 Communications with client and former              1.20
                               employee counsel in connection with
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NAME                  DATE      DESCRIPTION                                    HOURS
                                investigation.
Hammer, B.M.          02/03/23 Call with S. O'Neal regarding GUSD                0.30
                               concerns
Morris, B.J.          02/03/23 Query regarding futures/spot trading by           0.50
                               Genesis
Saenz, A.F.           02/03/23 Call with A. Saba, S. Larner, A. Lotty            0.10
                               regarding special committee update.
Saenz, A.F.           02/03/23 Call with A. Saba, A. Lotty regarding             0.20
                               document review workstreams.
Saenz, A.F.           02/03/23 Draft interview memo.                             0.80
Saenz, A.F.           02/03/23 Call with R. Zutshi, S.Levander regarding         0.20
                               strategic planning, Special Committee
                               meeting.
Saenz, A.F.           02/03/23 Draft email update to A. Pretto-Sakmann           1.00
                               (Genesis) regarding Telegram collection (.8);
                               Call with K. MacAdam to discuss telegram
                               collection next steps (.2).
Saenz, A.F.           02/03/23 Prepare correspondence on updates to talking      0.30
                               points for Special Committee.
Saenz, A.F.           02/03/23 Review Legal Themes outline/investigation         1.00
                               themes update and provide comments to
                               Team (.8); Call with K. MacAdam to discuss
                               telegram collection next step (.2).
Saenz, A.F.           02/03/23 Review indemnification memo, provide              0.70
                               comments to S. Larner (.5); Attend meeting
                               with K. MacAdams and counsel for former
                               Genesis employee to discuss production of
                               Telegram messages (.2).
Saenz, A.F.           02/03/23 Call with K. MacAdam (partial) and counsel        0.30
                               to former Genesis employee regarding
                               Telegram collection.
Amorim, E.D.          02/03/23 Comments on set of elevated documents             1.00
                               raised by documents reviewers.
Amorim, E.D.          02/03/23 Revise notes of call with former                  0.10
                               director/officer.

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Larner, S.             02/03/23 Conducted proofread of indemnification             1.00
                                memo, drafted email to partners and sent to
                                partners (.9); Call with A. Saenz, A. Saba, A.
                                Lotty re: special committee update (.1).
Larner, S.             02/03/23 Call with A. Saba and A. Lotty re: Special         0.30
                                Committee update (partial attendance)
Levander, S.L.         02/03/23 Reviewed elevated documents (1.9); Call with       2.10
                                R. Zutshi, A. Saenz regarding strategic
                                planning, Special Committee meeting (.2)
Lotty, A.              02/03/23 Call with A. Saba, S. Larner (partial) re:         0.40
                                special committee update
Lotty, A.              02/03/23 Review and summarize key documents (4);            5.30
                                Correspondence re: talking points for special
                                committee update (1); Call with A. Saenz, A.
                                Saba re: document review workstreams (.2);
                                Call with A. Saenz, S. Larner, A. Saba re:
                                special committee update (.1).
MacAdam, K.            02/03/23 Call with A. Saenz to discuss telegram             0.20
                                collection next steps.
MacAdam, K.            02/03/23 Call with A. Saenz and counsel to former           0.20
                                officer/director regarding Telegram collection
                                (partial attendance).
MacAdam, K.            02/03/23 Prepare summary of call with counsel for           0.60
                                former Genesis employee re: Telegram
                                messages.
MacAdam, K.            02/03/23 Revise regulator talking points.                   1.60
MacAdam, K.            02/03/23 Review documents flagged as key/interesting        3.80
                                from document review.
Rathi, M.              02/03/23 Revising legal themes outline for                  2.20
                                investigation
Rathi, M.              02/03/23 reviewing and summarizing key documents            2.30
                                (1.5); correspondence with M. Kowiak,
                                project attorneys re: the same (.8)
Rathi, M.              02/03/23 Reviewing telegram messages for                    0.50
                                investigation

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Rathi, M.             02/03/23 Second level review for project attorneys          0.50
Rathi, M.             02/03/23 Correspondence with A. Lotty, A. Saba re:          0.30
                               updated search terms
Saba, A.              02/03/23 Corresponded with A. Saenz re: summary of          0.30
                               first QC review and findings.
Saba, A.              02/03/23 Call with A. Saenz, A. Lotty re: document          0.20
                               review workstreams.
Saba, A.              02/03/23 Call with A. Saenz, S. Larner, A. Lotty re:        0.10
                               special committee update
Saba, A.              02/03/23 Call with S. Larner (partial) and A. Lotty re:     0.40
                               special committee update
Saba, A.              02/03/23 Corresponded with team re: privilege review.       0.40
Saba, A.              02/03/23 Meeting with A. Gariboldi to discuss               0.20
                               investigation fact development.
Saba, A.              02/03/23 Corresponded with team re: Gemini priority         0.40
                               search.
Gariboldi, A.         02/03/23 Meeting with A. Saba to discuss investigation      0.20
                               fact development.
Gariboldi, A.         02/03/23 Engage in fact development relevant to             1.30
                               pending litigation.
Kowiak, M.J.          02/03/23 Review elevated documents for potential            3.20
                               inclusion in Legal Themes Outline
Kowiak, M.J.          02/03/23 Draft email to A. Lotty regarding documents        0.30
                               for inclusion in Legal Themes Outline
Kowiak, M.J.          02/03/23 Search documents on Relativity platform            0.40
                               based on inquiry from A. Saenz
Kowiak, M.J.          02/03/23 Upload documents previously identified as          1.00
                               key for investigation into shared access
                               folders organized by investigation sub-topic
Levy, J.R.            02/03/23 Call with CDS re analytics options                 0.40
Levy, J.R.            02/03/23 Update scoping searches and coordinate and         2.30
                               manage reviewer workflows
Orteza, A.            02/03/23 Project Genesis: Review documents for key          4.30
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NAME                    DATE       DESCRIPTION                                    HOURS
                                   and interesting risk documents.
Barreto, B.             02/03/23 First-level review of investigation documents.     6.00
Guiha, A.               02/03/23 Review documents for responsiveness and            7.50
                                 privilege.
Hurley, R.              02/03/23 review selected documents for responsiveness       2.50
                                 and relevance issues
Wang, B.                02/03/23 Review documents for responsiveness and            7.30
                                 privilege per A. Lotty.
Banks, B.D.             02/03/23 Electronic Document Review.                        8.00
Cavanagh, J.            02/03/23 Electronic Document Review.                        9.50
Gayle, K.               02/03/23 Electronic Document Review.                        8.00
Han, S.                 02/03/23 Electronic Document Review.                        8.00
Hong, H.S.              02/03/23 Electronic Document Review.                       10.00
Rivas-Marrero, D.       02/03/23 Electronic Document Review.                        7.50
Taylor, W.B.            02/03/23 Electronic Document Review.                        8.00
Wilford, R.N.           02/03/23 Electronic Document Review.                        6.50
Woll, L.                02/03/23 Conduct first level document review.               5.00
Janghorbani, A.         02/04/23 Correspondence w M Rathi re team meeting           0.20
                                 on investigation status.
Saenz, A.F.             02/04/23 Review Legal themes outline, provide               1.10
                                 comments to team.
Amorim, E.D.            02/04/23 Comments on relevant documents from                0.80
                                 investigation raised by document reviewers.
MacAdam, K.             02/04/23 Correspondence with A. Saenz re: Telegram          0.10
                                 collection process.
MacAdam, K.             02/04/23 Review documents tagged as key/interesting.        1.10
Dassin, L.L.            02/05/23 Video-conference with S. O'Neal and R.             0.50
                                 Zutshi regarding status and next steps.
Dassin, L.L.            02/05/23 Video-conference with R. Zutshi regarding          0.30
                                 review status and next steps.
Dassin, L.L.            02/05/23 Analyze communications identified in review.       1.50
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O'Neal, S.A.          02/05/23 Video-conference with L. Dassin and R.                0.50
                               Zutshi regarding status and next steps.
O'Neal, S.A.          02/05/23 Call with D. Islim (Genesis), M. Leto (A&M)           0.50
                               and B. Hammer re Gemini program issues
Zutshi, R.N.          02/05/23 Planning for investigation (1.3); Video-              2.10
                               conference with S. O'Neal and L. Dassin
                               regarding status and next steps (.5); Video-
                               conference with L. Dassin regarding review
                               status and next steps (.3).
Hammer, B.M.          02/05/23 Call with D. Islim (Genesis), M. Leto (A&M)           0.50
                               and S. O'Neal re Gemini program issues
Lotty, A.             02/05/23 Draft talking points re: status of investigation.     1.40
Lotty, A.             02/05/23 Revise and circulate legal themes outline.            0.90
Dassin, L.L.          02/06/23 Review draft outline for follow up discussions        0.70
                               with Special Committee.
Dassin, L.L.          02/06/23 Analyze communications and additional                 3.80
                               materials for follow up.
Dassin, L.L.          02/06/23 Emails with R. Zutshi and CGSH team                   0.40
                               regarding follow up.
Zutshi, R.N.          02/06/23 Conference with K. MacAdam A. Saenz, B.               0.50
                               Morris, A. van Voorhees (Genesis), A.
                               Sullivan (Genesis), and Matt Lepow (Genesis)
                               to discuss non-lending products.
Zutshi, R.N.          02/06/23 Call with S. Levander re investigation strategy       0.30
Morris, B.J.          02/06/23 Futures contract discussion with client and           0.80
                               internal follow-up
Saenz, A.F.           02/06/23 Correspondence with client regarding                  0.40
                               Telegram collection, balance sheet
                               information.
Saenz, A.F.           02/06/23 Finalize interview memo.                              0.40
Saenz, A.F.           02/06/23 Call with S. Levander regarding expected              0.60
                               work product.
Saenz, A.F.           02/06/23 Enforcement Associate Team meeting, call              0.80
                               with J. Levy and J. Vaughan (0.5). Prepare

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                                  Special Committee Memorandum (0.3).
Saenz, A.F.            02/06/23 Review escalated documents and provide              0.50
                                feedback to Investigation Team.
Saenz, A.F.            02/06/23 Conference with R. Zutshi, K. MacAdam, B.           0.50
                                Morris, A. van Voorhees (Genesis), A.
                                Sullivan (Genesis), and Matt Lepow (Genesis)
                                to discuss non-lending products
Amorim, E.D.           02/06/23 Revise elevated documents from investigation        1.00
                                document reviewers.
Amorim, E.D.           02/06/23 Review draft guidance protocol regarding the        0.30
                                Gemini Earn review process.
Larner, S.             02/06/23 Searched for key documents to add to the            2.00
                                special committee talking points.
Larner, S.             02/06/23 Revised special committee talking points            0.80
                                before sending to S. Levander for review
Larner, S.             02/06/23 Outlined claims for outline                         3.30
Larner, S.             02/06/23 Reviewed key documents and summarized for           0.70
                                legal themes outline
Larner, S.             02/06/23 Call with J. Levy (partial), A. Saba, J. Vines      0.80
                                (partial), A. Saenz, M. Rathi, A. Lotty, and S.
                                Levander re: Privilege issues & production
                                next steps
Larner, S.             02/06/23 Started conducting QC of project attorney's         3.20
                                document review (the total batch was
                                approximately 1400 documents)
Levander, S.L.         02/06/23 Call with A. Saenz regarding expected work          0.60
                                product.
Levander, S.L.         02/06/23 Call with M. Rathi re: updating legal               0.10
                                themes outline
Levander, S.L.         02/06/23 Call with R Zutshi re investigation strategy        0.30
Levander, S.L.         02/06/23 Drafted and revised presentation to Special         1.70
                                Committee
Lotty, A.              02/06/23 Review and summarize key documents (3);             4.10
                                Conduct legal research on investigation-

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                                 related question (1.1).
Lotty, A.             02/06/23 Call with S. Saran, A. Adubofour, A.                0.30
                               Gallagher, M. Rathi re: revisions to Legal
                               Themes outline.
MacAdam, K.           02/06/23 Review documents flagged as key/interesting.        1.70
MacAdam, K.           02/06/23 Conference with R. Zutshi, A. Saenz, B.             0.50
                               Morris, A. van Voorhees (Genesis), A.
                               Sullivan (Genesis), and Matt Lepow (Genesis)
                               to discuss non-lending products.
MacAdam, K.           02/06/23 Prepare Telegram collection plan.                   1.00
MacAdam, K.           02/06/23 Prepare agenda for call with Genesis re: non-       0.80
                               lending products.
Rathi, M.             02/06/23 drafting key document summary (1.5); related        2.20
                               correspondence with project attorneys, A.
                               Gariboldi (.7)
Rathi, M.             02/06/23 Call with J. Levy, A. Saba, J. Vines, A. Saenz,     0.80
                               A. Lotty, S. Levander, S. Larner re: Privilege
                               issues & production next steps
Rathi, M.             02/06/23 Correspondence related to restructuring legal       1.20
                               themes outline and chronology with A. Lotty,
                               A. Saba, A. Gariboldi and paralegal team (.9);
                               Call with S. Saran, A. Adubofour, A.
                               Gallagher and A. Lotty re: revisions to Legal
                               Themes outline (.3)
Rathi, M.             02/06/23 Revising legal themes outline and reviewing         1.70
                               paralegal edits to the same (1.6); Call with S.
                               Levander re: updating legal themes outline
                               (.1)
Saba, A.              02/06/23 Corresponded with team re: various issues           0.50
                               related to document review workstreams.
Saba, A.              02/06/23 Revised document requests to DCG and                1.20
                               Ducera.
Saba, A.              02/06/23 Call with J. Levy, J. Vines, A. Saenz, M.           0.80
                               Rathi, A. Lotty, S. Levander and S. Larner re:
                               Privilege issues & production next steps

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NAME                    DATE       DESCRIPTION                                    HOURS
Gariboldi, A.           02/06/23 Engage in fact development for investigation       2.20
                                 in coordination with enforcement team.
Kowiak, M.J.            02/06/23 Prepare email to A. Gariboldi regarding            0.10
                                 documents for inclusion in Legal Themes
                                 Outline
Kowiak, M.J.            02/06/23 Summarize elevated documents for potential         2.60
                                 inclusion in Legal Themes Outline
Christian, D.M.         02/06/23 Conduct review for responsive and potential       10.00
                                 key documents.
Levy, J.R.              02/06/23 Call with A. Saba, J. Vines (partial), A.          0.60
                                 Saenz, M. Rathi, A. Lotty, S. Levander and S.
                                 Larner re: Privilege issues & production next
                                 steps (partial attendance)
Levy, J.R.              02/06/23 Coordinate updated search term scoping and         1.20
                                 review workflows
Levy, J.R.              02/06/23 Coordinate data collection and processing          0.50
Orteza, A.              02/06/23 Project Genome: Review and analyze                 6.30
                                 documents for key risk terms
Barreto, B.             02/06/23 First-level review of investigation documents.     7.80
Guiha, A.               02/06/23 Review documents for responsiveness and            7.50
                                 privilege.
Hurley, R.              02/06/23 review selected documents for responsiveness       4.80
                                 and relevance issues
Wang, B.                02/06/23 Review documents for responsiveness and            6.00
                                 privilege per A. Lotty.
Banks, B.D.             02/06/23 Electronic Document Review.                        8.00
Cavanagh, J.            02/06/23 Electronic Document Review.                        6.80
Gayle, K.               02/06/23 Electronic Document Review.                        8.00
Han, S.                 02/06/23 Electronic Document Review.                        8.00
Hong, H.S.              02/06/23 Electronic Document Review.                       10.00
Rivas-Marrero, D.       02/06/23 Electronic Document Review.                       10.50
Taylor, W.B.            02/06/23 Electronic Document Review.                        8.00

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NAME                  DATE       DESCRIPTION                                    HOURS
Wilford, R.N.         02/06/23 Electronic Document Review.                        8.00
Woll, L.              02/06/23 Conduct first level document review.               8.50
Adubofour, A.         02/06/23 Participate in team meeting to discuss outline     0.30
                               revisions
Gallagher, A.         02/06/23 Reorganized LTO per M. Rathi                       3.80
Gallagher, A.         02/06/23 Call with S. Saran, A. Adubofour, M. Rathi         0.30
                               and A. Lotty re: revisions to Legal Themes
                               outline
Saran, S.             02/06/23 Created and finalized notices of filing per M.     2.30
                               Hatch
Saran, S.             02/06/23 Call with A. Gallagher, A. Adubofour, M.           0.50
                               Rathi and A. Lotty re: revisions to Legal
                               Themes outline (.3); prep for same (.2)
Saran, S.             02/06/23 Prepared legal themes outline binders per A.       1.80
                               Lotty
Dassin, L.L.          02/07/23 Analyze communications and additional              2.60
                               material for follow up.
Dassin, L.L.          02/07/23 Emails with R. Zutshi and CGSH team                0.80
                               regarding follow up.
Zutshi, R.N.          02/07/23 Analysis of materials and communications           2.10
                               regarding same
Saenz, A.F.           02/07/23 Review interview memo, incorporate new             0.70
                               information learned from investigation.
Saenz, A.F.           02/07/23 Review legal themes outline escalated              2.00
                               documents and provide comments.
Amorim, E.D.          02/07/23 Revise draft talking points for meeting with       0.50
                               CCG's board.
Amorim, E.D.          02/07/23 Revised key documents elevated by the              1.30
                               investigation review team.
Amorim, E.D.          02/07/23 Revise and comments on draft notification          0.50
                               letters and email communication with Cleary
                               team regarding same.
Amorim, E.D.          02/07/23 Revise Telegram and email communication            0.20
                               messages raised by investigation reviewers.
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NAME                   DATE       DESCRIPTION                                   HOURS

Amorim, E.D.           02/07/23 Revise key documents draft summary.                0.90
Amorim, E.D.           02/07/23 Comments on legal research findings.               0.20
Amorim, E.D.           02/07/23 Comments on updated legal themes outline.          0.50
Larner, S.             02/07/23 Revised special committee talking points per       1.20
                                S. Levander's feedback and sent to partners
Larner, S.             02/07/23 Reviewed documents elevated by project             2.00
                                attorneys and circulated to group for outline
Larner, S.             02/07/23 Corresponded with D. Christian regarding the       0.20
                                efficiency of her searches
Larner, S.             02/07/23 Finalized QC of project attorney's document        1.80
                                review
Levander, S.L.         02/07/23 Revised Special Committee presentation.            0.40
Levander, S.L.         02/07/23 Analysis re elevated documents                     0.80
Levander, S.L.         02/07/23 Analysis re trading data                           0.40
Levander, S.L.         02/07/23 Research re corporate governance                   0.30
Lotty, A.              02/07/23 Correspondence re: talking points for special      0.40
                                committee update.
Lotty, A.              02/07/23 Review and summarize key documents, and            7.90
                                related team correspondence (3); conduct
                                investigation-related legal research (3);
                                Revise talking points for special committee
                                update (1.9).
MacAdam, K.            02/07/23 Review documents flagged as key/interesting.       4.40
MacAdam, K.            02/07/23 Review trade activity data for GGC.                0.30
MacAdam, K.            02/07/23 Update legal themes outline.                       2.50
MacAdam, K.            02/07/23 Review comments from A. Saenz to legal             0.40
                                themes outline.
Rathi, M.              02/07/23 Revisions to Legal Themes Outline based on         1.60
                                partner feedback
Rathi, M.              02/07/23 drafting summary of key documents (2.1);           2.90
                                related correspondence with M. Kowiak,
                                project attorneys (.8)
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NAME                    DATE       DESCRIPTION                                    HOURS
Saba, A.                02/07/23 Corresponded with team re: second level            0.20
                                 document review.
Saba, A.                02/07/23 Performed document review and provided             1.10
                                 comments on legal themes outline.
Saba, A.                02/07/23 Revised and corresponded with team re: edits       0.60
                                 to special committee meeting talking points.
Kowiak, M.J.            02/07/23 Draft email to M. Rathi regarding document         0.20
                                 review tags
Kowiak, M.J.            02/07/23 Revised responsiveness tags on document            2.50
                                 review platform based on team feedback
Kowiak, M.J.            02/07/23 Draft email to associates regarding review of      0.20
                                 documents for privilege
Kowiak, M.J.            02/07/23 Review elevated documents for potential            0.30
                                 inclusion in Legal Themes Outline
Kowiak, M.J.            02/07/23 Conduct second level document review               3.70
Christian, D.M.         02/07/23 Conduct review for responsive and potential       10.00
                                 key documents.
Levy, J.R.              02/07/23 Draft collection and review updates for            0.70
                                 special committee meeting
Orteza, A.              02/07/23 Review priority documents for key terms            4.80
Barreto, B.             02/07/23 First-level review of investigation documents.     0.30
Hurley, R.              02/07/23 review selected documents for responsiveness       5.50
                                 and relevance issues
Wang, B.                02/07/23 Review documents for responsiveness and            3.00
                                 privilege per A. Lotty.
Banks, B.D.             02/07/23 Electronic Document Review.                        8.00
Cavanagh, J.            02/07/23 Electronic Document Review.                       10.00
Gayle, K.               02/07/23 Electronic Document Review.                        8.00
Han, S.                 02/07/23 Electronic Document Review.                        8.00
Hong, H.S.              02/07/23 Electronic Document Review.                       10.00
Rivas-Marrero, D.       02/07/23 Electronic Document Review.                       11.80
Taylor, W.B.            02/07/23 Electronic Document Review.                        8.00
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NAME                    DATE       DESCRIPTION                                    HOURS

Wilford, R.N.           02/07/23 Electronic Document Review.                        8.80
Woll, L.                02/07/23 Conduct first level document review.               8.00
Libberton, S.I.         02/07/23 Search PACER and Bloomberg Law for                 0.30
                                 litigation involving Genesis, correspond w/
                                 M. Rathi re: same.
Dassin, L.L.            02/08/23 Analyze communications and additional              0.80
                                 materials for follow up.
Dassin, L.L.            02/08/23 Call with J. VanLare, S. O’Neal & R. Zushi re      0.50
                                 investigations (.5)
Dassin, L.L.            02/08/23 Meeting with A. Weaver to discuss                  0.50
                                 investigation strategy
Dassin, L.L.            02/08/23 Cleary team meeting with A. Janghorbani, R.        0.40
                                 Zutshi, S. Levander, and A. Saenz re
                                 enforcement inquiries.
Kolodner, J.S.          02/08/23 Meeting with E. Amorim and H. Mustefa to           0.60
                                 discuss notification process and next steps.
O'Neal, S.A.            02/08/23 Call with L. Dassin, J. VanLare & R. Zushi re      0.50
                                 investigations (.5)
VanLare, J.             02/08/23 Call with L. Dassin, S. O’Neal & R. Zushi re       0.50
                                 investigations (.5)
Zutshi, R.N.            02/08/23 Planning for investigation and                     1.80
                                 communications related to same (1.2); Call
                                 with S. Larner re: indemnification memo
                                 guidance (.1); Call with L. Dassin, S. O’Neal
                                 & J. VanLare re investigations (.5).
Zutshi, R.N.            02/08/23 Analysis of materials identified in review         1.20
Zutshi, R.N.            02/08/23 Cleary team meeting with A. Janghorbani, L.        0.40
                                 Dassin, S. Levander, and A. Saenz re
                                 enforcement inquiries.
Janghorbani, A.         02/08/23 Cleary team meeting w L Dassin, R Zutshi, S        0.40
                                 Levander, and A Saenz re enforcement
                                 inquiries.
Janghorbani, A.         02/08/23 Call with A. Weaver regarding status of            0.80
                                 regulatory inquiries (.6); prep for same (.2).

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NAME                  DATE      DESCRIPTION                                   HOURS
Morris, B.J.          02/08/23 Review and comment to talking points              0.80
Weaver, A.            02/08/23 Meeting with L Dassin to discuss                  0.50
                               investigation strategy.
Weaver, A.            02/08/23 Call with A Janghorbani regarding status of       0.60
                               regulatory inquiries.
Weaver, A.            02/08/23 Review and study of investigation background      0.50
                               materials.
Saenz, A.F.           02/08/23 Email correspondence with client to discuss       0.30
                               Telegram collection priorities.
Saenz, A.F.           02/08/23 Call with D. Isaacs, J. Levy regarding            0.30
                               collection.
Saenz, A.F.           02/08/23 Review Legal Themes Chron issues, provide         1.00
                               comments to associate team.
Saenz, A.F.           02/08/23 Cleary team meeting with A. Janghorbani, R.       0.40
                               Zutshi, S. Levander, and L. Dassin re
                               enforcement inquiries.
Amorim, E.D.          02/08/23 Meeting with J. Kolodner and H. Mustefa to        0.60
                               discuss notification process and next steps.
Amorim, E.D.          02/08/23 Comments on indemnification analysis and          0.40
                               memorandum.
Amorim, E.D.          02/08/23 Comments on legal research and analysis           0.20
                               regarding employees.
Amorim, E.D.          02/08/23 Comments on key documents and respective          1.20
                               summaries elevated by investigation
                               document review team.
Larner, S.            02/08/23 Responding to S. Levander's email about           0.20
                               permissive and mandatory indemnification
Larner, S.            02/08/23 Call with S. Lavender re: indemnification         0.30
                               research
Larner, S.            02/08/23 Call with R. Zutshi re: indemnification memo      0.10
                               guidance
Larner, S.            02/08/23 Added key documents to presentation               1.00
                               template, highlighted most key documents,
                               and drafted summary

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NAME                   DATE       DESCRIPTION                                     HOURS
Larner, S.             02/08/23 Searching for key documents that relate to          1.50
                                representations to counterparties in advance of
                                2/9/23 team meeting.
Larner, S.             02/08/23 Reviewed governing documents, employment            7.80
                                agreements, severance agreements (3.8);
                                conduct research re indemnification (4.0)
Levander, S.L.         02/08/23 Analysis re elevated documents (.5); Call with      0.80
                                S. Larner re: indemnification research (.3)
Levander, S.L.         02/08/23 Cleary team meeting with A. Janghorbani, R          0.40
                                .Zutshi, L. Dassin, and A. Saenz re
                                enforcement inquiries.
Lotty, A.              02/08/23 Review and summarize key documents (4);             6.40
                                Correspondence re: document review search
                                terms (1); Prep for internal meeting (1.4).
MacAdam, K.            02/08/23 Revise legal themes outline.                        1.40
MacAdam, K.            02/08/23 Review documents flagged as key/interesting.        2.00
MacAdam, K.            02/08/23 Prepare update on key documents for weekly          0.60
                                meeting.
Mustefa, H.            02/08/23 Meeting with J. Kolodner and E. Amorim to           0.60
                                discuss notification process and next steps.
Rathi, M.              02/08/23 Call with A. Saba re: Document review               0.20
                                protocol
Rathi, M.              02/08/23 drafting key document summary (1.2);                2.20
                                correspondence with M. Kowiak, A. Lotty, A.
                                Gariboldi, A. Saba, A. Saenz and project
                                attorney's re: the same (1)
Rathi, M.              02/08/23 QC review for project attorney document             1.10
                                review
Rathi, M.              02/08/23 Research for FOIA letter precedent                  0.30
Rathi, M.              02/08/23 Correspondence with S. Levander re:                 0.20
                                litigation tracking
Rathi, M.              02/08/23 Highlighting key documents for presentation         1.10
                                to investigation partners
Rathi, M.              02/08/23 Revisions to LTO and related correspondence         0.40

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NAME                  DATE       DESCRIPTION                                      HOURS
                                 with M. Kowiak
Rathi, M.             02/08/23 Correspondence with A. Lotty re: priority            0.30
                               search terms
Rathi, M.             02/08/23 Reviewing document summaries for                     1.40
                               presentation on key persons to Investigation
Saba, A.              02/08/23 Revised master chronology.                           1.10
Saba, A.              02/08/23 Corresponded with team re: document review           0.40
                               workstreams.
Saba, A.              02/08/23 Corresponded with team re: various issues            0.70
                               related to document review and second level
                               review.
Saba, A.              02/08/23 Call with M. Rathi re: Document review               0.20
                               protocol
Gariboldi, A.         02/08/23 Assist A. Saenz in preparing reach out to            0.30
                               client about custodians.
Gariboldi, A.         02/08/23 Discuss communications log updates with S.           0.10
                               Saran.
Kowiak, M.J.          02/08/23 Revise certain second level review tags based        0.30
                               on team feedback
Kowiak, M.J.          02/08/23 Draft email to A. Saba, A. Lotty and M. Rathi        0.20
                               about document review
Kowiak, M.J.          02/08/23 Continue work on second level document               1.50
                               review
Kowiak, M.J.          02/08/23 Pull summaries of key documents added to             0.70
                               Legal Themes Outline over last several days
Kowiak, M.J.          02/08/23 Draft email to A. Saenz regarding second             0.10
                               level document review
Kowiak, M.J.          02/08/23 Coordinate printing of several versions of           0.30
                               Legal Themes Outline for A. Janghorbani
Kowiak, M.J.          02/08/23 Correspond with S. Levander regarding Legal          0.20
                               Themes Outline printing
Kowiak, M.J.          02/08/23 Re-review documents with specific email              0.20
                               addresses to assess for privilege in light of A.
                               Saenz feedback
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Kowiak, M.J.            02/08/23 Develop talking points for meeting with            0.90
                                 partners and associates regarding matter
Kowiak, M.J.            02/08/23 Conduct second level document review               1.10
Christian, D.M.         02/08/23 Conduct review for responsive and potential        7.40
                                 key documents.
Levy, J.R.              02/08/23 Internal communications re CDS invoicing           0.80
                                 (.5); Call with D. Isaacs, A. Saenz regarding
                                 collection (.3).
Levy, J.R.              02/08/23 Update and manage reviewer workflows               0.70
Orteza, A.              02/08/23 Project Genome: Review documents for key           5.00
                                 terms
Barreto, B.             02/08/23 First-level review of investigation documents.     5.00
Hurley, R.              02/08/23 review selected documents for responsiveness       3.50
                                 and relevance issues
Wang, B.                02/08/23 Review documents for responsiveness and            3.50
                                 privilege per A. Lotty.
Banks, B.D.             02/08/23 Electronic Document Review.                        8.00
Cavanagh, J.            02/08/23 Electronic Document Review.                       10.00
Gayle, K.               02/08/23 Electronic Document Review.                        8.00
Han, S.                 02/08/23 Electronic Document Review.                        7.50
Hong, H.S.              02/08/23 Electronic Document Review.                       10.00
Rivas-Marrero, D.       02/08/23 Electronic Document Review.                       10.00
Taylor, W.B.            02/08/23 Electronic Document Review.                        8.00
Wilford, R.N.           02/08/23 Electronic Document Review.                        8.00
Woll, L.                02/08/23 Conduct first level document review.               7.30
Lang, P.W.              02/08/23 ESI build out with endorsements for attorney       2.00
                                 document review.
Saran, S.               02/08/23 Updated communications log per A. Saenz            0.50
Dassin, L.L.            02/09/23 Outline strategy for investigation for             1.80
                                 discussion with CGSH team.
Dassin, L.L.            02/09/23 Meeting with R. Zutshi, A. Weaver, S.              1.50
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NAME                    DATE       DESCRIPTION                                       HOURS
                                   Levander, A. Lotty, A. Saba, M. Rathi, S.
                                   Larner, K. MacAdam, M. Kowiak, and A.
                                   Gariboldi to discuss investigation strategy and
                                   next steps.
Dassin, L.L.            02/09/23 Meet with R. Zutshi, A. Weaver, S. Levander           0.50
                                 to discuss investigation strategy.
Zutshi, R.N.            02/09/23 Attend meeting with L. Dassin, K. MacAdam,            1.50
                                 A. Weaver, S. Levander, A. Lotty, A. Saba,
                                 M. Rathi, S. Larner, M. Kowiak, and A.
                                 Gariboldi to discuss investigation strategy and
                                 next steps.
Zutshi, R.N.            02/09/23 Meeting with L. Dassin, A. Weaver, S.                 0.50
                                 Levander to discuss investigation strategy
Zutshi, R.N.            02/09/23 Analysis of materials                                 1.10
Janghorbani, A.         02/09/23 Attend to correspondence w Cleary team re             0.30
                                 enforcement matters.
Janghorbani, A.         02/09/23 T/c w A Weaver re enforcement matters.                0.20
Janghorbani, A.         02/09/23 Attend tk elevated documents                          0.50
Weaver, A.              02/09/23 Meeting with L. Dassin, R. Zutshi, S.                 1.50
                                 Levander, A. Lotty, A. Saba, M. Rathi, S.
                                 Larner, K. MacAdam, M. Kowiak, and A.
                                 Gariboldi to discuss investigation strategy and
                                 next steps.
Weaver, A.              02/09/23 Meeting with L. Dassin, R. Zutshi, S.                 0.50
                                 Levander to discuss investigation strategy.
Weaver, A.              02/09/23 Review and study of documents identified in           4.80
                                 document review.
Weaver, A.              02/09/23 Review and study of background materials of           1.90
                                 the investigation and summary of issues (1.7);
                                 T/c w A Janghorbani re enforcement matters
                                 (.2).
Weaver, A.              02/09/23 Discussion with S O’Neal regarding                    0.10
                                 bankruptcy procedure.
Weaver, A.              02/09/23 Call with S. Levander re investigation                0.10
                                 strategy.

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NAME                   DATE       DESCRIPTION                                     HOURS
Weaver, A.             02/09/23 Review of daily update on document review.          0.20
Weaver, A.             02/09/23 Correspondence with L Dassin, R Zutshi, A           0.30
                                Saenz and S Levander regarding investigation
                                strategy.
Saenz, A.F.            02/09/23 Meeting with S. Levander, A. Weaver to              0.50
                                discuss strategic next steps regarding
                                regulators productions.
Saenz, A.F.            02/09/23 Meeting with S. Levander re investigation           1.00
                                strategy
Amorim, E.D.           02/09/23 Analysis of DCG affiliate lending/borrowing         0.10
                                spreadsheet.
Amorim, E.D.           02/09/23 Comments on key documents elevated by               0.50
                                document review team.
Larner, S.             02/09/23 Reviewed comments from A. Saenz and R.              0.50
                                Zutshi on indemnification memo research
Larner, S.             02/09/23 Reviewed key documents elevated by PAs              0.90
Larner, S.             02/09/23 Started reviewing cases cited in                    1.00
                                indemnification CLE to examine whether
                                policy proceeds are property of the estate
Larner, S.             02/09/23 Prepared presentation on indemnification            0.50
                                research and key documents in advance of
                                2/9/23 team meeting.
Larner, S.             02/09/23 Meeting with L. Dassin, R. Zutshi, A.               1.50
                                Weaver, S. Levander, A. Lotty, A. Saba, M.
                                Rathi, K. MacAdam, M. Kowiak, and A.
                                Gariboldi to discuss investigation strategy and
                                next steps.
Larner, S.             02/09/23 Compiled key documents from team, put them          0.70
                                in the master chronology, and sent
                                investigation update to A. Saenz for review.
Levander, S.L.         02/09/23 Meeting with L. Dassin, R. Zutshi, A.               1.50
                                Weaver, A. Lotty, A. Saba, M. Rathi, S.
                                Larner, K. MacAdam, M. Kowiak, and A.
                                Gariboldi to discuss investigation strategy and
                                next steps

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NAME                   DATE       DESCRIPTION                                      HOURS
Levander, S.L.         02/09/23 Meeting with L Dassin, R Zutshi, A Weaver            0.50
                                to discuss investigation strategy
Levander, S.L.         02/09/23 Call with A Weaver re investigation strategy         0.10
Levander, S.L.         02/09/23 Meeting with A Saenz re investigation                1.00
                                strategy
Lotty, A.              02/09/23 Meeting with L. Dassin, R. Zutshi, A.                1.50
                                Weaver, S. Levander, A. Saba, M. Rathi, S.
                                Larner, K. MacAdam, M. Kowiak, and A.
                                Gariboldi to discuss investigation strategy and
                                next steps.
Lotty, A.              02/09/23 Document review and related correspondence.          3.00
Lotty, A.              02/09/23 Review and summarize key documents, and              2.00
                                correspondence on same.
MacAdam, K.            02/09/23 Review key documents elevated the week of            1.20
                                2/6.
MacAdam, K.            02/09/23 Review documents flagged as key/interesting.         1.00
MacAdam, K.            02/09/23 Attend meeting with L. Dassin, R. Zutshi, A.         1.50
                                Weaver, S. Levander, A. Lotty, A. Saba, M.
                                Rathi, S. Larner, M. Kowiak, and A.
                                Gariboldi to discuss investigation strategy and
                                next steps.
Rathi, M.              02/09/23 Drafting updated priority search terms               1.10
Rathi, M.              02/09/23 Drafting list of key people to investigation for     0.90
                                partner presentation
Rathi, M.              02/09/23 Correspondence related to key document               0.80
                                summary 2.9.23
Rathi, M.              02/09/23 QC review for project attorneys                      0.40
Rathi, M.              02/09/23 Meeting with L. Dassin, R. Zutshi, A.                1.50
                                Weaver, S. Levander, A. Lotty, A. Saba, S.
                                Larner, K. MacAdam, M. Kowiak, and A.
                                Gariboldi to discuss investigation strategy and
                                next step
Saba, A.               02/09/23 Meeting with L. Dassin, R. Zutshi, A.                1.50
                                Weaver, S. Levander, A. Lotty, M. Rathi, S.
                                Larner, K. MacAdam, M. Kowiak, and A.
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                                   Gariboldi to discuss investigation strategy and
                                   next steps.
Saba, A.                02/09/23 Revised master chron and circulated to team.          0.40
Gariboldi, A.           02/09/23 Prepare materials for enforcement team                0.50
                                 meeting in coordination with M. Kowiak.
Gariboldi, A.           02/09/23 Engage in fact development for investigation.         0.70
Gariboldi, A.           02/09/23 Meeting with L. Dassin, R. Zutshi, A.                 1.50
                                 Weaver, S. Levander, A. Lotty, A. Saba, M.
                                 Rathi, S. Larner, K. MacAdam, M. Kowiak to
                                 discuss investigation strategy and next steps.
Kowiak, M.J.            02/09/23 Review elevated documents for potential               0.80
                                 inclusion in Legal Themes Outline
Kowiak, M.J.            02/09/23 Meeting with L. Dassin, R. Zutshi, A.                 1.50
                                 Weaver, S. Levander, A. Lotty, A. Saba, M.
                                 Rathi, S. Larner, K. MacAdam, and A.
                                 Gariboldi to discuss investigation strategy and
                                 next steps.
Kowiak, M.J.            02/09/23 Correspond with A. Saba, A. Lotty and M.              0.30
                                 Rathi about document review
Kowiak, M.J.            02/09/23 Prepare for meeting with partners and other           0.90
                                 associates
Christian, D.M.         02/09/23 Conduct review for responsive and potential          10.00
                                 key documents.
Levy, J.R.              02/09/23 Coordinate manage data processing and                 1.70
                                 review workflows
Orteza, A.              02/09/23 Project Genome: Review documents for key              5.40
                                 and relevant terms
Guiha, A.               02/09/23 Review documents for responsiveness and               8.00
                                 privilege.
Hurley, R.              02/09/23 review selected documents for responsiveness          2.80
                                 and relevance issues
Wang, B.                02/09/23 Review documents for responsiveness and               5.00
                                 privilege per A. Lotty.
Banks, B.D.             02/09/23 Electronic Document Review.                           8.00

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Cavanagh, J.            02/09/23 Electronic Document Review.                       10.00
Gayle, K.               02/09/23 Electronic Document Review.                        8.00
Han, S.                 02/09/23 Electronic Document Review.                        5.00
Hong, H.S.              02/09/23 Electronic Document Review.                       10.00
Rivas-Marrero, D.       02/09/23 Electronic Document Review.                       11.30
Taylor, W.B.            02/09/23 Electronic Document Review.                        8.00
Wilford, R.N.           02/09/23 Electronic Document Review.                        8.50
Woll, L.                02/09/23 Conduct first level document review.               7.00
Abelev, A.              02/09/23 Download production data from FTP and              0.80
                                 decrypt it on server, load production data in
                                 Concordance and corresponding iPro database
Gallagher, A.           02/09/23 Searched case files per K. MacAdam                 0.30
Milano, L.M.            02/09/23 As per J. Vines, encrypt outgoing production       0.30
                                 volume.
Dassin, L.L.            02/10/23 Video-conference with A. Pretto-Sakmann            1.00
                                 and R. Zutshi regarding status, strategy, and
                                 next steps.
Dassin, L.L.            02/10/23 Communications with R. Zutshi (.7); and Call       1.20
                                 with L. Dassin,A. Weaver, A. Janghorbani, A.
                                 Saenz and S. Levander to discuss
                                 investigation strategy and next steps (.5).
Dassin, L.L.            02/10/23 Analyze materials identified in review for         0.80
                                 follow up.
Zutshi, R.N.            02/10/23 Planning for investigation and                     1.20
                                 communications internally regarding same
                                 (.7); Call with L. Dassin, A. Weaver, A.
                                 Janghorbani, A. Saenz and S. Levander to
                                 discuss investigation strategy and next steps
                                 (.5)
Zutshi, R.N.            02/10/23 Analyze materials from review (.5); Video-         1.50
                                 conference with A. Pretto-Sakmann (Genesis)
                                 and L. Dassin regarding status, strategy, and
                                 next steps (1)
Janghorbani, A.         02/10/23 Correspondence w L Dassin, A Weaver, A             0.50
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                                   Saenz, R Zutshi and S Levander re
                                   enforcement strategy.
Janghorbani, A.         02/10/23 Call with L. Dassin, R. Zutshi, A. Weaver, A.        1.00
                                 Saenz and S. Levander to discuss
                                 investigation strategy and next steps (.5); Call
                                 with S. Levander, A. Saenz and A. Weaver to
                                 discuss investigation strategy and next steps
                                 (.3); prep for same (.2).
Weaver, A.              02/10/23 Call with S. Levander, A. Saenz and A.               0.30
                                 Janghorbani to discuss investigation strategy
                                 and next steps.
Weaver, A.              02/10/23    Call with L Dassin, R Zutshi, A Janghorbani,      0.50
                                   A Saenz and S Levander to discuss
                                   investigation strategy and next steps.
Weaver, A.              02/10/23 Review of study of documents identified              0.50
                                 during document review.
Saenz, A.F.             02/10/23 Review Legal Themes chronology and                   0.50
                                 provide comments to Team on process and
                                 production next steps.
Saenz, A.F.             02/10/23 Correspondence with client regarding                 0.30
                                 intercompany loan term sheets.
Saenz, A.F.             02/10/23 Correspondence with various former                   0.30
                                 represented employees regarding Telegram
                                 collection.
Saenz, A.F.             02/10/23 Correspondence with review team regarding            0.80
                                 specific Telegram collection priorities and
                                 allegations against former employees.
Saenz, A.F.             02/10/23 Call with S. Levander, A. Saba, E. Amorim,           0.50
                                 A. Lotty regarding document review
                                 workstreams and priorities.
Saenz, A.F.             02/10/23 Call to onboard onto investigation sub-matter        0.50
                                 with N. Alegre and S. Levander.
Saenz, A.F.             02/10/23 Call with J. Levy regarding search terms from        0.40
                                 regulator.
Saenz, A.F.             02/10/23 Call with S. Levander, A. Weaver and A.              0.30
                                 Janghorbani to discuss investigation strategy
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NAME                   DATE       DESCRIPTION                                     HOURS
                                  and next steps.
Saenz, A.F.            02/10/23 Call with L Dassin, R Zutshi, A                     0.50
                                Janghorbani,A. Weaver and S Levander to
                                discuss investigation strategy and next steps.
Amorim, E.D.           02/10/23 Email communication with A. Saenz and               0.20
                                associate team regarding investigation and
                                review plan.
Amorim, E.D.           02/10/23 Call with A. Saenz, S. Levander, A. Saba, A.        0.50
                                Lotty re: document review workstreams and
                                priorities.
Larner, S.             02/10/23 Incorporated A. Saenz feedback to daily             0.50
                                investigation update and sent update to
                                partners.
Larner, S.             02/10/23 Conducted research on which D&O policy.             1.50
Larner, S.             02/10/23 Reviewed documents from PA and elevated to          0.70
                                team for investigation update
Levander, S.L.         02/10/23 Call with A. Saenz, A. Saba, E. Amorim, A.          0.50
                                Lotty re: document review workstreams and
                                priorities
Levander, S.L.         02/10/23 Meeting with L Dassin, R Zutshi, A Weaver,          0.50
                                A Janghorbani, A Saenz re investigation
                                strategy
Levander, S.L.         02/10/23 Analysis re strategy and next steps (.7); Call      1.20
                                to onboard onto investigation sub-matter with
                                A. Saenz and N. Alegre (.5)
Levander, S.L.         02/10/23 Analysis re potential liability (.3); Call with     0.60
                                A. Weaver, A. Saenz and A. Janghorbani to
                                discuss investigation strategy and next steps
                                (.3)
Levander, S.L.         02/10/23 Call with L. Dassin, R. Zutshi, A.                  0.50
                                Janghorbani, A. Saenz and A. Weaver to
                                discuss investigation strategy and next steps.
Lotty, A.              02/10/23 Call with J. Levy, J. Vaughan Vines, A. Saba        1.00
                                re: document review processes (.5); Call with
                                A. Saenz,, S. Levander, A. Saba, E. Amorim
                                re: document review workstreams and
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                                 priorities (.5)

Lotty, A.             02/10/23 Draft document review proposal (1); Review         3.60
                               and summarize key documents (2.6).
MacAdam, K.           02/10/23 Attend call with A. Saba, M. Rathi, and M.         0.30
                               Kowiak regarding new project related to
                               matter.
MacAdam, K.           02/10/23 Review documents flagged as key/interesting.       1.70
MacAdam, K.           02/10/23 Revise Telegram collections list.                  0.30
Rathi, M.             02/10/23 Reviewing key documents and drafting               2.70
                               summary (2); correspondence re: the same
                               (.7)
Rathi, M.             02/10/23 Updating key document chronology based on          1.30
                               feedback from A. Saenz
Rathi, M.             02/10/23 Reviewing key document chronology for              1.10
                               specific custodians (1.1)
Rathi, M.             02/10/23 Call with A. Saba, K. MacAdam, and M.              0.40
                               Kowiak regarding new project related to
                               matter
Rathi, M.             02/10/23 Project Attorney QC review                         0.50
Rathi, M.             02/10/23 Locating and summarizing social media              0.60
                               complaints related to investigation
Saba, A.              02/10/23 Call with M. Rathi, K. MacAdam, and M.             0.30
                               Kowiak regarding new project related to
                               matter
Saba, A.              02/10/23 Performed doc review, reviewed master              1.70
                               chron.
Saba, A.              02/10/23 Call with J. Levy, J. Vaughan Vines, A. Lotty      0.50
                               re: document review processes
Saba, A.              02/10/23 Call with A. Saenz, S. Levander, E. Amorim,        0.50
                               A. Lotty re: document review workstreams
                               and priorities
Gariboldi, A.         02/10/23 Engage in fact development for investigation       0.50
                               in coordination with A. Lotty.

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Kowiak, M.J.            02/10/23 Draft email to A. Saenz regarding updates to       0.80
                                 Master Chronology
Kowiak, M.J.            02/10/23 Update Master Chronology document                  1.80
Kowiak, M.J.            02/10/23 Summarize elevated documents for inclusion         1.00
                                 in Master Chronology
Kowiak, M.J.            02/10/23 Complete tasks related to second level             0.80
                                 document review
Kowiak, M.J.            02/10/23 Attend call with A. Saba, M. Rathi, and K.         0.30
                                 MacAdam regarding new project related to
                                 matter
Christian, D.M.         02/10/23 Conduct review for responsive and potential        9.20
                                 key documents.
Levy, J.R.              02/10/23 Call with A. Saenz regarding search terms          0.40
                                 from regulator.
Levy, J.R.              02/10/23 Call on introduction to investigation              0.20
                                 document review process with N. Alegre.
Levy, J.R.              02/10/23 Call with A, Saba, J. Vaughan Vines, A. Lotty      0.70
                                 re: document review processes (.5); prep for
                                 same (.2)
Levy, J.R.              02/10/23 Coordinate data collection and processing          1.00
Orteza, A.              02/10/23 Review documents for key terms                     5.00
Vaughan Vines, J.A.     02/10/23 Call with J. Levy, A. Saba, A. Lotty regarding     0.50
                                 document review processes.
Barreto, B.             02/10/23 First-level review of investigation documents.     4.30
Guiha, A.               02/10/23 Review documents for responsiveness and            7.50
                                 privilege.
Hurley, R.              02/10/23 review selected documents for responsiveness       2.00
                                 and relevance issues
Wang, B.                02/10/23 Review documents for responsiveness and            4.00
                                 privilege per A. Lotty.
Banks, B.D.             02/10/23 Electronic Document Review.                        8.00
Cavanagh, J.            02/10/23 Electronic Document Review.                        9.00
Gayle, K.               02/10/23 Electronic Document Review.                        8.00
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Han, S.               02/10/23 Electronic Document Review.                         6.00
Hong, H.S.            02/10/23 Electronic Document Review.                        10.00
Rivas-Marrero, D.     02/10/23 Electronic Document Review.                         6.50
Taylor, W.B.          02/10/23 Electronic Document Review.                         8.00
Wilford, R.N.         02/10/23 Electronic Document Review.                         6.80
Woll, L.              02/10/23 Conduct first level document review.                5.30
Gallagher, A.         02/10/23 Cross referenced custodian chart per E.             1.50
                               Amorim
Saran, S.             02/10/23 Updated team listserv and case access per A.        0.50
                               Saenz
Larner, S.            02/11/23 Researched D&O policy issues.                       3.20
Rathi, M.             02/11/23 Reviewing key document chronology for               1.00
                               individual custodian
Dassin, L.L.          02/12/23 Call with R. Zutshi, A. Weaver, and L.              0.40
                               Levander regarding internal investigation and
                               next steps.
Dassin, L.L.          02/12/23 Analyze materials regarding internal                0.80
                               investigation follow up.
Zutshi, R.N.          02/12/23 Analyze materials                                   2.00
Zutshi, R.N.          02/12/23 Call with L. Dassin, A. Weaver and S.               1.40
                               Levander regarding investigation strategy (.4);
                               Call with L. Dassin, S. O'Neal, A. Weaver
                               and S. Levander re regulatory and enticement
                               issues (1)
Weaver, A.            02/12/23 Call with L Dassin, R Zutshi and S Levander         0.40
                               regarding investigation strategy.
Weaver, A.            02/12/23 Correspondence with A Saenz and S                   0.60
                               Levander regarding investigation strategy and
                               work streams.
Saenz, A.F.           02/12/23 Review escalated documents, provide                 1.00
                               comments to review team.
Saenz, A.F.           02/12/23 Correspondence regarding strategy discussion        0.80
                               with A. Weaver, S. Levander.
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Larner, S.            02/12/23 Researched lifting of automatic stay and            4.00
                               drafted memo section
Larner, S.            02/12/23 Researched ipto facto clause and started            2.80
                               outlining section
Larner, S.            02/12/23 Conducted SLR of project attorney key               2.80
                               documents
Lotty, A.             02/12/23 Review internal communications re:                  0.40
                               investigation.
MacAdam, K.           02/12/23 Review documents flagged as key/interesting.        1.30
Rathi, M.             02/12/23 Reviewing chronology for issues related to          1.20
                               key custodians
Rathi, M.             02/12/23 Revising Key Document chronology                    0.10
Kowiak, M.J.          02/12/23 Implement A. Saenz edits to Master                  1.30
                               Chronology
Kowiak, M.J.          02/12/23 Prepare email to partners regarding Master          0.30
                               Chronology
Dassin, L.L.          02/13/23 Analyze materials for investigation.                1.00
Dassin, L.L.          02/13/23 Communications with R. Zutshi, A. Weaver,           0.80
                               and CGSH team regarding strategy and next
                               steps.
O'Neal, S.A.          02/13/23 Discussion with litigators re balance sheet and     0.40
                               investigation issues (.4)
Zutshi, R.N.          02/13/23 Analyze materials identified in review (1.1);       1.40
                               Attend meeting with K. MacAdam and
                               counsel for former employee to discuss
                               communications collection (.3)
Zutshi, R.N.          02/13/23 Communications internally and with third            1.60
                               parties regarding data collection and
                               production issues.
Weaver, A.            02/13/23 Work to organize work product for                   1.00
                               investigation and presentation to the Special
                               Committee.
Weaver, A.            02/13/23 Review of documents and materials identified        0.70
                               during the investigation.
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Saenz, A.F.           02/13/23 Prepare next steps for alignment on                 0.40
                               workstreams.
Saenz, A.F.           02/13/23 Call with A Weaver, S. Levander re                  0.50
                               investigation strategy and next steps
Saenz, A.F.           02/13/23 Draft outline, identify key players and             3.00
                               drafting areas.
Saenz, A.F.           02/13/23 Review Special Committee talking points,            1.30
                               provide comments to S. Larner.
Saenz, A.F.           02/13/23 Correspondence with client regarding                0.70
                               Telegram. Correspondence with represented
                               former employees regarding same.
Alegre, N.            02/13/23 Review master chronology for matter                 2.30
                               onboarding as of 2/13.
Amorim, E.D.          02/13/23 Call with S. Larner to discuss updates to draft     0.40
                               presentation to the Special Committee
                               meeting.
Amorim, E.D.          02/13/23 Call with N. Alegre, A. Lotty, A. Saba, J.          0.70
                               Vaughan Vines, J. Levy, A. Saenz, S.
                               Levander re: document review priorities.
Amorim, E.D.          02/13/23 Comments on review plan for priority time           0.20
                               frame.
Amorim, E.D.          02/13/23 Revise summary of key telegram                      0.30
                               communications raised by review team.
Amorim, E.D.          02/13/23 Revise draft memo on DGC debt.                      0.20
Amorim, E.D.          02/13/23 Email communication with J. Levy and J. V.          0.30
                               Vines regarding document review status and
                               privilege issues.
Larner, S.            02/13/23 Call with E. Amorim to discuss updates to           0.40
                               draft presentation to the Special Committee
                               meeting
Larner, S.            02/13/23 Revised special committee talking points and        2.20
                               circulated to partners
Larner, S.            02/13/23 Reviewed key documents, summarized them,            0.70
                               and elevated to team

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Larner, S.             02/13/23 Conducted second level review of documents         1.00
                                marked "key" by project attorneys.
Levander, S.L.         02/13/23 Call with A Weaver, A Saenz re investigation       0.50
                                strategy and next steps
Levander, S.L.         02/13/23 Analysis re investigation key documents            1.20
Lotty, A.              02/13/23 Analyze and summarize communications               6.70
                                related to internal investigation issue (3);
                                Internal correspondence re: document review
                                processes (1.7); Review and summarize key
                                documents (2).
MacAdam, K.            02/13/23 Liability analysis.                                0.60
MacAdam, K.            02/13/23 Review documents flagged as key/interesting.       3.40
MacAdam, K.            02/13/23 Attend meeting with R. Zitshi and counsel for      0.30
                                former employee to discuss communications
                                collection.
Minott, R.             02/13/23 D&Os policy research                               0.70
Rathi, M.              02/13/23 Revising key document chronology with              2.20
                                documents identified on 2/13/2023
Rathi, M.              02/13/23 2.4 - Reviewing key documents and drafting         3.30
                                summary; .9 - related correspondence with
                                Project Attorneys, A. Saba.
Rathi, M.              02/13/23 Reviewing chronology for key custodian             1.10
                                issues
Rathi, M.              02/13/23 Drafting chronology for key custodian              2.20
Saba, A.               02/13/23 Corresponded with team re: liability analysis.     0.70
Saba, A.               02/13/23 Performed doc review of key docs.                  1.10
Saba, A.               02/13/23 Corresponded with team re: various document        0.50
                                review process issues.
Gariboldi, A.          02/13/23 Engage in fact development for internal            1.70
                                investigation in coordination with S. Larner.
Gariboldi, A.          02/13/23 Engage in fact development for internal            1.00
                                investigation in coordination with M. Rathi.
Hatch, M.              02/13/23 Compiled D&O Policies for R. Zutshi (0.5)          0.50
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Kowiak, M.J.          02/13/23 Review elevated document for inclusion into        2.20
                               Master Chronology
Kowiak, M.J.          02/13/23 Review Master Chronology to conduct                4.70
                               liability analysis
Levy, J.R.            02/13/23 Coordinate data processing and analytics           2.00
Orteza, A.            02/13/23 Project Genome: Analyze documents for key          6.50
                               terms
Orteza, A.            02/13/23 Project Genome: Prepare summary of                 0.50
                               documents of interest for M. Rathi
Vaughan Vines, J.A.   02/13/23 Analyze risk document per request by A.            0.30
                               Lotty.
Barreto, B.           02/13/23 First-level review of investigation documents.     7.80
Guiha, A.             02/13/23 Review documents for responsiveness and            7.50
                               privilege.
Hurley, R.            02/13/23 review selected documents for responsiveness       7.30
                               and relevance issues
Wang, B.              02/13/23 Review documents for responsiveness and            0.30
                               privilege per A. Lotty.
Wang, B.              02/13/23 Review documents for responsiveness and            5.50
                               privilege per A. Lotty.
Banks, B.D.           02/13/23 Electronic Document Review.                        8.00
Cavanagh, J.          02/13/23 Electronic Document Review.                       10.00
Gayle, K.             02/13/23 Electronic Document Review.                        8.00
Han, S.               02/13/23 Electronic Document Review.                        3.50
Hong, H.S.            02/13/23 Electronic Document Review.                       10.00
Rivas-Marrero, D.     02/13/23 Electronic Document Review.                       10.50
Taylor, W.B.          02/13/23 Electronic Document Review.                        8.00
Wilford, R.N.         02/13/23 Electronic Document Review.                        8.30
Woll, L.              02/13/23 Conduct first level document review.               8.00
Lashay, V.            02/13/23 Production data decryption and network             0.30
                               transfer

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Saran, S.             02/13/23 Adding talking points to Communications            1.00
                               Log per A. Gariboldi
Dassin, L.L.          02/14/23 Analyze materials for investigation and follow     2.80
                               up.
Dassin, L.L.          02/14/23 Communications with R. Zutshi, A. Weaver,          1.60
                               and CGSH team regarding investigation
                               strategy and next steps (.6); Call with A.
                               Saenz, R. Zutshi, A. Weaver regarding
                               investigation workstream strategy (1).
Zutshi, R.N.          02/14/23 Analyze materials identified in review (1.1);      2.10
                               Call with L. Dassin, A. Saenz, A. Weaver
                               regarding investigation workstream strategy
                               (1)
Weaver, A.            02/14/23 Call with A. Saenz, R. Zutshi, L. Dassin           1.00
                               regarding investigation workstream strategy
                               (1)
Weaver, A.            02/14/23 Meeting with A. Saenz, S. Levander, E.             0.80
                               Amorim, A. Lotty, A. Saba, N. Alegre, D.
                               Christian, M. Rathi, K. MacAdam, S. Larner,
                               M. Kowiak, and A. Gariboldi to discuss
                               investigation.
Weaver, A.            02/14/23 Collection of materials to be used in creating     0.50
                               investigation.
Weaver, A.            02/14/23 Correspondence with L Dassin, R Zutshi, A          0.10
                               Janghorbani, A Saenz and S Levander
                               regarding the UCC.
Weaver, A.            02/14/23 Discussion with S O’Neal regarding                 0.10
                               investigation and next steps.
Weaver, A.            02/14/23 Correspondence with L Dassin, A Saenz and          0.40
                               S Levander regarding materials to be used in
                               creating investigation interim presentation.
Weaver, A.            02/14/23 Study of documents identified during               0.60
                               document review.
Weaver, A.            02/14/23 Work to strategize for next steps in               1.10
                               investigation.
Weaver, A.            02/14/23 Attend meeting with A. Lotty regarding             0.30
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NAME                  DATE      DESCRIPTION                                      HOURS
                                review updates
Weaver, A.            02/14/23 Correspondence with L Dassin, R Zutshi, A           0.30
                               Janghorbani, A Saenz and S Levander
                               regarding upcoming call with authorities.
Saenz, A.F.           02/14/23 Review key documents escalated by review            1.50
                               team, provide comments to Legal Issues
                               Chron.
Saenz, A.F.           02/14/23 Call with L. Dassin, R. Zutshi, A. Weaver           1.00
                               regarding investigation workstream strategy.
Saenz, A.F.           02/14/23 Call with M. Rathi regarding document               0.10
                               review protocol.
Saenz, A.F.           02/14/23 Call with S. Levander to discuss investigation      0.50
                               workstreams.
Saenz, A.F.           02/14/23 Meeting with A. Weaver, S. Levander, E.             0.80
                               Amorim, A. Lotty, A. Saba, N. Alegre, M.
                               Rathi, K. MacAdam, D. Christian, S. Larner,
                               M. Kowiak, and A. Gariboldi to discuss
                               investigation.
Alegre, N.            02/14/23 Review master chronology for matter                 0.50
                               onboarding as of 2/14.
Alegre, N.            02/14/23 Revise (0.8) and circulate (0.2) guidance on        1.00
                               common interest privilege for reviewers.
Alegre, N.            02/14/23 Meeting with A. Weaver, A. Saenz, D.                0.70
                               Christian, S. Levander, E. Amorim, A. Lotty,
                               A. Saba, M. Rathi, K. MacAdam, M. Kowiak,
                               S. Larner, and A. Gariboldi to discuss internal
                               investigation interim presentation.
Amorim, E.D.          02/14/23 Attend meeting with A. Weaver, A. Saenz, S.         0.80
                               Levander, K. MacAdam, A. Lotty, A. Saba,
                               D. Christian, N. Alegre, S. Larner, M. Rathi,
                               M. Kowiak, and A. Gariboldi to discuss
                               investigation.
Larner, S.            02/14/23 Revised indemnification memo (1.5); Attend          2.30
                               meeting with A. Weaver, A. Saenz, S.
                               Levander, E. Amorim, A. Lotty, D. Christian,
                               A. Saba, N. Alegre, L. MacAdam, M. Rathi,

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NAME                   DATE       DESCRIPTION                                     HOURS
                                  M. Kowiak, and A. Gariboldi to discuss
                                  investigation (.8).
Levander, S.L.         02/14/23 Meeting with A. Weaver, A. Saenz, E.                0.80
                                Amorim, A. Lotty, A. Saba, N. Alegre, M.
                                Rathi, D. Christian, K. MacAdam, M.
                                Kowiak, S. Larner, and A. Gariboldi
                                to discuss investigation interim presentation.
Levander, S.L.         02/14/23 Analysis re interim presentation to Special         1.80
                                Committee (1); Call with A. Weaver to
                                discuss interim presentation (.3); Call with A.
                                Saenz to discuss investigation workstreams
                                (.5)
Lotty, A.              02/14/23 Attend meeting with A. Orteza regarding             0.50
                                review updates
Lotty, A.              02/14/23 Prep for review team meeting (.5).                  7.00
                                Correspondence re: document review and
                                investigation prep (2). Review and summarize
                                key documents (4.5).
Lotty, A.              02/14/23 Meeting with A. Weaver, A. Saenz, S.                0.70
                                Levander, E. Amorim, A. Saba, N. Alegre,
                                M. Rathi, K. MacAdam, D. Christian, S.
                                Larner, M. Kowiak, and A. Gariboldi to
                                discuss investigation.
MacAdam, K.            02/14/23 Attend meeting with A. Weaver, A. Saenz, S.         0.70
                                Levander, E. Amorim, A. Lotty, A. Saba, D.
                                Christian, N. Alegre, S. Larner, M. Rathi, M.
                                Kowiak, and A. Gariboldi to discuss
                                investigation
MacAdam, K.            02/14/23 Liability analysis.                                 2.80
MacAdam, K.            02/14/23 Review documents flagged as key/interesting.        2.00
Rathi, M.              02/14/23 Revisions to key document chronology                1.10
Rathi, M.              02/14/23 drafting individual liability chronology (1.4);     1.90
                                related correspondence (.5)
Rathi, M.              02/14/23 Call with A. Saenz re: document review              0.10
                                protocol
Rathi, M.              02/14/23 Reviewing key documents (.2); related               0.40
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NAME                  DATE       DESCRIPTION                                    HOURS
                                 correspondence (.2)
Rathi, M.             02/14/23 Outlining presentation (1); correspondence re:     1.20
                               materials for the same (.2)
Rathi, M.             02/14/23 Meeting with A. Weaver, A. Saenz, S.               0.80
                               Levander, E. Amorim, A.
                               Lotty, A. Saba, N. Alegre, D. Christian, K.
                               MacAdam, M. Kowiak, S. Larner, and A.
                               Gariboldi to discuss investigation
Saba, A.              02/14/23 Meeting with A. Weaver, A. Saenz, S.               0.70
                               Levander, E. Amorim, A. Lotty, N. Alegre,
                               M. Rathi, D. Christian, K. MacAdam, S.
                               Larner, M. Kowiak, and A. Gariboldi to
                               discuss investigation.
Saba, A.              02/14/23 Revised chronology of Genesis employee             1.60
                               comms.
Gariboldi, A.         02/14/23 Meeting with A. Weaver, A. Saenz, S.               0.80
                               Levander, E. Amorim, A. Lotty, A. Saba, N.
                               Alegre, D. Christian, M. Rathi, K. MacAdam,
                               S. Larner, and M. Kowiak, to discuss
                               investigation.
Gariboldi, A.         02/14/23 Engage in fact development for investigation       0.70
                               in coordination with M. Kowiak.
Gariboldi, A.         02/14/23 Engage in fact development for investigation       0.40
                               with M. Guiha.
Kowiak, M.J.          02/14/23 Implement A. Saba's revisions to analysis of       0.30
                               liability
Kowiak, M.J.          02/14/23 Conduct second level document review               2.30
Kowiak, M.J.          02/14/23 Meeting with A. Weaver, A. Saenz, D.               0.70
                               Christian, S. Levander, E. Amorim, A. Lotty,
                               A. Saba, N. Alegre, M. Rathi, K. MacAdam,
                               S. Larner, and A. Gariboldi to discuss
                               investigation
Kowiak, M.J.          02/14/23 Prepare email to A. Saba regarding liability       0.20
                               analysis
Kowiak, M.J.          02/14/23 Draft summary of liability analysis                3.80

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NAME                    DATE       DESCRIPTION                                    HOURS
Kowiak, M.J.            02/14/23 Prepare draft of PowerPoint containing             0.40
                                 example documents for meeting with
                                 document review attorneys
Christian, D.M.         02/14/23 Partial Meeting with A. Weaver, A. Saenz, S.       0.70
                                 Levander, E. Amorim, A. Saba, N. Alegre,
                                 M. Rathi, K. MacAdam, A. Saba, S. Larner,
                                 M. Kowiak, and A. Gariboldi to discuss
                                 investigation.
Orteza, A.              02/14/23 Project Genesis: Review priority documents         3.50
                                 for relevance, key and privilege
Orteza, A.              02/14/23 Project Genesis; Attend meeting with A. Lotty      0.50
                                 regarding review updates
Barreto, B.             02/14/23 First-level review of investigation documents.     0.80
Guiha, A.               02/14/23 Participate in document review team meeting.       0.50
Guiha, A.               02/14/23 Review documents for responsiveness and            7.50
                                 privilege.
Hurley, R.              02/14/23 participate in review team meeting                 0.50
Hurley, R.              02/14/23 review selected documents for responsiveness       3.80
                                 and relevance issues
Wang, B.                02/14/23 Review documents for responsiveness and            4.50
                                 privilege per A. Lotty.
Wang, B.                02/14/23 Attend "Reviewing Attorneys Team Meeting"          0.50
                                 video call with A. Saba, A Lotty, J Levy, J.
                                 Vaughn Vines and M. Kowiak.
Banks, B.D.             02/14/23 Electronic Document Review.                        8.00
Cavanagh, J.            02/14/23 Electronic Document Review.                       10.00
Gayle, K.               02/14/23 Electronic Document Review.                        8.00
Han, S.                 02/14/23 Electronic Document Review.                        8.00
Hong, H.S.              02/14/23 Electronic Document Review.                       10.00
Rivas-Marrero, D.       02/14/23 Electronic Document Review.                       11.00
Taylor, W.B.            02/14/23 Electronic Document Review.                        8.00
Wilford, R.N.           02/14/23 Electronic Document Review.                        8.80

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NAME                    DATE       DESCRIPTION                                    HOURS
Woll, L.                02/14/23 Conduct first level document review.               6.00
Adubofour, A.           02/14/23 Prepare production letter per E. Amorim            0.80
Gallagher, A.           02/14/23 Finalized Production Cover Letter per A.           0.30
                                 Gariboldi
Lang, P.W.              02/14/23 Application of security protocol to ESI with       0.50
                                 ESI transfer to external media for production.
Dassin, L.L.            02/15/23 Analyze materials for internal investigation       1.70
                                 and follow up.
Dassin, L.L.            02/15/23 Communications with R. Zutshi, A. Weaver,          2.80
                                 and CGSH team regarding internal
                                 investigation strategy and next steps.
Dassin, L.L.            02/15/23 Call with J. Polkes (Weil), counsel for DCG.       0.30
Dassin, L.L.            02/15/23 Meeting with S. Levander, R Zutshi, A Saenz        0.80
                                 re investigation
Dassin, L.L.            02/15/23 Meeting with A. Saenz, R. Zutshi, A. Weaver        1.00
                                 and S. Levander to discuss outline of final
                                 presentation
Zutshi, R.N.            02/15/23 Meeting with L. Dassin, A. Saenz, A. Weaver        1.00
                                 and S. Levander to discuss outline of final
                                 presentation
Zutshi, R.N.            02/15/23 Meeting with L Dassin, S. Levander, A Saenz        0.80
                                 re investigation.
Zutshi, R.N.            02/15/23 Planning for special committee and                 2.10
                                 communications regarding same internally.
Zutshi, R.N.            02/15/23 Analyze materials identified in review             1.10
Janghorbani, A.         02/15/23 Call w regulator staff re subpoena response.       0.50
Janghorbani, A.         02/15/23 Reviewed summary of elevated documents.            0.50
Weaver, A.              02/15/23 Meeting with L. Dassin, R. Zutshi, A. Saenz        1.00
                                 and S. Levander to discuss outline of final
                                 presentation
Weaver, A.              02/15/23 Review of materials identified during              1.10
                                 document review.
Saenz, A.F.             02/15/23 Review escalated legal issues documents,           0.50
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NAME                  DATE       DESCRIPTION                                    HOURS
                                 provide comments to Team.
Saenz, A.F.           02/15/23 Meeting with E. Morrow, and B. Richey              0.60
                               regarding matter onboarding.
Saenz, A.F.           02/15/23 Outreach to R. Zutshi regarding Telegram           0.50
                               collection.
Saenz, A.F.           02/15/23 Meeting with L. Dassin, R. Zutshi, A. Weaver       1.00
                               and S. Levander to discuss outline of final
                               presentation.
Saenz, A.F.           02/15/23 Review key docs summary, provide                   0.50
                               comments to team.
Saenz, A.F.           02/15/23 Meeting with L Dassin, R Zutshi, S. Levander       0.80
                               re investigation.
Alegre, N.            02/15/23 Correspond on coordination for document            0.50
                               review and staffing.
Alegre, N.            02/15/23 Review master chronology for matter                1.70
                               onboarding as of 2/15.
Alegre, N.            02/15/23 Select key documents re. Intercompany loan.        2.00
Alegre, N.            02/15/23 Revise key docs re. intercompany loans.            1.50
Alegre, N.            02/15/23 Provide feedback on outline re. intercompany       1.50
                               loans sections.
Alegre, N.            02/15/23 Call with M. Rathi re: presentation to special     0.70
                               committee.
Amorim, E.D.          02/15/23 Call with K. MacAdam regarding outline             0.20
                               drafting
Amorim, E.D.          02/15/23 Email communication with A. Saenz, J.V.            0.30
                               Vines and J. Levy regarding planning of
                               second level review and privilege review.
Amorim, E.D.          02/15/23 Email communication with A. Weaver and M.          0.10
                               Rathi regarding key document elevated by
                               reviewers.
Amorim, E.D.          02/15/23 Comments on key documents elevated by              1.30
                               reviewers and respective summaries.
Amorim, E.D.          02/15/23 Revised and selected documents in                  1.00
                               preparation for presentation to special
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NAME                   DATE       DESCRIPTION                                   HOURS
                                  committee.
Larner, S.             02/15/23 Call with M. Rathi re: investigation               0.50
Larner, S.             02/15/23 Attend meeting with K. MacAdam and M.              0.10
                                Kowiak regarding investigation
Larner, S.             02/15/23 Drafted the Special Committee walkthrough,         2.90
                                created a .zip of key documents, and sent to
                                A. Saenz for review
Levander, S.L.         02/15/23 Attend call with A. Saba (partial), M. Rathi,      1.00
                                K. MacAdam, M. Kowiak regarding liability
                                analysis
Levander, S.L.         02/15/23 Meeting with L Dassin, R Zutshi, A Saenz re        0.80
                                investigation
Levander, S.L.         02/15/23 Analysis re elevated documents                     1.20
Levander, S.L.         02/15/23 Revised liability analysis                         1.50
Levander, S.L.         02/15/23 Analysis re financial statements                   0.30
Levander, S.L.         02/15/23 Meeting with L. Dassin, R. Zutshi, A. Weaver       1.00
                                and A. Saenz to discuss outline of final
                                presentation.
Levander, S.L.         02/15/23 Call with A. Lotty re: investigation.              0.20
Lotty, A.              02/15/23 Revise investigation case chronology (1.5);       10.00
                                Investigation related document review and
                                analysis (7); Team correspondence re:
                                document review and investigation matters
                                (1.5)
Lotty, A.              02/15/23 Attend video call with A. Saba (partial), A.       0.40
                                Gariboldi, and M. Kowiak regarding
                                investigation next steps.
Lotty, A.              02/15/23 Call with S. Levander re: investigation            0.20
MacAdam, K.            02/15/23 Revise talking points for discussion with          0.60
                                regulator.
MacAdam, K.            02/15/23 Attend call with S. Levander, A. Saba              1.00
                                (partial), M. Rathi, M. Kowiak. regarding
                                liability analysis, other topics.
MacAdam, K.            02/15/23 Attend meeting with S. Larner and M.               0.10
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                                Kowiak regarding investigation.
MacAdam, K.           02/15/23 Attend meeting with E. Amorim to regarding        0.20
                               outline drafting.
MacAdam, K.           02/15/23 Prepare chronology for November.                  2.50
MacAdam, K.           02/15/23 Perform second level/privilege document           1.50
                               review.
Morrow, E.S.          02/15/23 Meeting with A. Saenz and B. Richey               0.60
                               regarding matter onboarding
Morrow, E.S.          02/15/23 Review Genesis onboarding documents and           2.10
                               prep for meeting with A. Saenz
Rathi, M.             02/15/23 Summarizing key documents for investigation       1.80
                               chronology
Rathi, M.             02/15/23 Correspondence related to 2LR                     0.40
Rathi, M.             02/15/23 Call with N. Alegre re: investigation             0.70
Rathi, M.             02/15/23 Draft work product re investigation (5.8);        6.40
                               related correspondence with S. Larner, N.
                               Alegre (.6)
Rathi, M.             02/15/23 Call with S. Larner re: investigation             0.50
Rathi, M.             02/15/23 Compiling materials related to GBTC for           0.50
                               investigation for A. Saba
Rathi, M.             02/15/23 Attend call with S. Levander, A. Saba             1.00
                               (partial), K. MacAdam, M. Kowiak regarding
                               liability analysis, other topics.
Richey, B.            02/15/23 Meeting with A. Saenz, E. Morrow regarding        2.50
                               matter onboarding (.6); review of key
                               documents for background on investigation
                               (1.9).
Saba, A.              02/15/23 Began drafting outline of special committee       1.00
                               presentation.
Saba, A.              02/15/23 Prepared for meeting with team re: special        0.50
                               committee presentation.
Saba, A.              02/15/23 Performed document review of employee             0.60
                               communications.

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Saba, A.              02/15/23 Performed doc review for liability analysis.       3.00
Saba, A.              02/15/23 Revised liability analysis following comments      2.50
                               from S. Levander (2); Attend call with S.
                               Levander, K. MacAdam, M. Rathi, M.
                               Kowiak regarding liability analysis, other
                               topics (.5) (partial attendance).
Saba, A.              02/15/23 Attend video call with A. Lotty, A. Gariboldi,     0.30
                               and M. Kowiak regarding investigation next
                               steps (partial attendance).
Gariboldi, A.         02/15/23 Engage in second level fact development for        3.00
                               investigation.
Gariboldi, A.         02/15/23 Engage in fact development for investigation       1.50
                               in coordination with A. Saenz.
Gariboldi, A.         02/15/23 Attend video call with A. Saba (partial), A.       0.40
                               Lotty, and M. Kowiak regarding investigation
                               next steps.
Kowiak, M.J.          02/15/23 Attend video call with A. Saba (partial), A.       0.40
                               Lotty, and A. Gariboldi regarding
                               investigation next steps
Kowiak, M.J.          02/15/23 Conduct second level document review               2.20
Kowiak, M.J.          02/15/23 Attend call with S. Levander, A. Saba              1.00
                               (partial), M. Rathi, K. MacAdam regarding
                               liability analysis, other topics
Kowiak, M.J.          02/15/23 Attend meeting with K. MacAdam, S. Larner          0.10
                               regarding investigation
Kowiak, M.J.          02/15/23 Prepare email regarding results of second          0.40
                               level document review
Kowiak, M.J.          02/15/23 Review key documents related to sub-topic of       1.00
                               special committee presentation.
Levy, J.R.            02/15/23 Coordinate data collections and processing         0.80
Orteza, A.            02/15/23 Project Genome: Review documents for               3.00
                               relevance, privilege and key terms
Barreto, B.           02/15/23 First-level review of investigation documents.     6.00
Guiha, A.             02/15/23 Review documents for responsiveness and            7.30

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NAME                    DATE       DESCRIPTION                                    HOURS
                                   privilege.
Hurley, R.              02/15/23 review selected documents for responsiveness       1.80
                                 and relevance issues
Wang, B.                02/15/23 Review documents for responsiveness and            4.90
                                 privilege per A. Lotty.
Banks, B.D.             02/15/23 Electronic Document Review.                        8.00
Cavanagh, J.            02/15/23 Electronic Document Review.                       10.00
Gayle, K.               02/15/23 Electronic Document Review.                        8.00
Han, S.                 02/15/23 Electronic Document Review.                        8.00
Hong, H.S.              02/15/23 Electronic Document Review.                       10.00
Rivas-Marrero, D.       02/15/23 Electronic Document Review.                       11.00
Taylor, W.B.            02/15/23 Electronic Document Review.                        8.00
Wilford, R.N.           02/15/23 Electronic Document Review.                        7.80
Woll, L.                02/15/23 Conduct first level document review.               3.50
Gallagher, A.           02/15/23 Coordinated case file access per A. Saenz          0.10
Milano, L.M.            02/15/23 As per J. Levy, download production data           0.30
                                 from FTP transfer site.
Saran, S.               02/15/23 Created Key Documents Master Chron per A.          2.50
                                 Lotty
Dassin, L.L.            02/16/23 Outline issues for follow up with Special          0.80
                                 Committee.
Dassin, L.L.            02/16/23 Analyse materials for investigation and follow     2.20
                                 up.
Dassin, L.L.            02/16/23 Communications with R. Zutshi, A. Weaver,          0.50
                                 and CGSH team regarding investigation
                                 strategy and next steps.
Zutshi, R.N.            02/16/23 Planning for special committee and                 3.10
                                 communications regarding same internally.
Zutshi, R.N.            02/16/23 Communications with Special Committee              0.50
                                 regarding investigation.
Janghorbani, A.         02/16/23 Attend to elevated documents                       1.00

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NAME                  DATE       DESCRIPTION                                   HOURS
Weaver, A.            02/16/23 Review of materials identified during              0.80
                               document review.
Weaver, A.            02/16/23 Correspondence with A Saenz and S                  0.30
                               Levander regarding interim presentation and
                               conference with S O’Neal.
Saenz, A.F.           02/16/23 Provide comments to S. Larner regarding            0.20
                               Special Committee TPs.
Saenz, A.F.           02/16/23 Telegram collection for N. Getahun.                0.40
Saenz, A.F.           02/16/23 Meeting with M. Leibold, S. Levander, M.           0.90
                               Cinnamon to discuss matter status (partial
                               attendance)
Saenz, A.F.           02/16/23 Draft outline for presentation to Special          1.00
                               Committee, introductory sections and legal
                               framework.
Saenz, A.F.           02/16/23 Review key docs escalation set, provide            0.80
                               comments to team.
Alegre, N.            02/16/23 Meeting with A. Saba, E. Morrow, B. Richey,        0.60
                               and A. Lotty re: investigation onboarding.
Alegre, N.            02/16/23 Meeting with M. Rathi to discuss Special           0.80
                               Committee outline drafting.
Alegre, N.            02/16/23 Draft subsections for Special Committee            5.00
                               presentation.
Cinnamon, M.          02/16/23 Meet with A. Saenz (partial), S. Levander          1.00
                               (partial), M. Leibold re matter background
                               and workstreams.
Cinnamon, M.          02/16/23 Reviewing onboarding and case background           2.10
                               materials.
Larner, S.            02/16/23 Revised and sent updated SC walkthrough to         0.30
                               R. Zutshi
Larner, S.            02/16/23 Reviewed master chronology for outline             2.50
                               section on November 2022 transactions
Leibold, M.A.         02/16/23 Review document review protocol and                4.00
                               subpoenas (3.0}; Meet with A. Saenz
                               (partial), S. Levander (partial), M. Cinnamon
                               re matter background and workstreams. (1.0).
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Levander, S.L.         02/16/23 Meet with A. Saenz (partial), M. Leibold, M.       0.50
                                Cinnamon re matter background and
                                workstreams (partial attendance).
Levander, S.L.         02/16/23 Strategic analysis re next steps                   1.40
Lotty, A.              02/16/23 Meeting with A. Saba, N. Alegre, B. Richey,        0.60
                                E. Morrow re: investigation onboarding.
Lotty, A.              02/16/23 Review and revise master investigation             8.30
                                chronology (2.3); Team correspondence re:
                                document review (1); Draft outline for special
                                committee presentation (5).
Lotty, A.              02/16/23 Correspondence re: documents for special           0.30
                                committee meeting.
MacAdam, K.            02/16/23 Draft section of investigation outline.            2.60
Morrow, E.S.           02/16/23 Meeting with A. Saba, N. Alegre, B. Richey,        0.60
                                A. Lotty re: investigation onboarding (0.6)
Morrow, E.S.           02/16/23 Conference call with A. Goldberg and N.            0.40
                                Mohebbi (Latham), R. Zutshi, J. Van Lare, A.
                                Saba, and E. Morrow (Cleary) re: bankruptcy
                                litigation (0.4)
Morrow, E.S.           02/16/23 Review materials provided by A. Saba re:           2.20
                                bankruptcy litigation related to investigation
Morrow, E.S.           02/16/23 Review email summary and key documents in          0.70
                                investigation document review
Morrow, E.S.           02/16/23 Phone call with A. Saba regarding bankruptcy       0.30
                                litigation related to investigation (0.3)
Rathi, M.              02/16/23 Drafting work product re investigation (7.6);      8.20
                                correspondence with N. Alegre and S. Larner
                                re: the same (.6)
Rathi, M.              02/16/23 Attention to summary of investigation (1.7);       2.00
                                Call with S. Larner re: the same (.3)
Rathi, M.              02/16/23 Call with N. Alegre to discuss Special             0.80
                                Committee outline drafting.
Rathi, M.              02/16/23 summarizing key documents (1.5); related           1.80
                                correspondence with project attorneys (.3)

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Rathi, M.             02/16/23 Reviewing summary of 2LR review (.2);               0.50
                               research related to Grayscale question (.3)
Richey, B.            02/16/23 Meeting with A. Saba, N. Alegre, E. Morrow,         2.00
                               A. Lotty re: investigation onboarding (.6);
                               correspondence re: investigation document
                               review (.4); review of document review
                               protocol (1).
Saba, A.              02/16/23 Performed doc review of updated chronology.         1.30
Saba, A.              02/16/23 Meeting with N. Alegre, E. Morrow, B.               0.60
                               Richey, A. Lotty re: investigation onboarding.
Saba, A.              02/16/23 Phone call with E. Morrow regarding                 0.30
                               bankruptcy litigation related to investigation.
Saba, A.              02/16/23 Drafted and revised special committee               2.50
                               presentation.
Gariboldi, A.         02/16/23 Engage in fact development for investigation.       2.30
Kowiak, M.J.          02/16/23 Prepare email to A. Saenz summarizing               1.00
                               second level document review results
Kowiak, M.J.          02/16/23 Develop section of draft presentation for           2.60
                               investigation.
Kowiak, M.J.          02/16/23 Summarize documents for inclusion in Master         0.20
                               Chronology
Kowiak, M.J.          02/16/23 Continue work on draft talking points for           2.30
                               transactions during specific time period
Kowiak, M.J.          02/16/23 Incorporate revisions to draft of email to A.       0.50
                               Saenz
Kowiak, M.J.          02/16/23 Develop master chronology document                  1.90
                               summaries, the key documents
Kowiak, M.J.          02/16/23 Identify key documents in master chronology         0.20
                               for investigation sub-topic
Kowiak, M.J.          02/16/23 Review summaries of documents related to            0.20
                               specific investigation sub-topic
Levy, J.R.            02/16/23 Coordinate Telegram collection                      0.20
Orteza, A.            02/16/23 Project Genome: Review documents for                5.00
                               relevance and privilege
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Guiha, A.             02/16/23 Review documents for responsiveness and            8.00
                               privilege.
Hurley, R.            02/16/23 review selected documents for responsiveness       8.50
                               and relevance issues
Wang, B.              02/16/23 Review documents for responsiveness and            4.00
                               privilege per A. Lotty.
Banks, B.D.           02/16/23 Electronic Document Review.                        8.00
Cavanagh, J.          02/16/23 Electronic Document Review.                       10.00
Gayle, K.             02/16/23 Electronic Document Review.                        8.00
Han, S.               02/16/23 Electronic Document Review.                        8.00
Hong, H.S.            02/16/23 Electronic Document Review.                       10.00
Rivas-Marrero, D.     02/16/23 Electronic Document Review.                       11.00
Taylor, W.B.          02/16/23 Electronic Document Review.                        8.00
Wilford, R.N.         02/16/23 Electronic Document Review.                        8.80
Woll, L.              02/16/23 Conduct first level document review.              11.50
Gallagher, A.         02/16/23 Managed conference room reservations per           0.10
                               M. Cinnamon
Saran, S.             02/16/23 Granted M. Cinnamon and M. Leibold access          0.50
                               to case materials
Saran, S.             02/16/23 Created new listserv per A. Lotty                  0.30
Dassin, L.L.          02/17/23 Analyze materials for investigation and follow     1.00
                               up.
Dassin, L.L.          02/17/23 Communications with S. O'Neil, R. Zutshi,          1.50
                               and CGSH team regarding investigation
                               strategy and next steps
Dassin, L.L.          02/17/23 Call with A. Weaver regarding investigation        0.30
                               strategy.
O'Neal, S.A.          02/17/23 Call with A. Weaver, L Dassin, R Zutshi, A         0.50
                               Saenz and S Levander regarding investigation
                               strategy.
Zutshi, R.N.          02/17/23 Analyze materials related to investigation and     2.70
                               communications related to same (1.7); Call
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NAME                  DATE       DESCRIPTION                                      HOURS
                                 with S O’Neal, L Dassin, A. Weaver, A Saenz
                                 and S Levander regarding investigation
                                 strategy (.5); Call with L Dassin, A. Weaver,
                                 A Saenz and S Levander regarding
                                 investigation and next steps (.5).
Weaver, A.            02/17/23 Call with A. Saba, J. Vaughan Vines, A.              0.50
                               Lotty, A. Saenz (partial), J. Levy (partial) re:
                               document review priorities.
Weaver, A.            02/17/23 Call with S O’Neal, L Dassin, R Zutshi, A            0.50
                               Saenz and S Levander regarding investigation
                               strategy.
Weaver, A.            02/17/23 Correspondence regarding investigation.              0.20
Weaver, A.            02/17/23 Review of materials identified during                0.70
                               document review.
Weaver, A.            02/17/23 Call with L Dassin regarding investigation           0.30
                               strategy.
Saenz, A.F.           02/17/23 Outreach on Team investigations outline.             0.30
Saenz, A.F.           02/17/23 Call with A. Saba, A. Weaver, J. Vaughan             0.40
                               Vines, A. Lotty, J. Levy (partial) regarding
                               document review priorities (partial
                               attendance).
Saenz, A.F.           02/17/23 Correspondence with client to discuss request        0.40
                               for additional documents, general ledger
                               information.
Saenz, A.F.           02/17/23 Continue drafting introduction sections of           0.40
                               investigation presentation.
Saenz, A.F.           02/17/23 Call with L. Dassin, R. Zutshi, A. Weaver and        2.00
                               S. Levander regarding investigation and next
                               steps (0.5), implement next steps (1.5).
Saenz, A.F.           02/17/23 Telegram collection call with H. Serrant             0.80
                               counsel, follow up regarding same and 2004
                               request.
Saenz, A.F.           02/17/23 Call with S. Levander to discuss investigation       0.20
                               presentation strategy.
Saenz, A.F.           02/17/23 Prepare talking points for presentation              0.80

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NAME                  DATE      DESCRIPTION                                     HOURS
                                regarding mandate and process.
Alegre, N.            02/17/23 Attend video meeting with S. Levander, M.          0.70
                               Leibold, M. Cinnamon, A. Saba, M. Rathi, M.
                               Kowiak regarding preparation for interviews.
Alegre, N.            02/17/23 Circulate guidance on common interest              0.10
                               privilege for doc review and correspond re.
                               same.
Alegre, N.            02/17/23 Provide feedback on draft subsections of           0.90
                               Special Committee presentation.
Alegre, N.            02/17/23 Conduct final review of draft subsections for      0.50
                               Special Committee presentation.
Alegre, N.            02/17/23 Revise draft of subsections for Special            1.50
                               Committee presentation.
Alegre, N.            02/17/23 Review scoping interview notes in preparation      1.00
                               for interview prep.
Amorim, E.D.          02/17/23 Drafted sections of the investigation              4.30
                               presentation.
Amorim, E.D.          02/17/23 Revised and summarized key documents to be         2.00
                               considered for investigation
Amorim, E.D.          02/17/23 Email communication with Cleary team               0.30
                               regarding investigation review status and next
                               steps.
Amorim, E.D.          02/17/23 Revised key documents and respective               0.50
                               summaries elevated by document review
                               team.
Amorim, E.D.          02/17/23 Revised chronology of events for company's         0.40
                               current employee.
Cinnamon, M.          02/17/23 Attend video meeting with S. Levander, M.          0.70
                               Leibold, N. Alegre, A. Saba, M. Rathi, M.
                               Kowiak regarding preparation for interviews.
Cinnamon, M.          02/17/23 Telephone call with M. Kowiak regarding            0.20
                               interview preparation.
Cinnamon, M.          02/17/23 Attended call with A. Saba re: introduction to     0.50
                               various matters and new workstream.

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Cinnamon, M.           02/17/23 Reviewing Rule 2004 subpoena for                   0.20
                                communications.
Cinnamon, M.           02/17/23 Reviewing case background materials                1.60
                                regarding witness interviews and key
                                documents.
Larner, S.             02/17/23 Meeting with M. Rathi re: Risk Framework           0.50
                                outline
Larner, S.             02/17/23 Reconciled conflicting versions of the Risk        0.80
                                Management outline
Larner, S.             02/17/23 Drafted outline section on risk management         4.50
                                policies of debtors
Larner, S.             02/17/23 Conducted targeted searches in the master          2.70
                                chronology and drafted outline section on
                                debtor risk management
Leibold, M.A.          02/17/23 Correspond regarding workstreams (.3);             4.50
                                Review regulator talking points (.3); Attend
                                video meeting with S. Levander,, M.
                                Cinnamon, N. Alegre, A. Saba, M. Rathi, M.
                                Kowiak regarding preparation for interviews
                                (.7); Confer with S. Saenz re workstreams
                                (.2); Prepare for interview (2.9); Review
                                correspondence related to bankruptcy
                                litigation (.1).
Levander, S.L.         02/17/23 Call with S. O’Neal, L. Dassin, R. Zutshi, A.      0.50
                                Saenz and A. Weaver regarding investigation
                                strategy.
Levander, S.L.         02/17/23 Attend video meeting with M. Leibold, M.           0.70
                                Cinnamon, N. Alegre, A. Saba, M. Rathi, M.
                                Kowiak regarding preparation for interviews
Levander, S.L.         02/17/23 Analysis re elevated documents (.9); Call with     1.10
                                A. Saenz to discuss investigation presentation
                                strategy (.2)
Levander, S.L.         02/17/23 Revised assessment of potential liability          0.50
Lotty, A.              02/17/23 Draft special committee presentation outline       9.00
                                (6); Revise chronology of key investigation
                                documents (2); Team correspondence re:

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NAME                  DATE       DESCRIPTION                                      HOURS
                                 document review and investigation interviews
                                 (1).
Lotty, A.             02/17/23 Call with A. Saba, A. Weaver, J. Vaughan             0.50
                               Vines, A. Saenz (partial), J. Levy (partial) re:
                               document review priorities.
MacAdam, K.           02/17/23 Prepare investigation outline section.               1.40
Morrow, E.S.          02/17/23 Analyze document review protocol and                 1.90
                               investigation outline to prep for document
                               review
Rathi, M.             02/17/23 Key Document summary                                 1.10
Rathi, M.             02/17/23 Correspondence with S. Larner re: revising           1.10
                               special committee presentation (.6); call with
                               S. Larner re: Risk Framework outline (.5)
Rathi, M.             02/17/23 Revising special committee presentation draft        3.10
                               sections
Rathi, M.             02/17/23 Attend video meeting with S. Levander, M.            1.20
                               Leibold, M. Cinnamon, N. Alegre, A. Saba,
                               M. Kowiak regarding preparation for
                               interviews (.7); call with N. Alegre re: the
                               same (.2); compiling materials for other team
                               members re: the same (.3)
Saba, A.              02/17/23 Revised sections of special committee                3.00
                               presentation from A. Lotty.
Saba, A.              02/17/23 Attended call with M. Cinnamon re:                   0.50
                               introduction to various matters and new
                               workstream
Saba, A.              02/17/23 Attend video meeting with S. Levander, M.            0.70
                               Leibold, M. Cinnamon, N. Alegre, M. Rathi,
                               M. Kowiak regarding preparation for
                               interviews
Saba, A.              02/17/23 Revised sections of special committee                2.30
                               presentation from M. Kowiak.
Saba, A.              02/17/23 Performed doc review.                                0.40
Saba, A.              02/17/23 Corresponded with team re: doc review.               0.30
Saba, A.              02/17/23 Call with A. Weaver, J. Vaughan Vines, A.            0.50
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                                   Lotty, A. Saenz, J. Levy (partial) re:
                                   document review priorities
Saba, A.                02/17/23 Revised section of special committee               2.50
                                 presentation drafted by A. Gariboldi.
Gariboldi, A.           02/17/23 Assist in drafting presentation with A. Saba,      2.00
                                 A. Lotty, and M. Kowiak.
Gariboldi, A.           02/17/23 Engage in fact development for investigation.      1.00
Kowiak, M.J.            02/17/23 Prepare email to A. Saba regarding talking         0.10
                                 point subsection draft
Kowiak, M.J.            02/17/23 Continue work on draft talking points for          1.50
                                 transactions occurring in specific month
Kowiak, M.J.            02/17/23 Continue work on draft talking points for          1.30
                                 investigation subtopic regarding collateral
Kowiak, M.J.            02/17/23 Correspondence to team regarding questions         0.50
                                 on documents' responsiveness
Kowiak, M.J.            02/17/23 Correspondence with team re documents              0.20
                                 referenced in chronology
Kowiak, M.J.            02/17/23 Attend video meeting with S. Levander, M.          0.70
                                 Leibold, M. Cinnamon, N. Alegre, A. Saba,
                                 M. Rathi regarding preparation for interviews
Kowiak, M.J.            02/17/23 Telephone call with M. Cinnamon regarding          0.20
                                 interview preparation
Christian, D.M.         02/17/23 Conduct review for responsive and potential        4.30
                                 key documents.
Levy, J.R.              02/17/23 Call with A. Saba, A. Weaver, J. Vaughan           0.40
                                 Vines, A. Lotty, A. Saenz (partial) re:
                                 document review priorities (partial
                                 attendance)
Levy, J.R.              02/17/23 Coordinate data collection, processing, and        1.20
                                 search scoping
Orteza, A.              02/17/23 Project Genome: Review documents for               6.00
                                 relevance, privilege protection and key
Vaughan Vines, J.A.     02/17/23 Call with A. Saba, A. Weaver, A. Lotty, A.         0.50
                                 Saenz, J. Levy regarding document review

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                                 priorities.
Barreto, B.           02/17/23 First-level review of investigation documents.      8.00
Guiha, A.             02/17/23 Review documents for responsiveness and             7.50
                               privilege.
Hurley, R.            02/17/23 review selected documents for responsiveness        5.50
                               and relevance issues
Wang, B.              02/17/23 Review documents for responsiveness and             5.30
                               privilege per A. Lotty.
Banks, B.D.           02/17/23 Electronic Document Review.                         8.00
Cavanagh, J.          02/17/23 Electronic Document Review.                        10.00
Gayle, K.             02/17/23 Electronic Document Review.                         8.00
Han, S.               02/17/23 Electronic Document Review.                         8.00
Hong, H.S.            02/17/23 Electronic Document Review.                        10.00
Rivas-Marrero, D.     02/17/23 Electronic Document Review.                         6.50
Taylor, W.B.          02/17/23 Electronic Document Review.                         8.00
Wilford, R.N.         02/17/23 Electronic Document Review.                         6.50
Woll, L.              02/17/23 Conduct first level document review.                9.50
Lang, P.W.            02/17/23 ESI transfer via external FTP platform onto         0.50
                               network path with extraction for attorney
                               document review.
Saenz, A.F.           02/18/23 Recirculate comments by former                      0.30
                               director/officer, review efforts and discussion
                               points.
Alegre, N.            02/18/23 Select key docs for interview outline as of         1.10
                               2/18.
Amorim, E.D.          02/18/23 Edited work product re investigation.               3.70
Amorim, E.D.          02/18/23 Email communication with Cleary team to             0.20
                               coordinate compilation of investigation work
                               product.
Rathi, M.             02/18/23 Correspondence re: investigation                    0.30
Gariboldi, A.         02/18/23 Engage in second level fact development for         1.90
                               investigation.
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Kowiak, M.J.          02/18/23 Review draft talking points section                1.30
Kowiak, M.J.          02/18/23 Prepare comprehensive zip folder of                0.20
                               documents related to draft talking points
                               section
Kowiak, M.J.          02/18/23 Work on updates to person-specific                 3.50
                               chronology to prepare for interview
Kowiak, M.J.          02/18/23 Review interview memo regarding previous           0.30
                               interview of individual
Kowiak, M.J.          02/18/23 Compile relevant documents for investigation       0.10
                               team
Dassin, L.L.          02/19/23 Call with S. O'Neal, R. Zutshi, A. Weaver, A.      0.50
                               Saenz, and S. Levander regarding internal
                               investigation and next steps.
Dassin, L.L.          02/19/23 Call with R. Zutshi, A. Weaver, A. Saenz, and      0.50
                               S. Levander regarding investigation and next
                               steps.
Zutshi, R.N.          02/19/23 Planning for investigation and                     2.10
                               communications regarding same.
Weaver, A.            02/19/23 Call with L. Dassin, R. Zutshi, A. Saenz and       0.50
                               S. Levander regarding investigation and next
                               steps.
Weaver, A.            02/19/23 Review of materials for upcoming calls with        0.20
                               UCC.
Weaver, A.            02/19/23 Correspondence with S O’Neal, L Dassin, R          0.20
                               Zutshi, A Saenz and S Levander regarding
                               investigation strategy.
Saenz, A.F.           02/19/23 Draft intro section for final presentation.        2.30
Saenz, A.F.           02/19/23 Incorporate outline edits into presentation,       2.20
                               continue drafting talking points for final
                               presentation.
Saenz, A.F.           02/19/23 Call with S. O’Neal, L. Dassin, R. Zutshi, A.      0.90
                               Weaver and S. Levander regarding
                               investigation strategy (0.5), Enforcement Call
                               (0.4) to discuss priorities for investigation
                               next steps.
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Saenz, A.F.            02/19/23 Draft talking points for UCC meeting.              2.00
Levander, S.L.         02/19/23 Call with L. Dassin, R. Zutshi, A. Saenz and       0.50
                                A. Weaver regarding investigation and next
                                steps.
Lotty, A.              02/19/23 Compile and revise draft outline for special       4.80
                                committee presentation (4); Team
                                correspondence re: intercompany agreements
                                (.8).
Rathi, M.              02/19/23 Reviewing key document chronology for draft        1.60
                                interview outline
Rathi, M.              02/19/23 Correspondence with A. Lotty re:                   0.20
                                investigation
Dassin, L.L.           02/20/23 Communications with White & Case team              0.60
                                (counsel to the UCC), S. O'Neal, R. Zutshi,
                                and A. Weaver regarding introductions and
                                briefing on enforcement.
Dassin, L.L.           02/20/23 Communications with A. Saenz, S. Levander,         0.80
                                CGSH Investigations team regarding
                                communications review and analysis.
Zutshi, R.N.           02/20/23 Analysis of materials identified in review         1.20
Saenz, A.F.            02/20/23 Review investigation talking points outline        3.30
                                (2.5), provide comments re the same (0.8).
Saenz, A.F.            02/20/23 Call with S. Levander regarding key                0.30
                                documents and next steps for outlining.
Alegre, N.             02/20/23 Select key docs for interview outline as of        0.90
                                2/20.
Levander, S.L.         02/20/23 Call with A. Saenz re investigation next steps     0.40
                                (0.3), correspondence re the same (0.1)
Levander, S.L.         02/20/23 Analysis re investigation next steps               1.30
Levander, S.L.         02/20/23 Revised presentation to Special Committee          2.00
Rathi, M.              02/20/23 Correspondence with N. Alegre re: interview        0.20
                                outline
Banks, B.D.            02/20/23 Electronic Document Review.                        8.00

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NAME                  DATE       DESCRIPTION                                    HOURS
Cavanagh, J.          02/20/23 Electronic Document Review.                        8.00
Gayle, K.             02/20/23 Electronic Document Review.                        5.00
Hong, H.S.            02/20/23 Electronic Document Review.                        9.30
Rivas-Marrero, D.     02/20/23 Electronic Document Review.                        9.00
Taylor, W.B.          02/20/23 Electronic Document Review.                        7.80
Wilford, R.N.         02/20/23 Electronic Document Review.                        7.50
Dassin, L.L.          02/21/23 Communications with S. O'Neal and CGSH             0.50
                               Investigations team regarding follow up with
                               UCC and DCG.
Dassin, L.L.          02/21/23 Communications with CGSH Investigation             0.80
                               team regarding UCC and DCG follow up.
Dassin, L.L.          02/21/23 Communications with R. Zutshi, A. Saenz,           1.00
                               and CGSH Investigation team regarding
                               analysis and next steps.
Dassin, L.L.          02/21/23 Analyze materials for Special Committee            1.70
                               discussions and next steps.
O'Neal, S.A.          02/21/23 Call with Lev Dassin and team re next steps re     0.90
                               investigation and sharing of info with W&C
                               (.5), corresp with W&C re same (.1), corresp
                               with A.Pretto-Sakmann (Genesis) and J.
                               Gottlieb (MoCo) re same (.1), follow up
                               corresp with team re document production (.2)
Zutshi, R.N.          02/21/23 Analysis of materials identified in review         2.20
Zutshi, R.N.          02/21/23 Planning for investigation.                        1.50
Saenz, A.F.           02/21/23 Review investigation presentation topics           2.80
                               (2.0), provide comments (0.8).
Saenz, A.F.           02/21/23 Meeting with S. Levander and S. Larner re:         0.80
                               research (0.7), correspondence re the same
                               (0.1).
Saenz, A.F.           02/21/23 Draft agenda for daily recap meeting.              0.40
Saenz, A.F.           02/21/23 UCC document production correspondence             0.30
                               with S. O'Neal.
Alegre, N.            02/21/23 Review document second-level review                0.10
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NAME                   DATE       DESCRIPTION                                     HOURS
                                  questions as of 2/21.
Alegre, N.             02/21/23 Review precedent presentation on privilege          0.20
                                issues in preparation for protocol drafting.
Alegre, N.             02/21/23 Review key document selection for                   0.40
                                investigation interview outline.
Alegre, N.             02/21/23 Call with M. Rathi re drafting interview            0.30
                                outline
Cinnamon, M.           02/21/23 Call with M. Kowiak regarding drafting              0.20
                                Request for Documents.
Cinnamon, M.           02/21/23 Revising draft document requests.                   0.30
Larner, S.             02/21/23 Reviewed project attorney documents and             0.50
                                drafted summary for investigation update.
Larner, S.             02/21/23 Meeting with S. Levander (partial) and A.           0.70
                                Saenz re: research
Larner, S.             02/21/23 General research by reviewing treatises             1.00
Levander, S.L.         02/21/23 Call with J Polkes (Weil), L Dassin, R Zutshi       0.50
                                and follow up
Levander, S.L.         02/21/23 Meeting with S. Larner and A. Saenz re:             0.50
                                research (partial attendance)
Levander, S.L.         02/21/23 Analysis re elevated documents                      0.80
Lotty, A.              02/21/23 Summarize key documents (3.6);                      6.60
                                Correspondence with Investigation Team re:
                                document review and related investigation
                                issues (3).
MacAdam, K.            02/21/23 Review Telegram messages flagged as key.            0.50
MacAdam, K.            02/21/23 Review documents flagged as key/interesting.        3.90
MacAdam, K.            02/21/23 Attention to correspondence re Telegram             0.90
                                collection.
Morrow, E.S.           02/21/23 Review and prepare key document review              2.40
                                summaries
Rathi, M.              02/21/23 Drafting interview outline (2.9); .Call with N.     3.40
                                Alegre re: drafting interview outline (0.3);
                                correspondence with N. Alegre re: the same
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NAME                  DATE       DESCRIPTION                                    HOURS
                                 (0.2)
Rathi, M.             02/21/23 Drafting key document summary (1.5);               1.80
                               correspondence with project attorney and J.
                               Vines re: the same (0.3)
Rathi, M.             02/21/23 Correspondence with Investigation team re:         0.40
                               next steps for document review.
Gariboldi, A.         02/21/23 Engage in second level review of materials for     2.00
                               internal investigation.
Gariboldi, A.         02/21/23 Engage in fact development for internal            1.00
                               investigation in coordination with M. Kowiak.
Kowiak, M.J.          02/21/23 Prepare email to M. Cinnamon regarding draft       0.20
                               of preliminary document requests
Kowiak, M.J.          02/21/23 Respond to A. Saenz question via email             0.10
Kowiak, M.J.          02/21/23 Work on preliminary document requests              1.10
Kowiak, M.J.          02/21/23 Review Preliminary Document Requests               0.20
                               document
Kowiak, M.J.          02/21/23 Conduct second level review of documents           0.90
Kowiak, M.J.          02/21/23 Prepare email to A. Saenz regarding updates        0.70
                               to Master Chronology
Kowiak, M.J.          02/21/23 Summarize documents for inclusion in the           0.60
                               master chronology
Kowiak, M.J.          02/21/23 Update master chronology                           1.70
Kowiak, M.J.          02/21/23 Correspondence related to second level             0.30
                               review
Kowiak, M.J.          02/21/23 Call with M. Cinnamon regarding drafting           0.20
                               Request for Documents
Kowiak, M.J.          02/21/23 Draft correspondence to J. Levy regarding          0.20
                               documents request
Levy, J.R.            02/21/23 Coordinate data collection, including              1.50
                               Telegram, and scoping
Levy, J.R.            02/21/23 Manage review workflows and upcoming               1.70
                               production searches
Levy, J.R.            02/21/23 Prepare UCC production                             1.00
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NAME                  DATE       DESCRIPTION                                    HOURS

Levy, J.R.            02/21/23 Coordinate R2004 subpoena draft                    0.40
Orteza, A.            02/21/23 Project Genome: Review documents for               4.00
                               relevance, privilege and key
Barreto, B.           02/21/23 First-level review of investigation documents.     7.50
Guiha, A.             02/21/23 Review documents for responsiveness and            7.50
                               privilege.
Hurley, R.            02/21/23 review selected documents for responsiveness       9.80
                               and relevance issues
Wang, B.              02/21/23 Perform document review for responsiveness         4.00
                               and privilege per A. Lotty.
Banks, B.D.           02/21/23 Electronic Document Review.                        8.00
Cavanagh, J.          02/21/23 Electronic Document Review.                       10.00
Gayle, K.             02/21/23 Electronic Document Review.                        8.00
Hong, H.S.            02/21/23 Electronic Document Review.                       10.00
Rivas-Marrero, D.     02/21/23 Electronic Document Review.                       11.00
Taylor, W.B.          02/21/23 Electronic Document Review.                        8.00
Wilford, R.N.         02/21/23 Electronic Document Review.                        8.30
Woll, L.              02/21/23 Conduct first level document review.               2.00
Gallagher, A.         02/21/23 Organized Weekly Team Meeting Logistics            0.80
                               per A. Saenz
Gallagher, A.         02/21/23 Staged Binder per M. Leibold                       1.00
Lang, P.W.            02/21/23 ESI transfer via external FTP platform onto        0.50
                               network path with extraction for attorney
                               document review.
Milano, L.M.          02/21/23 As per J. Levy, build stamped document             1.00
                               production volume GENESIS_UCC_V001.
Saran, S.             02/21/23 Followed up on creation of new listserv and        0.50
                               circulated member list per A. Saenz
Saran, S.             02/21/23 Updated communications log per A. Saenz            0.50
Saran, S.             02/21/23 Updated elevated documents list per A. Lotty       0.80
Dassin, L.L.          02/22/23 Meeting with R. Zutshi, S. Levander, A.            1.30
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NAME                  DATE      DESCRIPTION                                      HOURS
                                Saenz and B. Richey regarding investigation
                                strategy and ongoing workstreams
Dassin, L.L.          02/22/23 Communications with S. O'Neal and CGSH              1.20
                               Investigations team regarding follow up with
                               UCC and DCG.
Dassin, L.L.          02/22/23 Communications with S. O'Neal, R. Zutshi,           0.70
                               and CGSH Investigations team regarding
                               developments and next steps.
Dassin, L.L.          02/22/23 Communications with R. Zutshi, A. Saenz,            2.20
                               and CGSH Investigations team regarding
                               analysis and next steps.
Zutshi, R.N.          02/22/23 Planning for investigation.                         1.20
Zutshi, R.N.          02/22/23 Analysis of materials identified in review          2.10
Zutshi, R.N.          02/22/23 Meeting with L. Dassin, A. Saenz, S. levander       1.20
                               and B. Richey regarding investigation strategy
                               and ongoing workstreams
Weaver, A.            02/22/23 Correspondence with L Dassin, R Zutshi, A           0.70
                               Saenz, A Janghorbani, and S Levander
                               regarding the investigation and planning.
Weaver, A.            02/22/23 Correspondence with L Dassin, R Zutshi, A           0.30
                               Saenz, S O’Neal, and S Levander regarding
                               the investigation and communications with
                               the counsel for the UCC.
Saenz, A.F.           02/22/23 Meeting with L. Dassin, R. Zutshi, S.               1.30
                               Levander and B. Richey regarding
                               investigation strategy and ongoing
                               workstreams (1.2), correspondence re the
                               same (0.1).
Saenz, A.F.           02/22/23 Review escalated docs set, provide comments         0.80
                               to CGSH Investigation Team.
Saenz, A.F.           02/22/23 Continue refining draft presentation to Special     0.60
                               Committee.
Saenz, A.F.           02/22/23 Call with M. Ballensweig counsel regarding          0.30
                               Telegram collection, indemnification.
Saenz, A.F.           02/22/23 Participate in call with M. Cinnamon, M.            0.30

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NAME                   DATE       DESCRIPTION                                     HOURS
                                  Kowiak about request for documents (partial
                                  attendance) (0.2), correspondence re the same
                                  (0.1)
Alegre, N.             02/22/23 Review document second-level review                 0.20
                                questions as of 2/22.
Alegre, N.             02/22/23 Meeting with J. Levy, J. Vaughn Vines, M.           0.50
                                Kowiak, A. Lotty, A. Saba, M. Rathi, E.
                                Morrow, S. Larner, K. MacAdam, B. Barreto,
                                A. Gariboldi, B. Wang, A. Orteza, R. Hurley,
                                A. Guiha, D. Christian, D. Rivas-Marrero, J.
                                Cavanagh, R. Wilford, H. Hong, W. Taylor,
                                K. Gayle, L. Woll to discuss document review
                                procedures
Cinnamon, M.           02/22/23 Participate in call with A. Saenz (partial) and     0.30
                                M. Kowiak about request for documents.
Larner, S.             02/22/23 Conducted research (1.6), Call with M. Rathi        1.70
                                re: bankruptcy research (0.1)
Larner, S.             02/22/23 Meeting with B. Wang, J. Vaughn Vines, N.           0.50
                                Alegre, B. Baretto, A. Saba, M. Rathi, E.
                                Morrow, A. Orteza, K. MacAdam, M.
                                Kowiak, J. Levy, A. Lotty, A. Gariboldi, R.
                                Hurley, A. Guiha, D. Christian, D. Rivas-
                                Marrero, J. Cavanagh, R. Wilford, H. Hong,
                                W. Taylor, K. Gayle, L. Woll to discuss
                                document review procedures
Leibold, M.A.          02/22/23 Prepare for interview (4.6); Attend meeting         6.90
                                with K. MacAdam to discuss preparation for
                                employee interview (.3); Prepare for meeting
                                regarding accounting (2)
Levander, S.L.         02/22/23 Meeting with L. Dassin, R. Zutshi, A. Saenz,        1.20
                                and B. Richey regarding investigation strategy
                                and ongoing workstreams
Levander, S.L.         02/22/23 Analysis re elevated documents                      1.20
Lotty, A.              02/22/23 Review and summarize key documents (3);             4.80
                                CGSH Investigations Team correspondence
                                re: document review processes (1.8).
Lotty, A.              02/22/23 Call with K. MacAdam and M. Rathi re:               0.20
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NAME                  DATE       DESCRIPTION                                    HOURS
                                 telegram review.
Lotty, A.             02/22/23 Meeting with J. Levy, J. Vaughn Vines, N.          0.50
                               Alegre, B. Baretto, A. Saba, M. Rathi, E.
                               Morrow, S. Larner, K. MacAdam, M.
                               Kowiak, A. Gariboldi, B. Wang, A. Orteza, R.
                               Hurley, A. Guiha, D. Christian, D. Rivas-
                               Marrero, J. Cavanagh, R. Wilford, H. Hong,
                               W. Taylor, K. Gayle, L. Woll to discuss
                               document review procedures.
MacAdam, K.           02/22/23 Review list of Telegram message participants.      1.40
MacAdam, K.           02/22/23 Call with A. Lotty and M. Rathi re: telegram       0.20
                               review.
MacAdam, K.           02/22/23 Prepare for meeting with M. Liebold re             0.10
                               employee interview.
MacAdam, K.           02/22/23 Attend meeting with M. Liebold to discuss          0.30
                               preparation for employee interview.
MacAdam, K.           02/22/23 Review documents flagged as key/interesting.       1.50
MacAdam, K.           02/22/23 Meeting with J. Levy, J. Vaughn Vines, N.          0.50
                               Alegre, A. Lotty, A. Saba, M. Rathi, E.
                               Morrow, S. Larner, M. Kowiak, A. Gariboldi,
                               B. Wang, B. Barreto, A. Orteza, R. Hurley, A.
                               Guiha, D. Christian, D. Rivas-Marrero, J.
                               Cavanagh, R. Wilford, H. Hong, W. Taylor,
                               K. Gayle, L. Woll to discuss document review
                               procedures.
Morrow, E.S.          02/22/23 Meeting with B. Wang, J. Vaughn Vines, N.          0.50
                               Alegre, B. Baretto, A. Saba, M. Rathi, R.
                               Hurley, A. Orteza, K. MacAdam, M. Kowiak,
                               J. Levy, A. Lotty, A. Gariboldi, S. Larner, A.
                               Guiha, D. Christian, D. Rivas-Marrero, J.
                               Cavanagh, R. Wilford, H. Hong, W. Taylor,
                               K. Gayle, L. Woll to discuss document review
                               procedures
Morrow, E.S.          02/22/23 Draft investigation update email                   2.10
Rathi, M.             02/22/23 reviewing list of telegrams chats (2.0); call      2.30
                               with K. MacAdam, A. Lotty re: telegram
                               review (0.2); call with J. Levy re: telegram
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NAME                  DATE       DESCRIPTION                                    HOURS
                                 review (0.1)
Rathi, M.             02/22/23 Drafting interview outline for key custodian       2.00
Rathi, M.             02/22/23 .1 - Call with S. Larner re: bankruptcy            0.80
                               research; .7 - compiling research from
                               previous cases re: the same
Rathi, M.             02/22/23 Key Document review (0.8), correspondence          1.10
                               with J. Vines, project attorneys re: the same
                               (0.3)
Rathi, M.             02/22/23 Second Level Review (0.2), correspondence          0.80
                               with B. Richey re: the same (0.6)
Rathi, M.             02/22/23 Meeting with B. Wang, J. Vaughn Vines, N.          0.80
                               Alegre, B. Baretto, A. Saba, E. Morrow, R.
                               Hurley, A. Orteza, K. MacAdam, M. Kowiak,
                               J. Levy, A. Lotty, A. Gariboldi, S. Larner, A.
                               Guiha, D. Christian, D. Rivas-Marrero, J.
                               Cavanagh, R. Wilford, H. Hong, W. Taylor,
                               K. Gayle, L. Woll to discuss document review
                               procedures (0.5), preparation for the same
                               (0.3)
Richey, B.            02/22/23 Meeting with L. Dassin, R. Zutshi, S.              5.00
                               Levander, and A. Saenz regarding
                               investigation strategy and ongoing
                               workstreams (1.2); updating investigation
                               workstreams and agenda items (1.3);
                               summarizing investigation key documents
                               (2.5).
Saba, A.              02/22/23 Meeting with J. Levy, J. Vaughn Vines, N.          0.50
                               Alegre, A. Lotty, B. Barreto, M. Rathi, E.
                               Morrow, S. Larner, K. MacAdam, M.
                               Kowiak, A. Gariboldi, B. Wang, A. Orteza, R.
                               Hurley, A. Guiha, D. Christian, D. Rivas-
                               Marrero, J. Cavanagh, R. Wilford, H. Hong,
                               W. Taylor, K. Gayle, L. Woll to discuss
                               document review procedures.
Gariboldi, A.         02/22/23 Engage in fact development for internal            1.00
                               investigation in coordination with E. Morrow.
Gariboldi, A.         02/22/23 Meeting with B. Wang, J. Vaughn Vines, N.          0.50

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NAME                    DATE       DESCRIPTION                                     HOURS
                                   Alegre, B. Baretto, A. Saba, M. Rathi, E.
                                   Morrow, S. Larner, K. MacAdam, M.
                                   Kowiak, J. Levy, A. Lotty, A. Orteza, R.
                                   Hurley, A. Guiha, D. Christian, D. Rivas-
                                   Marrero, J. Cavanagh, R. Wilford, H. Hong,
                                   W. Taylor, K. Gayle, L. Woll to discuss
                                   document review procedures
Kowiak, M.J.            02/22/23 Make revisions to draft of document requests        0.50
Kowiak, M.J.            02/22/23 Prepare email to M. Cinnamon regarding              0.10
                                 document requests
Kowiak, M.J.            02/22/23 Summarize key documents for inclusion in            1.00
                                 master chronology
Kowiak, M.J.            02/22/23 Prepare email to E. Morrow regarding master         0.10
                                 chronology updates
Kowiak, M.J.            02/22/23 Participate in call with A. Saenz (partial), M.     0.30
                                 Cinnamon about request for documents
Kowiak, M.J.            02/22/23 Correspond with E. Morrow via Teams                 0.20
                                 regarding Master Chronology update process
Kowiak, M.J.            02/22/23 Meeting with J. Levy, J. Vaughn Vines, N.           0.50
                                 Alegre, A. Lotty, A. Saba, M. Rathi, E.
                                 Morrow, S. Larner, K. MacAdam, B. Barreto,
                                 A. Gariboldi, B. Wang, A. Orteza, R. Hurley,
                                 A. Guiha, D. Christian, D. Rivas-Marrero, J.
                                 Cavanagh, R. Wilford, H. Hong, W. Taylor,
                                 K. Gayle, L. Woll to discuss document review
                                 procedures.
Kowiak, M.J.            02/22/23 Conduct second level document review                2.20
Christian, D.M.         02/22/23 Meeting with B. Wang, J. Vaughn Vines, N.           0.50
                                 Alegre, B. Baretto, A. Saba, M. Rathi, R.
                                 Hurley, A. Orteza, K. MacAdam, M. Kowiak,
                                 J. Levy, A. Lotty, A. Gariboldi, S. Larner, E.
                                 Morrow, D. RIvas Marrero, J. Cavanagh, R.
                                 Wilford, H. Hong, W. Taylor, K. Gayle, A.
                                 Guiha, L. Woll to discuss document review
                                 procedures
Levy, J.R.              02/22/23 Call with M. Rathi re: telegram review              0.10

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NAME                  DATE      DESCRIPTION                                     HOURS
Levy, J.R.            02/22/23 Meeting with B. Wang, J. Vaughn Vines, N.          0.50
                               Alegre, B. Baretto, A. Saba, M. Rathi, E.
                               Morrow, S. Larner, K. MacAdam, M.
                               Kowiak, A. Gariboldi, A. Lotty, A. Orteza, R.
                               Hurley, A. Guiha, D. Christian, D. Rivas-
                               Marrero, J. Cavanagh, R. Wilford, H. Hong,
                               W. Taylor, K. Gayle, L. Woll to discuss
                               document review procedures.
Levy, J.R.            02/22/23 Finalize review of UCC production                  0.80
Orteza, A.            02/22/23 Meeting with B. Wang, J. Vaughn Vines, N.          0.50
                               Alegre, B. Baretto, A. Saba, M. Rathi, E.
                               Morrow, S. Larner, K. MacAdam, M.
                               Kowiak, J. Levy, A. Lotty, A. Gariboldi, R.
                               Hurley, A. Guiha, D. Christian, D. Rivas-
                               Marrero, J. Cavanagh, R. Wilford, H. Hong,
                               W. Taylor, K. Gayle, L. Woll to discuss
                               document review procedures
Orteza, A.            02/22/23 Review documents for relevance, privilege          7.00
                               and key terms
Vaughan Vines, J.A.   02/22/23 Meeting with J. Levy, K. MacAdam, N.               0.50
                               Alegre, A. Lotty, A. Saba, M. Rathi, E.
                               Morrow, S. Larner, M. Kowiak, A. Gariboldi,
                               B. Wang, B. Barreto, A. Orteza, R. Hurley, A.
                               Guiha, D. Christian, D. Rivas-Marrero, J.
                               Cavanagh, R. Wilford, H. Hong, W. Taylor,
                               K. Gayle, L. Woll to discuss document review
                               procedures
Barreto, B.           02/22/23 Meeting with J. Levy, J. Vaughn Vines, N.          0.50
                               Alegre, A. Lotty, A. Saba, M. Rathi, E.
                               Morrow, S. Larner, K. MacAdam, M.
                               Kowiak, A. Gariboldi, B. Wang, A. Orteza, R.
                               Hurley, A. Guiha, D. Christian, D. Rivas-
                               Marrero, J. Cavanagh, R. Wilford, H. Hong,
                               W. Taylor, K. Gayle, L. Woll to discuss
                               document review procedures.
Guiha, A.             02/22/23 Meeting with B. Wang, J. Vaughn Vines, N.          0.50
                               Alegre, B. Baretto, A. Saba, M. Rathi, R.
                               Hurley, A. Orteza, K. MacAdam, M. Kowiak,
                               J. Levy, A. Lotty, A. Gariboldi, S. Larner, E.
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                                Morrow, D. Christian, D. Rivas-Marrero, J.
                                Cavanagh, R. Wilford, H. Hong, W. Taylor,
                                K. Gayle, L. Woll to discuss document review
                                procedures
Guiha, A.             02/22/23 Review documents for responsiveness and            7.50
                               privilege.
Hurley, R.            02/22/23 Meeting with B. Wang, J. Vaughn Vines, N.          0.50
                               Alegre, B. Baretto, A. Saba, M. Rathi, E.
                               Morrow, A. Orteza, K. MacAdam, M.
                               Kowiak, J. Levy, A. Lotty, A. Gariboldi, S.
                               Larner, A. Guiha, D. Christian, D. Rivas-
                               Marrero, J. Cavanagh, R. Wilford, H. Hong,
                               W. Taylor, K. Gayle, L. Woll to discuss
                               document review procedures
Hurley, R.            02/22/23 review selected documents for responsiveness       6.80
                               and relevance issues
Wang, B.              02/22/23 Meeting with J. Levy, J. Vaughn Vines, N.          0.50
                               Alegre, B. Baretto, A. Saba, M. Rathi, E.
                               Morrow, S. Larner, K. MacAdam, M.
                               Kowiak, A. Gariboldi, A. Lotty, A. Orteza, R.
                               Hurley, A. Guiha, D. Christian, D. Rivas-
                               Marrero, J. Cavanagh, R. Wilford, H. Hong,
                               W. Taylor, K. Gayle, L. Woll to discuss
                               document review procedures.
Wang, B.              02/22/23 Perform document review for responsiveness         3.50
                               and privilege per A. Lotty.
Banks, B.D.           02/22/23 Electronic Document Review.                        8.00
Cavanagh, J.          02/22/23 Electronic Document Review.                        9.50
Cavanagh, J.          02/22/23 Meeting with B. Wang, J. Vaughn Vines, N.          0.50
                               Alegre, B. Baretto, A. Saba, M. Rathi, R.
                               Hurley, A. Orteza, K. MacAdam, M. Kowiak,
                               J. Levy, A. Lotty, A. Gariboldi, S. Larner, E.
                               Morrow, D. Christian, D. Rivas-Marrero, R.
                               Wilford, H. Hong, W. Taylor, K. Gayle, A.
                               Guiha, L. Woll to discuss document review
                               procedures
Gayle, K.             02/22/23 Electronic Document Review.                        7.50

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Gayle, K.             02/22/23 Meeting with B. Wang, J. Vaughn Vines, N.          0.50
                               Alegre, B. Baretto, A. Saba, M. Rathi, R.
                               Hurley, A. Orteza, K. MacAdam, M. Kowiak,
                               J. Levy, A. Lotty, A. Gariboldi, S. Larner, E.
                               Morrow, D. Christian, D. Rivas-Marrero, J.
                               Cavanagh, R. Wilford, H. Hong, W. Taylor,
                               A. Guiha, L. woll to discuss document review
                               procedures
Hong, H.S.            02/22/23 Electronic Document Review.                        9.50
Hong, H.S.            02/22/23 Meeting with B. Wang, J. Vaughn Vines, N.          0.50
                               Alegre, B. Baretto, A. Saba, M. Rathi, R.
                               Hurley, A. Orteza, K. MacAdam, M. Kowiak,
                               J. Levy, A. Lotty, A. Gariboldi, S. Larner, E.
                               Morrow, D. Christian, D. Rivas-Marrero, J.
                               Cavanagh, R. Wilford, W. Taylor, K. Gayle,
                               A. Guiha, L. Woll to discuss document review
                               procedures
Rivas-Marrero, D.     02/22/23 Electronic Document Review.                       11.00
Rivas-Marrero, D.     02/22/23 Meeting with B. Wang, J. Vaughn Vines, N.          0.50
                               Alegre, B. Baretto, A. Saba, M. Rathi, R.
                               Hurley, A. Orteza, K. MacAdam, M. Kowiak,
                               J. Levy, A. Lotty, A. Gariboldi, S. Larner, E.
                               Morrow, D. Christian, J. Cavanagh, R.
                               Wilford, H. Hong, W. Taylor, K. Gayle, A.
                               Guiha, L. Woll to discuss document review
                               procedures
Taylor, W.B.          02/22/23 Electronic Document Review.                        7.50
Taylor, W.B.          02/22/23 Meeting with B. Wang, J. Vaughn Vines, N.          0.50
                               Alegre, B. Baretto, A. Saba, M. Rathi, R.
                               Hurley, A. Orteza, K. MacAdam, M. Kowiak,
                               J. Levy, A. Lotty, A. Gariboldi, S. Larner, E.
                               Morrow, D. Christian, D. Rivas-Marrero, J.
                               Cavanagh, R. Wilford, H. Hong, K. Gayle, A.
                               Guiha, L. Woll to discuss document review
                               procedures
Wilford, R.N.         02/22/23 Electronic Document Review.                        8.50
Wilford, R.N.         02/22/23 Meeting with B. Wang, J. Vaughn Vines, N.          0.50
                               Alegre, B. Baretto, A. Saba, M. Rathi, R.
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                                 Hurley, A. Orteza, K. MacAdam, M. Kowiak,
                                 J. Levy, A. Lotty, A. Gariboldi, S. Larner, E.
                                 Morrow, D. Christian, D. Rivas-Marrero, J.
                                 Cavanagh, H. Hong, W. Taylor, K. Gayle, A.
                                 Guiha, L. Woll to discuss document review
                                 procedures
Woll, L.              02/22/23 Meeting with B. Wang, J. Vaughn Vines, N.            0.50
                               Alegre, B. Baretto, A. Saba, M. Rathi, R.
                               Hurley, A. Orteza, K. MacAdam, M. Kowiak,
                               J. Levy, A. Lotty, A. Gariboldi, S. Larner, E.
                               Morrow, D. Christian, D. Rivas-Marrero, J.
                               Cavanagh, R. Wilford, H. Hong, W. Taylor,
                               K. Gayle, A. Guiha to discuss document
                               review procedures
Adubofour, A.         02/22/23 Cross reference MoCo terms per E. Amorim             0.60
Gallagher, A.         02/22/23 Cross Checked Production folders per E.              1.20
                               Amorim
Saran, S.             02/22/23 Updated elevated documents list per A. Lotty         0.50
Dassin, L.L.          02/23/23 Meeting wit R. Zutshi, A. Janghorbani, A.            2.20
                               Saenz, S. Levander, and B. Richey regarding
                               strategy for investigation and coordination
                               with bankruptcy team.
Dassin, L.L.          02/23/23 Analyze materials for internal investigation         1.50
                               follow up.
O'Neal, S.A.          02/23/23 Call with R. Zutshi, M. Leibold, V. Juron            0.80
                               (A&M), M. Leto (A&M), J. Sciametta
                               (A&M), and M. Tamulis (A&M) re
                               accounting (.8)
O'Neal, S.A.          02/23/23 Call with R. Zutshi, A. Saenz to discuss             0.80
                               Telegram collections and Morrison
                               Cohen/CGSH productions to UCC (.4),
                               corresp with A. Saenz and R. Zutshi re Moco
                               and Cleary productions to W&C (.4)
Zutshi, R.N.          02/23/23 Call with S. O’Neal, M. Leibold, V. Juron            0.80
                               (A&M), M. Leto (A&M),
                               J. Sciametta (A&M), and M. Tamulis (A&M)
                               re accounting.

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Zutshi, R.N.            02/23/23 Call with S. O'Neal and A. Saenz to discuss        0.40
                                 Telegram collections and Morrison
                                 Cohen/CGSH productions to UCC
Zutshi, R.N.            02/23/23 Meeting wiht R. Zutshi, A. Janghorbani, A.         2.20
                                 Saenz, S. Levander, and B. Richey regarding
                                 strategy for investigation and coordination
                                 with bankruptcy team
Zutshi, R.N.            02/23/23 Analyze materials identified in review.            2.20
Zutshi, R.N.            02/23/23 Analyze accounting materials.                      0.60
Janghorbani, A.         02/23/23 Meeting with L. Dassin, R. Zutshi, A.              1.80
                                 Janghorbani (partial), A. Saenz, S. Levander,
                                 and B. Richey regarding strategy for
                                 investigation and coordination with
                                 bankruptcy team
Saenz, A.F.             02/23/23 Continue drafting talking points for               2.50
                                 presentation to Special Committee.
Saenz, A.F.             02/23/23 Review escalated key documents, provide            0.80
                                 comments to review team.
Saenz, A.F.             02/23/23 Call with K. MacAdam and M. Rathi                  0.30
                                 regarding Telegram review.
Saenz, A.F.             02/23/23 Comments to K. MacAdam regarding                   0.20
                                 Telegram collection from former employees.
Saenz, A.F.             02/23/23 Call with S. O’Neal, R. Zutshi to discuss          0.40
                                 Telegram collections and Morrison
                                 Cohen/CGSH productions to UCC .
Saenz, A.F.             02/23/23 Meeting with L. Dassin, R. Zutshi, A.              2.20
                                 Janghorbani, A. Saenz, S. Levander, and B.
                                 Richey regarding strategy for investigation
                                 and coordination with bankruptcy team
Saenz, A.F.             02/23/23 Comments to E. Amorim regarding White and          0.40
                                 Case production.
Alegre, N.              02/23/23 Review document second-level review                0.40
                                 questions as of 2/23.
Alegre, N.              02/23/23 Meeting with J. Levy, J. Vaughn Vines, A.          0.40
                                 Saba, A. Lotty, M. Rathi, S. Larner, B.

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                                  Richey, E. Morrow, K. MacAdam, M.
                                  Kowiak, A. Gariboldi, B. Wang, B. Barreto,
                                  R. Hurley, L. Woll, D. Christian, A. Orteza to
                                  discuss updated document review procedures.
Amorim, E.D.           02/23/23 Email communication with J.V. Vines, J.              0.60
                                Levy, A. Saenz to discuss investigation and
                                review process and next steps.
Larner, S.             02/23/23 Meeting with J. Levy, J. Vaughn Vines, N.            0.40
                                Alegre, A. Saba, A. Lotty, M. Rathi, B.
                                Richey, E. Morrow, K. MacAdam, M.
                                Kowiak, A. Gariboldi, B. Wang, B. Barreto,
                                R. Hurley, L. Woll, D. Christian, A. Orteza to
                                discuss updated document review procedures
Larner, S.             02/23/23 Researched reasonably equivalent value (1.5),        5.20
                                researched bankruptcy law (1.5), summarized
                                and cleaned up findings (2.0), sent findings to
                                A. Saenz and S. Levander for review (0.2)
Leibold, M.A.          02/23/23 Prepare for call re accounting (.9); Call with       4.20
                                S. O’Neal, R. Zutshi, V. Juron (A&M), M.
                                Leto (A&M), J. Sciametta (A&M), and M.
                                Tamulis (A&M) re accounting (.8); Draft
                                summary of call (1.5); Correspond re
                                accounting issues (.1); Prepare for interview
                                (.9)
Levander, S.L.         02/23/23 Meeting with L Dassin, R Zutshi, A                   0.40
                                Janghorbani, A Saenz, B Richey re strategy
                                for investigation
Levander, S.L.         02/23/23 Follow-up meeting with L. Dassin, R. Zutshi,         1.80
                                A. Janghorbani, A. Saenz, and B.
                                Richey regarding strategy for investigation
Levander, S.L.         02/23/23 Analysis re elevated documents                       1.10
Lotty, A.              02/23/23 Review and summarize key documents (2);              3.00
                                Internal team correspondence re: document
                                review (1).
Lotty, A.              02/23/23 Meeting with J. Levy, J. Vaughn Vines, N.            0.40
                                Alegre, A. Saba, M. Rathi, S. Larner, B.
                                Richey, E. Morrow, K. MacAdam, M.

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                                 Kowiak, A. Gariboldi, B. Wang, B. Barreto,
                                 R. Hurley, L. Woll, D. Christian, A. Orteza to
                                 discuss updated document review procedures.
MacAdam, K.           02/23/23 Call with A. Saenz and M. Rathi re: telegram         0.30
                               review.
MacAdam, K.           02/23/23 Correspondence re Telegram collection.               1.30
MacAdam, K.           02/23/23 Meeting with J. Levy, J. Vaughn Vines, N.            0.40
                               Alegre, A. Saba, A. Lotty, M. Rathi, S.
                               Larner, B. Richey, E. Morrow, M. Kowiak, A.
                               Gariboldi, B. Wang, B. Barreto, R. Hurley, L.
                               Woll, D. Christian, A. Orteza to discuss
                               updated document review procedures.
MacAdam, K.           02/23/23 Review docs flagged as key/interesting.              2.70
Morrow, E.S.          02/23/23 Meeting with J. Levy, J. Vaughn Vines, N.            0.40
                               Alegre, A. Saba, A. Lotty, M. Rathi, S.
                               Larner, B. Richey, K. MacAdam, M. Kowiak,
                               A. Gariboldi, B. Wang, B. Barreto, R. Hurley,
                               L. Woll, D. Christian, A. Orteza to discuss
                               updated document review procedures.
Morrow, E.S.          02/23/23 Implement edits to investigation chronology          0.90
                               (0.8), circulate to team (0.1)
Morrow, E.S.          02/23/23 Review memos and privilege and conduct               2.10
                               research on same
Morrow, E.S.          02/23/23 Internal communication re: document review           0.50
Morrow, E.S.          02/23/23 Review attachments re: privilege review              0.40
Rathi, M.             02/23/23 Drafting high level summary of SLR and               2.30
                               reviewing key document chronology based on
                               the same
Rathi, M.             02/23/23 Call with K. MacAdam and A. Saenz re:                0.30
                               telegram review
Rathi, M.             02/23/23 key document review (0.3) correspondence             0.70
                               with A. Lotty re: the same (0.4)
Rathi, M.             02/23/23 Revising interview memorandum                        0.30
Rathi, M.             02/23/23   Meeting with J. Levy, J. Vaughn Vines, N.          0.50
                                 Alegre, A. Saba, A. Lotty, S. Larner, B.
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NAME                  DATE       DESCRIPTION                                      HOURS
                                 Richey, E. Morrow, K. MacAdam, M.
                                 Kowiak, A. Gariboldi, B. Wang, B. Barreto,
                                 R. Hurley, L. Woll, D. Christian, A. Orteza to
                                 discuss updated document review procedures
                                 (0.4) .correspondece re: the same (0.1)
Richey, B.            02/23/23 Meeting with L. Dassin, R. Zutshi, A.                7.60
                               Janghorbani , A. Saenz, S. Levander, and B.
                               Richey regarding strategy for investigation
                               and coordination with bankruptcy team (2.2);
                               meeting with J. Levy, J. Vaughn Vines, N.
                               Alegre, A. Saba, A. Lotty, M. Rathi, S.
                               Larner, E. Morrow, K. MacAdam, M.
                               Kowiak, A. Gariboldi, B. Wang, B. Barreto,
                               R. Hurley, L. Woll, D. Christian, A. Orteza to
                               discuss updated document review procedures
                               (0.4); correspondence with Cleary team re
                               investigation updates and workstreams (.6);
                               drafting investigation update and key
                               documents summary (3.5); review of key
                               documents (.9).
Saba, A.              02/23/23 Meeting with J. Levy, J. Vaughn Vines, N.            0.40
                               Alegre, A. Lotty, M. Rathi, S. Larner, B.
                               Richey, E. Morrow, K. MacAdam, M.
                               Kowiak, A. Gariboldi, B. Wang, B. Barreto,
                               R. Hurley, L. Woll, D. Christian, A. Orteza to
                               discuss updated document review procedures
Gariboldi, A.         02/23/23 Meeting with J. Levy, J. Vaughn Vines, N.            0.40
                               Alegre, A. Saba, A. Lotty, M. Rathi, S.
                               Larner, B. Richey, E. Morrow, K. MacAdam,
                               M. Kowiak, B. Wang, B. Barreto, R. Hurley,
                               L. Woll, D. Christian, A. Orteza to discuss
                               updated document review procedures.
Kowiak, M.J.          02/23/23 Review draft of M. Rathi email to A. Saenz           0.10
Kowiak, M.J.          02/23/23 Communicate via Teams with M. Rathi about            0.10
                               summary of 2LR
Kowiak, M.J.          02/23/23 Meeting with J. Levy, J. Vaughn Vines, N.            0.40
                               Alegre, A. Saba, A. Lotty, M. Rathi, S.
                               Larner, B. Richey, E. Morrow, K. MacAdam,
                               A. Gariboldi, B. Wang, B. Barreto, R. Hurley,
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NAME                    DATE       DESCRIPTION                                     HOURS
                                   L. Woll, D. Christian, A. Orteza to discuss
                                   updated document review procedures.
Christian, D.M.         02/23/23 Conduct first level review of potential key and     5.40
                                 responsive documents.
Christian, D.M.         02/23/23 Meeting with J. Levy, J. Vaughn Vines, N.           0.40
                                 Alegre, A. Saba, A. Lotty, M. Rathi, S.
                                 Larner, B. Richey, E. Morrow, K. MacAdam,
                                 M. Kowiak, A. Gariboldi, B. Wang, B.
                                 barreto, R. Hurley, L. Woll, A. Orteza to
                                 discuss updated document review procedures.
Levy, J.R.              02/23/23 Call with J. Vaughn Vines, and A. Orteza re:        0.70
                                 second level review.
Levy, J.R.              02/23/23 Update reviewer workflows                           1.80
Levy, J.R.              02/23/23 Meeting with J. Vaughn Vines, N. Alegre, A.         0.40
                                 Saba, A. Lotty, M. Rathi, S. Larner, B.
                                 Richey, E. Morrow, M. Kowiak, K.
                                 MacAdam, A. Gariboldi, B. Wang, B.
                                 Barreto, R. Hurley, L. Woll, D. Christian, A.
                                 Orteza to discuss updated document review
                                 procedures.
Orteza, A.              02/23/23 Call with J. Levy, J. Vaughn Vines, and A.          0.70
                                 Orteza
                                 re: second level review.
Orteza, A.              02/23/23 Review documents for relevance and privilege        0.60
                                 protection
Orteza, A.              02/23/23 Meeting with J. Levy, J. Vaughn Vines, N.           0.40
                                 Alegre, A. Saba, A. Lotty, M. Rathi, S.
                                 Larner, B. Richey, E. Morrow, K. MacAdam,
                                 M. Kowiak, A. Gariboldi, B. Wang, B.
                                 Barreto, R. Hurley, L. Woll, D. Christian to
                                 discuss updated document review procedures.
Vaughan Vines, J.A.     02/23/23 Analyze documents for responsiveness to             2.30
                                 regulator requests (1.9), Meeting with J. Levy,
                                 K. MacAdam, N. Alegre, A. Saba, A. Lotty,
                                 M. Rathi, S. Larner, B. Richey, E. Morrow,
                                 M. Kowiak, A. Gariboldi, B. Wang, B.
                                 Barreto, R. Hurley, L. Woll, D. Christian, A.

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NAME                  DATE       DESCRIPTION                                  HOURS
                                 Orteza to discuss updated document review
                                 procedures (0.4)
Vaughan Vines, J.A.   02/23/23 Call with J. Levy and A. Orteza re: second         0.70
                               level review.
Barreto, B.           02/23/23 Meeting with J. Levy, J. Vaughn Vines, N.          0.40
                               Alegre, A. Saba, A. Lotty, M. Rathi, S.
                               Larner, B. Richey, E. Morrow, K. MacAdam,
                               M. Kowiak, A. Gariboldi, B. Wang, R.
                               Hurley, L. Woll, D. Christian, A. Orteza to
                               discuss updated document review procedures.
Guiha, A.             02/23/23 Review documents for responsiveness and            2.00
                               privilege.
Hurley, R.            02/23/23 Meeting with J. Levy, J. Vaughn Vines, N.          0.40
                               Alegre, A. Saba, A. Lotty, M. Rathi, S.
                               Larner, B. Richey, E. Morrow, K. MacAdam,
                               M. Kowiak, A. Gariboldi, B. Wang, B.
                               Barreto, L. Woll, D. Christian, A. Orteza to
                               discuss updated document review procedures.
Hurley, R.            02/23/23 review selected documents for responsiveness       4.60
                               and relevance issues
Wang, B.              02/23/23 Meeting with J. Levy, J. Vaughn Vines, N.          0.40
                               Alegre, A. Saba, A. Lotty, M. Rathi, S.
                               Larner, B. Richey, E. Morrow, K. MacAdam,
                               M. Kowiak, A. Gariboldi, B. Barreto, R.
                               Hurley, L. Woll, D. Christian, A. Orteza to
                               discuss updated document review procedures.
Wang, B.              02/23/23 Perform document review for responsiveness         4.60
                               and privilege per A. Lotty.
Banks, B.D.           02/23/23 Electronic Document Review.                        8.00
Cavanagh, J.          02/23/23 Electronic Document Review.                       10.00
Gayle, K.             02/23/23 Electronic Document Review.                        8.00
Hong, H.S.            02/23/23 Electronic Document Review.                       10.00
Rivas-Marrero, D.     02/23/23 Electronic Document Review.                       11.00
Taylor, W.B.          02/23/23 Electronic Document Review.                        8.00
Wilford, R.N.         02/23/23 Electronic Document Review.                        7.30
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NAME                  DATE       DESCRIPTION                                    HOURS

Woll, L.              02/23/23 Meeting with J. Levy, J. Vaughn Vines, N.          0.40
                               Alegre, A. Saba, A. Lotty, M. Rathi, S.
                               Larner, B. Richey, E. Morrow, K. MacAdam,
                               M. Kowiak, A. Gariboldi, B. Wang, B.
                               Barreto, R. Hurley, D. Christian, A. Orteza to
                               discuss updated document review procedures.
Gallagher, A.         02/23/23 Updated Conference Room Reservations per           0.30
                               C. Valenti
Saran, S.             02/23/23 Updated communications log per A. Saenz            0.50
Saran, S.             02/23/23 Printed and delivered slide deck per A. Saenz      0.80
Dassin, L.L.          02/24/23 Partial call with R. Zutshi, A. Weaver, A.         0.30
                               Saenz, and S. Levander regarding
                               investigation and next steps.
Dassin, L.L.          02/24/23 Video-conference with S. O'Neal, J. Vanlare,       1.00
                               R. Zutshi, A. Janghorbani, A. Saenz, and S.
                               Levander regarding strategy and next steps.
Dassin, L.L.          02/24/23 Emails with R. Zutshi and CGSH team                1.00
                               regarding investigation and next steps.
Dassin, L.L.          02/24/23 Analyze communications for investigation           1.40
                               and follow up.
O'Neal, S.A.          02/24/23 Call with L. Dassin, R. Zutshi, A. Weaver, A.      1.10
                               Saenz, A. Janghorbani, J. Vanlare and S.
                               Levander re enforcement matters and
                               productions (1.0); correspondence re same
                               (0.1)
VanLare, J.           02/24/23 Call with S. O'Neal, L. Dassin R. Zutshi, A.       1.00
                               Janghorbani, A. Saenz, and S. Levander re
                               enforcement matters and productions
Zutshi, R.N.          02/24/23 Planning for presentation.                         1.20
Zutshi, R.N.          02/24/23 Follow up regarding collection issues.             0.80
Zutshi, R.N.          02/24/23 Call with L. Dassin, S. O'Neal, A. Weaver, A.      1.00
                               Saenz, A. Janghorbani, J. Vanlare and S.
                               Levander re enforcement matters and
                               productions (1.0)
Zutshi, R.N.          02/24/23 Partial call with R. Zutshi, A. Weaver, A.         0.20
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NAME                    DATE       DESCRIPTION                                    HOURS
                                   Saenz, A. Jangrobahni and L. Dassin
                                   regarding investigation and next steps.
Zutshi, R.N.            02/24/23 Meeting with A. Janghorbani, L. Dassin, R.         0.50
                                 Zutshi, A. Weaver, A. Saenz, S. Levander,
                                 and B. Richey re investigation. (.5)
Janghorbani, A.         02/24/23 Meeting with L. Dassin, R. Zutshi, A.              0.50
                                 Weaver, A. Saenz, S. Levander, and B.
                                 Richey re investigation.
Janghorbani, A.         02/24/23 Meeting with S. O’Neal, J. Vanlare, L.             1.00
                                 Dassin, R. Zutshi, A. Weaver, A. Saenz, and
                                 S. Levander re re enforcement matters and
                                 productions.
Janghorbani, A.         02/24/23 Attend to correspondence re investigation.         0.50
Weaver, A.              02/24/23 Call with L Dassin, R Zutshi, A Saenz, A           0.50
                                 Janghorbani, and S Levander regarding the
                                 investigation and planning.
Weaver, A.              02/24/23 Call with S. O'Neal, J. VanLare, L. Dassin, R.     1.00
                                 Zutshi, S. Levander, A. Janghorbani, A.
                                 Saenz re enforcement matters and
                                 productions (1.0).
Saenz, A.F.             02/24/23 Meeting with L. Dassin, R. Zutshi, A.              0.50
                                 Weaver, S. Levander, A. Janghorbani and B.
                                 Richey re investigation.
Saenz, A.F.             02/24/23 Review key documents escalation documents,         0.30
                                 provide comments to review team.
Saenz, A.F.             02/24/23 Prepare draft talking points for Special           5.90
                                 Committee .
Saenz, A.F.             02/24/23 Call with S. O'Neal, L. Dassin, A. Jangrobani,     1.00
                                 R. Zutshi, J. Vanlare, S. Levander re
                                 enforcement matters and productions.
Saenz, A.F.             02/24/23 Follow up with team, production UCC and            1.30
                                 Telegram collection of R. Doshi.
Alegre, N.              02/24/23 Call to discuss transactions memo with S.          0.10
                                 Levander.
Cinnamon, M.            02/24/23 Telephone call with J. Levy and M. Kowiak          0.20

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NAME                   DATE       DESCRIPTION                                    HOURS
                                  regarding document requests.
Cinnamon, M.           02/24/23 Converse by telephone with M. Kowiak               0.30
                                regarding draft request for documents.
Cinnamon, M.           02/24/23 Reviewing draft document requests.                 1.10
Cinnamon, M.           02/24/23 Call with S. Levander regarding research.          0.20
Cinnamon, M.           02/24/23 Reviewing legal research.                          0.20
Kane-Weiss, S.M.       02/24/23 Telephone call with M.Kowiak regarding             0.10
                                document production request
Kane-Weiss, S.M.       02/24/23 Assist M. Kowiak with drafting document            0.50
                                request to ex-employee
Larner, S.             02/24/23 Conducted second-level review of outstanding       1.20
                                key documents reviewed by project attorneys
Larner, S.             02/24/23 Conducted quality control review of                1.00
                                outstanding documents reviewed by project
                                attorneys
Larner, S.             02/24/23 Reviewed daily investigation updates sent to       0.80
                                partners for the past week
Leibold, M.A.          02/24/23 Correspond regarding review updates.               0.10
Levander, S.L.         02/24/23 Call with S. O'Neal, J. VanLare, L. Dassin, R.     1.00
                                Zutshi, A. Weaver, A. Janghorbani, A. Saenz
                                re enforcement matters and productions
Levander, S.L.         02/24/23 Analysis re newly filed putative class action      0.70
                                re Gemini Earn
Levander, S.L.         02/24/23 Call with M. Cinnamon re research next steps       0.20
Levander, S.L.         02/24/23 Analysis re potential claims                       1.50
Lotty, A.              02/24/23 Review and summarize key documents (3);            4.70
                                Team correspondence re: document review
                                (1.7).
MacAdam, K.            02/24/23 Attention to correspondence re key doc             0.50
                                review.
MacAdam, K.            02/24/23 Prepare update to master chronology.               0.80
Morrow, E.S.           02/24/23 Email communication re: document review            0.50

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NAME                    DATE       DESCRIPTION                                  HOURS
Rathi, M.               02/24/23 Correspondence with investigation team re:         0.40
                                 key documents and next steps for
                                 investigation
Richey, B.              02/24/23 Meeting with L. Dassin, R. Zutshi, A.              2.00
                                 Weaver, A. Saenz, S. Levander and A.
                                 Janghorbani regarding investigation and
                                 document review workstreams (.5); drafting
                                 update on investigation and key documents
                                 for Cleary team (1.4).
Richey, B.              02/24/23 Call with J. Levy re: privilege review             0.50
                                 protocol.
Kowiak, M.J.            02/24/23 Prepare email to M. Cinnamon containing            0.10
                                 draft of email to A. Saenz
Kowiak, M.J.            02/24/23 Telephone call with S. Kane regarding              0.10
                                 document production request
Kowiak, M.J.            02/24/23 Telephone call with J. Levy, M. Cinnamon           0.20
                                 regarding document requests
Kowiak, M.J.            02/24/23 Make further revisions to document requests        0.10
                                 based on call with J. Levy and M. Cinnamon
Kowiak, M.J.            02/24/23 Draft email regarding document requests            0.10
Kowiak, M.J.            02/24/23 Review of changes to draft of request for          0.10
                                 documents
Kowiak, M.J.            02/24/23 Converse by telephone with M. Cinnamon             0.30
                                 regarding draft request for documents
Kowiak, M.J.            02/24/23 Revise draft request for documents                 0.80
Kowiak, M.J.            02/24/23 Prepare email to M. Cinnamon and J. Levy           0.30
                                 regarding request for documents
Christian, D.M.         02/24/23 Conduct second level review of non-                5.10
                                 privileged/non-key responsive documents.
Levy, J.R.              02/24/23 Call with B. Richey re: privilege review           0.50
                                 protocol.
Levy, J.R.              02/24/23 Prepare for privilege review                       1.00
Levy, J.R.              02/24/23 Update and manage reviewer workflows and           2.00
                                 production-related searches

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Levy, J.R.            02/24/23 Finalize UCC production for delivery               0.50
Levy, J.R.            02/24/23 Meeting with A. Saenz, A. Lotty, A. Saba,          0.70
                               and J. Vaughn Vines re document review
                               status
Levy, J.R.            02/24/23 Telephone                                          0.20
                               call with M. Cinnamon, M. Kowiak regarding
                               document requests
Orteza, A.            02/24/23 Review documents in second level review for        5.00
                               relevance, privilege and consistent tagging
Vaughan Vines, J.A.   02/24/23 Prepare review statistics.                         0.30
Barreto, B.           02/24/23 Review of investigation documents.                 6.00
Hurley, R.            02/24/23 review selected documents for responsiveness       4.00
                               and relevance issues
Wang, B.              02/24/23 Perform document review for responsiveness         5.00
                               and privilege per A. Lotty.
Banks, B.D.           02/24/23 Electronic Document Review.                        8.00
Cavanagh, J.          02/24/23 Electronic Document Review.                       10.00
Gayle, K.             02/24/23 Electronic Document Review.                        8.00
Hong, H.S.            02/24/23 Electronic Document Review.                       10.00
Rivas-Marrero, D.     02/24/23 Electronic Document Review.                        7.50
Taylor, W.B.          02/24/23 Electronic Document Review.                        8.00
Wilford, R.N.         02/24/23 Electronic Document Review.                        8.00
Adubofour, A.         02/24/23 Communicate with J. Vines and confirm              0.40
                               credentials for document access for paralegal
                               team
Adubofour, A.         02/24/23 Manage Collection of documents for special         1.80
                               committee meeting per A. Saenz
Lang, P.W.            02/24/23 ESI transfer via external FTP platform onto        0.50
                               network path with extraction for attorney
                               document review.
Lang, P.W.            02/24/23 ESI batch process for attorney document            0.30
                               review.

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NAME                  DATE       DESCRIPTION                                    HOURS
Saran, S.             02/24/23 Retrieved document IDs from outline per A.         1.00
                               Saenz
Saran, S.             02/24/23 Requested and set up Relativity access             0.50
Saenz, A.F.           02/25/23 Review escalated documents, provide                0.60
                               comments to review team.
Saenz, A.F.           02/25/23 Draft Special Committee presentation talking       4.10
                               points.
Rathi, M.             02/25/23 Reviewing telegrams                                0.60
Rathi, M.             02/25/23 Key document feedback to contract attorney         0.40
Zutshi, R.N.          02/26/23 Analyze materials from review                      1.50
Saenz, A.F.           02/26/23 Work on Special Committee draft talking            4.50
                               points.
Saenz, A.F.           02/26/23 Work on Special Committee draft talking            2.00
                               points.
Cinnamon, M.          02/26/23 Revising draft document requests.                  0.40
Leibold, M.A.         02/26/23 Prepare for internal team meeting.                 0.20
MacAdam, K.           02/26/23 Revise daily investigation update.                 0.60
Rathi, M.             02/26/23 Reviewing telegram chats                           0.30
Kowiak, M.J.          02/26/23 Complete work related to request for               0.20
                               document production
Dassin, L.L.          02/27/23 Analyze communications for investigation           1.70
Dassin, L.L.          02/27/23 Meet with R. Zutshi, A. Saenz, A.                  0.50
                               Janghorbani, S. Levander, and B. Richey to
                               discuss investigation strategy.
Dassin, L.L.          02/27/23 Meeting with R. Zutshi, A. Saenz, A.               3.20
                               Janghorbani, A. Weaver (partial), S. Levander
                               and B. Richey to discuss investigation updates
                               to Special Committee.
O'Neal, S.A.          02/27/23 Correspondence with A. Saenz re production         0.10
                               (.1)
Zutshi, R.N.          02/27/23 Analyze materials identified in review.            2.00
Zutshi, R.N.          02/27/23 Meeting with L. Dassin, A. Saenz, A.               3.20
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NAME                    DATE       DESCRIPTION                                    HOURS
                                   Janghorbani, A. Weaver (partial), S.
                                   Levander, and B. Richey to discuss
                                   investigation updates to Special Committee
Zutshi, R.N.            02/27/23 Meeting                                            0.50
                                 with L. Dassin, A. Saenz, A. Janghorbani, S.
                                 Levander, and B. Richey
                                 to discuss investigation strategy
Zutshi, R.N.            02/27/23 Follow up regarding collection issues.             0.90
Janghorbani, A.         02/27/23 Meeting with R. Zutshi, A. Saenz, L. Dassin,       3.20
                                 A. Weaver (partial), S. Levander and B.
                                 Richey to discuss investigation updates to
                                 Special Committee.
Janghorbani, A.         02/27/23 Daily meeting with L. Dassin, R. Zutshi, A.        0.50
                                 Saenz, A. Weaver, S. Levander, and B.
                                 Richey re investigation status and next steps.
Weaver, A.              02/27/23 Meeting with L. Dassin, R. Zutshi, A. Saenz,       2.00
                                 A. Janghorbani, S. Levander, and B. Richey
                                 to discuss investigation updates to Special
                                 Committee (partial)
Saenz, A.F.             02/27/23 Prepare talking points for Special Committee       3.50
                                 presentation.
Saenz, A.F.             02/27/23 Meeting with S. Levander, M. Leibold, M.           0.50
                                 Cinnamon, N. Alegre, A. Saba, A. Lotty, B.
                                 Richey, S. Larner, M. Rathi, K. MacAdam, E.
                                 Morrow, M. Kowiak, and A. Gariboldi to
                                 discuss investigation next steps.
Saenz, A.F.             02/27/23 Meeting with L. Dassin, R. Zutshi, A. Saenz,       0.50
                                 A. Janghorbani, S. Levander, and B. Richey
                                 to discuss investigation strategy.
Saenz, A.F.             02/27/23 Meeting with L. Dassin, R. Zutshi, A. Saenz,       3.20
                                 A. Janghorbani, A. Weaver (partial), S.
                                 Levander, and B. Richey to discuss
                                 investigation updates to Special Committee.
Saenz, A.F.             02/27/23 Call with D. Isaacs, Upadhyaya, E. Amorim,         0.80
                                 R. Zutshi (partial) to discuss and coordinate
                                 regulatory response.

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NAME                  DATE       DESCRIPTION                                    HOURS
Saenz, A.F.           02/27/23 Call with E. Amorim regarding Morrison             0.30
                               Cohen UCC debrief on Gemini EARN
                               documents.
Alegre, N.            02/27/23 Correspond on resource allocation and              0.20
                               workstreams.
Alegre, N.            02/27/23 Meeting with A. Saenz, S. Levander, M.             0.50
                               Leibold, M. Cinnamon, K. MacAdams, A.
                               Saba, A. Lotty, B. Richey, S. Larner, M.
                               Rathi, E. Morrow, M. Kowiak, and A.
                               Gariboldi to discuss investigation next steps.
Amorim, E.D.          02/27/23 Commented on set of key documents and              1.50
                               respective summaries elevated by
                               investigation document reviewers.
Amorim, E.D.          02/27/23 Revised memorandum on legal research of            0.70
                               possible claims.
Cinnamon, M.          02/27/23 Call with S. Larner re: research.                  0.40
Cinnamon, M.          02/27/23 Meeting with A. Saenz, S. Levander, M.             0.50
                               Leibold, N. Alegre, A. Saba, A. Lotty, B.
                               Richey, S. Larner, M. Rathi, K. MacAdam, E.
                               Morrow, M. Kowiak, and A. Gariboldi to
                               discuss investigation next steps.
Cinnamon, M.          02/27/23 Reviewing legal research regarding potential       0.90
                               bankruptcy causes of action.
Larner, S.            02/27/23 Researched information for transaction.            1.70
Larner, S.            02/27/23 Call with M. Cinnamon re: research.                0.40
Larner, S.            02/27/23 Meeting with A. Saenz, S. Levander, M.             0.50
                               Leibold, M. Cinnamon, N. Alegre, A. Saba,
                               A. Lotty, B. Richey, M. Rathi, K. MacAdam,
                               E. Morrow, M. Kowiak, and A. Gariboldi to
                               discuss investigation next steps.
Leibold, M.A.         02/27/23 Meeting with A. Saenz, S. Levander, M.             1.60
                               Leibold, M. Cinnamon, N. Alegre, A. Saba,
                               A. Lotty, B. Richey, S. Larner, M. Rathi, K.
                               MacAdam, E. Morrow, M. Kowiak, and A.
                               Gariboldi to discuss investigation next steps
                               (.5); Correspond re workstreams (.5); Review

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NAME                   DATE       DESCRIPTION                                  HOURS
                                  bankruptcy law primer (.6).
Levander, S.L.         02/27/23 Meeting with L. Dassin, R. Zutshi, A. Saenz,       0.50
                                A. Janghorbani, and B. Richey
                                to discuss investigation strategy
Levander, S.L.         02/27/23 Meeting with L. Dassin, R. Zutshi, A. Saenz,       3.20
                                A. Janghorbani, A. Weaver (partial), and B.
                                Richey to discuss investigation updates to
                                Special Committee
Levander, S.L.         02/27/23 Drafted summary of key documents                   2.10
Levander, S.L.         02/27/23 Drafted and revised presentation to special        3.20
                                committee
Levander, S.L.         02/27/23 Meeting with A. Saenz, K. MacAdam, M.              0.50
                                Leibold, M. Cinnamon, N. Alegre, A. Saba,
                                A. Lotty, B. Richey, S. Larner, M. Rathi, E.
                                Morrow, M. Kowiak, and A. Gariboldi to
                                discuss investigation next steps.
Lotty, A.              02/27/23 Review and summarize key documents (4);            8.30
                                Draft key people list for special committee
                                presentation (2.3); Team correspondence re:
                                assignments for special committee
                                presentation (2).
Lotty, A.              02/27/23 Meeting with A. Saenz, S. Levander, M.             0.50
                                Leibold, M. Cinnamon, N. Alegre, A. Saba,
                                B. Richey, S. Larner, M. Rathi, K. MacAdam,
                                E. Morrow, M. Kowiak, and A. Gariboldi to
                                discuss investigation next steps
MacAdam, K.            02/27/23 Review documents flagged as key/interesting.       0.70
MacAdam, K.            02/27/23 Meeting with A. Saenz, S. Levander, M.             0.50
                                Leibold, M. Cinnamon, N. Alegre, A. Saba,
                                A. Lotty, B. Richey, S. Larner, M. Rathi, E.
                                Morrow, M. Kowiak, and A. Gariboldi to
                                discuss investigation next steps.
MacAdam, K.            02/27/23 Update Telegram collection chart.                  0.90
MacAdam, K.            02/27/23 Identify relevant Telegram chats for review.       1.00
Morrow, E.S.           02/27/23 Meeting with J. Levy, N. Alegre, and B.            1.00
                                Richey regarding privilege review.
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NAME                  DATE       DESCRIPTION                                     HOURS

Morrow, E.S.          02/27/23 Meeting with A. Saenz, S. Levander, M.              0.50
                               Leibold, M. Cinnamon, N. Alegre, A. Saba,
                               A. Lotty, B. Richey, S. Larner, M. Rathi, K.
                               MacAdam, M. Kowiak, and A. Gariboldi to
                               discuss investigation next steps
Rathi, M.             02/27/23 Reviewing telegram chat list                        1.20
Rathi, M.             02/27/23 .5 -Meeting with A. Saenz, S. Levander, M.          0.50
                               Leibold, M. Cinnamon, N. Alegre, A. Saba,
                               A. Lotty, B. Richey, S. Larner, K. MacAdam,
                               E. Morrow, M. Kowiak, and A. Gariboldi to
                               discuss investigation next steps.
Rathi, M.             02/27/23 2.2 - drafting key document update; .3 -            2.50
                               correspondence re: the same with project
                               attorneys, A. Saba
Rathi, M.             02/27/23 Drafting list of key people to investigation        0.70
                               cheat sheet
Rathi, M.             02/27/23 2.4 - drafting updates to key document              2.80
                               chronology; .4 - related correspondence with
                               A. Gariboldi, M. Kowiak, A. Lotty
Rathi, M.             02/27/23 Reviewing bankruptcy case law article sent by       0.20
                               investigation team
Rathi, M.             02/27/23 Compiling research re: transaction profile          0.30
Richey, B.            02/27/23 Meeting with A. Saenz, S. Levander, M.              5.00
                               Leibold, M. Cinnamon, N. Alegre, A. Saba,
                               A. Lotty, S. Larner, M. Rathi, K. MacAdam,
                               E. Morrow, M. Kowiak, and A. Gariboldi to
                               discuss investigation next steps (0.5); meeting
                               with L. Dassin, R. Zutshi, A. Saenz, A.
                               Janghorbani, S. Levander to discuss
                               investigation strategy (0.5); meeting with L.
                               Dassin, R. Zutshi, A. Saenz, A. Janghorbani,
                               A. Weaver (partial) , and S. Levander to
                               discuss investigation updates to Special
                               Committee (3.2); drafting investigation update
                               presentation (0.8).
Saba, A.              02/27/23 Meeting with A. Saenz, S. Levander, M.              0.50
                               Leibold, M. Cinnamon, N. Alegre, A. Lotty,
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NAME                    DATE       DESCRIPTION                                   HOURS
                                   B. Richey, S. Larner, M. Rathi, K. MacAdam,
                                   E. Morrow, M. Kowiak, and A. Gariboldi to
                                   discuss investigation next steps.
Saba, A.                02/27/23 Corresponded with team re: issues related to       0.80
                                 document review.
Schwartz, D.Z.          02/27/23 Correspond to M. Cinnamon re potential             0.50
                                 claims (0.2); review law re potential claims
                                 (0.3).
Gariboldi, A.           02/27/23 Meeting with A. Saenz, S. Levander, M.             0.50
                                 Leibold, M. Cinnamon, N. Alegre, A. Saba,
                                 A. Lotty, B. Richey, S. Larner, M. Rathi, K.
                                 MacAdam, E. Morrow, and M. Kowiak to
                                 discuss investigation next steps.
Gariboldi, A.           02/27/23 Review and summarize key documents for             2.40
                                 investigation in coordination with M. Kowiak.
Gariboldi, A.           02/27/23 Prepare materials for enforcement associate        0.20
                                 team meeting with M. Leibold, M. Kowiak.
Kowiak, M.J.            02/27/23 Meeting with A. Saenz, S. Levander, M.             0.50
                                 Leibold, M. Cinnamon, N. Alegre, A. Saba,
                                 A. Lotty, B. Richey, S. Larner, M. Rathi, K.
                                 MacAdam, E. Morrow, and A. Gariboldi to
                                 discuss investigation next steps.
Kowiak, M.J.            02/27/23 Conduct second level document review               1.90
Kowiak, M.J.            02/27/23 Draft summaries of key documents for               0.50
                                 inclusion in master chronology
Kowiak, M.J.            02/27/23 Prepare email to M. Rathi regarding                0.10
                                 documents for inclusion in master chronology
Christian, D.M.         02/27/23 Conduct second level review of non-                3.50
                                 privileged/non-key responsive documents.
Levy, J.R.              02/27/23 Meeting with N. Alegre, B. Richey, and             1.00
                                 E. Morrow regarding privilege review
Levy, J.R.              02/27/23 Update and manage review workflows and             1.80
                                 search scoping
Vaughan Vines, J.A.     02/27/23 Prepare review statistics.                         0.30
Barreto, B.             02/27/23 Second-level review of investigation               0.80
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NAME                  DATE       DESCRIPTION                                  HOURS
                                 documents.
Guiha, A.             02/27/23 Second level review documents for                  1.00
                               responsiveness and privilege.
Hurley, R.            02/27/23 review selected documents for responsiveness       6.20
                               and relevance issues
Wang, B.              02/27/23 Perform document review for responsiveness         4.50
                               and privilege per A. Lotty.
Banks, B.D.           02/27/23 Electronic Document Review.                        8.00
Cavanagh, J.          02/27/23 Electronic Document Review.                       10.00
Gayle, K.             02/27/23 Electronic Document Review.                        8.00
Hong, H.S.            02/27/23 Electronic Document Review.                       10.00
Rivas-Marrero, D.     02/27/23 Electronic Document Review.                       11.00
Taylor, W.B.          02/27/23 Electronic Document Review.                        8.00
Wilford, R.N.         02/27/23 Electronic Document Review.                        8.30
Adubofour, A.         02/27/23 Finalize collection of documents for special       3.00
                               committee meeting per A. Saenz
Adubofour, A.         02/27/23 Coordinate logistics for meeting regarding         0.50
                               claim elements
Gallagher, A.         02/27/23 Adjusted Team Meeting Schedule per A.              0.10
                               Gariboldi
Lashay, V.            02/27/23 Production data decryption and network             0.30
                               transfer
Saran, S.             02/27/23 Searched Relativity for document for binder        0.30
                               per S. Levander
Dassin, L.L.          02/28/23 Analyze materials and communications for           2.50
                               investigation.
Dassin, L.L.          02/28/23 Meet with R. Zutshi, A. Janghorbani, A.            2.20
                               Weaver, A. Saenz, S. Levander, and B.
                               Richey regarding investigation update
                               presentation to Special Committee and
                               privilege review.
Dassin, L.L.          02/28/23 Meeting with R. Zutshi, A. Weaver, A.              0.40
                               Saenz, A. Janghorbani, and B. Richey
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NAME                    DATE       DESCRIPTION                                   HOURS
                                   regarding investigation and document review
                                   workstreams
Kessler, T.S.           02/28/23 Attend meeting with A. Saenz (partial), S.         0.80
                                 Levander, M. Leibold, E. Amorim, D.
                                 Schwartz, M. Cinnamon, N. Alegre, A. Saba,
                                 A. Lotty (partial), S. Larner, E. Morrow, K.
                                 MacAdam, A. Gariboldi (partial), M. Kowiak
                                 regarding investigation strategy (0.7);
                                 correspondence re same (0.1)
Zutshi, R.N.            02/28/23 Meeting with L. Dassin, A. Janghorbani, A.         2.20
                                 Weaver, A, Saenz, S. Levander, and B.
                                 Richey regarding investigation update
                                 presentation to Special Committee and
                                 privilege review
Zutshi, R.N.            02/28/23 Meeting                                            0.40
                                 with L. Dassin, A. Weaver, A. Saenz, A.
                                 Janghorbani, and B. Richey
                                 regarding investigation and document review
                                 workstreams
Zutshi, R.N.            02/28/23 Analyze materials identified in review and         1.30
                                 draft talking points
Janghorbani, A.         02/28/23 Meeting with L. Dassin, R. Zutshi, A.              0.40
                                 Weaver, A. Saenz, and B. Richey regarding
                                 investigation and document review
                                 workstreams
Janghorbani, A.         02/28/23 Meeting with L. Dassin, R. Zutshi, A.              2.20
                                 Janghorbani, A. Weaver, A, Saenz, S.
                                 Levander, and B. Richey regarding
                                 investigation update presentation to Special
                                 Committee and privilege review
Weaver, A.              02/28/23 Meeting with L. Dassin, R. Zutshi, A.              2.20
                                 Janghorbani, A. Weaver, A, Saenz, S.
                                 Levander, and B. Richey regarding
                                 investigation update presentation to Special
                                 Committee and privilege review
Weaver, A.              02/28/23 Meeting with L. Dassin, R. Zutshi, A. Saenz,       0.40
                                 A. Janghorbani, and B. Richey regarding
                                 investigation and document review
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NAME                  DATE      DESCRIPTION                                      HOURS
                                workstreams.
Saenz, A.F.           02/28/23 Review privilege calls, provide guidance to         1.10
                               team.
Saenz, A.F.           02/28/23 Prepare agenda for call internal team call with     0.20
                               L. Dassin, R. Zutshi.
Saenz, A.F.           02/28/23 Prepare outline of Special Committee talking        3.60
                               points.
Saenz, A.F.           02/28/23 Meeting with L. Dassin, R. Zutshi, A.               0.40
                               Weaver, A. Janghorbani, and B. Richey
                               regarding investigation and document review
                               workstreams.
Saenz, A.F.           02/28/23 Communication to S. O'Neal, J. Vanlare on           0.30
                               UCC, Enforcement productions.
Saenz, A.F.           02/28/23 Attend meeting with T. Kessler, S. Levander,        0.50
                               M. Leibold, E. Amorim, D. Schwartz, M.
                               Cinnamon, N. Alegre, A. Saba, A. Lotty
                               (partial), S. Larner, E. Morrow, K. MacAdam,
                               A. Gariboldi (partial), M. Kowiak regarding
                               investigation strategy (partial)
Saenz, A.F.           02/28/23 Meeting with L. Dassin, R. Zutshi, A.               2.20
                               Janghorbani, A. Weaver, S. Levander, and B.
                               Richey regarding investigation update
                               presentation to Special Committee and
                               privilege review.
Saenz, A.F.           02/28/23 Correspondence regarding requests for key           0.30
                               transactions profiles.
Saenz, A.F.           02/28/23 Review and provide guidance to N. Alegre on         1.50
                               privilege protocol.
Saenz, A.F.           02/28/23 Call with K. MacAdams to discuss Telegram           0.10
                               preservation.
Saenz, A.F.           02/28/23 Attend meeting with S. Allen (CDS), K.              0.20
                               MacAdams and former employee to discuss
                               Telegram collection.
Alegre, N.            02/28/23 Attend meeting with T. Kessler, A. Saenz            0.70
                               (partial), S. Levander, M. Leibold, E.
                               Amorim, D. Schwartz, M. Cinnamon, A.
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NAME                  DATE       DESCRIPTION                                   HOURS
                                 Saba, A. Lotty (partial), S. Larner, E.
                                 Morrow, K. MacAdam, A. Gariboldi (partial),
                                 M. Kowiak regarding investigation strategy.
Alegre, N.            02/28/23 Correspond on document review questions.           0.20
Amorim, E.D.          02/28/23 Attend meeting with T. Kessler, A. Saenz           0.70
                               (partial), S. Levander, M. Leibold, D.
                               Schwartz, M. Cinnamon, N. Alegre, A. Saba,
                               A. Lotty (partial), S. Larner, E. Morrow, K.
                               MacAdam, A. Gariboldi (partial), M. Kowiak
                               regarding investigation strategy.
Amorim, E.D.          02/28/23 Revised key documents and respective               1.30
                               summaries elevated by investigation
                               document reviewers.
Amorim, E.D.          02/28/23 Revised chronology of facts.                       0.50
Cinnamon, M.          02/28/23 Attend meeting with T. Kessler, A. Saenz           0.70
                               (partial), S. Levander, M. Leibold, E.
                               Amorim, D. Schwartz, N. Alegre, A. Saba, A.
                               Lotty (partial), S. Larner, E. Morrow, K.
                               MacAdam, A. Gariboldi (partial), M. Kowiak
                               regarding investigation strategy.
Larner, S.            02/28/23 Call with A. Lotty, A. Saba, M. Rathi, K.          0.10
                               MacAdam and S. Larner re: transaction
Larner, S.            02/28/23 Attend meeting with T. Kessler, A. Saenz           0.70
                               (partial), S. Levander, M. Leibold, E.
                               Amorim, D. Schwartz, M. Cinnamon, N.
                               Alegre, A. Saba, A. Lotty (partial), E.
                               Morrow, K. MacAdam, A. Gariboldi (partial),
                               M. Kowiak regarding investigation strategy
Larner, S.            02/28/23 Researched transactions.                           3.40
Leibold, M.A.         02/28/23 Attend meeting with T. Kessler, A. Saenz           1.60
                               (partial), S. Levander, E. Amorim, D.
                               Schwartz, M. Cinnamon, N. Alegre, A. Saba,
                               A. Lotty (partial), S. Larner, E. Morrow, K.
                               MacAdam, A. Gariboldi (partial), M. Kowiak
                               regarding investigation strategy (.7); Review
                               review updates (.8); Correspond re interview
                               preparation (.1).

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NAME                   DATE       DESCRIPTION                                  HOURS
Levander, S.L.         02/28/23 Meetings with L. Dassin, R. Zutshi, A.             2.20
                                Janghorbani, A. Weaver, A. Saenz, and B.
                                Richey regarding investigation update
                                presentation to Special Committee and
                                privilege review
Levander, S.L.         02/28/23 Call                                               0.30
                                with A. Lotty re: intercompany transaction
                                analysis
Levander, S.L.         02/28/23 Attend meeting with T. Kessler, A. Saenz           0.70
                                (partial), S. Levander, M. Leibold, E.
                                Amorim, D. Schwartz, M. Cinnamon, N.
                                Alegre, A. Saba, A. Lotty (partial), S.
                                Larner, E. Morrow, K. MacAdam, A.
                                Gariboldi (partial), M. Kowiak regarding
                                investigation strategy
Levander, S.L.         02/28/23 Drafted and revised presentation to special        1.50
                                committee
Levander, S.L.         02/28/23 Analysis re elevated documents                     1.20
Lotty, A.              02/28/23 Call with S. Levander re: intercompany             0.30
                                transaction analysis.
Lotty, A.              02/28/23 Call with A. Saba, M. Rathi, K. MacAdam            0.10
                                and S. Larner re: transaction profiles
Lotty, A.              02/28/23 Draft key people list for special committee        1.80
                                presentation.
Lotty, A.              02/28/23 Attend meeting with T. Kessler, A. Saenz           0.50
                                (partial), S. Levander, M. Leibold, E.
                                Amorim, D. Schwartz, M. Cinnamon, N.
                                Alegre, A. Saba, S. Larner, E. Morrow, K.
                                MacAdam, A. Gariboldi (partial), M. Kowiak
                                regarding investigation strategy (partial)
Lotty, A.              02/28/23 Review and summarize key documents.                4.70
Lotty, A.              02/28/23 Meeting with A. Gariboldi, A. Adubofour, S.        0.40
                                Saran, and A. Gallagher to discuss key
                                documents mark-up for special committee
                                presentation.
MacAdam, K.            02/28/23 Review Telegram threads for key threads.           1.60

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NAME                  DATE       DESCRIPTION                                     HOURS
MacAdam, K.           02/28/23 Attend meeting with T. Kessler, A. Saenz            0.70
                               (partial), S. Levander, M. Leibold, E.
                               Amorim, D. Schwartz, M. Cinnamon, N.
                               Alegre, A. Saba, A. Lotty (partial), S. Larner,
                               E. Morrow, A. Gariboldi (partial), M. Kowiak
                               regarding investigation strategy.
MacAdam, K.           02/28/23 Review documents flagged as key/interesting.        2.70
MacAdam, K.           02/28/23 Attend meeting with S. Allen (CDS), A.              0.20
                               Saenz and former employee to discuss
                               Telegram collection.
MacAdam, K.           02/28/23 Call with A. Saenz to discuss Telegram              0.10
                               preservation.
MacAdam, K.           02/28/23 Prepare transaction profile.                        0.70
MacAdam, K.           02/28/23 Call with A. Saba, A. Lotty, S. Larner, and M.      0.10
                               Rathi re: transaction profiles.
Morrow, E.S.          02/28/23 Conduct document review for investigation           2.80
Morrow, E.S.          02/28/23 Attend meeting with T. Kessler, A. Saenz            0.70
                               (partial), S. Levander, M. Leibold, E.
                               Amorim, D. Schwartz, M. Cinnamon, N.
                               Alegre, A. Saba, A. Lotty (partial), S. Larner,
                               K. MacAdam, A. Gariboldi (partial), M.
                               Kowiak regarding investigation strategy
Morrow, E.S.          02/28/23 Review document compilation updates                 0.60
Rathi, M.             02/28/23 1.1 - revising key document chronology; .7 -        1.80
                               correspondence with S. Levander re: GBTC
                               related question
Rathi, M.             02/28/23 .1 – Call with A. Lotty, A. Saba, K.                0.10
                               MacAdam and S. Larner re: transaction
                               profiles.
Rathi, M.             02/28/23 Drafting transaction profile for GGCI               1.40
Rathi, M.             02/28/23 Reviewing Key people list.                          0.30
Rathi, M.             02/28/23 Correspondence re: genesis investigation next       0.30
                               steps
Rathi, M.             02/28/23 2.7 - key document review; .5 - related             3.20
                               correspondence with B. Richey, A. Lotty, A.
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NAME                   DATE       DESCRIPTION                                    HOURS
                                  Saba.
Richey, B.             02/28/23 Meeting with L. Dassin, R. Zutshi, A.              9.60
                                Janghorbani, A. Weaver, A, Saenz, and S.
                                Levander regarding investigation update
                                presentation to Special Committee and
                                privilege review (2.2); drafting investigation
                                update materials (4.5); document review re
                                investigation fact finding (2.1);
                                correspondence re materials for investigation
                                update presentation (0.4); meeting with L.
                                Dassin, R. Zutshi, A. Weaver, A. Saenz, A.
                                Janghorbani, and B. Richey regarding
                                investigation and document review
                                workstreams (0.4).
Saba, A.               02/28/23 Attend meeting with T. Kessler, A. Saenz, S.       0.70
                                Levander, M. Leibold, E. Amorim, D.
                                Schwartz, M. Cinnamon, N. Alegre, A. Lotty,
                                S. Larner, E. Morrow, K. MacAdam, A.
                                Gariboldi (partial), M. Kowiak regarding
                                investigation strategy.
Saba, A.               02/28/23 Call with K. MacAdams, A. Lotty, S. Larner,        0.10
                                and M. Rathi re: transaction profiles.
Schwartz, D.Z.         02/28/23 Attend meeting with T. Kessler, A. Saenz           0.70
                                (partial), S. Levander, M. Leibold, E.
                                Amorim, M. Cinnamon, N. Alegre, A. Saba,
                                A. Lotty (partial), S. Larner, E. Morrow, K.
                                MacAdam, A. Gariboldi (partial), M. Kowiak
                                regarding investigation strategy
Schwartz, D.Z.         02/28/23 Prepare for meeting with investigation team        0.50
                                through review of potential claims.
Gariboldi, A.          02/28/23 Engage in review of key documents for              1.80
                                investigation in coordination with A. Lotty.
Gariboldi, A.          02/28/23 Prepare materials for meeting with                 0.50
                                enforcement paralegal team on key documents
                                for special committee presentation.
Gariboldi, A.          02/28/23 Meeting with A. Lotty, A. Adubofour, S.            0.40
                                Saran, and A. Gallagher to discuss key
                                documents mark up for special committee
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NAME                  DATE       DESCRIPTION                                       HOURS
                                 presentation.
Gariboldi, A.         02/28/23 Attend meeting with T. Kessler, A. Saenz              0.70
                               (partial), S. Levander, M. Leibold, E.
                               Amorim, D. Schwartz, N. Alegre, A. Saba, A.
                               Lotty (partial), S. Larner, E. Morrow, K.
                               MacAdam, M. Cinnamon, M. Kowiak
                               regarding investigation strategy (partial)
Kowiak, M.J.          02/28/23 Revise notes from meeting for circulation to          0.40
                               team
Kowiak, M.J.          02/28/23 Draft summaries of key documents to add to            0.50
                               master chronology
Kowiak, M.J.          02/28/23 Investigate details of transaction of interest to     1.80
                               investigation
Kowiak, M.J.          02/28/23 Attend meeting with T. Kessler, A. Saenz              0.70
                               (partial), S. Levander, M. Leibold, E.
                               Amorim, D. Schwartz, M. Cinnamon, N.
                               Alegre, A. Saba, A. Lotty (partial), S. Larner,
                               E. Morrow, K. MacAdam, A. Gariboldi
                               (partial) regarding investigation strategy
Kowiak, M.J.          02/28/23 Prepare email regarding key documents to add          0.10
                               or update in master chronology
Orteza, A.            02/28/23 Project Genesis: Review documents in second           4.00
                               level review for responsiveness, privilege and
                               key
Vaughan Vines, J.A.   02/28/23 Prepare review statistics.                            0.30
Vaughan Vines, J.A.   02/28/23 Analyze documents for privilege.                      1.50
Barreto, B.           02/28/23 Second-level review of investigation                  7.50
                               documents.
Guiha, A.             02/28/23 Second level review documents for                     2.00
                               responsiveness and privilege.
Hurley, R.            02/28/23 review selected documents for responsiveness          7.30
                               and relevance issues
Wang, B.              02/28/23 Perform second level document review for              5.00
                               responsiveness and privilege per A. Lotty.
Banks, B.D.           02/28/23 Electronic Document Review.                           8.00
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NAME                  DATE       DESCRIPTION                                   HOURS

Cavanagh, J.          02/28/23 Electronic Document Review.                       10.00
Gayle, K.             02/28/23 Electronic Document Review.                         8.00
Hong, H.S.            02/28/23 Electronic Document Review.                       10.00
Rivas-Marrero, D.     02/28/23 Electronic Document Review.                       12.00
Taylor, W.B.          02/28/23 Electronic Document Review.                         8.00
Wilford, R.N.         02/28/23 Electronic Document Review.                         8.30
Adubofour, A.         02/28/23 Participate in Special Committee Presentation       0.40
                               Meeting with A. Lotty, A. Gariboldi, and
                               paralegal team
Adubofour, A.         02/28/23 Prepare FOIA letters and cover letters for          0.50
                               production per A. Gariboldi
Adubofour, A.         02/28/23 Identify and prepare key documents for DCG          1.30
                               per S. Levander
Adubofour, A.         02/28/23 Call with A. Gariboldi, A. Lotty, A.                0.40
                               Gallagher, and S. Saran re Special Committee
                               Presentation
Gallagher, A.         02/28/23 Prepared DCG Binder per S. Levander                 0.80
Gallagher, A.         02/28/23 Encrypted Production Cover Letters per E.           1.80
                               Amorim
Gallagher, A.         02/28/23 Prpeared Documents for DCG Binder per S.            0.50
                               Levander
Gallagher, A.         02/28/23 Highlighted Key Docs for Special Committee          1.50
                               Presentation per A. Gariboldi
Gallagher, A.         02/28/23 Call with A. Gariboldi, A. Lotty, A.                0.40
                               Adubofour, and S. Saran re Special
                               Committee Presentation
Saran, S.             02/28/23 Call with A. Gariboldi, A. Lotty, A.                0.40
                               Adubofour, and A. Gallagher re Special
                               Committee Presentation
                                 MATTER TOTAL:                                 3,286.00




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                               Timekeeper Summary
Name                                  Hours                 Rate            Amount

Partner
VanLare, J.                              .5.60          .1,730.00   $       9,688.00
Associate
Bremer, S.                             .4.20              .845.00   $       3,549.00
Kim, H.R.                              .3.60            .1,105.00   $       3,978.00
Ribeiro, C.                          .12.30             .1,045.00   $      12,853.50

Total:                                25.70                         $      30,068.50




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NAME                 DATE       DESCRIPTION                                  HOURS
VanLare, J.          02/01/23 Reviewed GAP recognition affidavit (1)             1.00
Bremer, S.           02/01/23 Revise recognition for application in              0.90
                              Singapore.
Kim, H.R.            02/01/23 Reviewing Singapore recognition affidavit          0.20
Bremer, S.           02/02/23 Revise comments on GAP recognition                 0.40
                              proceeding documents.
Kim, H.R.            02/02/23 Reviewing Singaporean recognition filings          1.00
VanLare, J.          02/03/23 Call with C. Ribeiro, and S. Bremer re             0.80
                              extension of automatic stay to DCG and
                              Singaporean recognition proceeding.
VanLare, J.          02/03/23 Reviewed Singapore recognition proceeding          0.80
                              papers (.8)
Bremer, S.           02/03/23 Revise comments on Singapore recognition           0.40
                              proceeding documents.
Bremer, S.           02/03/23 Call with J. VanLare and C. Ribeiro re             0.80
                              extension of automatic stay to DCG and
                              Singaporean recognition proceeding.
Kim, H.R.            02/03/23 Reviewing Singapore recognition filings            0.60
Ribeiro, C.          02/03/23 Review Singapore foreign recognition               0.80
                              requirements
Ribeiro, C.          02/03/23 Correspond with J. VanLare re Singapore            0.30
                              proceeding
Ribeiro, C.          02/03/23 Review draft summons re foreign recognition        0.30
                              petition
VanLare, J.          02/05/23 Call with C. Ribeiro, S. Bremer, A. Yeo            0.80
                              (A&G), R. Xu (A&G), Y. Ning (A&G), and J.
                              Tay (A&G) re Singaporean recognition
                              proceeding.
Bremer, S.           02/05/23 Call with J. VanLare, C. Ribeiro, A. Yeo           0.80
                              (A&G), R. Xu (A&G), Y. Ning (A&G), J.
                              Tay (A&G) re Singaporean recognition
                              proceeding.
Ribeiro, C.          02/05/23 Call with J. VanLare, S. Bremer, A. Yeo            0.80
                              (A&G), R. Xu (A&G), Y. Ning (A&G), and J.

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CLIENT: Genesis Global Holdco, LLC
MATTER: 24872.018 Singapore Proceeding



NAME                 DATE       DESCRIPTION                                    HOURS
                                Tay (A&G) re Singaporean recognition
                                proceeding
VanLare, J.          02/07/23 Call with C. Ribeiro re retention applications     0.30
                              and singapore recognition proceeding (.2);
                              prep for same (.1)
Bremer, S.           02/07/23 Review documents for Singapore recognition         0.10
                              proceeding.
Ribeiro, C.          02/07/23 Call with J. VanLare re retention applications     0.20
                              and singapore recognition proceeding
Ribeiro, C.          02/07/23 Revise recognition petition papers                 1.10
VanLare, J.          02/08/23 Reviewed Singapore recognition affidavit (.5)      0.50
Ribeiro, C.          02/08/23 Revise affidavit in support of singapore           1.20
                              recognition petition
VanLare, J.          02/09/23 Reviewed Singapore proceeding documents            0.20
                              (.2)
Ribeiro, C.          02/09/23 Correspondence with J. VanLare re relief           0.50
                              sought in Singapore recognition proceeding
                              (0.1); review Model Cross-Border Insolvency
                              Law (0.4)
Ribeiro, C.          02/09/23 Correspond with Singapore counsel re               0.40
                              recognition papers
Ribeiro, C.          02/10/23 Revise originating application for singapore       1.30
                              proceeding
Ribeiro, C.          02/10/23 Correspond with J. VanLare re documents            0.20
                              needed for recognition petition
VanLare, J.          02/12/23 Reviewed draft recognition papers (.2)             0.20
VanLare, J.          02/13/23 Reviewed Singapore recognition papers (.3)         0.30
Ribeiro, C.          02/13/23 Revise Singapore recognition papers                0.90
Ribeiro, C.          02/13/23 Correspond with J. VanLare re Singapore            0.20
                              recognition papers
Ribeiro, C.          02/13/23 Correspond with J. Tay Yu Xi (Allen a&             0.20
                              Gledhill) re Singapore supporting affidvait
Ribeiro, C.          02/13/23 Correspond with A. Pretto-Sakmann                  0.40
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CLIENT: Genesis Global Holdco, LLC
MATTER: 24872.018 Singapore Proceeding



NAME                 DATE       DESCRIPTION                                     HOURS
                                (Genesis), A. Sullivan (Genesis) re Singapore
                                recognition papers
Ribeiro, C.          02/14/23 Correspond with Y. Ning (Allen & Gledhill)          0.20
                              re Singapore originating application
VanLare, J.          02/15/23 Reviewed Singapore recognition proceedings          0.60
                              (.6)
VanLare, J.          02/16/23 Reviewed Singapore recongnition papers (.1)         0.10
Kim, H.R.            02/22/23 Reviewing document requests from Singapore          0.70
                              counsel
Bremer, S.           02/23/23 Review motion to seal Singapore proceedings         0.80
                              drafted by local counsel.
Ribeiro, C.          02/23/23 Communicate with Y. Tzening (Allen &                0.20
                              Gledhill) re BVI litigation
Ribeiro, C.          02/27/23 Review Singapore papers (affidavit,                 3.10
                              application proposed orders) (2.0); review
                              documents necessary for recognition filing
                              (0.9); correspond with A. Tsang (Genesis), A.
                              Pretto-Sakmann (Genesis) re same (0.2)
Kim, H.R.            02/28/23 Reviewing documents for Singapore                   1.10
                              recognition proceeding
                                MATTER TOTAL:                                    25.70




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CLIENT: Genesis Global Holdco, LLC
MATTER: 24872.019 Post-Petition Governance


                               Timekeeper Summary
Name                                  Hours                 Rate            Amount

Partner
O'Neal, S.A.                           .7.10            .1,820.00   $      12,922.00
VanLare, J.                            .8.40            .1,730.00   $      14,532.00
Counsel
Hammer, B.M.                           .0.70            .1,280.00   $        896.00
Associate
Ribeiro, C.                            .2.70            .1,045.00   $       2,821.50
Weinberg, M.                           .0.90            .1,105.00   $         994.50
Associate Not Admitted
Hatch, M.                              .2.80             .710.00    $       1,988.00

Total:                                22.60                         $      34,154.00




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CLIENT: Genesis Global Holdco, LLC
MATTER: 24872.019 Post-Petition Governance



NAME                  DATE      DESCRIPTION                                    HOURS
O'Neal, S.A.          02/01/23 Attend Special Committee meeting (0.7);           1.50
                               attend Executive session following Sp. Cmte
                               meeting (0.8)
VanLare, J.           02/01/23 Reviewed agenda and materials for SC              1.00
                               meeting (.3); participated in special
                               committee meeting (.7)
Hammer, B.M.          02/01/23 Attend GGH Special Committee Meeting.             0.70
O'Neal, S.A.          02/04/23 Corresp with P. Aronzon (Special Committee)       0.20
                               and T. Conheeny (Special Committee) re next
                               steps and Term Sheet
O'Neal, S.A.          02/05/23 Corresp with P. Aronzon (Special Committee)       0.70
                               and T. Conheeny (Special Committee) re
                               Term Sheet (.5) and cash cloud (.2)
Ribeiro, C.           02/06/23 Correspond with J. VanLare, M. Hatch re           0.20
                               special committee presentation re chapter 11
                               workstreams
Hatch, M.             02/06/23 Drafted Slides re Chapter 11 Process for          2.00
                               Special Committee (2.0)
O'Neal, S.A.          02/07/23 Review and comment on Chapter 11 next             0.20
                               steps presentation for Special Committee (.2)
VanLare, J.           02/07/23 Prepared slides for special committee             3.00
                               presentation (2.7); communications with S.
                               O’Neal re same (.1); communications with C.
                               Ribeiro re same (.2)
VanLare, J.           02/07/23 Call with C. Ribeiro re special committee         0.10
                               presentation on chapter 11 process.
Ribeiro, C.           02/07/23 Provide input on special committee                0.20
                               presentation on chapter 11 workstreams.
Ribeiro, C.           02/07/23 Call with M. Hatch re special committee           0.10
                               presentation deck
Ribeiro, C.           02/07/23 Call with J. VanLare re special committee         0.10
                               presentation on chapter 11 process
Ribeiro, C.           02/07/23 Further revisions to special committee deck       0.70
Ribeiro, C.           02/07/23 Correspond with P. Aronzon re press re term       0.30
                               sheet
                                       250
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NAME                  DATE      DESCRIPTION                                    HOURS

Ribeiro, C.           02/07/23 Revise special committee presentation             0.90
Ribeiro, C.           02/07/23 Call with M. Hatch re slide deck preparation      0.20
                               for Special Committee
Hatch, M.             02/07/23 Call with C. Ribeiro regarding slide deck         0.20
                               preparation for Special Committee (0.2)
Hatch, M.             02/07/23 Reviewed press clippings to send to Client        0.60
                               (0.5); Call with C. Ribeiro re special
                               committee presentation deck (.1)
O'Neal, S.A.          02/08/23 Special Committee meeting with T.                 1.80
                               Conheeney (Genesis), P. Aronzon (Genesis),
                               D. Islim (Genesis), A. Pretto-Sakmann
                               (Genesis), M. Weinberg (partial), J. VanLare,
                               and Moelis, A&M and Genesis teams (1.5),
                               prepare for same (.3)
VanLare, J.           02/08/23 Prepared presentation for the Special             2.00
                               Committee (.5); Special Committee meeting
                               with T. Conheeney (Genesis), P. Aronzon
                               (Genesis), D. Islim (Genesis), A. Pretto-
                               Sakmann (Genesis), S. O'Neal, M. Weinberg
                               (partial), and Moelis, A&M and Genesis
                               teams (1.5)
Weinberg, M.          02/08/23 Special Committee meeting with T.                 0.90
                               Conheeney (Genesis), P. Aronzon (Genesis),
                               D. Islim (Genesis), A. Pretto-Sakmann
                               (Genesis), S. O'Neal, J. VanLare, and Moelis,
                               A&M and Genesis teams (partial attendance).
O'Neal, S.A.          02/11/23 Update call with Paul Aronzon re various          0.40
                               workstreams
O'Neal, S.A.          02/12/23 Markup summary of workstream for Arianna          0.10
                               Pretto-Sakmann and Special Committee (.1)
O'Neal, S.A.          02/15/23 Corresp re special committee agenda and           0.20
                               review draft materials re same
O'Neal, S.A.          02/16/23 Special committee meeting and follow up           1.20
                               executives session
VanLare, J.           02/16/23 Attended special committee meeting (1.2)          1.20

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NAME                  DATE      DESCRIPTION                                      HOURS
O'Neal, S.A.          02/20/23 Markup update to A. Pretto-Sakmann and              0.10
                               Special Committee re ongoing workstreams
                               (.1)
O'Neal, S.A.          02/21/23 Corresp with D. Islim (Genesis) re Special          0.50
                               Committee meeting (.1), discussion with D.
                               Islim (Genesis) re Special Committee matters
                               (.2), corresp with T. Conheeney (Genesis) (.1)
                               and P. Aronzon (Genesis) re Special
                               Committee meeting and hearing (.1)
VanLare, J.           02/22/23 Prepared for special committee meeting (.1);        1.00
                               participated in special committee meeting (.9).
O'Neal, S.A.          02/24/23 Corresponded with Special Committee (.2)            0.20
VanLare, J.           02/28/23 Prepared for special committee meeting (.1)         0.10
                                MATTER TOTAL:                                     22.60




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CLIENT: Genesis Global Holdco, LLC
MATTER: 24872.020 Litigation


                                Timekeeper Summary
Name                                   Hours                 Rate            Amount

Partner
O'Neal, S.A.                            .0.30            .1,820.00   $         546.00
VanLare, J.                             .2.80            .1,730.00   $       4,844.00
Associate
Bremer, S.                            .21.60               .845.00   $      18,252.00
Kim, H.R.                               .5.50            .1,105.00   $       6,077.50
Larner, S.                              .2.20              .965.00   $       2,123.00
Leibold, M.A.                           .0.20            .1,155.00   $         231.00
Rathi, M.                               .0.20              .845.00   $         169.00
Ribeiro, C.                           .25.50             .1,045.00   $      26,647.50
Saba, A.                                .2.70            .1,045.00   $       2,821.50
Associate Not Admitted
Hatch, M.                               .7.80             .710.00    $       5,538.00

Total:                                 68.80                         $      67,249.50




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CLIENT: Genesis Global Holdco, LLC
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NAME                  DATE       DESCRIPTION                                    HOURS
Bremer, S.            02/01/23 Research for motion to extend the stay.            2.50
Bremer, S.            02/01/23 Call with C. Ribeiro re motion to extend stay.     0.20
Bremer, S.            02/01/23 Review research on adequate protection.            0.10
Ribeiro, C.           02/01/23 Review precedent motions to extend stay to         0.50
                               non-debtor
Ribeiro, C.           02/01/23 Draft motion to extend stay                        0.80
Ribeiro, C.           02/01/23 Research on extension of automatic stay to         0.70
                               nondebtors
Ribeiro, C.           02/01/23 Research on applicability to automatic stay.       0.10
Ribeiro, C.           02/01/23 Correspondence to S. Bremer re motion to           0.40
                               extend stay.
Ribeiro, C.           02/01/23 Call with S. Bremer re motion to extend stay       0.20
Saba, A.              02/01/23 Performed document review on documents             2.70
                               relevant to preference analysis.
Bremer, S.            02/02/23 Research for motion to extend the stay (4);        4.10
                               Call with C. Ribeiro re motion to extend stay
                               (.1).
Ribeiro, C.           02/02/23 Research on fungibility, traceability of           0.60
                               cryptocurrency; function of wallets
Ribeiro, C.           02/02/23 Call with S. Bremer re motion to extend stay       0.10
Ribeiro, C.           02/02/23 Revise preference analysis memo (2.1);             3.10
                               research on ordinary course of business
                               defense (1.0)
Ribeiro, C.           02/02/23 Research on preference actions                     0.30
Bremer, S.            02/03/23 Research on motion to extend the stay.             0.30
Ribeiro, C.           02/03/23 Review research on extension of automatic          1.70
                               stay to nondebtors (1.5); correspond with S.
                               Bremer re same (0.2)
Ribeiro, C.           02/03/23 Further research on the extension of automatic     0.30
                               stay to nondebtor.
Hatch, M.             02/03/23 Reviewing documents re preferential transfer       1.80
                               analysis

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CLIENT: Genesis Global Holdco, LLC
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NAME                  DATE      DESCRIPTION                                      HOURS
Bremer, S.            02/07/23 Research for extending stay.                        2.30
Ribeiro, C.           02/08/23 Consideration of redaction issues                   0.70
Ribeiro, C.           02/09/23 Review research on stay extension relief to         0.60
                               nondebtors
Ribeiro, C.           02/09/23 Correspond with S. Bremer re motion to              0.20
                               extend.
VanLare, J.           02/10/23 Call with J. Liou (Weil), F. Siddiqui (Weil),       0.30
                               E. Diers (HH), C, Ribeiro, S. Bremer re
                               motions to extend stay
Bremer, S.            02/10/23 Draft motion to extend the stay (3.3); Call         3.60
                               with J. Liou (Weil), F. Siddiqui (Weil), E.
                               Diers (HH), C, Ribeiro, J. VanLare re motions
                               to extend stay (.3).
Ribeiro, C.           02/10/23 Call with J. Liou (Weil), F. Siddiqui (Weil),       0.30
                               E. Diers (HH), J. VanLare, S. Bremer re
                               motions to extend stay
Hatch, M.             02/10/23 Updated research on preference analysis (0.6)       0.60
Rathi, M.             02/12/23 Correspondence re: litigation tracker               0.20
Larner, S.            02/13/23 Researched enforceability of prepetition            2.20
                               waiver of automatic stay and drafted memo
                               section
Ribeiro, C.           02/14/23 Review complaint for injunctive relief filed in     0.40
                               Perdue cases
O'Neal, S.A.          02/17/23 Corresp with Arianna Pretto-Sakmann and             0.10
                               Jane VanLare re stay of litigation (.1)
VanLare, J.           02/17/23 Drafted correspondence to client re automatic       0.50
                               stay (.5)
Ribeiro, C.           02/19/23 Revise motion to extend stay                        0.60
Ribeiro, C.           02/20/23 Revise motion to extend stay/preliminary            3.60
                               injunction
VanLare, J.           02/21/23 Reviewed draft of motion to extend the stay to      0.20
                               non-debtors (.2)
Bremer, S.            02/22/23 Draft motion to extend stay to GGT.                 2.40

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NAME                  DATE       DESCRIPTION                                    HOURS
VanLare, J.           02/23/23 Call with C. Ribeiro re motion to extend stay      0.10
                               (.1)
Ribeiro, C.           02/23/23 Call with J. VanLare re motion to extend stay      0.10
Ribeiro, C.           02/23/23 Revise motion to extend stay                       0.60
VanLare, J.           02/24/23 Reviewed correspondence from S&C re                0.20
                               creditor (.2)
Bremer, S.            02/24/23 Research for motion to extend the stay to non-     0.50
                               debtors.
Leibold, M.A.         02/24/23 Correspond re additional litigation (.1);          0.20
                               Review pleadings (.1).
Ribeiro, C.           02/24/23 Revise motion to extend stay                       1.20
Ribeiro, C.           02/26/23 Revise draft of motion to extend stay (2.2);       2.30
                               correspond with J. VanLare re draft (0.1)
O'Neal, S.A.          02/27/23 Call with C. Ribeiro re motion to extend stay      0.10
                               (0.1)
VanLare, J.           02/27/23 Reviewed draft motion to extend stay to non-       1.00
                               debtors (1)
Bremer, S.            02/27/23 Draft order and accompanying declarations to       2.30
                               motion to extend the stay to non-debtors.
Bremer, S.            02/27/23 Research extending automatic stay to non-          0.30
                               debtors
Ribeiro, C.           02/27/23 Call with S. O'Neal re motion to extend stay       1.30
                               (0.1); correspond with J. VanLare, S. Bremer
                               re same (0.2); revise motion to extend stay
                               draft (0.6); review motions to extend stay
                               procedural requirements (0.4)
Ribeiro, C.           02/27/23 Correspond with M. Hatch re venue (0.3);           1.10
                               research on same (0.8)
Hatch, M.             02/27/23 Researched Venue.                                  2.40
VanLare, J.           02/28/23 Call re AP to extend stay with C. Ribeiro and      0.50
                               S. Bremer (.5)
                               830-855
Bremer, S.            02/28/23 Draft order and declarations for motion to         2.20
                               extend the stay to non-debtors.
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NAME                  DATE      DESCRIPTION                                    HOURS

Bremer, S.            02/28/23 Call with H. Kim (partial), and C. Ribeiro re     0.80
                               motion to extend the automatic stay to non-
                               debtors.
Kim, H.R.             02/28/23 Call with C. Ribeiro and S. Bremer re motion      0.70
                               to extend the stay to non-debtors (partial).
Kim, H.R.             02/28/23 Reviewing motion to extend stay to non-           2.00
                               debtor entities
Kim, H.R.             02/28/23 Reviewing precedents for motion to extend         2.80
                               stay to non-debtor entities
Ribeiro, C.           02/28/23 Call with H. Kim (partial) and S. Bremer re       0.80
                               motion to extend the stay to non-debtors
Ribeiro, C.           02/28/23 Call with J. VanLare, S. Bremer re motion to      0.40
                               extend stay
Ribeiro, C.           02/28/23 Review precedent filings re                       2.50
                               complaints/motions for preliminary injunctive
                               relief.
Hatch, M.             02/28/23 Researched procedural requirements for filing     0.60
                               adversary proceeding in SDNY
Hatch, M.             02/28/23 Continued to research of venue.                   1.40
Hatch, M.             02/28/23 Drafted email to J. VanLare re jurisdiction       1.00
                               research
                                MATTER TOTAL:                                   68.70




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MATTER: 24872.021 Non Debtor Subsidiaries




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CLIENT: Genesis Global Holdco, LLC
MATTER: 24872.022 Asset Analysis & Recovery


                                  Timekeeper Summary
Name                                     Hours                 Rate            Amount

Partner
O'Neal, S.A.                              .1.10            .1,820.00   $       2,002.00
VanLare, J.                               .0.40            .1,730.00   $         692.00
Zutshi, R.N.                              .0.60            .1,730.00   $       1,038.00
Counsel
Christophorou, P.                         .3.70            .1,485.00   $       5,494.50
Hammer, B.M.                              .2.20            .1,280.00   $       2,816.00
Rocks, S.M.                               .0.50            .1,485.00   $         742.50
Senior Attorney
Chiu, V.                                  .0.50            .1,400.00   $        700.00
Associate
Mitchell, A.F.                            .0.80              .845.00   $         676.00
Ribeiro, C.                               .1.40            .1,045.00   $       1,463.00
Saba, A.                                  .0.50            .1,045.00   $         522.50
Weinberg, M.                              .0.20            .1,105.00   $         221.00
Witchger, K.                              .5.40            .1,105.00   $       5,967.00
Associate Not Admitted
Gong, R.B.                                .0.50             .710.00    $        355.00

Total:                                   17.80                         $      22,689.50




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NAME                   DATE       DESCRIPTION                                     HOURS
O'Neal, S.A.           02/02/23 Conference with B. Hammer, K. Witchger, S.          0.70
                                Rocks (partial), P. Christophorou, V. Chiu, R.
                                Zutshi (partial) regarding foreclosure.
Zutshi, R.N.           02/02/23 Conference with B. Hammer, S. O'Neal, S.            0.60
                                Rocks (partial), P. Christophorou, K.
                                Witchger, V. Chiu regarding foreclosure
                                (partial attendance)
Christophorou, P.      02/02/23 Conference with B. Hammer, S. O'Neal, S.            0.70
                                Rocks (partial), K. Witchger, V. Chiu, R.
                                Zutshi (partial) regarding foreclosure.
Christophorou, P.      02/02/23 Email, research and calls regarding                 2.50
                                foreclosure.
Hammer, B.M.           02/02/23 Conference with V. Chiu, S. Rocks (partial),        0.70
                                P. Christophorou, S. O'Neal, K. Witchger, and
                                R. Zutshi (partial) regarding foreclosure.
Hammer, B.M.           02/02/23 Correspondence with K. Witchger re                  0.50
                                foreclosure research.
Rocks, S.M.            02/02/23 Conference with B. Hammer, S. O'Neal, K.            0.50
                                Witchger, P. Christophorou, V. Chiu, R.
                                Zutshi (partial) regarding foreclosure (partial
                                attendance)
Chiu, V.               02/02/23 Conference with B. Hammer, S. O'Neal, S.            0.50
                                Rocks (partial), P. Christophorou, K.
                                Witchger, R. Zutshi (partial) regarding
                                foreclosure
Mitchell, A.F.         02/02/23 Call with K. Witchger and R. Gong re:               0.50
                                foreclosure and UCC research
Ribeiro, C.            02/02/23 Review A&M preliminary analysis on DCG              0.90
                                preferences
Witchger, K.           02/02/23 Research on the foreclosure.                        1.90
Witchger, K.           02/02/23 Call with R. Gong and A. Mitchell re:               0.50
                                foreclosure and UCC research
Witchger, K.           02/02/23 Conference with B. Hammer, S. O'Neal, S.            0.70
                                Rocks (partial), P. Christophorou, V. Chiu, R.
                                Zutshi (partial) regarding foreclosure

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MATTER: 24872.022 Asset Analysis & Recovery



NAME                   DATE       DESCRIPTION                                    HOURS
Gong, R.B.             02/02/23 Call with K. Witchger and A. Mitchell re:          0.50
                                foreclosure and UCC research
O'Neal, S.A.           02/03/23 Review research re foreclosure (.1), call with     0.20
                                B. Hammer re same (.1)
Hammer, B.M.           02/03/23 Addressed questions from M. Leto (A&M) re          0.30
                                accrual of interest on claims and obligations.
Hammer, B.M.           02/03/23 Call with S. O'Neal re same (.1)                   0.10
Mitchell, A.F.         02/03/23 Call with K. Witchger re: summary research         0.30
                                on foreclosure.
Saba, A.               02/03/23 Corresponded with R. Zutshi re: foreclosure.       0.50
Witchger, K.           02/03/23 Call with A. Mitchell re: summary research         0.30
                                on foreclosure.
Witchger, K.           02/03/23 Review of research and edit research on            2.00
                                foreclosure.
Christophorou, P.      02/07/23 Disposition of collateral and whether              0.50
                                transferring position sufficed under 9-619(C).
VanLare, J.            02/10/23 Reviewed memo re Babel (.2)                        0.20
Ribeiro, C.            02/11/23 Review moonalpha/babel claims                      0.30
O'Neal, S.A.           02/13/23 Call with M. Weinberg, J. VanLare, A. Pretto-      0.20
                                Sakmann (Genesis) and A. Tsang (Genesis) to
                                discuss Babel/Moonalpha restructuring issues.
VanLare, J.            02/13/23 Call with S. O'Neal, M. Weinberg, A. Pretto-       0.20
                                Sakmann (Genesis) and A. Tsang (Genesis) to
                                discuss Babel/Moonalpha restructuring issues
                                (0.2).
Hammer, B.M.           02/13/23 Addressed questions re foreclosure.                0.30
Weinberg, M.           02/13/23 Call with S. O'Neal, J. VanLare, A. Pretto-        0.20
                                Sakmann (Genesis) and A. Tsang (Genesis) to
                                discuss Babel/Moonalpha restructuring issues.
Ribeiro, C.            02/14/23 Review preference analysis re creditor             0.20
Hammer, B.M.           02/24/23 Addressed question regarding GBTC shares.          0.30
                                  MATTER TOTAL:                                   17.80


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                                 Timekeeper Summary
Name                                    Hours                 Rate            Amount

Partner
O'Neal, S.A.                             .2.00            .1,820.00   $       3,640.00
VanLare, J.                            .12.30             .1,730.00   $      21,279.00
Associate
Bremer, S.                             .13.70               .845.00   $      11,576.50
Kim, H.R.                                .6.30            .1,105.00   $       6,961.50
Levander, S.L.                           .0.60            .1,180.00   $         708.00
Minott, R.                               .4.80              .965.00   $       4,632.00
Ribeiro, C.                            .27.90             .1,045.00   $      29,155.50
Weinberg, M.                             .0.80            .1,105.00   $         884.00
Associate Not Admitted
Hatch, M.                              .39.30              .710.00    $      27,903.00
Paralegal
Adubofour, A.                            .2.40             .430.00    $       1,032.00
Gallagher, A.                            .6.50             .370.00    $       2,405.00
Gayadin, U.                              .1.80             .370.00    $         666.00
O'Keefe, P.M.                            .0.90             .780.00    $         702.00
Rodriguez, M.B.                          .1.30             .780.00    $       1,014.00
Saran, S.                                .4.50             .430.00    $       1,935.00
Non-Legal
Cyr, B.J.                                .0.30            .1,180.00   $        354.00

Total:                                 125.40                         $     114,847.50




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VanLare, J.            02/01/23 Reviewed draft Cleary retention application        2.00
                                (.9); Call with D. Rose (K&K), D. Saval
                                (K&K), H. Kim, and M. Hatch regarding
                                327(a) conflicts counsel retention (0.5); call
                                with D. Rose (K&K) re same (.1); reviewed
                                motion for interim compensation (.5)
VanLare, J.            02/01/23 Call with M. Hatch & H. Kim re retention           0.60
                                (.5); call with D. Rose (K&K) re same (.1)
Kim, H.R.              02/01/23 Call with M. Hatch & J. VanLare re retention       0.50
Kim, H.R.              02/01/23 Communications with J. Marsella, C. Basile,        0.20
                                L. Townes re: billing
Kim, H.R.              02/01/23 Call with D. Rose (K&K), D. Saval (K&K), J.        0.50
                                VanLare, and M. Hatch regarding 327(a)
                                conflicts counsel retention
Ribeiro, C.            02/01/23 Review precedent interim compensation              0.50
                                motions
Ribeiro, C.            02/01/23 Correspond with J. VanLare re interim              0.20
                                compensation motion
Ribeiro, C.            02/01/23 Revise interim compensation motion (0.8);          1.00
                                correspond with J. VanLare re same (0.2)
Hatch, M.              02/01/23 Looking for precedential documents for             1.00
                                Conflicts Counsel' retention application (1.0)
Hatch, M.              02/01/23 Incorporating Edits from J. VanLare on             2.50
                                CGSH Retention Application (2); Call with J.
                                VanLare & H. Kim re retention (.5)
Hatch, M.              02/01/23 Call with D. Rose (K&K), D. Saval (K&K), J.        0.50
                                VanLare, and H. Kim regarding 327(a)
                                conflicts counsel retention
VanLare, J.            02/02/23 Call with H. Kim, S. Bremer, M. Hatch re           0.20
                                Cleary retention application and parties-in-
                                interest list.
VanLare, J.            02/02/23 Call with H. Rosenblat (MoCo) and S. Bremer        0.30
                                re retention application.
VanLare, J.            02/02/23 Reviewed Kobre & Kim retention (.1)                0.10
Bremer, S.             02/02/23 Call with H. Rosenblat (MoCo), and J.              0.30
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NAME                   DATE       DESCRIPTION                                     HOURS
                                  VanLare re retention application.
Bremer, S.             02/02/23 Call with H. Kim and M. Hatch re Cleary             0.10
                                retention application.
Bremer, S.             02/02/23 Call with J. VanLare, H. Kim, and M. Hatch          0.20
                                re Cleary retention application and parties-in-
                                interest list.
Kim, H.R.              02/02/23 Call with J. VanLare, S. Bremer and M. Hatch        0.20
                                re Cleary retention application and parties-in-
                                interest list. (.2)
Kim, H.R.              02/02/23 Call with S. Bremer and M. Hatch re Cleary          0.10
                                retention application. (.1)
Kim, H.R.              02/02/23 Revising Cleary retention application               1.20
Kim, H.R.              02/02/23 Revising Cleary retention application               1.00
Kim, H.R.              02/02/23 Reviewing Cleary retention application              1.10
Ribeiro, C.            02/02/23 Revise Kroll retention application (0.5);           0.60
                                correspond with G. Brunswick (Kroll) re same
                                (0.1)
Hatch, M.              02/02/23 Call with H. Kim, and S. Bremer re Cleary           0.10
                                retention application. (.1)
Hatch, M.              02/02/23 Drafting CGSH Retention Application (2.5)           2.50
Hatch, M.              02/02/23 Call with J. VanLare, H. Kim, and S. Bremer         0.30
                                re Cleary retention application and parties-in-
                                interest list. (.2)
O'Neal, S.A.           02/03/23 Call with P. Aronzon (Genesis) and J.               0.30
                                VanLare (partial) re conflicts counsel
O'Neal, S.A.           02/03/23 Comment on Kobre Kim engagement letter              0.10
VanLare, J.            02/03/23 Call with S. O’Neal and P. Aronzon (Genesis)        0.40
                                re conflicts counsel (partial attendance) (.2);
                                reviewed draft engagement letter for Kobre &
                                Kim (.2)
Bremer, S.             02/03/23 Review Morrison and Cohen retention                 0.60
                                application.
Ribeiro, C.            02/03/23 Correspond with J. VanLare re motion to file        0.30
                                retention applications under seal
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NAME                   DATE      DESCRIPTION                                      HOURS

Ribeiro, C.            02/03/23 Review A&M retention application                    0.20
Hatch, M.              02/03/23 Incorporating Edits from J. VanLare and H.          2.50
                                Kim on CGSH Retention Application (2.5)
O'Neal, S.A.           02/04/23 Review correspondence regarding retention of        0.10
                                Kobre & Kim
VanLare, J.            02/04/23 Reviewed Kobre & kim engagement letter              1.30
                                (.3); reviewed Cleary retention application (1)
Bremer, S.             02/04/23 Revise motion to redact retention                   2.50
                                applications.
Ribeiro, C.            02/04/23 Revise Kroll retention application                  0.20
Ribeiro, C.            02/04/23 Provide input on motion to redact retention         1.50
                                applications (1.1); correspond with S. Bremer
                                re same (0.4)
Ribeiro, C.            02/04/23 Correspond with B. Barnwell (Moelis) re             0.10
                                M&A counterparties
Ribeiro, C.            02/04/23 Review precedent motions to redact                  1.00
                                information (0.8); correspond with S. Bremer
                                re Celsius redaction order (0.2)
Hatch, M.              02/04/23 Researching Precedents for Kobre & Kim              1.30
                                Conflicts Application (1.2)
Bremer, S.             02/05/23 Revise motion to redact retention                   0.40
                                applications.
Bremer, S.             02/05/23 Revise motion to redact retention                   0.80
                                applications.
Ribeiro, C.            02/05/23 Revise Kroll retention application                  0.40
Ribeiro, C.            02/05/23 Revise Moelis retention application                 0.20
Ribeiro, C.            02/05/23 Correspond with G. Brunswick (Kroll) re             0.30
                                retention application
Ribeiro, C.            02/05/23 Correspond with S. Bremer re motion to              0.30
                                redact retention applications
Hatch, M.              02/05/23 Drafted CGSH Retention Application (1.0)            1.00
Hatch, M.              02/05/23 Incorporated notice of motion filing into           0.80
                                CGSH & A&M Retention Applications
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NAME                   DATE       DESCRIPTION                                   HOURS

VanLare, J.            02/06/23 Reviewed draft retention applications (.2)         0.20
Ribeiro, C.            02/06/23 Call with G. Brunswick (Kroll) re conflicts        0.20
                                disclosures (0.1); correspond with J. VanLare
                                re same (0.1)
Ribeiro, C.            02/06/23 Revise Kroll retention application                 0.30
Ribeiro, C.            02/06/23 Revise Moelis retention application                0.80
Ribeiro, C.            02/06/23 Compile retention applications to be sent to       0.20
                                client (0.1); correspond with A. Pretto-
                                Sankman, P. Aronzon re same (0.1)
Ribeiro, C.            02/06/23 Revise Morrison Cohen application                  1.30
Hatch, M.              02/06/23 Compiled retention applications and questions      0.90
                                to be sent to retained parties (0.9)
Hatch, M.              02/06/23 Following up with A&M Team on Vendor               0.40
                                List for PII list (0.4)
Hatch, M.              02/06/23 Resolved Billing Issues by Re-categorizing         1.70
                                time into the correct buckets (1.7)
Hatch, M.              02/06/23 Incorporated comments from J. VanLare on           0.50
                                CGSH Retention application
VanLare, J.            02/07/23 Drafted budget (.8); reviewed retention            1.10
                                applications (.3)
VanLare, J.            02/07/23 Reviewed interim compensation motion (.1)          0.10
Bremer, S.             02/07/23 Revise Morrison and Cohen retention                1.80
                                application.
Levander, S.L.         02/07/23 Drafted and revised retention application          0.30
Ribeiro, C.            02/07/23 Correspond with M. Hatch re interim                0.30
                                compensation motion
Ribeiro, C.            02/07/23 Revise Kroll retention application                 0.60
Ribeiro, C.            02/07/23 Call with M. Hatch re retention applications       0.20
                                and motions to be filed
Ribeiro, C.            02/07/23 Review A&M retention application                   0.20
Ribeiro, C.            02/07/23 Correspond with A. Sakmann-Pretto and P.           0.40
                                Aronzon re retention applications
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NAME                   DATE       DESCRIPTION                                        HOURS
Ribeiro, C.            02/07/23 Correspond with M. Hatch re parties in                 0.10
                                interest list
Ribeiro, C.            02/07/23 Correspond with G. Brunswick (Kroll) re                0.20
                                retention application and parties in interest list
Ribeiro, C.            02/07/23 Review parties in interest list                        0.20
Ribeiro, C.            02/07/23 Review A&M application                                 0.40
Ribeiro, C.            02/07/23 Call with M. Hatch re CGSH retention                   0.50
                                application disclosures
Ribeiro, C.            02/07/23 Revise motion to redact retention applications         0.60
Ribeiro, C.            02/07/23 Call with M. Hatch re parties in interest list         0.20
Weinberg, M.           02/07/23 Reviewed draft Morrison Cohen retention                0.80
                                application (0.7); correspondence with S.
                                Bremer re same (0.1).
Hatch, M.              02/07/23 Reconciled conflicts list to be placed in all          2.20
                                retention applications (2); Call with C.
                                Ribeiro re parties in interest list (.2)
Hatch, M.              02/07/23 Preparing second Day Motions (1.2); Call               1.40
                                with C. Ribeiro re retention applications and
                                motions to be filed (.2)
Hatch, M.              02/07/23 Edited Kobre & Kim Retention Application               2.50
                                (2); Call with C. Ribeiro re CGSH retention
                                application disclosures (.5)
O'Neal, S.A.           02/08/23 Review and comment on Cleary retention                 1.00
                                application
O'Neal, S.A.           02/08/23 Discussion with A. Pretto-Sakmann                      0.30
                                (Genesis), J. VanLare re professional fee
                                budget (partial attendance)
O'Neal, S.A.           02/08/23 Call with J. VanLare re retention applications         0.10
                                (.1)
VanLare, J.            02/08/23 Revised budget for Cleary (.7); call with S.           1.70
                                O’Neal re retention applications (.1);
                                Discussion with S. O’Neal (partial) & A.
                                Pretto-Sakmann (Genesis) re professional fee
                                budget (.7); call with C. Ribeiro re
                                professional fee budget (.2)
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NAME                   DATE       DESCRIPTION                                    HOURS

VanLare, J.            02/08/23 Reviewed interim compensation motion (.3);         1.10
                                reviewed Kobre & Kim retention application
                                (.5); reviewed A&M retention application (.3)
VanLare, J.            02/08/23 Call with D. Rose (Kobre), A. Liman (Kobre),       0.40
                                J. Conte (Kobre), C. Ribeiro, and M. Hatch re
                                Kobre & Kim retention application (0.4)
                                (partial attendance)
VanLare, J.            02/08/23 Call with C. Ribeiro re retention applications     0.40
                                (.2); reviewed Morrison Cohen retention
                                application (.2)
Bremer, S.             02/08/23 Call with C. Ribeiro and M. Hatch re               0.40
                                retention application filings.
Bremer, S.             02/08/23 Revise Kroll retention application.                0.30
Bremer, S.             02/08/23 Prepare and finalize redacted copies of            2.80
                                retention applications for filing.
Bremer, S.             02/08/23 Revise motion to redact retention                  1.70
                                applications.
Bremer, S.             02/08/23 Meeting with H. Rosenblat (MoCo), M. Hatch         0.30
                                and C. Ribeiro re Morrison Cohen retention
                                application
Levander, S.L.         02/08/23 Revised application                                0.30
Ribeiro, C.            02/08/23 call with J. VanLare re professional fee           0.20
                                budget (.2)
Ribeiro, C.            02/08/23 Meeting with H. Rosenblat (MoCo) and S.            0.30
                                Bremer, M. Hatch re Morrison Cohen
                                retention application
Ribeiro, C.            02/08/23 Revise Morrison Cohen application                  0.70
Ribeiro, C.            02/08/23 Call with H. Rosenblat (MoCo) re MoCo              0.10
                                retention application
Ribeiro, C.            02/08/23 Revise Moelis retention application                0.50
Ribeiro, C.            02/08/23 Correspond with P. Aronzon re declarations in      0.20
                                support of retention applications
Ribeiro, C.            02/08/23 Call with S. Bremer and M. Hatch re retention      0.50
                                application filings (.4); prep for same (.1).
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NAME                   DATE       DESCRIPTION                                    HOURS

Ribeiro, C.            02/08/23 Call with M. Hatch regarding parties in            0.40
                                interest list (0.2); Call with J. VanLare re
                                retention applications (.2)
Ribeiro, C.            02/08/23 Call with D. Rose (Kobre), A. Liman (Kobre),       0.40
                                J. Conte (Kobre), J. VanLare (partial), and M.
                                Hatch, re Kobre & Kim retention application
                                (0.4)
Ribeiro, C.            02/08/23 Correspond with Kobre & Kim re retention           0.10
                                application
Ribeiro, C.            02/08/23 Correspond with B. Barnwell (Moelis) re            0.40
                                retention application; revise Moelis retention
                                application
Ribeiro, C.            02/08/23 Correspond with M. Hatch, H. Rosenblat re          0.30
                                Morrison Cohen application
Ribeiro, C.            02/08/23 Revise A&M retention application                   0.80
Hatch, M.              02/08/23 Ensuring that Kobre & Kim app was ready for        2.40
                                filing including making and incorporating
                                edits
Hatch, M.              02/08/23 Call with D. Rose (Kobre), A. Liman (Kobre),       0.40
                                J. Conte (Kobre), J. VanLare (partial), and C.
                                Ribeiro, re Kobre & Kim retention
                                application (0.4)
Hatch, M.              02/08/23 Incorporated edits from J. VanLare and S.          1.00
                                ONeal on CGSH Retention Application (1.0)
Hatch, M.              02/08/23 Meeting with H. Rosenblat (MoCo) and S.            0.30
                                Bremer, C. Ribeiro re Morrison Cohen
                                retention application
Hatch, M.              02/08/23 Drafting Emails to Moelis, A&M, MoCo,, and         2.60
                                K&K regarding employment application (2.6)
Hatch, M.              02/08/23 Edited Moelis Retention App (0.8)                  0.80
Hatch, M.              02/08/23 Finalized Retention Applications for Filing        4.00
                                (3.6); Call with C. Ribeiro and S. Bremer re
                                retention application filings (.4)
Hatch, M.              02/08/23 Call with C. Ribeiro regarding parties in          0.20
                                interest list (0.2)
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NAME                   DATE       DESCRIPTION                                     HOURS

Saran, S.              02/08/23 Revised and reformatted Moelis Retention            1.00
                                Application per M. Hatch
Ribeiro, C.            02/09/23 Correspond with G. Brunswick re                     0.20
                                redacted/unredacted copies of applications
Ribeiro, C.            02/09/23 Draft billing calendar                              0.30
Ribeiro, C.            02/09/23 Correspond with B. Barnwell re as filed             0.30
                                retention application
Ribeiro, C.            02/09/23 Correspond with M. Hatch re unredacted              0.20
                                copies of retention applications
Hatch, M.              02/09/23 Saving as filed versions of documents to            1.00
                                internal systems (1.0)
Hatch, M.              02/09/23 Compiled Unredacted Versions of retention           1.10
                                applications for filing with the Court. (1.1)
Cyr, B.J.              02/09/23 Coordinate filing and service of unredacted         0.30
                                copies of retention applications; confer with
                                M. Hatch and M. Royce re: same.
VanLare, J.            02/10/23 Call with C. Basile and C. Ribeiro re               0.50
                                procedures for preparing monthly fee
                                statements/fee applications (0.4); reviewed fee
                                application calendar (.1)
Ribeiro, C.            02/10/23 Call with J. VanLare re procedures for              0.40
                                preparing monthly fee statements/fee
                                applications
Ribeiro, C.            02/10/23 Correspond with M. Rodriguez re staffing on         0.10
                                billing review issues
Hatch, M.              02/11/23 Coordinated with Litigation Team for                0.40
                                Confidentiality of PII requests (0.4)
Ribeiro, C.            02/13/23 Correspond with M. Rodriguez re billing             0.10
                                staffing request
VanLare, J.            02/14/23 Call with J. Sciametta (A&M), M. Leto               0.30
                                (A&M), A. Hoeninghaus (A&M) re retention
                                plan (.3)
Ribeiro, C.            02/14/23 Correspond with J. VanLare, B. Barnwell             0.10
                                (Moelis) re informal responses to retention

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NAME                   DATE       DESCRIPTION                                   HOURS
                                  application
Ribeiro, C.            02/14/23 Review billing entries for mismatched entries     2.10
Ribeiro, C.            02/15/23 Conference with M. Rodriguez and P.               0.30
                                O’Keefe regarding fee application process
Ribeiro, C.            02/15/23 Review January fee statement                      0.10
Adubofour, A.          02/15/23 Conference with A. Gallagher, S. Saran, M.        0.60
                                Rodriguez and P. O’Keefe regarding fee
                                application process
Gallagher, A.          02/15/23 Call with M. Rodriguez, P. O'Keefe, S. Saran      0.60
                                and A. Adubofour re Fee
                                Statements/Applications
O'Keefe, P.M.          02/15/23 Conference with M. Rodriguez, A.                  0.60
                                Adubofour, A. Gallagher, and S. Saran
                                regarding fee application process.
O'Keefe, P.M.          02/15/23 Conference with C. Ribeiro and M. Rodriguez       0.30
                                regarding fee application process.
Rodriguez, M.B.        02/15/23 Conference with A. Gallagher, S. Saran, P.        0.60
                                O'Keefe and A. Adubofour regarding fee
                                application process.
Rodriguez, M.B.        02/15/23 Conference with C. Ribeiro and P. O'Keefe         0.30
                                regarding fee application process
Saran, S.              02/15/23 Call with M. Rodriguez, P. O'Keefe, A.            0.60
                                Gallagher and A. Adubofour re Fee
                                Statements/Applications
VanLare, J.            02/16/23 Call w G. Pesce (W&C) re Moelis (.1)              0.10
VanLare, J.            02/16/23 Call with C. Basil re fee applications (.2);      0.30
                                reviewed calendar for fee applications (.1)
VanLare, J.            02/16/23 Call with H. Rosenblat (MoCo) re retention        0.10
                                (.1)
Bremer, S.             02/16/23 Review Committee comments on retention            0.50
                                applications.
Minott, R.             02/16/23 Review time sheets                                0.50
Minott, R.             02/16/23 Meeting with M. Hatch re fee apps                 0.30

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NAME                   DATE      DESCRIPTION                                     HOURS
Minott, R.             02/16/23 Correspondence with B. Barnwell (Moelis) re        0.40
                                application adjournment
Bremer, S.             02/17/23 Prepare revised orders of second day motions.      0.90
Hatch, M.              02/17/23 Worked on Fee Application (2.3); Meeting           2.60
                                with R. Minott re fee apps (.3)
Ribeiro, C.            02/19/23 Review correspondence with C. Basile, J.           0.30
                                Marsella, R. Minott re billing review
Minott, R.             02/20/23 Review January fee statement                       1.00
Ribeiro, C.            02/20/23 Revise final proposed orders for critical          0.80
                                vendors motion (0.3), MoCo retention
                                application (0.3), and taxes motion (0.2)
Ribeiro, C.            02/20/23 Correspond with H. Rosenblatt (MoCo) re            0.20
                                modifications to proposed order to MoCo
                                retention
Minott, R.             02/21/23 Draft correspondences with Chambers re             0.50
                                Moelis retention app
Hatch, M.              02/21/23 Coordinated with Kobre & Kim re Second             0.40
                                Day Hearing
VanLare, J.            02/22/23 Call with R. Minott, P. Abelson (WC), M.           0.30
                                Meises (WC) and L. Lundy (WC) re Moelis
                                retention application (.3)
Minott, R.             02/22/23 Call with J. VanLare, P. Abelson (WC), M.          0.30
                                Meises (WC) and L. Lundy (WC) re Moelis
                                retention application
Minott, R.             02/22/23 Correspondence with Moelis re retention            1.00
                                application question
Ribeiro, C.            02/22/23 Conference with M. Hatch re billing review         0.20
Ribeiro, C.            02/22/23 Review procedures for filing of monthly fee        0.40
                                statements
Ribeiro, C.            02/22/23 Correspond with S. Saran, A. Gallagher, A.         0.10
                                Adubofour re billiing review
Ribeiro, C.            02/22/23 Revise Kroll retention order (0.4); correspond     0.50
                                with G. Zipes (UST), G. Brunswick (Kroll) re
                                same (0.1)

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NAME                   DATE      DESCRIPTION                                     HOURS
Gallagher, A.          02/22/23 Booked Conference Room per C. Ribeiro              0.10
Gallagher, A.          02/22/23 Email correspondence re Fee App Meeting            0.20
O'Neal, S.A.           02/23/23 Corresp re committee objection to Moelis           0.10
                                application (.1)
Bremer, S.             02/23/23 Revise billing procedures memo.                    0.10
Kim, H.R.              02/23/23 Reviewing billing practices timeline for fee       0.70
                                application filing
Minott, R.             02/23/23 Correspondence with B. Barnwell (Moelis),          0.30
                                A. Swift (Moelis) re UCC questions
Ribeiro, C.            02/23/23 Revise Kroll retention order (0.1); correspond     0.10
                                with H. Kim re same (0.1)
Ribeiro, C.            02/23/23 Review billing memo (0.2); prepare for             0.60
                                meeting with paralegal billing review team
                                (0.3); correspond with H. Kim, A. Gallagher,
                                A. Adubofour, S. Saran, U. Gayadin, J.
                                Marsella re same (0.1)
Ribeiro, C.            02/23/23 Conference with A. Gallagher, A. Adubofour,        0.70
                                S. Saran, U. Gayadin re billing review process
Ribeiro, C.            02/23/23 Correspond with G. Brunswick (Kroll), G.           0.20
                                Zipes (UST) re email agreement
Ribeiro, C.            02/23/23 Correspond with H. Kim re interim                  0.50
                                compensation procedures (.3), correspondence
                                re billing review (0.2)
Adubofour, A.          02/23/23 Conference with C. Ribeiro, U. Gayadin, S.         0.70
                                Saran and A. Gallagher re billing review
                                process
Adubofour, A.          02/23/23 Meeting with S. Saran, U. Gyadain and A.           0.30
                                Gallagher re Fee App Workstreams
Gallagher, A.          02/23/23 Conference with C. Ribeiro, A. Adubofour, S.       0.70
                                Saran and U. Gayadin re billing review
                                process
Gallagher, A.          02/23/23 Meeting with A. Adubofour, S. Saran and U.         0.50
                                Gayadin re Fee App Workstreams (0.3),
                                correspondence re the same (0.2)

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NAME                   DATE      DESCRIPTION                                     HOURS
Gayadin, U.            02/23/23 Meeting with A. Adubofour, S. Saran and U.         0.30
                                Gayadin re Fee App Workstreams
Gayadin, U.            02/23/23 Conference with C. Ribeiro, A. Adubofour, S.       0.70
                                Saran and A. Gallagher re billing review
                                process
Gayadin, U.            02/23/23 Prepared for Fee App Workstreams meeting           0.30
Saran, S.              02/23/23 Conference with C. Ribeiro, A. Gallagher, A.       0.80
                                Adubofour, U. Gayadin re billing review
                                process (0.7), correspondence re the same
                                (0.1)
Saran, S.              02/23/23 Meeting with A. Adubofour, A. Gallagher and        0.50
                                U. Gayadin re Fee App Workstream
VanLare, J.            02/24/23 Reviewed Moelis retention application CNO          0.10
                                (.1)
Kim, H.R.              02/24/23 Correspondence with accounting team re: fee        0.40
                                practices
Minott, R.             02/24/23 Call with S. Harnett (Paul Weiss) re Moelis        0.10
                                application
Adubofour, A.          02/24/23 Prepare Certificate of No Objection and            0.50
                                Moelis Retention Application Order per R.
                                Minott
VanLare, J.            02/27/23 Reviewed correspondence relating to court          0.70
                                filings, extensions, Moelis retention, and
                                Committee (.5); call with S. O’Neal re
                                bidding procedures, scheduling, and pro se
                                filings (.2)
Minott, R.             02/27/23 Prepare certificate of no objection for Moelis     0.40
                                retention application.
Ribeiro, C.            02/27/23 Call with M. Rodriguez re fee app review           0.40
                                process and staffing
Ribeiro, C.            02/27/23 Correspond with A. Gallagher re billing            0.30
                                review
Adubofour, A.          02/27/23 Revise Certificate of No Objection and             0.30
                                Moelis Retention Application per R. Minott
Gallagher, A.          02/27/23 Coordinated with Word Processing re                0.50
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NAME                   DATE      DESCRIPTION                                  HOURS
                                 reformatting excel
Gayadin, U.            02/27/23 Correspondence with A. Gallagher regarding        0.30
                                Genesis Fee Application.
Rodriguez, M.B.        02/27/23 Telephone call with C. Ribeiro discussing         0.40
                                staffing and process and fee application.
Kim, H.R.              02/28/23 Reviewing billing protocols for fee               0.40
                                application
Gallagher, A.          02/28/23 Revised Diary Entries for Fee App                 3.20
Gallagher, A.          02/28/23 Coordinate with word processing team re Fee       0.50
                                App Revisions
Gallagher, A.          02/28/23 Coordinated Genesis Fee App Meeting per C.        0.20
                                Ribeiro
Gayadin, U.            02/28/23 Correspondence with A. Gallagher regarding        0.20
                                Fee Application Excel Sheet.
Saran, S.              02/28/23 Reviewed diary entries per C. Ribiero             0.80
Saran, S.              02/28/23 Attention to email correspondence and diary       0.80
                                entries
                                 MATTER TOTAL:                                  125.40




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                                  Timekeeper Summary
Name                                     Hours                 Rate            Amount

Partner
VanLare, J.                               .6.50            .1,730.00   $      11,245.00
Zutshi, R.N.                            .24.70             .1,730.00   $      42,731.00
Counsel
Hammer, B.M.                              .3.20            .1,280.00   $       4,096.00
Senior Attorney
Saenz, A.F.                               .0.30            .1,190.00   $        357.00
Associate
Bremer, S.                                .3.50              .845.00   $       2,957.50
Cinnamon, M.                            .30.10             .1,155.00   $      34,765.50
Larner, S.                                .2.00              .965.00   $       1,930.00
Levander, S.L.                            .0.70            .1,180.00   $         826.00
Morrow, E.S.                            .23.00               .965.00   $      22,195.00
Ribeiro, C.                             .12.90             .1,045.00   $      13,480.50
Saba, A.                                .63.10             .1,045.00   $      65,939.50
Wang, W.                                  .0.10            .1,045.00   $         104.50
Witchger, K.                              .0.50            .1,105.00   $         552.50
Associate Not Admitted
Gariboldi, A.                           .16.30              .710.00    $      11,573.00
Hatch, M.                                 .0.60             .710.00    $         426.00
Paralegal
Gallagher, A.                             .2.00             .370.00    $        740.00

Total:                                  189.50                         $    213,919.00




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VanLare, J.          02/01/23 Reviewed talking points for call with BVI          0.10
                              liquidator (.1)
VanLare, J.          02/01/23 Call with R. Zutshi, and A. Saba re: 3AC/BVI       0.60
                              liquidator issues (.3); reviewed draft
                              stipulation (.3)
VanLare, J.          02/01/23 Call with R. Zutshi, A. Saba and counsel for       0.50
                              3AC and DCG re: digital assets at GAP.
Zutshi, R.N.         02/01/23 Call with J. VanLare, and A. Saba re:              0.30
                              3AC/BVI liquidator issues.
Zutshi, R.N.         02/01/23 Call with A. Saba, J. VanLare and counsel for      0.50
                              3AC and DCG re: digital assets at GAP.
Zutshi, R.N.         02/01/23 Call with Weil re: digital assets at GAP.          0.30
Zutshi, R.N.         02/01/23 Prepare for call with 3AC liquidators.             0.90
Zutshi, R.N.         02/01/23 Email communications regarding 3AC claims.         0.40
Ribeiro, C.          02/01/23 Research on traceability of digital assets         0.30
Ribeiro, C.          02/01/23 Correspond with A. Saba re discussions with        0.20
                              BVI Joint Liquidators
Saba, A.             02/01/23 Corresponded with M. Leto (A&M) re GAP's           0.20
                              digital assets.
Saba, A.             02/01/23 Corresponded with M. Leto (A&M) regarding          0.30
                              3AC collateral.
Saba, A.             02/01/23 Call with R. Zutshi, J. VanLare and counsel        0.50
                              for 3AC and DCG re: digital assets at GAP.
Saba, A.             02/01/23 Call with R. Zutshi, J. VanLare re: 3AC/BVI        0.30
                              liquidator issues.
Zutshi, R.N.         02/02/23 Analyze 3AC-related materials.                     0.80
VanLare, J.          02/03/23 Call with R. Zutshi, A. Saba, C. Ribeiro, and      1.00
                              S. Bremer re BVI action. (.5); Call with R.
                              Zutshi, A. Saba, and DCG counsel re:
                              3AC/BVI liquidator issues (.5)
Zutshi, R.N.         02/03/23 Call with J. VanLare, A. Saba and DCG              0.50
                              counsel re: 3AC/BVI liquidator issues
Zutshi, R.N.         02/03/23 Call with J. VanLare, C. Ribeiro, and S.           0.50
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NAME                 DATE       DESCRIPTION                                    HOURS
                                Bremer re BVI issues
Bremer, S.           02/03/23 Call with J. VanLare, R. Zutshi, A. Saba, C.       0.50
                              Ribeiro re BVI action.
Ribeiro, C.          02/03/23 Call with J. VanLare, R. Zutshi, A. Saba, S.       0.50
                              Bremer re BVI action
Saba, A.             02/03/23 Revised draft stipulation for adequate             0.80
                              protection from 3AC.
Saba, A.             02/03/23 Call with R. Zutshi, J. VanLare, and DCG           0.50
                              counsel re: 3AC/BVI liquidator issues
Saba, A.             02/03/23 Performed doc review re: 3AC/BVI                   1.70
                              Liquidators.
Saba, A.             02/03/23 Call with J. VanLare, R. Zutshi, C. Ribeiro,       0.50
                              and S. Bremer re BVI action
Ribeiro, C.          02/04/23 Analysis of (redacted)                             0.30
Ribeiro, C.          02/04/23 Revise adequate protection stipulation with        1.90
                              BVI liquidators (1.7); correspond with R.
                              Zutshi re same (0.3)
Ribeiro, C.          02/04/23 Review precedent adequate protection               0.50
                              stipulations
VanLare, J.          02/05/23 Reviewed Kroll retention application (.2);         0.80
                              reviewed draft Cleary retention application
                              (.6)
VanLare, J.          02/05/23 Call with R. Zutshi, A. Saba, C. Ribeiro, and      0.50
                              S. Bremer re Three Arrows stipulation. (.5)
VanLare, J.          02/05/23 Reviewed proposed stipulation with BVI (.2);       0.30
                              reviewed draft recognition affidavit (.1)
Zutshi, R.N.         02/05/23 Call with J. VanLare, A. Saba, C. Ribeiro, and     0.50
                              S. Bremer re Three Arrows stipulation
Bremer, S.           02/05/23 Call with R. Zutshi, J. VanLare, A. Saba, and      0.50
                              C. Ribeiro re Three Arrows stipulation.
Ribeiro, C.          02/05/23 Revise adequate protection stipulation             0.70
Ribeiro, C.          02/05/23 Call with R. Zutshi, J. VanLare, A. Saba, and      0.50
                              S. Bremer re Three Arrows stipulation.

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NAME                   DATE       DESCRIPTION                                     HOURS
Ribeiro, C.            02/05/23 Correspond with R. Zutshi, J. VanLare re            0.30
                                adequate protection stipulation
Ribeiro, C.            02/05/23 Further revisions to 3AC stipulation to             0.10
                                incorporate R. Zutshi comments
Ribeiro, C.            02/05/23 Correspond with A. Saba re adequate                 0.10
                                protection stipulation
Saba, A.               02/05/23 Call with J. VanLare, R. Zutshi, C. Ribeiro,        0.50
                                and S. Bremer re Three Arrows stipulation.
Saba, A.               02/05/23 Performed doc review re: 3AC/BVI                    1.50
                                Liquidators.
VanLare, J.            02/06/23 Reviewed draft BVI stipulation (.4); call with      0.90
                                R. Berkovich (Weil), R. Zutshi, C. Ribeiro, A.
                                Saba re BVI (.5)
Zutshi, R.N.           02/06/23 Meeting with A. Gariboldi, S. Levander, and         0.70
                                A. Saba regarding Three Arrows Capital
                                collateral documentation
Zutshi, R.N.           02/06/23 call with R. Berkovich (Weil), J. VanLare, C.       0.90
                                Ribeiro, A. Saba re BVI (.5)
Bremer, S.             02/06/23 Research on adequate protection.                    2.10
Levander, S.L.         02/06/23 Meeting with R. Zutshi, A. Saba, and A.             0.70
                                Gariboldi regarding Three Arrows Capital
                                collateral documentation.
Ribeiro, C.            02/06/23 Correspond with A. Saba re adequate                 0.30
                                protection talking points
Ribeiro, C.            02/06/23 Correspond with A, Saba, M. Leto (A&M), P.          0.10
                                Kinealy (A&M) re 3AC BVI issues
Ribeiro, C.            02/06/23 Research on adequate protection (2.8); Draft        3.50
                                talking points regarding adequate protection
                                for BVI liquidator (0.7)negotiations
Saba, A.               02/06/23 Revised stipulation for adequate protection re:     1.00
                                3AC.
Saba, A.               02/06/23 Corresponded with DCG counsel and client            0.50
                                re: stipulation for adequate protection for
                                3AC.

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NAME                  DATE       DESCRIPTION                                     HOURS
Saba, A.              02/06/23 Reviewed documents related to 3AC                   1.40
                               collateral (.9); call with R. Berkovich (Weil),
                               R. Zutshi, C. Ribeiro, J. VanLare re BVI (.5).
Saba, A.              02/06/23 Meeting with R. Zutshi, S. Levander, and A.         0.70
                               Gariboldi regarding Three Arrows Capital
                               collateral documentation.
Gariboldi, A.         02/06/23 Meeting with R. Zutshi, S. Levander, and A.         0.70
                               Saba regarding Three Arrows Capital
                               collateral documentation.
VanLare, J.           02/07/23 Attended meeting with R. Zutshi, A. Saba,           0.50
                               DCG counsel, and 3AC/BVI Liquidator
                               counsel.
Zutshi, R.N.          02/07/23 Attended meeting with A. Saba, J. VanLare,          0.60
                               DCG counsel, and 3AC/BVI Liquidator
                               counsel (.5); follow up re same (.1).
Zutshi, R.N.          02/07/23 Preparation for meeting with 3AC and follow-        1.70
                               up related to same.
Ribeiro, C.           02/07/23 Call with A. Saba re 3AC stipulation                0.10
Ribeiro, C.           02/07/23 Correspond with A. Pretto-Sakmann                   0.10
                               (Genesis), A. Saba re 3AC stipulation
Saba, A.              02/07/23 Attended meeting with R. Zutshi, J. VanLare,        0.50
                               DCG counsel, and 3AC/BVI Liquidator
                               counsel.
Saba, A.              02/07/23 Call with C. Ribeiro re 3AC stipulation             0.10
Zutshi, R.N.          02/09/23 Review stipulation and BVI correspondence           1.20
                               and communications regarding same.
Ribeiro, C.           02/09/23 Provide input on revisions to 3AC stipulation       0.20
VanLare, J.           02/12/23 Correspondence with A. Tsang and C. Ribeiro         0.20
                               re various GAP matters (.2)
Hatch, M.             02/12/23 Looked through data room for information            0.60
                               regarding GAP loans (0.6)
VanLare, J.           02/13/23 Reviewed stipulation with BVI liquidator (.5)       0.50
Ribeiro, C.           02/13/23 Correspond with R. Zutshi, A. Saba re BVI           0.10
                               adequate protection stipulation

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NAME                 DATE       DESCRIPTION                                   HOURS
Ribeiro, C.          02/13/23 Correspond with C. Wang, K. Witchger, N.           0.20
                              Piazza re UCC searches
Ribeiro, C.          02/13/23 Revise adequate protection stipulation (0.4);      0.60
                              correspond with J. VanLare, A. Saba, R.
                              Zutshi re same (0.2)
Saba, A.             02/13/23 Revised 3AC BVI liquidators stipulation for        0.50
                              adequate protection.
Wang, W.             02/13/23 Correspondence with C. Ribeiro re: UCC             0.10
                              searches
Ribeiro, C.          02/14/23 Correspond with N. Piazza re GAP UCC               0.10
                              search
Saba, A.             02/14/23 Corresponded with client re: 3AC adequate          0.50
                              protection stipulation.
Saba, A.             02/15/23 Corresponded with 3AC BVI Liquidators re:          0.20
                              stipulation for adequate protection.
VanLare, J.          02/16/23 Conference call with A. Goldberg (Latham)          0.30
                              and N. Movahedi (Latham), R. Zutshi, A.
                              Saba, and E. Morrow re: bankruptcy litigation
                              (partial) (0.3)
Zutshi, R.N.         02/16/23 Planning for follow-up related to BVI claims.      1.50
Zutshi, R.N.         02/16/23 Conference call with A. Goldberg (Latham)          0.40
                              and N. Movahedi (Latham), J. VanLare, A.
                              Saba, and E. Morrow re: bankruptcy litigation
Larner, S.           02/16/23 Reviewed master chronology to pull                 2.00
                              documents for the outline section on risk
                              management post-3AC default
Saba, A.             02/16/23 Conference call with A. Goldberg and N.            0.40
                              Movahedi (Latham), R. Zutshi, J. VanLare,
                              and E. Morrow re: bankruptcy litigation
Saba, A.             02/16/23 Reviewed documents related to 3AC to draft         2.50
                              special committee presentation.
Saba, A.             02/16/23 Compiled 3AC BVI materials for E. Morrow.          0.30
Zutshi, R.N.         02/17/23 Planning for negotiations with liquidators.        1.10
Zutshi, R.N.         02/17/23 Attend meeting with A. Saba and DCG                0.60

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NAME                  DATE       DESCRIPTION                                   HOURS
                                 counsel re: issues related to 3AC BVI
                                 Liquidator issues.
Zutshi, R.N.          02/17/23 Meeting with M. Cinnamon, A. Saba, E.              0.80
                               Morrow (partial), and A. Gariboldi to discuss
                               3AC BVI Liquidator issues (partial
                               attendance).
Cinnamon, M.          02/17/23 Meeting with R. Zutshi (partial), A. Saba, E.      1.00
                               Morrow (partial), and A. Gariboldi to discuss
                               3AC BVI Liquidator issues.
Cinnamon, M.          02/17/23 Drafting analysis of next steps regarding 3AC      0.50
                               BVI liquidator issues.
Morrow, E.S.          02/17/23 Meeting with R. Zutshi (partial), M.               0.50
                               Cinnamon, A. Saba, and A. Gariboldi to
                               discuss 3AC BVI Liquidator issues (partial
                               attendance).
Morrow, E.S.          02/17/23 Meeting with A. Saba (partial), A. Gariboldi       0.40
                               to discuss 3AC BVI Liquidator issues (.3);
                               prep for same (.1).
Morrow, E.S.          02/17/23 Prepare first draft of presentation re:            2.10
                               bankruptcy litigation
Saba, A.              02/17/23 Meeting with R. Zutshi (partial), M.               1.00
                               Cinnamon, A. Gariboldi, E. Morrow (partial)
                               to discuss 3AC BVI Liquidator issues.
Saba, A.              02/17/23 Attend meeting with R. Zutshi and DCG              0.60
                               counsel re: issues related to 3AC BVI
                               Liquidators.
Saba, A.              02/17/23 Corresponded with team re: various issues          0.80
                               related to 3AC BVI Liquidators.
Saba, A.              02/17/23 Meeting with A. Gariboldi, E. Morrow to            0.20
                               discuss 3AC BVI Liquidator issues. (.2)
                               (partial attendance
Gariboldi, A.         02/17/23 Meeting with R. Zutshi (partial), M.               1.00
                               Cinnamon, A. Saba, E. Morrow (partial) to
                               discuss 3AC BVI Liquidator issues.
Gariboldi, A.         02/17/23 Meeting with A. Saba (partial), E. Morrow to       0.30
                               discuss 3AC BVI Liquidator issues.
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NAME                  DATE       DESCRIPTION                                   HOURS

Cinnamon, M.          02/18/23 Reviewing background materials related to          1.40
                               BVI issues.
Morrow, E.S.          02/18/23 Edit draft of work product re investigation        1.10
Morrow, E.S.          02/18/23 Communication with A. Gariboldi and A.             0.40
                               Saba re: draft presentation
Morrow, E.S.          02/18/23 Conduct analysis of swaps and draft                3.60
                               presentation
Saba, A.              02/18/23 Drafted legal analysis for 3AC BVI                 3.00
                               Liquidators.
Gariboldi, A.         02/18/23 Draft 3AC presentation materials with A.           0.80
                               Saba, E. Morrow.
Cinnamon, M.          02/19/23 Revising presentation on BVI issues.               3.20
Saba, A.              02/19/23 Revised legal analysis for 3AC BVI                 2.00
                               Liquidators following drafts from E. Morrow
                               and A. Garboldi.
Saba, A.              02/19/23 Continued to draft legal analysis for 3AC BVI      3.00
                               Liquidators.
Saba, A.              02/19/23 Revised draft of legal analysis for 3AC BVI        1.00
                               Liquidators following edits from M.
                               Cinnamon.
Gariboldi, A.         02/19/23 Draft 3AC presentation materials with A.           2.60
                               Saba.
Cinnamon, M.          02/20/23 Revise presentation regarding BVI issues.          2.50
Morrow, E.S.          02/20/23 Research for BVI litigation outline (0.4)          0.40
VanLare, J.           02/21/23 Reviewed revised BVI stipulation (.1)              0.10
Zutshi, R.N.          02/21/23 Attend call with M. Cinnamon, A. Saba and          0.20
                               J. Safferstein (Weil), J. Liou (Weil), F.
                               Siddiqui (Weil) re: 3AC BVI Liquidator
                               Issues
Zutshi, R.N.          02/21/23 Call with C. Ribeiro re BVI adequate               0.10
                               protection stipulation
Cinnamon, M.          02/21/23 Attend call with A. Saba re: 3AC BVI               0.60
                               Liquidators factual and legal analysis.
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NAME                  DATE       DESCRIPTION                                     HOURS
Cinnamon, M.          02/21/23 Revising introduction to presentation               0.90
                               regarding BVI issues.
Cinnamon, M.          02/21/23 Revising full draft presentation regarding BVI      4.50
                               issues.
Cinnamon, M.          02/21/23 Attend call with R. Zutshi, A. Saba and J.          0.20
                               Safferstein (Weil), J. Liou (Weil), F. Siddiqui
                               (Weil) re: 3AC BVI Liquidator issues.
Morrow, E.S.          02/21/23 Review edits to presentation                        0.70
Morrow, E.S.          02/21/23 Research for litigation presentation outline        0.60
                               (0.6)
Ribeiro, C.           02/21/23 Call with R. Zutshi re BVI adequate                 0.10
                               protection stipulation
Ribeiro, C.           02/21/23 Correspondence with M. Leto (A&M), J.               0.10
                               Sciametta (A&M), D. Petty (A&M), P.
                               Kinealy (A&M) re BVI stipulation
Saba, A.              02/21/23 Reviewed M. Cinnamon edits to legal and             0.50
                               factual analysis for 3AC BVI Liquidator
                               issues.
Saba, A.              02/21/23 Prepared stipulation for adequate protection        0.20
                               re: 3AC BVI Liquidators..
Saba, A.              02/21/23 Attend call with R. Zutshi, M. Cinnamon, and        0.20
                               J. Safferstein (Weil), J. Liou (Weil), F.
                               Siddiqui (Weil) re: 3AC BVI Liquidator
                               Issues
Saba, A.              02/21/23 Attend call with M. Cinnamon re: 3AC BVI            0.60
                               Liquidators factual and legal analysis
Saba, A.              02/21/23 Reviewed M. Cinnamon edits to legal and             0.60
                               factual analysis re: 3AC BVI Liquidators in
                               prep for call.
Saba, A.              02/21/23 Further revised legal and factual analysis re:      3.90
                               3AC BVI Liquidator issues following
                               comments from M. Cinnamon.
Gariboldi, A.         02/21/23 Edit materials for 3AC BVI investigation            1.00
                               summary.
VanLare, J.           02/22/23 Reviewed final BVI stipulation (.2)                 0.20
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NAME                  DATE       DESCRIPTION                                     HOURS

Zutshi, R.N.          02/22/23 Attend call with A. Saba, J. Saferstein (Weil),     0.30
                               J. Liou (Weil), F. Siddiqui (Weil), and
                               Latham (3AC counsel) re: 3AC BVI
                               Liquidator issues
Zutshi, R.N.          02/22/23 Finalize stipulation regarding adequate             1.10
                               protection issues (1.0), Attend meeting with
                               A. Saba re: 3AC BVI Liquidator issues (0.1)
Cinnamon, M.          02/22/23 Revising draft presentation regarding BVI           0.80
                               issues.
Morrow, E.S.          02/22/23 Review defense outline and draft edits              0.80
Morrow, E.S.          02/22/23 Analyze data sets in support of defense             0.90
                               outline
Ribeiro, C.           02/22/23 Review bankruptcy code/local rules                  2.00
                               procedures for submission of stipulation (1.0);
                               correspond with B. Cyr re filing procedures
                               (0.4); Draft notice of presentment (0.6)
Saba, A.              02/22/23 Attend call with R. Zutshi, J. Saferstein           0.30
                               (Weil), J. Liou (Weil), F. Siddiqui (Weil), and
                               Latham (3AC counsel) re: 3AC BVI
                               Liquidator issues.
Saba, A.              02/22/23 Attend meeting with R. Zutshi re: 3AC BVI           0.10
                               Liquidator issues
Saba, A.              02/22/23 Corresponded with team re: stipulation for          0.50
                               adequate protection.
Saba, A.              02/22/23 Drafted factual and legal analysis re: 3AC          3.00
                               BVI Liquidators following comments from
                               M. Cinnamon.
Saba, A.              02/22/23 Reviewed files for information relevant to          0.50
                               3AC BVI Liquidators issues.
Gariboldi, A.         02/22/23 Compile materials for meeting to discuss 3AC        1.00
                               BVI Liquidators claims.
Gallagher, A.         02/22/23 Prepared 3AC Binder per A. Gariboldi                2.00
Zutshi, R.N.          02/23/23 Meeting                                             0.10
                               with M. Cinnamon to discuss BVI issues.

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NAME                 DATE       DESCRIPTION                                   HOURS
Zutshi, R.N.         02/23/23 Meeting with M. Cinnamon, A. Saba, E.              1.00
                              Morrow (partial), and A. Gariboldi on
                              revisions to draft presentation on 3AC BVI
                              liquidator issues.
Saenz, A.F.          02/23/23 Attend call with A. Saba re: document review       0.30
                              questions related to 3AC BVI Liquidators
                              issues (0.1), preparation for the same (0.2)
Cinnamon, M.         02/23/23 Meeting with R. Zutshi to discuss BVI issues.      0.10
Cinnamon, M.         02/23/23 Meeting with R. Zutshi, A. Saba, E. Morrow         1.00
                              (partial), and A. Gariboldi on revisions to
                              draft presentation on 3AC BVI liquidator
                              issues.
Cinnamon, M.         02/23/23 Revising draft presentation on BVI issues.         1.60
Morrow, E.S.         02/23/23 Meeting with R. Zutshi, M. Cinnamon, A.            0.60
                              Saba, and A. Gariboldi on revisions to draft
                              presentation on 3AC BVI liquidator issues
                              (partial attendance)
Morrow, E.S.         02/23/23 Review meeting notes (0.5), implement edits        1.20
                              to litigation defense outline per team
                              communications (0.7)
Morrow, E.S.         02/23/23 Implement edits to defense outline                 0.20
Saba, A.             02/23/23 Meeting with R. Zutshi, M. Cinnamon, E.            1.00
                              Morrow (partial attendance), and A. Gariboldi
                              on revisions to draft presentation on 3AC BVI
                              liquidator issues.
Saba, A.             02/23/23 Revised factual and legal analysis re: BVI         1.30
                              Liquidator issues
Saba, A.             02/23/23 Corresponded with CGSH Investigation Team          1.20
                              re: 3AC BVI Liquidator issues.
Saba, A.             02/23/23 Attend call with A. Saenz re: document             0.10
                              review questions related to 3AC BVI
                              Liquidators issues.
Saba, A.             02/23/23 Performed document review related to 3AC           1.80
                              BVI Liquidator issues.
Saba, A.             02/23/23 Revised legal analysis related to 3AC BVI          3.10

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NAME                  DATE       DESCRIPTION                                   HOURS
                                 Liquidator issues.
Gariboldi, A.         02/23/23 Edit presentation materials for Genesis 3AC        3.50
                               BVI liquidator issues with E. Morrow (2.5),
                               Meeting with R. Zutshi, A. Saba, E. Morrow
                               (partial), and M. Cinnamon on revisions to
                               draft presentation on 3AC BVI liquidator
                               issue (1.0)
Zutshi, R.N.          02/24/23 Partially attended meeting with M. Cinnamon,       1.00
                               A. Saba, E. Morrow,
                               and A. Gariboldi on additional revisions to
                               draft presentation on 3AC BVI liquidator
                               issues
Zutshi, R.N.          02/24/23 Analyze materials for 3AC presentation             1.20
Hammer, B.M.          02/24/23 Performed legal analysis related to 3AC BVI        0.30
                               Liquidator issues
Bremer, S.            02/24/23 Review precedent on confidentiality                0.40
                               agreement for BVI litigation.
Cinnamon, M.          02/24/23 Meeting with R. Zutshi (partial), A. Saba, E.      1.10
                               Morrow, and A. Gariboldi on additional
                               revisions to draft presentation on 3AC BVI
                               liquidator issues.
Cinnamon, M.          02/24/23 Revising draft presentation regarding BVI          2.50
                               issues.
Morrow, E.S.          02/24/23 Internal email communication with                  0.80
                               investigation team re: BVI liquidator issues
Morrow, E.S.          02/24/23 Perform factual analysis re: BVI Liquidator        1.30
                               issues
Morrow, E.S.          02/24/23 Meeting with R. Zutshi (partial), M.               1.10
                               Cinnamon, A. Saba, and A. Gariboldi on
                               additional revisions to draft presentation on
                               3AC BVI liquidator issues
Saba, A.              02/24/23 Revised legal and factual analysis of 3AC          4.60
                               BVI Liquidator issues.
Saba, A.              02/24/23 Performed document analysis re: 3AC BVI            1.70
                               Liquidator issues.

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NAME                  DATE       DESCRIPTION                                    HOURS
Saba, A.              02/24/23 Meeting with R. Zutshi (partial), M.               1.10
                               Cinnamon, E. Morrow, and A. Gariboldi on
                               additional revisions to draft presentation on
                               3AC BVI liquidator issues.
Saba, A.              02/24/23 Corresponded with team and client re:              0.80
                               documentation for factual analysis re: 3AC
                               BVI Liquidator issues.
Witchger, K.          02/24/23 Performed legal analysis related to 3AC BVI        0.50
                               Liquidator issues
Gariboldi, A.         02/24/23 Meeting with R. Zutshi (partial), M.               1.10
                               Cinnamon, A. Saba, and E. Morrow on
                               additional revisions to draft presentation on
                               3AC BVI liquidator issues.
Gariboldi, A.         02/24/23 Edit 3AC BVI Liquidator presentation in            1.20
                               coordination with M. Cinnamon, A. Saba, and
                               E. Morrow.
Gariboldi, A.         02/24/23 Review financial records for 3AC BVI               2.50
                               liquidator presentation.
Morrow, E.S.          02/25/23 Factual analysis of Liquidator issues              2.50
Saba, A.              02/25/23 Further revised factual and legal analysis for     1.50
                               3AC BVI Liquidator issues.
Zutshi, R.N.          02/26/23 Analyze materials for 3AC presentation and         1.90
                               communications regarding same.
Cinnamon, M.          02/26/23 Revising draft presentation regarding BVI          1.60
                               issues.
Morrow, E.S.          02/26/23 Factual analysis re: liquidator issues             2.10
Hammer, B.M.          02/27/23 Reviewed and commented on legal analysis           2.50
                               related to 3AC BVI liquidator issues.
Cinnamon, M.          02/27/23 Attend meeting with A. Saba to discuss             0.20
                               factual/legal analysis re: 3AC BVI Liquidator
                               issues.
Cinnamon, M.          02/27/23 Revising draft presentation regarding BVI          2.50
                               issues.
Morrow, E.S.          02/27/23 Conduct factual analysis re: liquidator issues     0.80

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NAME                  DATE       DESCRIPTION                                    HOURS
Morrow, E.S.          02/27/23 Review legal analysis of liquidator issues         0.60
Morrow, E.S.          02/27/23 Internal communcations re: scheduling              0.30
                               meeting
Saba, A.              02/27/23 Attend meeting with M. Cinnamon to discuss         0.20
                               factual/legal analysis re: 3AC BVI Liquidator
                               issues.
Saba, A.              02/27/23 Revised factual and legal analysis re: 3AC         0.50
                               BVI Liquidator issues.
Saba, A.              02/27/23 Attend meeting with                                0.20
                               M. Cinnamon to discuss factual/legal analysis
                               re: 3AC BVI Liquidator issues
Saba, A.              02/27/23 Revised factual/legal analysis re: 3AC BVI         1.60
                               Liquidators issues
Gariboldi, A.         02/27/23 Edit 3AC BVI liquidator presentation in            0.60
                               coordination with M. Cinnamon, A. Saba, and
                               E. Morrow.
Zutshi, R.N.          02/28/23 Revise draft presentation materials                2.80
Zutshi, R.N.          02/28/23 Calls with R. Zutshi re 3AC liquidator (0.8)       0.80
Hammer, B.M.          02/28/23 Reviewed and commented on BVI analysis.            0.30
Hammer, B.M.          02/28/23 Call with M. Cinnamon to discuss BVI issues.       0.10
Cinnamon, M.          02/28/23 Call with B. Hammer to discuss BVI issues.         0.10
Cinnamon, M.          02/28/23 Attend call with A. Saba to discuss                0.20
                               legal/factual analysis re: 3AC BVI Liquidator
                               issues.
Cinnamon, M.          02/28/23 Revising draft presentation regarding BVI          3.60
                               issues.
Saba, A.              02/28/23 Attend call with M. Cinnamon to discuss            0.20
                               legal/factual analysis re: 3AC BVI Liquidator
                               issues.
Saba, A.              02/28/23 Revised legal/factual analysis re: 3AC BVI         3.00
                               Liquidators issues following comments from
                               B. Hammer.
Saba, A.              02/28/23 Revised factual/legal analysis following edits     1.60
                               from M. Cinnamon.
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NAME                 DATE       DESCRIPTION                                   HOURS

Saba, A.             02/28/23 Attend call with M. Cinnamon to discuss            0.20
                              legal/factual analysis re: 3AC BVI Liquidator
                              issues
                                MATTER TOTAL:                                  189.50




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                                Timekeeper Summary
Name                                   Hours                 Rate            Amount

Partner
O'Neal, S.A.                            .7.10            .1,820.00   $      12,922.00
VanLare, J.                             .6.20            .1,730.00   $      10,726.00
Associate
Bremer, S.                              .2.40              .845.00   $       2,028.00
Massey, J.A.                            .3.10            .1,105.00   $       3,425.50
Ribeiro, C.                             .0.70            .1,045.00   $         731.50
Weinberg, M.                          .19.60             .1,105.00   $      21,658.00
Paralegal
Gallagher, A.                           .1.00             .370.00    $        370.00
Piazza, N.                              .0.30             .780.00    $        234.00
Non-Legal
Royce, M.E.                             .1.20             .370.00    $        444.00

Total:                                 41.60                         $      52,539.00




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Weinberg, M.          02/01/23 Call with S. O'Neal, B. Axelrod (Fox              0.40
                               Rothschild) and P. Huygens (Province) to
                               discuss Cash Cloud proposed DIP facility and
                               adequate protection package.
Weinberg, M.          02/01/23 Reviewed draft documents related to proposed      1.00
                               Cash Cloud DIP.
O'Neal, S.A.          02/02/23 Call with J. Guso (Berger Singerman), M.          0.40
                               Goldberg (Berger Singerman), S. Jablonski
                               (Berger Singerman), B. Axelrod (Fox
                               Rothschild), P. Huygens (Province) and M.
                               Weinberg regarding Cash Cloud DIP
Ribeiro, C.           02/02/23 Review data room for cash cloud loan              0.50
                               documents
Weinberg, M.          02/02/23 Reviewed draft DIP motion and interim DIP         0.60
                               order.
Weinberg, M.          02/02/23 Call with J. Guso (Berger Singerman), M.          0.40
                               Goldberg (Berger Singerman), S. Jablonski
                               (Berger Singerman), B. Axelrod (Fox
                               Rothschild), P. Huygens (Province) and S.
                               O'Neal regarding Cash Cloud DIP.
O'Neal, S.A.          02/03/23 Call with D. Islim (Genesis), P. Aronzon          0.30
                               (Genesis), T. Conheeney (Genesis), A. Pretto-
                               Sakmann (Genesis), B. Klein (Moelis), A.
                               Swift (Moelis) (partial), and M. Weinberg to
                               discuss Cash Cloud DIP.
Bremer, S.            02/03/23 Call with J. Massey re motion for cash cloud.     0.20
Massey, J.A.          02/03/23 Call with S. Bremer re motion for cash cloud.     0.20
Weinberg, M.          02/03/23 Call with D. Islim (Genesis), P. Aronzon          0.20
                               (Genesis), T. Conheeney (Genesis), A. Pretto-
                               Sakmann (Genesis), B. Klein (Moelis), A.
                               Swift (Moelis) (partial), and S. O'Neal to
                               discuss Cash Cloud DIP.
Ribeiro, C.           02/07/23 Correspond with S. Bremer re cash cloud           0.20
                               motion and filing procedures
Royce, M.E.           02/07/23 Pull USBC/NV: Cash Cloud, Inc. docket and         0.10
                               circulate to team.

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NAME                  DATE       DESCRIPTION                                     HOURS
Bremer, S.            02/08/23 Coordinate service of cloud cash motions.           0.10
Gallagher, A.         02/08/23 Pulled Cash Cloud Docket per S. Bremer              1.00
O'Neal, S.A.          02/14/23 Work on response to Cole Kepro objection to         2.50
                               Cash Cloud Cash Collateral Order and related
                               corresp with Brett Axelrod (2), review
                               research re adequate protection (.5)
VanLare, J.           02/14/23 Reviewed Cole Kepro objection (1.4);                2.90
                               reviewed draft reply to Cole Kepro’s
                               objection (1.5)
Bremer, S.            02/14/23 Revise reply to objection to DIP motion.            1.10
Massey, J.A.          02/14/23 Corresp. J. VanLare, M. Weinberg, S. O'Neal,        0.70
                               S. Bremer re: reply to objection to Cash Cloud
                               interim DIP motion.
Massey, J.A.          02/14/23 Corresp. B. Axelrod (Fox Rothschild) re: DIP        0.40
                               hearing.
Weinberg, M.          02/14/23 Reviewed revised DIP motion and interim             7.80
                               DIP order (0.2); reviewed objection to DIP
                               motion (0.5); reviewed draft Cash Cloud reply
                               re same (0.3); prepared reply in support of
                               interim DIP order (3.0); legal research re
                               same (2.5); call with A. Noll (Fox Rothschild)
                               re same (0.3); correspondence with J.
                               VanLare, J. Massey and S. Bremer re same
                               (1.0).
O'Neal, S.A.          02/15/23 Prepare for cash cloud hearing including            3.20
                               writing remakes (1.2), discussion with A.
                               Tsang and reach out to UST re UCC
                               membership (.1), attend cash cloud hearing
                               (1.5), discussions with team re same (.1), Call
                               with J. VanLare re Cash Cloud hearing (.2),
                               discuss situation with local counsel (.1)
VanLare, J.           02/15/23 Call with S. O’Neal re Cash Cloud hearing           2.90
                               (.2); attended DIP hearing (2.6); reviewed
                               revised order (.1)
Bremer, S.            02/15/23 Prepare materials for DIP hearing.                  0.60
Massey, J.A.          02/15/23 Attend Cash Cloud DIP hearing.                      1.50

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NAME                  DATE      DESCRIPTION                                      HOURS
Massey, J.A.          02/15/23 Corresp. S. O'Neal, J. VanLare, M. Weinberg,        0.30
                               S. Bremer in advance of Cash Cloud DIP
                               hearing.
Weinberg, M.          02/15/23 Attended Cash Cloud hearing on DIP motion.          1.50
Weinberg, M.          02/15/23 Prepared for hearing on DIP motion in Cash          4.00
                               Cloud case (1.4); correspondence with S.
                               O'Neal re same (0.2); correspondence with R.
                               Kinas (S&W) re same (0.2); prepared pro hac
                               vice forms (0.8); reviewed revisions to interim
                               DIP order (0.2); correspondence with S.
                               O'Neal and R. Kinas (S&W) re same (0.3);
                               revised draft S&W engagement letter (0.8);
                               correspondence with J. VanLare re same
                               (0.1).
VanLare, J.           02/16/23 Reviewed engagement letter for NV counsel           0.20
                               (.2)
Bremer, S.            02/16/23 Review recent filings on cash cloud docket.         0.10
Weinberg, M.          02/16/23 Prepared pro hac form for S. O'Neal (0.2);          0.90
                               correspondence with A. Pretto-Sakmann
                               (Genesis) re same (0.2); correspondence with
                               R. Kinas (S&W) regarding draft engagement
                               letter (0.1); revised draft S&W engagement
                               letter (0.4).
Piazza, N.            02/16/23 Review lien search results.                         0.30
O'Neal, S.A.          02/17/23 Corresp with A. Tsang re cash cloud matters         0.50
                               (UCC, GA ATMs, mediation, other
                               developments) (.4), corresp with B. Axelrod
                               (.1)
VanLare, J.           02/18/23 Reviewed local counsel’s engagement letter          0.10
                               (.1)
Weinberg, M.          02/18/23 Correspondence with A. Pretto-Sakmann               0.20
                               (Genesis) and A. Tsang (Genesis) regarding
                               draft S&W engagement letter.
Weinberg, M.          02/21/23 Revised pro hac form for J. Vanlare (0.2);          1.00
                               correspondence with J. VanLare re same
                               (0.1); reviewed filings in the Cash Cloud
                               chapter 11 case (0.3); revised draft S&W
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NAME                  DATE      DESCRIPTION                                   HOURS
                                engagement letter (0.4).
Royce, M.E.           02/21/23 Manually update internal docket and schedule      0.30
                               for USBC/NV: Cash Cloud.
O'Neal, S.A.          02/22/23 Corresp with A. Tsang (Genesis) re cash           0.20
                               cloud (.2)
Weinberg, M.          02/22/23 Reviewed documentation related to Cash            0.40
                               Cloud collateral.
Weinberg, M.          02/22/23 Call with J. McPherson (Fox Rothschild)           0.20
                               regarding Genesis collateral.
Royce, M.E.           02/22/23 Manually update internal docket for               0.80
                               USBC/NV: Cash Cloud in CourtAlert.
Weinberg, M.          02/23/23 Finalized executed engagement letter with         1.00
                               S&W (0.8); correspondence with A. Pretto-
                               Sakmann (Genesis), A. Tsang (Genesis) and
                               R. Kinas (S&W) re same (0.2).
VanLare, J.           02/27/23 Reviewed correspondence from committee            0.10
                               advisors (.1)
Bremer, S.            02/28/23 Review cash cloud docket for recent filings       0.30
                               relevant to Genesis.
                                MATTER TOTAL:                                   41.60




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                                Timekeeper Summary
Name                                   Hours                 Rate            Amount

Partner
O'Neal, S.A.                            .1.20            .1,820.00   $       2,184.00
Spoerri, K.R.                           .0.20            .1,700.00   $         340.00
VanLare, J.                             .9.10            .1,730.00   $      15,743.00
Associate
Bremer, S.                            .31.10               .845.00   $      26,279.50
Kim, H.R.                               .2.30            .1,105.00   $       2,541.50
Minott, R.                            .25.30               .965.00   $      24,414.50
Rohlfs, S.M.                            .0.40            .1,180.00   $         472.00
Weinberg, M.                          .17.10             .1,105.00   $      18,895.50

Total:                                 86.70                         $      90,870.00




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NAME                  DATE      DESCRIPTION                                   HOURS
VanLare, J.           02/02/23 Reviewed precedent sale motions (1.8)             1.80
Bremer, S.            02/02/23 Review bidding procedures precedent.              0.20
Bremer, S.            02/10/23 Review bidding procedures precedent.              2.10
Rohlfs, S.M.          02/12/23 Summarize affiliate sale issues.                  0.40
Minott, R.            02/13/23 Correspondence with J. Roden (Moelis), B.         0.50
                               DiPietro (Moelis), S. O'Neal re NOLs
                               marketing materials
O'Neal, S.A.          02/16/23 Corresp with T. Conheeny (Sp Cmte) and P.         0.20
                               Aronzon (Sp Cmte) and Moelis re M&A
                               process and bids
O'Neal, S.A.          02/16/23 Call with J. VanLare re sale (.2)                 0.20
VanLare, J.           02/16/23 Call with R. Minott, S. Bremer (partial) and      0.40
                               M. Weinberg re bidding procedures
VanLare, J.           02/16/23 Call with S. O’Neal re sale (.2)                  0.20
VanLare, J.           02/16/23 Call with M. Weinberg re sale (.2)                0.20
VanLare, J.           02/16/23 Call with M. Weinberg, S. Bremer, R. Minott       0.30
                               re sale (.3)
Bremer, S.            02/16/23 Review precedent for bidding procedures.          2.20
Bremer, S.            02/16/23 Call with J. VanLare, (partial) M. Weinberg,      0.30
                               R. Minott re bidding procedures.
Bremer, S.            02/16/23 Call with M. Weinberg, J. VanLare, R. Minott      0.30
                               re sale.
Minott, R.            02/16/23 Call with M. Weinberg, S. Bremer, J.              0.30
                               VanLare re sale.
Minott, R.            02/16/23 Review bidding procedures precedent               0.90
Minott, R.            02/16/23 Call with J. VanLare, S. Bremer and M.            0.40
                               Weinberg re bidding procedures
Weinberg, M.          02/16/23 Call with J. VanLare, R. Minott and S.            0.40
                               Bremer to discuss bidding procedures.
Weinberg, M.          02/16/23 Correspondence with J. VanLare, R. Minott         0.70
                               and S. Bremer re bidding procedures motion
                               (0.2); reviewed precedent bidding procedure
                               motions (0.5).
Weinberg, M.          02/16/23 Call with J. VanLare re sale                      0.20


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NAME                  DATE      DESCRIPTION                                  HOURS
VanLare, J.           02/18/23 Reviewed precedent bidding procedures (.2)        0.20
VanLare, J.           02/19/23 Reviewed proposed dates for bidding               0.50
                               procedures motion (.5)
VanLare, J.           02/19/23 Reviewed summaries of regulatory licenses         0.20
                               and permits (.2)
Bremer, S.            02/21/23 Draft bidding procedures motion (3.6).            6.10
                               Incorporate edits to bidding procedures
                               motion (2.5)
Bremer, S.            02/21/23 Research for bidding procedures motion            1.30
Bremer, S.            02/21/23 Draft bidding procedures.                         2.00
Bremer, S.            02/21/23 Revise bidding procedures motion with             0.80
                               attention to R. Minott comments.
Minott, R.            02/21/23 Draft bidding procedures motion                   3.20
O'Neal, S.A.          02/22/23 Corresp with K. Spoerri, J. VanLare, L.           0.50
                               Swiderski re M&A disclosure issues (.5)
VanLare, J.           02/22/23 Reviewed bidding procedures motion (.9);          1.60
                               drafted timeline for sale and plan (.7)
Bremer, S.            02/22/23 Draft sale notice to bidding procedures           0.60
                               motion.
Bremer, S.            02/22/23 Revise bidding procedures motion.                 2.20
Kim, H.R.             02/22/23 Reviewing drafts of MIP/CP                        1.10
Minott, R.            02/22/23 Revise Bidding Procedures                         2.70
VanLare, J.           02/23/23 Reviewed draft bidding procedures motion          0.50
                               (.2); Call with R. Minott re bidding
                               procedures (.3)
Bremer, S.            02/23/23 Call with M. Weinberg, H. Kim, and R.             0.50
                               Minott re bidding procedures.
Bremer, S.            02/23/23 Revise bidding procedures motion per R.           1.30
                               Minott comments.
Bremer, S.            02/23/23 Revise the bidding procedures motion.             1.50
Bremer, S.            02/23/23 Call with R. Minott re bidding procedures         0.20
                               motion.
Kim, H.R.             02/23/23 Reviewing question about sale process             0.20
Kim, H.R.             02/23/23 Call with M. Weinberg, R. Minott and S.           0.50

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                                 Bremer re bidding procedures
Minott, R.            02/23/23 Call with M. Weinberg, H. Kim and S.                0.50
                               Bremer re bidding procedures
Minott, R.            02/23/23 Revise bidding procedures                           3.10
Minott, R.            02/23/23 Provide comments to bidding procedures              0.90
                               motion
Minott, R.            02/23/23 Review non-crypto bidding procedures                1.90
                               precedent
Minott, R.            02/23/23 Draft bidding procedures                            2.80
Minott, R.            02/23/23 Correspondence with S. Bremer re bidding            0.90
                               procedures
Minott, R.            02/23/23 Call with S. Bremer re bidding procedures           0.20
                               motion
Minott, R.            02/23/23 Call with J. VanLare re bidding procedures          0.30
Weinberg, M.          02/23/23 Call with H. Kim, R. Minott and S. Bremer re        0.50
                               bidding procedures.
Weinberg, M.          02/23/23 Reviewed draft bidding procedures motion            1.40
                               (1.4).
Spoerri, K.R.         02/24/23 Call with J. VanLare re M&A process (.2)            0.20
VanLare, J.           02/24/23 Call with K. Spoerri re M&A process (.2);           1.20
                               reviewed sales deck (.9); reviewed draft
                               bidding procedures motion (.1)
Bremer, S.            02/24/23 Revise timeline in bidding procedures motion.       1.50
Bremer, S.            02/24/23 Review M. Weinberg comments on bidding              0.80
                               procedures motion
Weinberg, M.          02/24/23 Reviewed draft bidding procedures motion            5.30
                               (1.0); revised draft bidding procedures motion
                               (3.3); correspondence with S. Bremer and R.
                               Minott re same (0.5); reviewed rules related to
                               bidding procedures timeline (0.5)
VanLare, J.           02/25/23 Correspondence with S. Bremer re sample             0.10
                               purchase agreements and other aspects of the
                               sales process
Bremer, S.            02/25/23 Compile precedent on purchase agreements in         0.20
                               crypto cases.


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NAME                  DATE      DESCRIPTION                                   HOURS
Bremer, S.            02/25/23 Revise bidding procedures motion per M.           1.60
                               Weinberg comments.
Minott, R.            02/25/23 Prepare bidding procedures and plan               2.00
                               confirmation timeline
Weinberg, M.          02/25/23 Further revised draft bidding procedures          4.30
                               motion (3.2); reviewed timeline associated
                               with same (0.5); correspondence with R.
                               Minott and S. Bremer re same (0.6).
VanLare, J.           02/26/23 Reviewed bidding procedures motion (.2)           0.20
Bremer, S.            02/26/23 Revise bidding procedures motion.                 3.20
Minott, R.            02/26/23 Draft bidding timeline                            1.20
Weinberg, M.          02/26/23 Revised draft bidding procedures motion.          2.30
O'Neal, S.A.          02/27/23 Corresp with Tom Conheeney re sales process       0.10
                               and 3/1 meeting and follow up with Zul Jamal
                               and Barak Klein (.10)
VanLare, J.           02/27/23 Reviewed draft bidding procedures motion          0.70
                               (.7)
Bremer, S.            02/27/23 Research rules and precedent on timing of         1.50
                               bidding procedures.
Weinberg, M.          02/27/23 Correspondence with R. Minott regarding           0.70
                               draft bidding procedures timeline (0.7).
O'Neal, S.A.          02/28/23 Call with J. VanLare re bidding procedures,       0.20
                               timelines and related matters (.2)
VanLare, J.           02/28/23 Reviewed bidding procedures motion (.3)           0.30
VanLare, J.           02/28/23 Call with M. Weinberg, R. Minott, H. Kim          0.50
                               and S. Bremer re bidding procedures motion
                               (.5)
VanLare, J.           02/28/23 Call with S. O’Neal re timeline of the sale       0.20
                               process (.2)
Bremer, S.            02/28/23 Call with J. VanLare, M. Weinberg, R.             0.50
                               Minott, and S. Bremer re bidding procedures
                               motion.
Bremer, S.            02/28/23 Review J. VanLare comments on bidding             0.20
                               procedures motion.
Kim, H.R.             02/28/23 Call with J. VanLare, M. Weinberg, R.             0.50
                               Minott, and S. Bremer re bidding procedures
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NAME                  DATE      DESCRIPTION                                  HOURS
                                motion
Minott, R.            02/28/23 Call with J. VanLare, H. Kim, M. Weinberg,        0.50
                               and S. Bremer re bidding procedures motion.
Minott, R.            02/28/23 Revise bidding procedures                         3.00
Weinberg, M.          02/28/23 Call with J. VanLare, R. Minott, H. Kim and       0.50
                               S. Bremer re bidding procedures motion.
Weinberg, M.          02/28/23 Reviewed draft bidding procedures motion.         0.80
                                MATTER TOTAL:                                   86.70




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                                       EXHIBIT E

           Expense Reports for February 1, 2023 through February 28, 2023


 Computer Research – Lexis
               02/06/23    Computer Research - Lexis                        $1,034.31
               02/06/23    Computer Research - Lexis                        $107.79
               02/07/23    Computer Research - Lexis                        $107.79
               02/07/23    Computer Research - Lexis                        $103.43
               02/15/23    Computer Research - Lexis                        $0.35
               02/17/23    Computer Research - Lexis                        $9.78
               02/17/23    Computer Research - Lexis                        $1.02
               02/17/23    Computer Research - Lexis                        $0.70
               02/23/23    Computer Research - Lexis                        $107.79
               02/23/23    Computer Research - Lexis                        $103.43
               02/24/23    Computer Research - Lexis                        $310.29
               02/25/23    Computer Research - Lexis                        $206.86
               02/26/23    Computer Research - Lexis                        $103.43
                                                                            $2,196.97
 Computer Research – Westlaw
               02/01/23    Computer Research - Westlaw (XX9064)             $384.11
               02/01/23    Computer Research - Westlaw (XX9064)             $126.40
               02/02/23    Computer Research - Westlaw (XX9064)             $3,160.10
               02/02/23    Computer Research - Westlaw (XX9064)             $1,263.06
               02/02/23    Computer Research - Westlaw (XX9064)             $974.00
               02/02/23    Computer Research - Westlaw (XX9064)             $974.00
               02/02/23    Computer Research - Westlaw (XX9064)             $216.55
               02/03/23    Computer Research - Westlaw (XX9064)             $736.65
               02/03/23    Computer Research - Westlaw (XX9064)             $216.55
               02/03/23    Computer Research - Westlaw (XX9064)             $167.56
               02/04/23    Computer Research - Westlaw (XX9064)             $736.65
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               02/06/23    Computer Research - Westlaw (XX9064)            $831.91
               02/06/23    Computer Research - Westlaw (XX9064)            $379.21
               02/06/23    Computer Research - Westlaw (XX9064)            $379.21
               02/06/23    Computer Research - Westlaw (XX9064)            $126.40
               02/07/23    Computer Research - Westlaw (XX9064)            $999.47
               02/08/23    Computer Research - Westlaw (XX9064)            $1,013.19
               02/09/23    Computer Research - Westlaw (XX9064)            $2,118.49
               02/10/23    Computer Research - Westlaw (XX9064)            $180.30
               02/11/23    Computer Research - Westlaw (XX9064)            $90.15
               02/12/23    Computer Research - Westlaw (XX9064)            $1,209.17
               02/13/23    Computer Research - Westlaw (XX9064)            $126.40
               02/13/23    Computer Research - Westlaw (XX9064)            $126.40
               02/14/23    Computer Research - Westlaw (XX9064)            $505.62
               02/14/23    Computer Research - Westlaw (XX9064)            $505.62
               02/14/23    Computer Research - Westlaw (XX9064)            $409.59
               02/14/23    Computer Research - Westlaw (XX9064)            $245.55
               02/20/23    Computer Research - Westlaw (XX9064)            $1,101.38
               02/21/23    Computer Research - Westlaw (XX9064)            $1,065.12
               02/22/23    Computer Research - Westlaw (XX9064)            $906.38
               02/23/23    Computer Research - Westlaw (XX9064)            $1,919.58
               02/23/23    Computer Research - Westlaw (XX9064)            $722.17
               02/23/23    Computer Research - Westlaw (XX9064)            $653.58
               02/24/23    Computer Research - Westlaw (XX9064)            $3,110.12
               02/24/23    Computer Research - Westlaw (XX9064)            $1,930.35
               02/25/23    Computer Research - Westlaw (XX9064)            $1,156.25
               02/26/23    Computer Research - Westlaw (XX9064)            $722.17
               02/26/23    Computer Research - Westlaw (XX9064)            $450.74
               02/26/23    Computer Research - Westlaw (XX9064)            $379.21
               02/27/23    Computer Research - Westlaw (XX9064)            $1,298.33
               02/27/23    Computer Research - Westlaw (XX9064)            $126.40
               02/28/23    Computer Research - Westlaw (XX9064)            $632.02
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               02/28/23    Computer Research - Westlaw (XX9064)            $559.51
                                                                           $34,935.62




 Delivery Services / Courier


               02/09/23    VENDOR: Inta-Boro Acres, Inc.                   $30.38
                           INVOICE#: 8480 DATE: 2/13/2023
               02/09/23    VENDOR: Federal Express                         $21.18
                           INVOICE#: 803699853 DATE: 2/13/2023
               02/09/23    VENDOR: Federal Express                         $21.18
                           INVOICE#: 803699853 DATE: 2/13/2023
               02/20/23    VENDOR: Federal Express                         $25.55
                           INVOICE#: 804866748 DATE: 2/23/2023
               02/21/23    VENDOR: Uber Technologies, Inc.                 $157.63
                           INVOICE#: 9F5AAF DATE: 3/1/2023
               02/21/23    VENDOR: Uber Technologies, Inc.                 $150.97
                           INVOICE#: 9F5AAF DATE: 3/1/2023
               02/21/23    VENDOR: Uber Technologies, Inc.                 $52.14
                           INVOICE#: 9F5AAF DATE: 3/1/2023
                                                                           $459.03

 Meals

               02/01/23    Meals - A. Lotty                                $20.00

               02/01/23    Meals - S. Saran                                $20.00

               02/01/23    Meals - M. Rathi                                $20.00

               02/01/23    Meals - M. Weinberg                             $20.00

               02/01/23    Meals - A. Gallagher                            $20.00

               02/01/23    Meals - K. MacAdam                              $20.00

               02/02/23    Meals - A. Gariboldi                            $20.00
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               02/02/23    Meals - E. Amorim                               $20.00

               02/02/23    Meals - A. Lotty                                $20.00

               02/02/23    Meals - S. Bremer                               $20.00

               02/06/23    Meals - A. Gallagher                            $20.00

               02/07/23    Meals - A. Gallagher                            $20.00

               02/07/23    Meals - A. Gariboldi                            $20.00

               02/07/23    Meals - S. Saran                                $20.00

               02/07/23    Meals - M. Hatch                                $20.00

               02/07/23    Meals - K. MacAdam                              $20.00

               02/08/23    Meals - A. Saenz                                $20.00

               02/08/23    Meals - A. Lotty                                $20.00

               02/08/23    Meals - A. Adubofour                            $20.00

               02/08/23    Meals - S. Levander                             $20.00

               02/08/23    Meals - A. Gariboldi                            $20.00

               02/08/23    Meals - M. Weinberg                             $20.00

               02/08/23    Meals - S. Saran                                $20.00

               02/09/23    Meals - M. Rathi                                $20.00

               02/09/23    Meals - S. Levander                             $20.00

               02/09/23    Meals - A. Gariboldi                            $20.00

               02/09/23    Meals - K. MacAdam                              $20.00

               02/14/23    Meals - M. Rathi                                $20.00

               02/14/23    Meals - S. Bremer                               $20.00

               02/14/23    Meals - A. Lotty                                $20.00

               02/14/23    Meals - M. Weinberg                             $20.00

               02/14/23    Meals - E. Amorim                               $20.00
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               02/14/23    Meals - S. O'Neal                               $20.00

               02/14/23    Meals - K. MacAdam                              $20.00

               02/15/23    Meals - A. Gariboldi                            $20.00

               02/15/23    Meals - M. Rathi                                $20.00

               02/16/23    Meals - A. Lotty                                $20.00

               02/16/23    Meals - A. Gariboldi                            $20.00

               02/16/23    Meals - M. Weinberg                             $20.00

               02/16/23    Meals - S. Bremer                               $20.00

               02/16/23    Meals - M. Hatch                                $20.00

               02/21/23    Meals - A. Gariboldi                            $20.00

               02/21/23    Meals - H. Kim                                  $20.00

               02/21/23    Meals - S. Levander                             $20.00

               02/22/23    Meals - M. Rathi                                $20.00

               02/22/23    Meals - A. Gallagher                            $20.00

               02/22/23    Meals - S. Bremer                               $20.00

               02/22/23    Meals - A. Lotty                                $20.00

               02/22/23    Meals - E. Morrow                               $20.00

               02/23/23    Meals - A. Saba, R. Zutshi, M. Cinnamon         $52.26

               02/23/23    Meals - A. Gariboldi                            $20.00

               02/23/23    Meals - E. Morrow                               $20.00

               02/27/23    Meals - A. Saenz                                $20.00

               02/27/23    Meals - B. Richey                               $20.00

               02/28/23    Meals - A. Lotty                                $20.00

               02/28/23    Meals - A. Gallagher                            $20.00

               02/28/23    Meals - H. Kim                                  $20.00
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               02/28/23    Meals - S. Levander                              $20.00

                                                                            $1,192.26



 Professional Services

               02/05/23    VENDOR: Williams Lea, Inc.                       $77.50
                           INVOICE#: US004-120001577A DATE: 2/8/2023
               02/06/23    VENDOR: Bureau of National Affairs, INC          $10.89
                           INVOICE#: 6888393681 DATE: 2/6/2023
                           DOCKET TRACK 1/01/2023 - 1/31/2023
               02/07/23    VENDOR: Williams Lea, Inc.                       $43.50
                           NVOICE#: US004-120001577A DATE: 2/8/2023
               02/07/23    VENDOR: Williams Lea, Inc.                       $26.00
                           INVOICE#: US004-120001577A DATE: 2/8/2023
               02/09/23    VENDOR: Williams Lea, Inc.                       $25.00
                           INVOICE#: US004-120001577B DATE: 2/15/2023
               02/09/23    VENDOR: Williams Lea, Inc.                       $12.50
                           INVOICE#: US004-120001577B DATE: 2/15/2023
               02/09/23    VENDOR: Williams Lea, Inc.                       $12.50
                           INVOICE#: US004-120001577B DATE: 2/15/2023
               02/09/23    VENDOR: Williams Lea, Inc.                       $12.50
                           INVOICE#: US004-120001577B DATE: 2/15/2023
               02/09/23    VENDOR: Williams Lea, Inc.                       $12.50
                           INVOICE#: US004-120001577B DATE: 2/15/2023
               02/16/23    VENDOR: Williams Lea, Inc.                       $25.00
                           INVOICE#: US004-120001577C DATE: 2/22/2023
               02/27/23    VENDOR: Williams Lea, Inc.                       $203.00
                           INVOICE#: US004-120001577D DATE: 3/1/2023
               02/27/23    VENDOR: Williams Lea, Inc.                       $40.00
                           INVOICE#: US004-120001577D DATE: 3/1/2023
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               02/28/23    VENDOR: Williams Lea, Inc.                          $223.00
                           INVOICE#: US004-120001577D DATE: 3/1/2023
               02/28/23    VENDOR: Williams Lea, Inc.                          $136.00
                           INVOICE#: US004-120001577D DATE: 3/1/2023
               02/28/23    VENDOR: Williams Lea, Inc.                          $12.50
                           INVOICE#: US004-120001577D DATE: 3/1/2023
                                                                               $872.39

 Transcripts

               02/09/23    VENDOR: Veritext New York Reporting Co              $302.50
                           INVOICE#: 6350594 DATE: 2/9/2023 Transcription
               02/14/23    "VENDOR: Veritext New York Reporting Co             $217.80
                           INVOICE#: 6360290 DATE: 2/14/2023 Transcript"
               02/23/23    VENDOR: Veritext New York Reporting Co              $85.20
                           INVOICE#: 6386330 DATE: 2/23/2023 Transcript
               02/24/23    VENDOR: Veritext New York Reporting Co              $477.95
                           INVOICE#: 6388922 DATE: 2/24/2023 Transcript
                                                                               $1,083.45

 Transportation

               02/01/23    Transportation - A. Gallagher                       $140.31

               02/01/23    Transportation - S. Saran                           $29.08

               02/01/23    Transportation - A. Lotty                           $18.91

               02/02/23    Transportation - E. Amorim                          $112.11

               02/02/23    Transportation - S. Bremer                          $51.51

               02/02/23    Transportation - A. Gariboldi                       $40.94

               02/02/23    Transportation - A. Lotty                           $16.99

               02/03/23    Transportation - R. Gong                            $43.85

               02/03/23    Transportation - C. Ribeiro                         $41.71

               02/03/23    Transportation - A. Saenz                           $33.55
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               02/06/23    Transportation - A. Gallagher                   $50.76

               02/06/23    Transportation - C. Ribeiro                     $39.93

               02/07/23    Transportation - M. Hatch                       $21.96

               02/08/23    Transportation - A. Adubofour                   $38.97

               02/08/23    Transportation - A. Gariboldi                   $36.97

               02/08/23    Transportation - S. Saran                       $23.38

               02/08/23    Transportation - A. Saenz                       $23.92

               02/08/23    Transportation - A. Lotty                       $19.98

               02/09/23    Transportation - A. Gariboldi                   $49.25

               02/09/23    Transportation - A. Saenz                       $40.59

               02/09/23    Transportation - A. Lotty                       $17.97

               02/14/23    Transportation - E. Amorim                      $111.05

               02/14/23    Transportation - S. Bremer                      $55.37

               02/14/23    Transportation - A. Lotty                       $20.94

               02/15/23    Transportation - A. Gariboldi                   $38.94

               02/16/23    Transportation - E. Amorim                      $111.04

               02/16/23    Transportation - A. Gariboldi                   $39.94

               02/16/23    Transportation - A. Lotty                       $20.99

               02/22/23    Transportation - S. Bremer                      $51.55

               02/23/23    Transportation - E. Amorim                      $108.85

               02/23/23    Transportation - A. Gariboldi                   $40.90

               02/23/23    Transportation - E. Morrow                      $33.34

               02/23/23    Transportation - A. Saenz                       $15.07

               02/27/23    Transportation - A. Saenz                       $20.95

               02/28/23    Transportation - A. Gallagher                   $44.37
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               02/28/23    Transportation - S. Levander                    $49.36

               02/28/23    Transportation - A. Lotty                       $19.94

                                                                           $1,675.24
